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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
                                                                    :
In re:                                                              : Chapter 11
                                                                    :
96 WYTHE ACQUISITION LLC,                                           : Case No. 21-22108 (RDD)
                                                                    :
                                    Debtor.                         :
                                                                    :
------------------------------------------------------------------ X


                  LENDER’S SUPPLEMENTAL OBJECTION TO DEBTOR’S
                      APPLICATION TO USE CASH COLLATERAL

         Benefit Street Partners Realty Operating Partnership, L.P.1 (“Benefit Street”) submits this

supplemental objection to the Application of 96 Wythe Acquisition LLC (the “Debtor”) to Use

Cash Collateral [ECF No. 4] (the “Motion”). In support of its Objection, Benefit Street represents

as follows:

                                      PRELIMINARY STATEMENT
                  1.       The Debtor operates the 147-room Williamsburg Hotel in Brooklyn, New

York. In 2017, Benefit Street provided the Debtor with a $68 million construction completion

loan secured by all of the Debtor’s assets. After a series of defaults, the loan matured in early June


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 Benefit Street is a wholly owned subsidiary of Franklin Resources, Inc. that, together with various subsidiaries,
operates as Franklin Templeton.
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2019 and has not been repaid. A week before this case filed, after two years of litigation, the

Appellate Division, First Department, directed the entry of summary judgment in favor of Benefit

Street, specifically rejecting the Debtor’s defenses to Benefit Street’s loan on the merits.

               2.      Postpetition, to afford the Debtor with a brief period to stabilize operations

in Chapter 11 and develop a process to repay it, Benefit Street has agreed to the Debtor’s use of

cash collateral under a series of consensual interim orders. Although it has not even been paying

current interest or legal expenses to Benefit Street during this period, the Debtor has nonetheless

either lost money or been only minimally profitable. Its business is a seasonal one, and is based

in no small part on its attractive outdoor rooftop bar. Accordingly, it is projecting increased

revenues over the coming summer months. However, consistent with its historically seasonal

business, revenues can be expected to drop in the fall.

               3.      To “support” its application, the Debtor offers Benefit Street “adequate

protection” consisting of (i) an alleged equity cushion premised on a valuation prepared in 2017,

(ii) liens on collateral Benefit Street already holds, and (iii) the mere continued operation of the

business by the Debtor. On its face, this package cannot support the relief the Debtor seeks. Even

the 2017 valuation – which the Debtor has conceded is too high – would not provide Benefit Street

with a sufficient equity cushion. Not only has Benefit Street’s loan been accruing default interest,

fees and other charges for more than two years (increasing the balance due to over $89 million),

but the Debtor has failed to pay millions of dollars in real estate taxes, electricity, gas and water

charges. As a result, the secured claims on the property approach the asserted 2017 valuation,

leaving only a tiny and continually eroding “cushion”. Similarly, liens on collateral Benefit Street

already holds and mere continued operation of the business do not provide adequate protection,

particularly for a seasonal business. In any scenario, the controlling insiders are out of the money.




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               4.      That said, Benefit Street agrees the Hotel’s business should be preserved

and is prepared to consent to a final use of cash collateral that allows for the payment of bona fide

hotel operating expenses as part of an agreed process to repay Benefit Street (and other creditors)

through either a sale of the Hotel’s business or a refinancing of the lender under a consensual

Chapter 11 plan. In light of the Court’s comments in interim hearings, based upon the Debtor’s

constrained liquidity, Benefit Street does not now seek current pay of interest or fees as adequate

protection (but reserves the right to do so in the future). It does, however, seek the provision of

the following items as a condition to the use of its cash collateral:

              Timely Current Reporting. The parties have largely agreed on the form of current
               reporting, but the Debtor has not been prompt in providing it. This must be
               remedied going forward. At a minimum, the lender should have prompt access to
               current information on how its cash collateral is being used by the Debtor.

              Agreed Budget. Any use of cash collateral must be subject to an agreed budget
               with limited variances. As of this filing the Debtor has not provided a proposed 13-
               week budget. In addition, if an agreed budget can be reached, the Debtor should
               provide Benefit Street with weekly reports comparing actual results to its
               projections, shortly after the relevant weekly projection periods. As the lender has
               advised the Court, the Debtor is operating (at the lender’s expense) with an outsized
               financial staff for an operation of this size. At a minimum, its five-person
               accounting staff should not have difficulty providing all requested information in a
               timely manner.

              Dual Track Restructuring Process. The Debtor has vaguely alluded to pursuing a
               recapitalization, but has made no obvious progress down this path. Nor has it
               discussed any specifics of its plan with the lender, despite repeated inquires by the
               lender on the path and progress of these cases. While the Debtor may seek to pursue
               a recapitalization (with the lender’s right to object to any such path), it should not
               do so to the exclusion of other options. Instead, given that it is operating
               exclusively on Benefit Street’s cash collateral, it should simultaneously prepare to
               pursue both a refinancing and a sale process. As part of the approval of cash
               collateral, the Court should establish a schedule for the retention of a broker and
               the marketing of alternative transactions, leading to a closing in the late fall.
               Benefit Street proposes such a schedule below.




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               Bankruptcy is not intended to provide out-of-the-money equity with a gratuitous
               option to preserve its interest. Following two years of delay tactics since the
               maturity of the lender’s secured debt – culminating in the filing of this case only
               after receiving an unfavorable decision from the New York Appellate Court
               (discussed below) during which time the lender has received no payments but has
               incurred considerable expense, a reasonable schedule for the consideration of viable
               restructuring alternatives will serve to protect the interests of Benefit Street and
               other creditors and assure a timely resolution of this case.

              Value-Preserving Use of Cash Collateral. Disappointingly, the Debtor has recently
               identified a second proposed “special litigation counsel.” According to the
               Debtor’s Motion to Extend Time to File Notices of Removal of Civil Actions, it is
               seeking to hire this counsel to investigate “whether and to what extent the February
               16, 2021 Decision and Order by the New York Appellate Court was obtained by
               misrepresentation and fraud on that court by Lender’s counsel.” ECF No. 35, ¶ 7.
               Such an investigation, which directly contradicts the Debtor’s representation at the
               first day hearing that it would not seek to relitigate the state court action, appears
               to herald a value-destructive litigation, rather than a value preserving going concern
               sale or restructuring.

               It is one more installment in a multi-year series of bad faith attempts by the
               controlling insiders to forestall repayment of the Loan. The suggestion that Benefit
               Street, a multi-billion dollar publicly traded REIT, that is a wholly-owned
               subsidiary of Franklin Templeton, would commit fraud on a court to facilitate
               foreclosing on a loan the Debtor did not repay at maturity, is facially frivolous. The
               Court should not permit estate assets to be squandered on such an investigation.

              Other Items. Benefit Street’s cash collateral should not be used to fund a frivolous
               investigation or litigation against it. In addition, Benefit Street should receive
               replacement liens on all assets (including avoidance action proceeds) and
               appropriate super priority claims. The cash collateral order should also be subject
               to customary events of default.

                                        BACKGROUND
Benefit Street’s Loan and the Debtor’s Defaults
               5.      In December 2017, Benefit Street loaned the Debtor $68 million (the

“Loan”) to finance the completion of construction of the Williamsburg Hotel (the “Hotel”) in

Williamsburg, Brooklyn. See Ex. A (Loan Agreement between 96 Wythe Acquisition LLC as

Borrower and Benefit Street Partners Realty Operating Partnership, L.P. as Lender (December 13,

2017)). The loan was secured by mortgage liens on and security interests in, among other things,

the Hotel, the real property on which it stands, and all improvements, easements, fixtures, personal


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property, leases, rents, proceeds and agreements of the Hotel.          See Ex. B (Consolidation,

Modification, Spreader and Extension Agreement - 96 Wythe Acquisition LLC as mortgagor

(Borrower) to Benefit Street Partners Realty Operating Partnership, L.P. as mortgagee (Lender)

(December 13, 2017)).

                6.      The Loan matured in June 2019 – eight months before the COVID-19

pandemic – but the Debtor did not repay any principal or interest then and has not done so since.

In the months before the Loan matured, the Debtor repeatedly defaulted by, among other things,

failing to (i) pay any monthly interest since December 2018, (ii) discharge mechanics’ liens that

had attached to the property, (iii) complete construction of the Hotel in accordance with the parties’

agreements, and (iv) reimburse Benefit Street’s costs and expenses.

                7.      Before maturity, the Loan was interest only and did not amortize. Thus, the

unpaid principal balance of the loan remains $68 million. That balance has accrued interest at (i)

the original interest rate of LIBOR plus 6.25%, together with (ii) default interest of 5.0%. The

Debtor also owes Benefit Street for late fees, protective advances and other amounts, all of which

have also accrued interest and default interest.

                8.      These accruals have significantly increased Benefit Street’s secured claim.

As of April 9, 2021, the total amount of that claim was over $89 million. A computation is attached

as Exhibit C.

                9.      In addition, beginning in January 2020, the Debtor stopped paying real

estate taxes and other charges on the real property underlying the Hotel. As of today, over $3.26

million in unpaid taxes, late charges, interest, and penalties have accrued and become tax liens.

See Debtor’s Schedules & Statements of Financial Affairs at 6-9, ECF No. 31. Approximately $1

million in further semiannual real estate taxes are due on July 1.




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                  10.      In addition, the Debtor did not pay over $550,000 in prepetition electricity,

gas, and water charges. Id. The water charges, totaling approximately $100,000, also became

liens on the property. Id. at 8.

The New York State Foreclosure Action
                  11.      In June 2019, Benefit Street filed an action to foreclose its mortgage. See

BSPRT 2018-FL3 Issuer, Ltd. v. 96 Wythe Acquisition LLC, No. 653396/2019 (N.Y. Sup. Ct. June

11, 2019). In February 2021, shortly before the filing, the Appellate Division, First Department

reversed a lower court decision and directed that a summary judgment of foreclosure be entered in

favor of Benefit Street. In so ruling, it dismissed all of the Debtor’s defenses on the merits. See

Benefit St. Partners Operating P’ship, L.P. v. 96 Wythe Acquisition LLC, No. 2020-03532 (N.Y.

App. Div. Feb. 16, 2021).

                  12.      At the first day hearing, the Debtor confirmed that it did not intend to

relitigate the state court action in this proceeding. Mar. 3, 2021 Hr’g Tr. 20:9-21:16. Nevertheless,

three months into the case, it appears the Debtor has identified new proposed “special litigation

counsel” to investigate whether the Appellate Division’s ruling was obtained by fraud. See

Debtor’s Motion to Extend Time to File Notices of Removal of Civil Actions, ECF No. 35, ¶ 7. It

offers no basis for these allegations, which suggest that, contrary to what the Debtor has expressly

told this Court, the Debtor intends to pursue a litigation path rather than a going concern sale or

reorganization path. Of course, doing so is contrary to the Debtor’s reasons for filing this case in

this Court, and Benefit Street will vigorously contest any such claims. Similarly, the Court should

require the Debtor to make an evidentiary showing before authorizing such a retention or allowing

the expenditure of estate resources or the use of cash collateral on such a frivolous task.2


2
 As noted above, none of Benefit’s Street’s cash collateral should be used for any such investigation, let alone the
pursuit of alleged claims against it.


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The Debtor’s Operations

               13.     The Debtor’s current financial condition remains unclear. Prepetition,

despite countless requests by Benefit Street, the Debtor did not provide the contractually required

financial information. Since the filing, it has provided a series of short-term cash forecasts

continuing through the week of May 31, 2021, but it has yet to provide a 13-week (or longer)

forecast to support a final order on cash collateral usage.

               14.     While the Debtor has provided certain bank statements and agreed forms of

financial reporting, those reports are not current. Despite having an accounting staff of five, it has

not provided Benefit Street with actual results after the last week of March. Those actual results

it has provided, moreover, show the Debtor losing money. During the six weeks postpetition, the

only period for which actual results are available, the Debtor has lost approximately $48,000 –

without inclusion of any accrual for the looming semi-annual real estate tax payment. Given the

seasonal nature of its business, the Debtor is projecting that its revenues will increase. However,

it does not forecast that these increases will generate significant profits (even without making any

adequate protection payments to the lender or any provision for the payment of expenses such as

real estate taxes). In fact, its most recent 4-week budget projects aggregate EBITDA of less than

$19,000. Further, although hotel revenues generally increase in the summer months, they also just

as predictably generally decrease in the winter months. The increase in revenue projected by the

Debtor over the next several months should be viewed as a welcome but temporary occurrence.

               15.     The Debtor’s most recent operating report reflects total cash of $506,481.

See Debtor’s April 2021 Operating Report at 3, ECF No. 34.




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               16.     The Debtor’s meager reported earnings and limited cash balance create

significant concern about its ability to pay a semi-annual tax bill of slightly less than $1 million,

which falls due in a little more than one month.

The Debtor Has Identified No Restructuring Options

               17.     Although the Loan matured over two years ago, the Debtor has never

advanced any plan to repay Benefit Street or its other creditors. At the first hearing in the

foreclosure action, it claimed that it was ready to refinance Benefit Street and just required a brief

adjournment. Over the ensuing two years of litigation, however, no such refinancing materialized.

Since it filed this case, the Debtor has not identified any specific restructuring path. Nor does the

Debtor explain how the use of Benefit Street’s cash collateral will help it reorganize or pursue a

value maximizing transaction for creditors (as opposed to preserving option value for its

controlling equity holders).

               18.     Although the Debtor has suggested – without evidence – that there is equity

in the Hotel, its actions do not suggest this is the case. Since the Loan matured over two years

ago, the Debtor has largely focused on litigating with Benefit Street, rather than refinancing the

Loan or selling the Hotel. As a result, Benefit Street’s claim has increased by almost $21 million

or 30%, directly eroding the equity holders’ financial interest in the Hotel. Why a rational hotel

owner that believed it had significant equity would multiply legal fees that become part of the loan

balance and allow default interest to accrue for years on that balance is unclear.

               19.     These developments will substantially complicate any refinancing or

recapitalization. While the Debtor’s schedules do not assign a precise value to the Hotel, they

assert that the value was approximately $104 million in 2017 when the Loan closed. See Debtor’s

Schedules & Statements of Financial Affairs at 3, ECF No. 31. The schedules concede that the




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value is lower today. The Debtor’s operating reports are clearer, assigning their property, plant

and equipment a value of $95.5 million. See Debtor’s Amended March 2021 Operating Report at

19, ECF No. 30.

               20.     Even using the inflated value of $104 million, which the Debtor admits is

too high, the amount necessary to refinance Benefit Street’s secured debt and pay off the existing

real estate taxes and water charges implies a loan to value ratio of 89%. ($89 Million + $3.35

million / $104 million = 88.8%). The Debtor has offered no evidence that it can obtain such a loan

– which would dramatically exceed the typical market maximum of a 65% LTV. A successful

recapitalization is, similarly, unlikely. Where, as here, the secured claims are equal to or only

slightly less than the value of the assets, the potential to provide equity returns of 30% or more to

investors is very limited.

               21.     To date, the Debtor has done nothing to show that it can achieve either of

these daunting objectives.       While it has suggested that it will pursue an unspecified

recapitalization, the Debtor has made no demonstrable progress in that direction – despite three

months in bankruptcy. Several weeks ago, it informed Benefit Street that it had picked an advisor

(without consultation) to assist it in identifying potential investors. When Benefit Street inquired

who this advisor was, however, the Debtor declined to name it. Nor, despite its stated intention to

the contrary, has the Debtor filed any retention application. The absence of progress raises concern

that this case will follow the same trajectory as those of certain of its affiliates who also happen to

be before this Court; in those cases, the Debtor’s equity holders also could not effect

recapitalization.

               22.     Aware of the uncertain prospects for any reorganization, as part of cash

collateral negotiations, Benefit Street asked the Debtor to commit to (i) hiring a broker to pursue




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a refinancing or sale and (ii) establish a schedule on which the broker could begin to market a

transaction. At the request of Debtor’s counsel for suggestions, Benefit Street even proposed two

alternative brokers, one of which, Newmark, was just retained by the Debtor’s affiliate in the 232

Siegel Development LLC case, which is also pending in the Court. See ECF No. 103, Case No.

20-22844 (Bankr. S.D.N.Y. 2020) (Drain, B.J.). The Debtor, however, has not agreed to hire such

a broker or establish any schedule for pursuing a refinancing or sale.

                                           OBJECTION
               23.     A debtor-in-possession may not use cash collateral without the consent of

each creditor with an interest in the collateral or court approval. See 11 U.S.C. § 363(c)(2). Court

approval requires the Debtor to demonstrate that it is providing adequate protection of each secured

creditor’s interest in the property. 11 U.S.C. § 363(e).

               24.     Adequate protection protects the secured creditor from a diminution in

value of its interest in collateral during the period of its use. See In re Worldcom, Inc., 304 B.R.

611, 618-19 (Bankr. S.D.N.Y. 2004). While adequate protection may take different forms, the

Bankruptcy Code lists several examples, including periodic cash payments, replacement liens, and

other relief that “will result in the realization . . . of the indubitable equivalent of [the secured

creditor’s] interest in such property.” 11 U.S.C. § 361.

               25.     The burden of proof is on the debtor to establish that the interests of its

secured creditors are adequately protected. See 11 U.S.C. § 363(p)(1) (“In any hearing under this

section . . . the trustee has the burden of proof on the issue of adequate protection.”). “A finding

of adequate protection should be premised on facts, or on projections grounded on a firm

evidentiary basis.” In re Mosello, 195 B.R. 277, 292 (Bankr. S.D.N.Y. 1996).

               26.     Despite these clear standards, the Debtor does not demonstrate that it will

provide Benefit Street with adequate protection for the use of its cash collateral. The Debtor


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suggests that Benefit Street enjoyed an equity cushion in its collateral when it made the loan over

three years ago, Motion ¶ 46, but it offers no evidence to demonstrate such a cushion exists today

– after more than a year of the pandemic and two years of default interest, fees and charges – let

alone one that it is large enough to provide Benefit Street with adequate protection. Indeed, the

Debtor’s own schedules concede that, while the Hotel had a value of $104 million when the Loan

closed in 2017, that value is lower today. See Debtor’s Schedules & Statements of Financial

Affairs at 3, ECF No. 31. Their operating reports suggest a value of approximately $95 million

(without any substantiation for why that would be the proper value). See Debtor’s Amended March

2021 Operating Report at 19, ECF No. 30. Even using $104 million – which the Debtor concedes

is too much – this implies an equity cushion of less than $11 million on more than $93 million in

secured claims – or about 11%. Such a minimal amount cannot provide Benefit Street with

adequate protection. See In re Fortune Smooth (U.S.) Ltd., No. 93 B 40907 (JLG), 1993 WL

261478, at *6 (Bankr. S.D.N.Y. July 6, 1993) (“It is generally agreed that an equity cushion of

twenty percent (20%) or more constitutes adequate protection, and an equity cushion of less than

eleven percent (11%) is not sufficient.”).

               27.     Similarly, “to the extent the Lender does not already have a post-petition

security interest” in its collateral, the Debtor offers Benefit Street such an interest. Motion ¶ 46.

This is, however, an empty gesture. As the Debtor well knows, Benefit Street already holds such

post-petition security interests under the terms of its agreements and Section 552 of the Bankruptcy

Code. See Ex. D (Assignment of Leases and Rents between 96 Wythe Acquisition LLC as

Borrower and Benefit Street Partners Realty Operating Partnership, L.P. as Lender (December 13,

2017)); Ex. B (Consolidation, Modification, Spreader and Extension Agreement - 96 Wythe

Acquisition LLC as mortgagor (Borrower) to Benefit Street Partners Realty Operating Partnership,




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L.P. as mortgagee (Lender) (December 13, 2017), at Sec. 1.4).

               28.       The Debtor also suggests that merely paying normal course operating

expenses in accordance with their proposed budget will provide Benefit Street with adequate

protection. Motion ¶ 46. The Debtor, however, offers no authority for the proposition that

preservation of ongoing business operations itself constitutes adequate protection (without any

plan for the cases or agreement upon a sale or refinancing path). Whatever the merit of the legal

proposition, moreover, it has no bearing here, where the Debtor has offered no evidence to suggest

that the spending provided for under the proposed budget will preserve or enhance value for

Benefit Street. See, e.g., Resolution Trust Corp. v. Swedeland Dev. Grp., Inc. (In re Swedeland

Dev. Grp., Inc.), 16 F.3d 552, 566 (3d Cir. 1994) (rejecting reliance on speculative projections);

In re YL West 87th Holdings I, LLC, 423 B.R. 421 (Bankr. S.D.N.Y. 2010) (same); Mosello, 195

B.R. 290 (same).

               29.       Despite the Debtor’s history of litigation and the inadequacy of the adequate

protection package that it offers to Benefit Street in connection with its Motion, Benefit Street does

not categorically oppose the Motion. Rather, Benefit Street is prepared to consent to the use of its

cash collateral subject to the inclusion of the following additional elements of adequate protection:

                        Complete and Timely Report Financial and Operational Information on the
                         Hotel. Benefit Street must have accurate current reporting of the Debtor’s
                         operating and financial information. This would include (but not be limited
                         to) the following information which should be provided on an expedited
                         basis:

                            o Forward Booking Report for all revenue outlets (rooms, restaurant,
                              banquet etc.)

                            o Prepaid Revenue Report

                            o Accounts Receivable Report

                            o Accounts Payable Report



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                                o Budget Variance Report

                                o Forecast of real estate and other taxes

                                o Forecast of insurance financing and premium requirements

                                o STR Reports

                           These reports, moreover, must be provided on a timely basis. To date, the
                           Debtor has been consistently late in producing the reports agreed to under
                           the interim cash collateral orders. For example, it does not provide Benefit
                           Street with weekly reporting of its revenues, expenses and budget variances.
                           The most recent actual numbers Benefit Street has are from the end of
                           March. Indeed, it generally does not provide Benefit Street with
                           information until after filing the Monthly Operating Report. Often,
                           moreover, it needs to be reminded to provide reports. Such delays and
                           sloppiness must cease. Transparency is expected in Chapter 11, especially
                           where the lender is the sole source of funding.

                          Agreed Budget with Limited Variance and Weekly Reporting of Actual
                           Results. Any use of cash collateral must be subject to an agreed budget
                           approved by Benefit Street. Any such budget should include line items for
                           such matters as the beginning cash balance, real estate taxes, accrued
                           professional fees3 and US Trustee fees, and debt service, all of which are
                           absent from the Debtor’s proposed budget. Furthermore, any line item in
                           the budget may not be exceeded by more than 10% without written consent
                           from Benefit Street. In addition, to allow Benefit Street to assess the
                           accuracy of the budget and any variances on a real time basis, the Debtor
                           must provide a weekly report showing variances to the approved budget.

                          Dual Track Restructuring Process. The Debtor has had over two years to
                           develop an approach to pay its creditors, but has yet to do so. The passage
                           of time, moreover, has narrowed its options and greatly diminished the
                           prospects for success. To date, the Debtor has spoken in only general terms
                           about pursuing a recapitalization, but has made no apparent progress in this
                           direction. Indeed, it has yet to retain an advisor to assist it in identifying
                           potential investors.

                           As a condition of using Benefit Street’s cash collateral, the Debtor should
                           proceed down dual paths of seeking a refinancing and asset sale. In
                           particular, the Debtor should retain an acceptable broker to refinance or sell
                           the Hotel. Benefit Street may credit bid its debt at any such sale. To assure
                           a timely transaction that protects the estates and its creditors, the Court
                           should impose the following schedule:


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 Benefit Street will not consent to the use of its cash collateral to pay professional fees in the absence of an agreed
budget and consensual path forward in the case.


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                          Date                                 Deadline

                      June 28, 2021       Deadline to File Broker Retention Application

                      July 19, 2021       Deadline for Entry of Order Approving Broker
                                          Retention Application

                      July 22, 2021       Deadline to File Sale Motion, Plan, Disclosure
                                          Statement and Disclosure Statement Motion

                    August 19, 2021       Deadline for Approval of Bidding Procedures

                    August 26, 2021       Deadline for Entry of Disclosure Statement
                                          Order

                   September 23, 2021     Deadline for Submission of Qualified Bids

                   September 30, 2021     Deadline for Auction

                    October 7, 2021       Deadline for Selection of Highest & Best Bid

                    October 14, 2021      Deadline for Entry of Confirmation Order/Sale
                                          Order

                    October 28, 2021      Deadline for Plan Effective Date/Sale Closing



                   Super Priority Claims and Replacement Liens. Benefit Street should
                    receive a replacement adequate protection lien on all assets of the Debtor
                    together with a super-priority claim to the extent of any diminution in value,
                    including the use of cash collateral, which liens and super priority claims
                    shall not be subject to any carve out other than those agreed to between
                    Benefit Street and the US Trustee and, solely in the event of a consensual
                    use of cash collateral, those agreed to between the Lender and the Debtor
                    for the payment of professional fees. Given the absence of alternative
                    unencumbered collateral, Benefit Street should receive replacement liens
                    on the proceeds of avoidance actions. It will consent to marshal its other
                    collateral first before seeking to collect avoidance action proceeds.

                   No Use of Cash Collateral for the Debtor’s “Investigation” of the State
                    Court Judgment. Benefit Street should not be forced to fund a frivolous
                    attempt to “investigate” its actions in the litigation that underlies the state
                    court judgment or any other alleged claims against Benefit Street.

                   Professional Fee Carve Out. The form of order the Debtor submitted
                    imposes a professional fee carve out on Benefit Street’s collateral. Benefit
                    Street has not consented to the use of its cash collateral for this purpose and


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                           will not consent in the absence of a global agreement on the use of cash
                           collateral.4 See e.g. In re Addison Ltd. P’ship, 185 B.R. 766, 768 (Bankr.
                           N.D. Ill. 1995) (unless the secured parties consent, and the interest secured
                           by the collateral is not adequately protected, then cash collateral may not
                           properly be used to pay administrative expenses); In re 680 Fifth Avenue
                           Assocs., 154 B.R. 38, 41 (Bankr. S.D.N.Y. 1993) (denying use of rents to
                           pay administrative expenses where debtors failed to prove that the secured
                           creditor's interest would be adequately protected). Any fees for the Debtor’s
                           professionals5 (using the lender’s cash collateral) should be paid in
                           connection with a Chapter 11 plan or other acceptable outcome to the
                           lender.

                          Events of Default. Use of Benefit Street’s cash collateral must be subject
                           to customary restrictions and events of default.




4
 The lender previously agreed to a limited carve-out on the adequate protection liens for (i) $10,000 for chapter 7
administration expenses to the extent necessary, (y) the Debtor’s payment of fees incurred under 28 U.S.C. § 1930
and (z) statutory fees required to be paid to the Clerk of the Court.
5
  The lender is willing to discuss an appropriate retainer and payment of expenses for an acceptable broker as part of
a dual-track marketing process.


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                                         CONCLUSION

               30.     For the foregoing reasons, the Court should deny the Debtor’s Motion on

the terms it has proposed. It should instead enter an order allowing the use of cash collateral in

accordance with the Debtor’s proposed budget on the terms outlined in this objection.

Dated: May 26, 2021
       New York, New York

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                                LOAN AGREEMENT




                             dated as of December 13, 2017


                                       between


                           96 WYTHE ACQUISITION LLC,

                                     as Borrower


                                         and


     BENEFIT STREET PARTNERS REALTY OPERATING PARTNERSHIP, L.P.,
                              as Lender




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                                      LOAN AGREEMENT

       THIS LOAN AGREEMENT, dated as of December 13, 2017 (as amended, restated,
replaced, supplemented or otherwise modified from time to time, this “Agreement”), between
BENEFIT STREET PARTNERS REALTY OPERATING PARTNERSHIP, L.P., a
Delaware limited partnership, having an address at 142 West 57th Street, Suite 1201, New York,
New York 10019 (together with its successors and/or assigns, “Lender”) and 96 WYTHE
ACQUISITION LLC, a New York limited liability company, having its principal place of
business at 1274 49th Street, Suite 184, Brooklyn, New York 11219 (together with its successors
and/or assigns, “Borrower”).

                                          RECITALS:

        WHEREAS, Borrower desires to obtain the Loan (defined below) from Lender; and

       WHEREAS, Lender is willing to make the Loan to Borrower, subject to and in
accordance with the terms of the Loan Documents (defined below).

        NOW, THEREFORE, in consideration of the making of the Loan by Lender and the
covenants, agreements, representations and warranties set forth in this Agreement, the parties
hereto hereby covenant, agree, represent and warrant as follows:

                                          ARTICLE 1

                      DEFINITIONS; PRINCIPLES OF CONSTRUCTION

        Section 1.1    Definitions.

       For all purposes of this Agreement, except as otherwise expressly required or unless the
context clearly indicates a contrary intent:

        “Account Collateral” shall mean (i) the Accounts, and all cash, checks, drafts,
certificates and instruments, if any, from time to time deposited or held in the Accounts from
time to time; (ii) any and all amounts invested in Permitted Investments; (iii) all interest,
dividends, cash, instruments and other property from time to time received, receivable or
otherwise payable in respect of, or in exchange for, any or all of the foregoing; and (iv) to the
extent not covered by clauses (i) - (iii) above, all “proceeds” (as defined under the UCC as in
effect in the State in which the Accounts are located) of any or all of the foregoing.

        “Accounts” shall mean the Cash Management Account, the Clearing Account, the
Casualty and Condemnation Account, the Reserve Accounts and any other account established
by this Agreement or the other Loan Documents.

        “Additional Costs” shall have the meaning set forth in Section 2.5(b)(vii) hereof.

        “Additional Interest” shall mean an amount equal to one-half of one percent (0.50%) of
the face amount of the Note.



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       “Adjusted LIBOR Rate” shall mean, with respect to the applicable Interest Period, the
quotient of (i) LIBOR applicable to such Interest Period, divided by (ii) one (1) minus the
Reserve Percentage:

Adjusted LIBOR Rate             =                  LIBOR
                                           (1 – Reserve Percentage)

        “Affiliate” shall mean, as to any Person, any other Person that (i) owns directly or
indirectly twenty percent (20%) or more of all equity interests in such Person, (ii) is in Control
of, is Controlled by or is under common ownership or Control with such Person, (iii) is a director
or executive officer of such Person or of an Affiliate of such Person, and/or (iv) is the spouse,
issue or parent of such Person.

        “Affiliated Manager” shall mean any managing agent of the Property in which
Borrower, Guarantor, any SPE Component Entity (if any) or any Affiliate of such entities has,
directly or indirectly, any legal, beneficial or economic interest.

        “ALTA” shall mean American Land Title Association, or any successor thereto.

         “Alternate Index” shall mean either (1) a floating rate index (a) that is commonly
accepted by market participants in commercial or multifamily real estate loans, (b) that is
publicly recognized by ISDA as an alternative to LIBOR and (c) for which ISDA has approved
an amendment to hedge agreements, generally providing such floating rate index as a standard
alternative to LIBOR or, at Lender’s election, (2) a floating rate index then being used by any
institutional warehouse or repurchase lender that is not an Affiliate of Lender providing
financing backed in whole or in part by an interest in the Loan.

       “Alternate Rate” shall mean the greater of (i) the sum of (A) a per annum rate of interest
of the Alternate Index, determined on the related Determination Date and (B) Alternate Rate
Spread (“Original Alternate Rate”) and (ii) Alternate Rate Floor. Notwithstanding the
foregoing, if the Operating Condition is satisfied after the occurrence of a Rate Increase Event,
the Alternate Rate shall be restored to the Original Alternate Rate. Any change in the Alternate
Rate as hereinabove set forth shall become effective commencing with the immediately
succeeding Interest Period.

        “Alternate Rate Floor” shall mean six and seventy-five hundredths percent (6.75%).

         “Alternate Rate Loan” shall mean the Loan at such time as interest thereon accrues at a
rate of interest based upon the Alternate Rate.

        “Alternate Rate Spread” shall mean 5.75%

      “Alteration Threshold” shall mean an amount equal to 5% of the outstanding principal
amount of the Loan.

        “Annual Budget” shall mean the operating and capital budget for the Property setting
forth, on a month-by-month basis, in reasonable detail, each line item of Borrower’s good faith


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estimate of anticipated Gross Rents, Operating Expenses and FF&E expenditures for the
applicable Fiscal Year.

       “Approved Accounting Method” shall mean GAAP, the Uniform System of Accounts,
federal tax or cash basis accounting or such other method of accounting, in each case
consistently applied, as may be reasonably acceptable to Lender.

        “Approved Annual Budget” shall have the meaning set forth in Section 4.12 hereof.

        “Approved Extraordinary Expense” shall mean an operating expense of the Property
not set forth on the Approved Annual Budget but approved by Lender in writing (which such
approval shall not be unreasonably withheld, delayed or conditioned).

        “Approved Operating Expense” shall mean an operating expense of the Property set
forth on the Approved Annual Budget.

        “Assignment of Leases” shall mean that certain first priority Assignment of Leases and
Rents, dated as of the date hereof, from Borrower, as assignor, to Lender, as assignee, as the
same may be amended, restated, replaced, supplemented or otherwise modified from time to
time.

       “Assignment of Listing Agreement” shall mean that certain Assignment of Listing
Agreement and Subordination of Leasing Commissions dated as of the date hereof among
Lender, Borrower and Listing Agent, as the same may be amended, restated, replaced, extended,
renewed, supplemented or otherwise modified from time to time.

       “Assignment of Management Agreement” shall mean that certain Assignment of
Management Agreement and Subordination of Management Fees dated as of the date hereof
among Lender, Borrower and Manager, as the same may be amended, restated, replaced,
extended, renewed, supplemented or otherwise modified from time to time.

       “Award” shall mean any compensation paid by any Governmental Authority in
connection with a Condemnation in respect of all or any part of the Property.

      “Bank” shall be deemed to refer to the bank or other institution maintaining the Clearing
Account pursuant to the Clearing Account Agreement.

        “Bankruptcy Code” shall mean Title 11 of the United States Code entitled
“Bankruptcy”, as amended from time to time, and any successor statute or statutes and all rules
and regulations from time to time promulgated thereunder, and any comparable foreign laws
relating to bankruptcy, insolvency or creditors’ rights.

        “Bankruptcy Event” shall mean the occurrence of any one or more of the following: (i)
Borrower or any SPE Component Entity shall commence any case, proceeding or other action
(A) under the Bankruptcy Code and/or any Creditors Rights Laws seeking to have an order for
relief entered with respect to it, or seeking to adjudicate it a bankrupt or insolvent, or seeking
reorganization, liquidation or dissolution or (B) seeking appointment of a receiver, trustee,
custodian, conservator or other similar official for it or for all or any substantial part of its assets;

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(ii) Borrower or any SPE Component Entity shall make a general assignment for the benefit of
its creditors; (iii) any Restricted Party (or Affiliate thereof) files, or joins or colludes in the filing
of, (A) an involuntary petition against Borrower or any SPE Component Entity under the
Bankruptcy Code or any other Creditors Rights Laws, or solicits or causes to be solicited or
colludes with petitioning creditors for any involuntary petition under the Bankruptcy Code or
any other Creditors Rights Laws against Borrower or any SPE Component Entity or (B) any
case, proceeding or other action seeking issuance of a warrant of attachment, execution, distraint
or similar process against all or any substantial part of Borrower’s or any SPE Component
Entity’s assets; (iv) Borrower or any SPE Component Entity files an answer consenting to or
otherwise acquiescing in or joining in any involuntary petition filed against it, by any other
Person under the Bankruptcy Code or any other Creditors Rights Laws, or solicits or causes to be
solicited or colludes with petitioning creditors for any involuntary petition from any Person; (v)
any Restricted Party (or Affiliate thereof) consents to or acquiesces in or joins in an application
for the appointment of a custodian, receiver, trustee, or examiner for Borrower, any SPE
Component Entity or any portion of the Property; (vi) Borrower or any SPE Component Entity
makes an assignment for the benefit of creditors, or admits, in writing or in any legal proceeding,
its insolvency or inability to pay its debts as they become due; (vii) any Restricted Party (or
Affiliate thereof) contesting or opposing any motion made by Lender to obtain relief from the
automatic stay or seeking to reinstate the automatic stay in the event of any proceeding under the
Bankruptcy Code or any other Creditors Rights Laws involving Guarantor or its subsidiaries;
(viii) any Restricted Party (or Affiliate thereof) taking any action in furtherance of, in collusion
with respect to or indicating its consent to, approval of, or acquiescence in, any of the acts set
forth in items (i) through (vii) above; and (ix) in the event Lender receives less than the full value
of its claim in any proceeding under the Bankruptcy Code or any other Creditors Rights Laws,
Guarantor or any of its Affiliates receiving an equity interest or other financial benefit of any
kind as a result of a “new value” plan or equity contribution.

     “Borrower Party” and “Borrower Parties” shall mean each of Borrower, any SPE
Component Entity, any Affiliated Manager and Guarantor.

          “Breakage Costs” shall have the meaning set forth in Section 2.5(b) hereof.

          “Broker” shall have the meaning set forth in Section 15.3 hereof.

       “Business Day” shall mean a day on which commercial banks are not authorized or
required by applicable law to close in New York, New York.

        “Business Plan” shall mean, collectively, Borrower’s plan to pay for and complete all
capital improvements at the Property, together with (and as more specifically set forth in) the
budget relating thereto, as each of the foregoing are attached to the Borrower’s Certification of
even date herewith given by Borrower in favor of Lender, and together with the Plans and
Specifications (as each of the same may hereafter be amended and/or supplemented, with
Lender’s prior written consent).

          “Business Plan Reserve Account” shall have the meaning set forth in Section 7.8
hereof.



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        “Business Plan Reserve Funds” shall have the meaning set forth in Section 7.8 hereof.

       “Business Plan Reserve Funds Borrower Deposit” shall have the meaning set forth in
Section 7.8 hereof.

       “Business Plan Reserve Funds Future Disbursement Conditions” shall mean that
Lender has received evidence, in form and substance satisfactory to Lender, that Borrower has
spent the entire amount of the Business Plan Reserve Funds Initial Disbursement for the
Business Plan Work (such evidence to include, without limitation, copies of the receipts for any
such purchases, as applicable).

        “Business Plan Reserve Funds Initial Disbursement” shall have the meaning set forth
in Section 7.8 hereof.

       “Business Plan Work” shall mean all work and costs contemplated to be incurred
pursuant to the Business Plan.

       “Carveout Guaranty” shall mean that certain Guaranty of Recourse Obligations
executed by Guarantor and dated as of the date hereof.

        “Cash Application Statement” shall have the meaning set forth in Section 8.4 hereof.

        “Cash Management Account” shall have the meaning set forth in Section 8.5 hereof.

       “Cash Management Agreement” shall mean that certain Cash Management Agreement,
dated as of the date hereof, executed by Borrower, Lender and Wells Fargo Bank, N.A., as the
same may be amended, restated, replaced, supplemented or otherwise modified from time to
time.

        “Cash Sweep Period” shall mean a period (i) commencing upon any of (A) the
occurrence and continuance of an Event of Default, and (B) the Debt Service Coverage Ratio
(Combined) being less than 1.25 to 1.00; and (ii) expiring upon (x) with regard to any Cash
Sweep Period commenced in connection with clause (A) above, the cure (if applicable) of such
Event of Default, and (y) with regard to any Cash Sweep Period commenced in connection with
clause (B) above, the date that the Debt Service Coverage Ratio (Combined) is equal to or
greater than 1.25 to 1.00 for six (6) consecutive months. Notwithstanding the foregoing, a Cash
Sweep Period shall not be deemed to expire in the event that a Cash Sweep Period then exists for
any other reason. Borrower acknowledges that a Cash Sweep Period shall be deemed to exist as
of the Closing Date on account of clause (i)(B) above.

        “Casualty” shall have the meaning set forth in Section 5.2.

        “Casualty and Condemnation Account” shall mean an Account into which any Net
Proceeds collected after the occurrence of a Casualty or Condemnation, as required pursuant to
Article 5 hereof, shall be deposited.

        “Casualty Consultant” shall have the meaning set forth in Section 5.4 hereof.


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        “Clearing Account” shall have the meaning set forth in Section 8.5 hereof.

       “Clearing Account Agreement” shall mean that certain Deposit Account Control
Agreement by and among Borrower, Lender and Wells Fargo Bank, N.A. dated as of the date
hereof, as the same may be amended, restated, replaced, supplemented or otherwise modified
from time to time in accordance with the terms hereof.

        “Closing Date” shall mean the date of the funding of the Loan.

        “Co-Lender” shall have the meaning set forth in Section 9.7 hereof.

        “Collateral Assignment of Interest Rate Cap Agreement” shall mean that certain
Collateral Assignment of Interest Rate Cap Agreement, dated as of the date hereof, executed by
Borrower in connection with the Loan for the benefit of Lender, as the same may be amended,
restated, replaced, supplemented or otherwise modified from time to time.

        “Completion” shall mean the substantial completion of the Business Plan Work on or
prior to the Completion Date substantially in accordance with all Plans and Specifications, the
Business Plan, all Legal Requirements, and this Agreement such that the Property is ready for
full occupancy, such compliance to be evidenced to the satisfaction of Lender; together with the
delivery to Lender of one or more temporary certificate of occupancy (if subject to any
conditions, such conditions being acceptable to Lender) for all Improvements and evidence that
all other approvals from Governmental Authorities have been issued and all other Legal
Requirements have been satisfied so as to allow the Improvements to be used and operated in
accordance with the Loan Documents.

        “Completion Date” shall mean December 31, 2018.

      “Completion Guaranty” shall mean that certain Guaranty of Completion executed by
Guarantor and dated as of the date hereof.

        “Condemnation” shall mean any permanent or temporary taking by any Governmental
Authority as the result, in lieu or in anticipation, of the exercise of the right of condemnation or
eminent domain, of all or any part of the Property, or any interest therein or right accruing
thereto, including any right of access thereto or any change of grade affecting the Property or any
part thereof.

        “Contract” shall mean any contract or agreement with any architect, engineer,
contractor, subcontractor, management agent, leasing agent, sales agent, service and maintenance
agent, or any other third party, whether existing as of the Closing Date or thereafter arising,
relating to the design, construction, ownership, condition, use, occupancy, possession,
management, operation, space leasing, service, maintenance or repair of, or otherwise in respect
of, the Property, as the same may be amended, restated, replaced, supplemented or otherwise
modified from time to time (but the same shall not be deemed to include any Lease or the
Management Agreement).

       “Control” as to any Person, shall mean the possession, directly or indirectly, of the
power to direct or cause the direction of the management, policies or activities of such Person,

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whether through ownership of voting securities or other beneficial interests, by contract or
otherwise, and the terms “controlled” or “controlling” shall have a correlative meaning.

      “Counterparty” shall mean the counterparty under any Interest Rate Cap Agreement or
Replacement Interest Rate Cap Agreement, which counterparty shall satisfy the Minimum
Counterparty Rating and otherwise be acceptable to Lender.

        “Covered Rating Agency Information” shall mean any Provided Information furnished
to the NRSROs in connection with issuing, monitoring and/or maintaining the Securities.

        “Credit Card Direction Notice” shall have the meaning set forth in Section 8.2 hereof.

        “Creditors Rights Laws” shall mean any existing or future law of any jurisdiction,
domestic or foreign, relating to bankruptcy, insolvency, reorganization, conservatorship,
arrangement, adjustment, winding-up, liquidation, dissolution, composition or other relief with
respect to its debts or debtors.

       “Critical Hotel Features” shall mean all guest rooms, the pool and related facilities, all
food and beverage outlets (including the watertower bar and rooftop bar area) and all other
Improvements necessary for the full use and operation of any of the foregoing.

        “Debt” shall mean the outstanding principal amount set forth in, and evidenced by, this
Agreement and the Note together with all interest accrued and unpaid thereon and all other sums
(including the Minimum Interest Payment, Additional Interest and Breakage Costs, if applicable)
due to Lender in respect of the Loan under the Loan Documents.

       “Debt Service” shall mean, with respect to any particular period of time, scheduled
principal (if applicable) and interest payments hereunder.

       “Debt Service (Combined)” shall mean, with respect to any particular period of time,
the sum of (A) Debt Service and (B) the Mezzanine Loan Monthly Debt Service and all other
sums (including, without limitation, any accelerated principal balance) due under the Mezzanine
Loan.

        “Debt Service Coverage Ratio (Combined)” shall mean the ratio calculated by Lender
of (i) the Underwritable Cash Flow to (ii) the aggregate amount of Debt Service (Combined)
which would be due for the twelve (12) month period immediately succeeding the date of
calculation; provided, that, the foregoing shall be calculated by Lender (A) assuming that each of
the Loan and the Mezzanine Loan will be in place for the entirety of said period and (B)
assuming Amortization Payments were due on each Monthly Payment Date for the entirety of
said period.

       “Debt Yield” shall mean, as of any date of calculation, a ratio conveyed as a percentage
in which (i) the numerator is the Underwritable Cash Flow and (ii) the denominator is the then
aggregate outstanding principal balance of the Loan.

      “Deemed Approval Requirements” shall mean, with respect to any matter, that (i) no
Event of Default shall have occurred and be continuing (either at the date of any notices

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specified below or as of the effective date of any deemed approval), (ii) Borrower shall have sent
Lender a written request for approval with respect to such matter in accordance with the
applicable terms and conditions hereof (the “Initial Notice”), which such Initial Notice shall
have been (A) accompanied by any and all required information and documentation relating
thereto as may be reasonably required in order to approve or disapprove such matter (the
“Approval Information”) and (B) marked in bold lettering with the following language:
“LENDER’S RESPONSE IS REQUIRED WITHIN FIVE (5) BUSINESS DAYS OF RECEIPT
OF THIS NOTICE PURSUANT TO THE TERMS OF A LOAN AGREEMENT BETWEEN
THE UNDERSIGNED AND LENDER” and the envelope containing the Initial Notice shall
have been marked “PRIORITY-DEEMED APPROVAL MAY APPLY”; (iii) Lender shall have
failed to respond to the Initial Notice within the aforesaid time frame; (iv) Borrower shall have
submitted a second request for approval with respect to such matter in accordance with the
applicable terms and conditions hereof (the “Second Notice”), which such Second Notice shall
have been (A) accompanied by the Approval Information and (B) marked in bold lettering with
the following language: “LENDER’S RESPONSE IS REQUIRED WITHIN FIVE (5)
BUSINESS DAYS OF RECEIPT OF THIS NOTICE PURSUANT TO THE TERMS OF A
LOAN AGREEMENT BETWEEN THE UNDERSIGNED AND LENDER” and the envelope
containing the Second Notice shall have been marked “PRIORITY-DEEMED APPROVAL
MAY APPLY”; and (v) Lender shall have failed to respond to the Second Notice within the
aforesaid time frame. For purposes of clarification, Lender requesting additional and/or clarified
information, in addition to approving or denying any request (in whole or in part), shall be
deemed a response by Lender for purposes of the foregoing.

        “Default” shall mean the occurrence of any event hereunder or under the Note or the
other Loan Documents which, but for the giving of notice or passage of time, or both, would
constitute an Event of Default.

         “Default Rate” shall mean, with respect to the Loan, a rate per annum equal to the lesser
of (i) the Maximum Legal Rate, and (ii) five percent (5%) above the Interest Rate.

       “Determination Date” shall mean, with respect to any Interest Period, the date that is
two (2) London Business Days prior to the first day of such Interest Period.

       “Disclosure Documents” shall mean, collectively, any written materials used or provided
to any prospective investors and/or NRSROs in connection with any public offering or private
placement in connection with a Securitization, including, but not limited to, any preliminary or
final offering circular, prospectus, prospectus supplement, free writing prospectus, private
placement memorandum or other offering documents, marketing materials or information.

      “Eligible Account” shall have the meaning set forth in the Cash Management
Agreement.

      “Eligible Institution” shall have the meaning set forth in the Cash Management
Agreement.

        “Embargoed Person” shall have the meaning set forth in Section 4.26 hereof.



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      “Environmental Indemnity” shall mean that certain Environmental Indemnity
Agreement, dated as of the date hereof, executed by Borrower and Guarantor in connection with
the Loan for the benefit of Lender, as the same may be amended, restated, replaced,
supplemented or otherwise modified from time to time.

      “Environmental Laws” shall have the meaning set forth in the Environmental
Indemnity.

          “Equipment Leases” shall have the meaning set forth in Section 3.36 hereof.

      “ERISA” shall mean the Employee Retirement Income Security Act of 1974, as the same
may heretofore have been or shall be amended, restated, replaced or otherwise modified.

          “Event of Default” shall have the meaning set forth in Section 10.1 hereof.

          “Excess Cash Flow” shall have the meaning set forth in Section 8.1(ix) hereof.

          “Excess Cash Flow Account” shall have the meaning set forth in Section 7.6 hereof.

          “Excess Cash Flow Funds” shall have the meaning set forth in Section 7.6 hereof.

          “Excess Operating Cash Flow Funds” shall have the meaning set forth in Section 8.2
hereof.

          “Exchange Act” shall mean the Securities and Exchange Act of 1934, as amended.

          “Exchange Act Filing” shall have the meaning set forth in Section 9.1 hereof.

          “Exculpated Parties” shall have the meaning set forth in Section 12.1 hereof.

          “Extended Maturity Date” shall have the meaning set forth in Section 2.11 hereof.

       “Extension Fee” shall mean, with respect to first Extension Option, one eighth of one
percent (0.125%) of the outstanding principal amount of the Loan on the date the related
Extension Period is commenced and, with respect to the second Extension Option, one eighth of
one percent (0.125%) of the outstanding principal amount of the Loan on the date the related
Extension Period is commenced.

          “Extension Option” shall have the meaning set forth in Section 2.11 hereof.

          “Extension Period” shall have the meaning set forth in Section 2.11 hereof.

       “FF&E” shall mean furniture, fixtures and equipment at or in or used in connection with
the use, occupancy, operation and maintenance of all or any part of the hotel located on the
Property and of the type customarily utilized in hotel properties such as the Property.

          “FF&E Reserve Account” shall have the meaning set forth in Section 7.3 hereof.

          “FF&E Reserve Funds” shall have the meaning set forth in Section 7.3 hereof.

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          “FF&E Reserve Monthly Deposit” shall have the meaning set forth in Section 7.3
hereof.

       “Fiscal Year” shall mean each twelve (12) month period commencing on January 1 and
ending on December 31 during each year of the term of the Loan.

          “Fitch” shall mean Fitch, Inc.

          “Floor Rate” shall mean six and seventy-five hundredths percent (6.75%).

          “Foreign Taxes” shall have the meaning set forth in Section 2.5(b) hereof.

        “GAAP” shall mean generally accepted accounting principles set forth in the opinions
and pronouncements of the Accounting Principles Board and the American Institute of Certified
Public Accountants and statements and pronouncements of the Financial Accounting Standards
Board (or agencies with similar functions of comparable stature and authority within the
accounting profession), or in such other statements by such entity as may be in general use by
significant segments of the U.S. accounting profession.

          “Government Lists” shall have the meaning set forth in Section 3.27 hereof.

         “Governmental Authority” shall mean any court, board, agency, commission, office or
other authority of any nature whatsoever for any governmental unit (federal, state, county,
district, municipal, city or otherwise) whether now or hereafter in existence.

        “Gross Rents” shall mean an amount equal to the sum of (i) annual rental income
reflected in a current rent roll for all Tenants paying rent and (ii) all income, computed in
accordance with the Approved Accounting Method, derived from the ownership and operation of
the Property from whatever source for the trailing twelve (12) month period, including, without
limitation: (a) all income and proceeds received from rental of rooms, commercial space,
meeting, conference and/or banquet space within the Property including net parking revenue; (b)
all income and proceeds received from food and beverage operations and from catering services
conducted from the Property; (c) all income and proceeds from business interruption, rental
interruption and use and occupancy insurance with respect to the operation of the Property (after
deducting therefrom all necessary costs and expenses incurred in the adjustment or collection
thereof); (d) all Awards for temporary use (after deducting therefrom all costs incurred in the
adjustment or collection thereof and in Restoration of the Property); and (e) all income and
proceeds from judgments, settlements and other resolutions of disputes with respect to matters
which would be includable in this clause (ii) if received in the ordinary course of the Property
operation (after deducting therefrom all necessary costs and expenses incurred in the adjustment
or collection thereof); but excluding, (1) Gross Rents and gross receipts received by lessees,
licensees or concessionaires of the Property; (2) consideration received at the Property for hotel
accommodations, goods and services to be provided at other hotels, although arranged by, for or
on behalf of Borrower or Manager; (3) non-recurring or extraordinary income and proceeds from
the sale or other disposition of goods, capital assets and other items not in the ordinary course of
the Property operation; (4) federal, state and municipal excise, sales and use taxes collected
directly from patrons or guests of the Property as a part of or based on the sales price of any
goods, services or other items, such as gross receipts, room, admission, cabaret or equivalent

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taxes; (5) Awards (except to the extent provided in clause (d) above) or insurance proceeds
(except to the extent provided in clause (c) above); (6) refunds of amounts not included in
Operating Expenses at any time and uncollectible accounts; (7) gratuities collected by the
Property employees; (8) the proceeds of any financing; (9) other income or proceeds resulting
other than from the use or occupancy of the Property, or any part thereof, or other than from the
sale of goods, services or other items sold on or provided from the Property in the ordinary
course of business; (10) any credits or refunds made to customers, guests or patrons in the form
of allowances or adjustments to previously recorded revenues; (11) rents from tenants that are
included in any bankruptcy proceedings; and (12) any disbursements to Borrower from the
Reserve Funds or any other escrow fund established by the Loan Documents or under the
Management Agreement. Gross Rents shall not be diminished as a result of the Security
Instrument or the creation of any intervening estate or interest in the Property or any part thereof.
For purposes of clarity, income calculated under clause (ii) shall not include any income
calculated under clause (i) above.

        “Guarantor” shall mean, individually and collectively, Toby Moskovits and Yechiel
Michael Lichtenstein, and any successor to and/or replacement of any of the foregoing
(including, without limitation, following the occurrence of a Mezzanine Foreclosure, the
applicable substitute for Guarantor provided by Mezzanine Lender in connection with such
Mezzanine Foreclosure (subject to the applicable terms and conditions of the Mezzanine
Intercreditor), in each case, pursuant to and in accordance with the applicable terms and
conditions of the Loan Documents.

      “Guaranty” shall mean, collectively, the Carveout Guaranty and the Completion
Guaranty.

       “Hedge Losses” shall mean all actual losses incurred by Lender or its affiliates in
connection with the hedge positions taken by Lender or its affiliates with respect to the Interest
Rate. Borrower acknowledges that such hedging transactions may include the sale of U.S.
Obligations or other securities and/or the execution of certain derivative transactions, which
hedging transactions would have to be “unwound” if all or any portion of the Loan is paid down.

       “Improvements” shall have the meaning set forth in the granting clause of the Security
Instrument.

        “Indebtedness” shall mean, for any Person, without duplication: (i) all indebtedness of
such Person for borrowed money, for amounts drawn under a letter of credit, or for the deferred
purchase price of property for which such Person or its assets is liable, (ii) all unfunded amounts
under a loan agreement, letter of credit, or other credit facility for which such Person would be
liable if such amounts were advanced thereunder, (iii) all amounts required to be paid by such
Person as a guaranteed payment to partners or a preferred or special dividend, including any
mandatory redemption of shares or interests, (iv) all indebtedness guaranteed by such Person,
directly or indirectly, (v) all obligations under leases that constitute capital leases for which such
Person is liable, and (vi) all obligations of such Person under interest rate swaps, caps, floors,
collars and other interest hedge agreements, in each case whether such Person is liable
contingently or otherwise, as obligor, guarantor or otherwise, or in respect of which obligations
such Person otherwise assures a creditor against loss.

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        “Indemnified Parties” shall mean (i) Lender, (ii) any successor owner or holder of the
Loan or participations in the Loan, (iii) any Servicer or prior Servicer of the Loan, (iv) any
Investor or any prior Investor in any Securities, (v) any trustees, custodians or other fiduciaries
who hold or who have held a full or partial interest in the Loan for the benefit of any Investor or
other third party, (vi) any receiver or other fiduciary appointed in a foreclosure or other Creditors
Rights Laws proceeding, (vii) any officers, directors, shareholders, partners, members,
employees, agents, servants, representatives, contractors, subcontractors, Affiliates or
subsidiaries of any and all of the foregoing, and (viii) the heirs, legal representatives, successors
and assigns of any and all of the foregoing (including, without limitation, any successors by
merger, consolidation or acquisition of all or a substantial portion of the Indemnified Parties’
assets and business), in all cases whether during the term of the Loan or as part of or following a
foreclosure of the Loan.

          “Indemnified Liabilities” shall have the meaning set forth in Section 15.2 hereof.

          “Insurance Account” shall have the meaning set forth in Section 7.2 hereof.

       “Insurance Payment Date” shall mean, with respect to any applicable Policies, the date
occurring 30 days prior to the date the applicable Insurance Premiums associated therewith are
due and payable.

          “Insurance Premiums” shall have the meaning set forth in Section 5.1 hereof.

          “Interest Bearing Accounts” shall mean the FF&E Reserve Account.

          “Interest Period” shall have the meaning set forth in Section 2.6.

       “Interest Rate” shall mean the rate or rates at which the outstanding principal amount of
the Loan bears interest from time to time as determined accordance with the provisions of
Section 2.5 hereof.

        “Interest Rate Cap Agreement” shall mean, as applicable, any interest rate cap
agreement (together with the confirmation and schedules relating thereto) in form and substance
satisfactory to Lender between Borrower and Counterparty or any Replacement Interest Rate
Cap Agreement, in each case which also satisfies the requirements set forth in Section 2.8.

          “Interest Reserve Account” shall have the meaning set forth in Section 7.9 hereof.

          “Interest Reserve Deficiency” shall have the meaning set forth in Section 7.9 hereof.

          “Interest Reserve Deficiency Amount” shall have the meaning set forth in Section 7.9
hereof.

          “Interest Reserve Funds” shall have the meaning set forth in Section 7.9 hereof.

        “Investor” shall mean any investor or potential investor in the Loan (or any portion
thereof or interest therein) in connection with any Secondary Market Transaction.



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        “IRS Code” shall mean the Internal Revenue Code of 1986, as amended from time to
time or any successor statute.

        “Labor and Materials Charge” shall have the meaning set forth in Section 4.8 hereof.

        “Land” shall have the meaning set forth in the Security Instrument.

        “Law Change” shall have the meaning set forth in Section 2.5(b) hereof.

        “Lease” shall have the meaning set forth in the Security Instrument.

        “Legal Requirements” shall mean all federal, state, county, municipal and other
governmental statutes, laws, rules, orders, regulations, ordinances, judgments, decrees, demands
and injunctions of Governmental Authorities affecting the Loan, any Secondary Market
Transaction with respect to the Loan, Borrower, any Guarantor or the Property or any part
thereof or the ownership, construction, alteration, use, management or operation of the Property
or any part thereof, whether now or hereafter enacted and in force, including, without limitation,
the Securities Act, the Exchange Act, Regulation AB, the Dodd-Frank Wall Street Reform and
Consumer Protection Act, zoning and land use laws and the Americans with Disabilities Act of
1990, the rules and regulations promulgated pursuant to any of the foregoing, and all permits,
licenses and authorizations relating thereto, and all covenants, agreements, restrictions and
encumbrances contained in any instruments, either of record or known to Borrower, at any time
in force affecting Borrower, any Guarantor or the Property or any part thereof, including, without
limitation, any which may (i) require repairs, modifications or alterations in or to the Property or
any part thereof or (ii) in any way limit the use and enjoyment thereof.

       “Lender Affiliate” shall mean the Affiliate of Lender that has filed a Registration
Statement.

        “Lender Consultant” shall mean such Person as Lender may designate and engage to
assist Lender in reviewing all or any portions of the Business Plan, the required permits and
approvals for the Business Plan Work, to inspect the Improvements and the Property as Business
Plan Work progresses and to consult with and to provide advice to and to render reports to
Lender and/or Servicer which, at Lender’s option, may be either an officer or employee of
Lender or a consulting architect, engineer or inspector appointed or engaged by Lender or
Servicer at the sole cost and expense of Borrower.

       “Lender Group” shall mean Lender, each of its directors, officers, employees,
representatives, agents and affiliates (including, without limitation, those who have signed the
applicable Registration Statement), and each Person that controls the Affiliate within the
meaning of Section 15 of the Securities Act or Section 20 of the Exchange Act.

        “Liabilities” shall have the meaning set forth in Section 9.2 hereof.

       “LIBOR” shall mean, with respect to each Interest Period, the rate (expressed as a
percentage per annum and rounded upward, as necessary, to the next nearest 1/100th of 1%)
equal to the rate reported for deposits in U.S. dollars, for a one-month period, that appears on
Reuters Screen LIBOR01 Page (or the successor thereto) as of 11:00 a.m., London time, on the

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related Determination Date; provided that, (i) if such rate does not appear on Reuters Screen
LIBOR01 Page as of 11:00 a.m., London time, on such Determination Date, Lender shall request
the principal London office of any four major reference banks in the London interbank market
selected by Lender to provide such bank’s offered quotation (expressed as a percentage per
annum) to prime banks in the London interbank market for deposits in U.S. dollars for a
one-month period as of 11:00 a.m., London time, on such Determination Date for the amounts
for a comparable loan at the time of such calculation and, if at least two such offered quotations
are so provided, LIBOR shall be the arithmetic mean of such quotations; and (ii) if fewer than
two such quotations in clause (i) are so provided, Lender shall request any three major banks in
New York City selected by Lender to provide such bank’s rate (expressed as a percentage per
annum) for loans in U.S. dollars to leading European banks for a one-month period as of
approximately 11:00 a.m., New York City time on the applicable Determination Date for the
amounts for a comparable loan at the time of such calculation and, if at least two such rates are
so provided, LIBOR shall be the arithmetic mean of such rates. Lender’s computation of LIBOR
shall be conclusive and binding on Borrower for all purposes, absent manifest error.

        “LIBOR Loan” shall mean the Loan at such time as interest thereon accrues at a rate of
interest based upon the LIBOR Rate.

       “LIBOR Rate” shall mean the greater of (i) the sum of (A) the Adjusted LIBOR Rate
and (B) LIBOR Spread and (ii) Floor Rate (“Original LIBOR Rate”); provided, however, if the
Operating Condition is not satisfied on or prior to May 31, 2018 (“Rate Increase Event”), the
LIBOR Spread in clause (B) shall be increased to 6.25% and the Floor Rate in clause (ii) shall be
increased to 7.25%. Notwithstanding the foregoing, if the Operating Condition is satisfied after
the occurrence of a Rate Increase Event, the LIBOR Rate shall be restored to the Original
LIBOR Rate. Any change in the LIBOR Rate as hereinabove set forth shall become effective
commencing with the immediately succeeding Interest Period.

        “LIBOR Spread” shall mean five and seventy-five hundredths percent (5.75%).

        “Loan” shall mean the loan made by Lender to Borrower pursuant to this Agreement.

        “Loan Bifurcation” shall have the meaning set forth in Section 9.1 hereof.

        “Loan Documents” shall mean, collectively, this Agreement, the Note, the Security
Instrument, the Assignment of Leases, the Environmental Indemnity, the Assignment of
Management Agreement, the Collateral Assignment of Interest Rate Cap Agreement, the
Carveout Guaranty, Completion Guaranty the Cash Management Agreement and all other
documents executed and/or delivered in connection with the Loan, as each of the same may be
amended, restated, replaced, extended, renewed, supplemented or otherwise modified from time
to time.

       “London Business Day” shall mean any day other than a Saturday, Sunday or any other
day on which commercial banks in London, England are not open for business.

       “Losses” shall mean any and all losses, damages, costs, fees, expenses, claims, suits,
judgments, awards, liabilities (including but not limited to strict liabilities), obligations, debts,
diminutions in value, fines, penalties, charges, amounts paid in settlement, foreseeable and

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unforeseeable consequential damages, litigation costs and attorneys’ fees, in the case of each of
the foregoing, of whatever kind or nature and whether or not incurred in connection with any
judicial or administrative proceedings, actions, claims, suits, judgments or awards.

        “Major Contract” shall mean (i) any management (other than the Management
Agreement), brokerage or leasing agreement or (ii) any cleaning, maintenance, service or other
contract or agreement of any kind (other than Leases) of a material nature (materiality for these
purposes to include contracts in excess of $150,000.00 or which extend beyond one year (unless
cancelable by Borrower on thirty (30) days or less notice without penalty)), in either case relating
to the ownership, leasing, management, use, operation, maintenance, repair or restoration of the
Property, whether written or oral.

        “Major Lease” shall mean any Lease and any instrument guaranteeing or providing
credit support for any Lease.

       “Management Agreement” shall mean the “Management Agreement” as defined in the
Assignment of Management Agreement and any other management agreement entered into by
and between Borrower and Manager in accordance with the terms of this Agreement, pursuant to
which Manager is to provide management and other services with respect to the Property, as the
same may be amended, restated, replaced, extended, renewed, supplemented or otherwise
modified from time to time.

       “Manager” shall mean Williamsburg Hotel BK LLC, a New York limited liability
company, or such other entity selected as the manager of the Property in accordance with the
terms of this Agreement or the other Loan Documents.

        “Material Action” shall mean, with respect to any Person, to institute proceedings to
have such Person be adjudicated bankrupt or insolvent, or consent to the institution of
bankruptcy or insolvency proceedings against such Person or file a petition seeking, or consent
to, reorganization or relief with respect to such Person under any applicable federal, state, local
or foreign law relating to bankruptcy, or consent to the appointment of a receiver, liquidator,
assignee, trustee, sequestrator (or other similar official) of such Person or a substantial part of its
property, or take any action to consolidate or merge such Person with or into any other Person, or
take any action to dissolve or liquidate such Person, or make any assignment for the benefit of
creditors of such Person, or sell all or substantially all of such Person’s assets, or admit in writing
such Person’s inability to pay its debts generally as they become due, or declare or effectuate a
moratorium on the payment of any obligation, or take action in furtherance of any such action.

         “Material Adverse Effect” shall mean any material adverse effect upon (i) the business
operations, economic performance, assets, condition (financial or otherwise), equity, contingent
liabilities, prospects, material agreements or results of operations of Borrower, any SPE
Component Entity, any Guarantor or the Property, (ii) the ability of Borrower or any Guarantor
to perform their respective obligations under any of the Loan Documents, (iii) the enforceability
or validity of any of the Loan Documents, the perfection or priority of any lien created under any
of the Loan Documents or the rights, interests or remedies of Lender under any of the Loan
Documents, or (iv) the value, use operation of, or cash flows from, the Property.



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        “Maturity Date” shall mean June 9, 2019, as such date may be extended pursuant to and
in accordance with Section 2.11 hereof, or such other date on which the final payment of the
principal amount of the Loan becomes due and payable as herein provided, whether at such
stated maturity date, by declaration of acceleration, or otherwise.

        “Maximum Legal Rate” shall mean the maximum non-usurious interest rate, if any, that
at any time or from time to time may be contracted for, taken, reserved, charged or received on
the indebtedness evidenced by the Note and as provided for herein or the other Loan Documents,
under the laws of such state or states whose laws are held by any court of competent jurisdiction
to govern the interest rate provisions of the Loan.

      “Mezzanine Borrower” shall mean the “Borrower” as defined in the Mezzanine Loan
Agreement.

       “Mezzanine Equity Collateral” shall mean the 100% direct and/or indirect equity
ownership interest held by Mezzanine Borrower in Borrower (other than any equity interest in
Borrower held directly by any SPE Component Entity), including all of Mezzanine Borrower’s
equity ownership interests in any SPE Component Entity.

       “Mezzanine Foreclosure” shall mean the transfer of the Mezzanine Equity Collateral to
Mezzanine Lender in connection with the exercise of Mezzanine Lender’s rights and remedies
under the Mezzanine Loan Documents, provided that such transfer is made in accordance with
the applicable terms and conditions of the Mezzanine Intercreditor.

       “Mezzanine Intercreditor” shall mean that certain intercreditor or other similar
agreement by and among Lender and Mezzanine Lender relating to the Loan and the Mezzanine
Loan, as the same may be amended, restated, replaced, supplemented or otherwise modified
from time to time in accordance with its terms.

       “Mezzanine Lender” shall mean WH Mezz Lender, LLC, in its capacity as mezzanine
lender under the Mezzanine Loan, and its successors and/or assigns (to the extent permitted
under the Mezzanine Intercreditor).

      “Mezzanine Loan” shall mean that certain loan in the original principal amount of
$12,500,000.00 made by Mezzanine Lender to Mezzanine Borrower.

       “Mezzanine Loan Agreement” shall mean that certain Mezzanine Loan Agreement
dated as of even date herewith between Mezzanine Lender and Mezzanine Borrower in respect
of the Mezzanine Loan.

        “Mezzanine Loan Documents” shall mean the documents, certificates and instruments
evidencing, securing or otherwise executed in connection with the Mezzanine Loan (as the same
exist as of the date hereof and as the same may be amended, restated, replaced, supplemented or
otherwise modified, in each case, in accordance with the express terms thereof and of the
Mezzanine Intercreditor).

       “Mezzanine Loan Event of Default” shall mean the occurrence of an “Event of Default”
as such term is defined in the Mezzanine Loan Agreement.

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       “Mezzanine Loan Monthly Debt Service” shall mean, with respect to any particular
period of time, regularly scheduled monthly principal (if applicable) and interest payments due
under the Mezzanine Loan Documents.

        “Mezzanine Transfer” shall mean each of (i) the pledge of the Mezzanine Equity
Collateral by Mezzanine Borrower to Mezzanine Lender in connection with the Mezzanine Loan
and (ii) any Mezzanine Foreclosure.

         “Minimum Counterparty Rating” shall mean (a) a long term credit rating from S&P of
at least “A+”, which rating shall not include a “t” or otherwise reflect a termination risk, and (b)
a long term credit rating from Moody’s of at least “A1”, which rating shall not include a “t” or
otherwise reflect a termination risk (and, after a Securitization, the equivalent of the foregoing by
the other Rating Agencies). After a Securitization of the Loan, only the ratings of those Rating
Agencies rating the Securities shall apply.

       “Minimum Disbursement Amount” shall mean Ten Thousand and No/100 Dollars
($10,000).

          “Minimum Interest” shall have the meaning set forth in Section 2.7(d) hereof.

          “Minimum Interest Payment” shall have the meaning set forth in Section 2.7(d) hereof.

      “Monthly Amortization Payment” shall mean, with respect to each Monthly
Amortization Payment Date, an amount equal to $55,000.00.

        “Monthly Amortization Payment Date” shall mean the first Monthly Payment Date
following the commencement of the second Extension Period and each Monthly Payment Date
thereafter throughout the term of the Loan.

          “Monthly Debt Service Payment” shall have the meaning set forth in Section 2.6
hereof.

          “Monthly Insurance Deposit” shall have the meaning set forth in Section 7.2 hereof.

       “Monthly Payment Date” shall mean January 9, 2018 and the ninth (9th) day of every
calendar month occurring thereafter during the term of the Loan.

          “Monthly Tax Deposit” shall have the meaning set forth in Section 7.2 hereof.

          “Moody’s” shall mean Moody’s Investor Service, Inc.

        “Net Proceeds” shall mean: (i) the net amount of all insurance proceeds payable as a
result of a Casualty to the Property, after deduction of reasonable costs and expenses (including,
but not limited to, reasonable attorneys’ fees and costs), if any, in collecting such insurance
proceeds, or (ii) the net amount of the Award, after deduction of reasonable costs and expenses
(including, but not limited to, reasonable attorneys’ fees and costs), if any, in collecting such
Award.



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        “Net Proceeds Deficiency” shall have the meaning set forth in Section 5.4 hereof.

       “New Non-Consolidation Opinion” shall mean a substantive non-consolidation opinion
provided by outside counsel acceptable to Lender (it being acknowledged and agreed that Cohen
& Gresser LLP is acceptable to Lender) and the Rating Agencies and otherwise in form and
substance acceptable to Lender and the Rating Agencies.

       “Non-Consolidation Opinion” shall mean any substantive non-consolidation opinion
delivered to Lender in connection with the Loan (including, without limitation, that certain
substantive non-consolidation opinion delivered to Lender by Cohen & Gresser LLP in
connection with the closing of the Loan).

      “Note” shall mean that certain Consolidation, Extension and Restatement of Notes
Agreement of even date herewith in the principal amount of up to $68,000,000.00, made by
Borrower in favor of Lender, as the same may be amended, restated, replaced, extended,
renewed, supplemented, severed, split, or otherwise modified from time to time.

        “NRSRO” shall mean any credit rating agency that has elected to be treated as a
nationally recognized statistical rating organization for purposes of Section 15E of the Exchange
Act, without regard to whether or not such credit rating agency has been engaged by Lender or
its designees in connection with, or in anticipation of, a Securitization.

        “Obligations” shall have the meaning set forth in the Security Instrument.

        “OFAC” shall have the meaning set forth in Section 3.27 hereof.

       “Officer’s Certificate” shall mean a certificate delivered to Lender by Borrower which is
signed by Responsible Officer of Borrower.

        “Open Period Start Date” shall mean October 9, 2018.

        “Operating Condition” shall mean (1) Completion of the Business Plan Work (for the
avoidance of doubt, including all Critical Hotel Features) in accordance with the terms of this
Agreement and (2) Critical Hotel Features are fully open for business and operating, in each case
as determined by Lender.

        “Operating Expenses” shall mean the total of all expenditures, computed in accordance
with the Approved Accounting Method, of whatever kind relating to the operation, maintenance
and management of the Property that are incurred on a regular monthly or other periodic basis,
including without limitation, (and without duplication) (a) utilities, ordinary repairs and
maintenance, insurance, license fees, property taxes and assessments, advertising expenses,
payroll and related taxes, computer processing charges, management fees (equal to the greater of
(x) three percent (3.0%) of Gross Rents for the trailing twelve (12) month period or (y) actual
management fees payable under the Management Agreement), operational equipment or other
lease payments as approved by Lender, but specifically excluding (i) depreciation, (ii) Debt
Service, (iii) non-recurring or extraordinary expenses, and (iv) deposits into the Reserve Funds;
and (b) normalized FF&E expenditures equal to the greater of (x) four percent (4.0%) of Gross
Rents for the trailing twelve (12) month period or (y) actual FF&E expenditures.

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        “Organizational Chart” shall have the meaning set forth in Section 3.28 hereof.

       “Original Alternate Rate” shall have the meaning set forth in the definition of Alternate
Rate Spread.

        “Original LIBOR Rate” shall have the meaning set forth in the definition of LIBOR
Rate.

       “Original Prime Rate Spread” shall have the meaning set forth in the definition of
Prime Rate Spread.

        “Other Charges” shall mean all ground rents, maintenance charges, impositions other
than Taxes, and any other charges, including vault charges and license fees for the use of vaults,
chutes and similar areas adjoining the Property, now or hereafter levied or assessed or imposed
against the Property or any part thereof.

       “PACE Loan” shall mean any Property-Assessed Clean Energy loan or any similar
financing.

        “Parking Work” shall have the meaning set forth in Section 4.32 hereof.

       “Patriot Act” shall mean the Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism Act (USA PATRIOT ACT) of
2001, as the same may be amended from time to time, and corresponding provisions of future
laws.

        “Patriot Act Offense” shall have the meaning set forth in Section 3.27 hereof.

       “Permits” shall mean all necessary certificates, licenses, permits, franchises, trade
names, certificates of occupancy, consents, and other approvals (governmental and otherwise)
required under applicable Legal Requirements for the operation of the Property and the conduct
of Borrower’s business (including, without limitation, all required zoning, building code, land
use, environmental, public assembly and other similar permits or approvals).

        “Permitted Encumbrances” shall mean collectively, (i) the lien and security interests
created by this Agreement and the other Loan Documents, (ii) all liens, encumbrances and other
matters disclosed in the Title Insurance Policy, (iii) liens, if any, for Taxes imposed by any
Governmental Authority not yet due or delinquent (other than liens securing a PACE Loan),
(iv) any workers’, mechanics’ or similar liens on the Property provided any such lien is
discharged or bonded in accordance with the terms and conditions of the Loan Documents, and
(v) such other title and survey exceptions as Lender has approved or may approve in writing in
Lender’s sole discretion.

       “Permitted Equipment Leases” shall mean equipment leases or other similar
instruments entered into with respect to the Personal Property; provided, that, in each case, such
equipment leases or similar instruments (i) are entered into on commercially reasonable terms
and conditions in the ordinary course of Borrower’s business and (ii) relate to Personal Property
which is (A) used in connection with the operation and maintenance of the Property in the

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ordinary course of Borrower’s business and (B) readily replaceable without material interference
or interruption to the operation of the Property.

       “Permitted Investments” shall mean “permitted investments” as then defined and
required by the Rating Agencies.

        “Person” shall mean any individual, corporation, partnership, limited liability company,
joint venture, estate, trust, real estate investment trust, unincorporated association, any other
entity, any Governmental Authority and any fiduciary acting in such capacity on behalf of any of
the foregoing.

       “Personal Property” shall have the meaning set forth in the granting clause of the
Security Instrument.

        “Plans and Specifications” shall mean all plans and specifications, shop drawings,
architectural and engineering reports and designs, together with all architectural and engineering
agreements, construction contracts and other material agreements entered into by Borrower, in
connection with the Business Plan Work.

        “Policies” shall have the meaning specified in Section 5.1 hereof.

        “Prepayment Notice” shall have the meaning specified in Section 2.7(a) hereof.

        “Prime Rate” shall mean rate of interest published in The Wall Street Journal from time
to time as the “Prime Rate.” If more than one “Prime Rate” is published in The Wall Street
Journal for a day, the average of such “Prime Rates” shall be used, and such average shall be
rounded up to the nearest 1/100th of one percent (0.01%). If The Wall Street Journal ceases to
publish the “Prime Rate,” Lender shall select an equivalent publication that publishes such
“Prime Rate,” and if such “Prime Rates” are no longer generally published or are limited,
regulated or administered by a governmental or quasigovernmental body, then Lender shall
select a comparable interest rate index.

       “Prime Rate Loan” shall mean the Loan at such time as interest thereon accrues at a rate
of interest based upon the Prime Rate plus the Prime Rate Spread. Notwithstanding the
foregoing, in no event shall the Prime Rate plus the Prime Rate Spread be less than the Floor
Rate.

        “Prime Rate Spread” shall mean the difference (expressed as the number of basis
points) between (a) the LIBOR Rate on the Determination Date that LIBOR was last applicable
to the Loan and (b) the Prime Rate on the Determination Date that LIBOR was last applicable to
the Loan (“Original Prime Rate Spread”); provided, however, in no event shall such difference
be a negative number. Notwithstanding the foregoing, following the occurrence of a Rate
Increase Event, the Prime Rate Spread shall be increased by fifty (50) basis points and, if the
Operating Condition is satisfied after the occurrence of a Rate Increase Event, the Prime Rate
Spread shall be restored to the Original Prime Rate Spread. Any change in the Prime Rate Spread
as hereinabove set forth shall become effective commencing with the immediately succeeding
Interest Period.


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        “Prohibited Transfer” shall mean (i) a Sale or Pledge of the Property or any part thereof
or any legal or beneficial interest therein (including, without limitation, the Loan and/or Loan
Documents), (ii) a Sale or Pledge of an interest in any Restricted Party and/or (iii) Borrower’s
acquisition of any real property in addition to the real property owned by Borrower as of the
Closing Date. A Prohibited Transfer shall include, but not be limited to, (A) an installment sales
agreement wherein Borrower agrees to sell the Property or any part thereof for a price to be paid
in installments; (B) an agreement by Borrower leasing all or a substantial part of the Property for
other than actual occupancy by a Tenant thereunder or a sale, assignment or other transfer of, or
the grant of a security interest in, Borrower’s right, title and interest in and to any (1) Leases or
any Rents or (2) Property Documents; (C) if a Restricted Party is a corporation, any merger,
consolidation or Sale or Pledge of such corporation’s stock or the creation or issuance of new
stock in one or a series of transactions; (D) if a Restricted Party is a limited or general
partnership or joint venture, any merger or consolidation or the change, removal, resignation or
addition of a general partner or the Sale or Pledge of the partnership interest of any general or
limited partner or any profits or proceeds relating to such partnership interests or the creation or
issuance of new limited partnership interests; (E) if a Restricted Party is a limited liability
company, any merger or consolidation or the change, removal, resignation or addition of a
managing member or non-member manager (or if no managing member, any member) or the
Sale or Pledge of the membership interest of any member or any profits or proceeds relating to
such membership interest; (F) if a Restricted Party is a trust or nominee trust, any merger,
consolidation or the Sale or Pledge of the legal or beneficial interest in a Restricted Party or the
creation or issuance of new legal or beneficial interests; (G) the removal or the resignation of
Manager (including, without limitation, an Affiliated Manager) or the engagement of a new
Manager, in each case, other than in accordance with the terms and conditions of this
Agreement; (H) if Borrower enters into, or the Property is subjected to, any PACE Loan; or
(I) any action for partition of the Property (or any portion thereof or interest therein) or any
similar action instituted or prosecuted by Borrower or by any other Person, pursuant to any
contractual agreement or other instrument or under applicable law (including, without limitation,
common law) and/or any other action instituted by (or at the behest of) Borrower or its Affiliates
or consented to or acquiesced in by Borrower or its Affiliates which results in a Property
Document Event.

        “Property” shall have the meaning set forth in the Security Instrument.

        “Property Document” shall mean, individually and collectively, each REA.

       “Property Document Event” shall mean any event which would, directly or indirectly,
cause a termination right, right of first refusal, first offer or any other similar right, cause any
termination fees to be due or would cause a Material Adverse Effect to occur under any Property
Document (in each case, beyond any applicable notice and cure periods under the applicable
Property Document); provided, however, any of the foregoing shall not be deemed a Property
Document Event to the extent Lender’s prior written consent is obtained with respect to the
same.

       “Property Document Provisions” shall mean the representations, covenants and other
terms and conditions of this Agreement and the other Loan Documents related to, in each case,


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any Property Document and/or other related matters (including, without limitation, Sections 3.32
and 4.25 of this Agreement).

        “Provided Information” shall mean any information provided by or on behalf of any
Borrower Party in connection with the Loan, the Property, such Borrower Party and/or any
related matter or Person.

        “Qualified Carrier” shall have the meaning set forth in Section 5.1 hereof.

       “Qualified Management Agreement” shall mean a management agreement with a
Qualified Manager with respect to the Property which is approved by Lender in writing (which
such approval may be conditioned upon Lender’s receipt of (i) a Rating Agency Confirmation
with respect to such management agreement and (ii) if such Qualified Manager is an Affiliated
Manager, and a Non-Consolidation Opinion has been previously provided to Lender, a New Non
Consolidation Opinion with respect to such management agreement).

        “Qualified Manager” shall mean a Person approved by Lender in writing (which such
approval may be conditioned upon Lender’s receipt of (i) a Rating Agency Confirmation with
respect to such Person and (ii) if such Person is an Affiliated Manager, and a Non-Consolidation
Opinion has been previously provided to Lender, a New Non-Consolidation Opinion with
respect to such Person).

        “Rate Increase Event” shall have the meaning set forth in the definition of LIBOR Rate.

        “Rating Agencies” shall mean each of S&P, Moody’s, Fitch, DBRS, Inc., Kroll Bond
Ratings and Morningstar Credit Ratings, LLC and any other nationally-recognized statistical
rating agency designated by Lender (and any successor to any of the foregoing) in connection
with and/or in anticipation of any Secondary Market Transaction.

        “Rating Agency Confirmation” shall mean a written affirmation from each of the
Rating Agencies that the credit rating of the Securities given by such Rating Agency
immediately prior to the occurrence of the event with respect to which such Rating Agency
Confirmation is sought will not be qualified, downgraded or withdrawn as a result of the
occurrence of such event, which affirmation may be granted or withheld in such Rating
Agency’s sole and absolute discretion; provided, however, (i) if a Securitization has occurred
and either (A) any Rating Agency fails to respond to any request for a Rating Agency
Confirmation with respect to such event or otherwise elects (verbally or in writing) not to
consider such event or (B) Lender (or Servicer) is not required to and has elected not to obtain
(or cause to be obtained) a Rating Agency Confirmation with respect to such event, in each case,
pursuant to and in compliance with the Securitization’s pooling and servicing agreement (or
similar agreement), then, notwithstanding anything contained in this Agreement to the contrary,
Lender’s written approval of such event shall be required in lieu of a Rating Agency
Confirmation, in the case of clause (i)(A) above, from such Rating Agency or Rating Agencies
(only) or, in the case of clause (i)(B) above, from each of the Rating Agencies or (ii) if a
Securitization has not occurred, then, notwithstanding anything contained in this Agreement to
the contrary, the term “Rating Agency Confirmation” shall be deemed instead to require
Lender’s written approval of such event. In the event that either of clause (i) or (ii) of the


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foregoing proviso applies, Lender’s approval shall be based on Lender’s good faith
determination of applicable Rating Agency standards and criteria, unless Lender has an
independent approval right in respect of such event pursuant to the other terms of this Agreement
or the other Loan Documents, in which case the discretion afforded to Lender in connection with
such independent approval right shall apply.

        “REA” shall mean, individually and collectively, each agreement described on Exhibit D
hereto (if any), any amendment, restatement, replacement or other modification thereof, any
future reciprocal easement agreement, declaration of covenants, conditions and/or restrictions or
other similar agreement affecting the Property entered into in accordance with the applicable
terms and conditions hereof and any amendment, restatement, replacement or other modification
thereof.

        “Register” shall have the meaning set forth in Section 9.7 hereof.

        “Registrar” shall have the meaning set forth in Section 9.7 hereof.

        “Registration Statement” shall mean the registration statement relating to a
Securitization.

        “Regulation AB” shall mean Regulation AB under the Securities Act and the Exchange
Act, as such Regulation may be amended from time to time.

        “Related Loan” shall mean a loan to an Affiliate of Borrower or secured by a Related
Property, that is included in a Securitization with the Loan (or any portion thereof or interest
therein).

        “Related Property” shall mean a parcel of real property, together with improvements
thereon and personal property related thereto, that is “related” within the meaning of the
definition of Significant Obligor, to the Property.

       “REMIC Opinion” shall mean, as to any matter, an opinion as to the compliance of such
matter with applicable REMIC Requirements (which such opinion shall be, in form and
substance and from a provider, in each case, reasonably acceptable to Lender and acceptable to
the Rating Agencies).

        “REMIC Requirements” shall mean any applicable legal requirements relating to any
REMIC Trust (including, without limitation, those relating to the continued treatment of the
Loan (or the applicable portion thereof and/or interest therein) as a “qualified mortgage” held by
such REMIC Trust, the continued qualification of such REMIC Trust as such under the IRS
Code, the non-imposition of any tax on such REMIC Trust under the IRS Code (including,
without limitation, taxes on “prohibited transactions and “contributions”) and any other
constraints, rules and/or other regulations and/or requirements relating to the servicing,
modification and/or other similar matters with respect to the Loan (or any portion thereof and/or
interest therein) that may now or hereafter exist under applicable legal requirements (including,
without limitation under the IRS Code)).



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      “REMIC Trust” shall mean any “real estate mortgage investment conduit” within the
meaning of Section 860D of the IRS Code that holds any interest in all or any portion of the
Loan.

        “Rents” shall have the meaning set forth in the Security Instrument.

       “Replacement Interest Rate Cap Agreement” shall have the meaning set forth in
Section 2.8(c) hereof.

        “Required DSCR” shall have the meaning set forth in Section 7.9 hereof.

       “Reserve Accounts” shall mean the Tax Account, the Insurance Account, the FF&E
Reserve Account, the Excess Cash Flow Account, the Interest Reserve Account, the Business
Plan Reserve Account, the Sam Tell Account and any other escrow account established by this
Agreement or the other Loan Documents (but specifically excluding the Cash Management
Account and the Clearing Account).

       “Reserve Funds” shall mean the Tax and Insurance Funds, the FF&E Reserve Funds, the
Excess Cash Flow Funds, the Interest Reserve Funds, the Business Plan Reserve Funds, the Sam
Tell Funds and any other escrow funds established by this Agreement or the other Loan
Documents.

        “Reserve Percentage” shall mean the rates (expressed as a decimal) of reserve
requirements applicable to Lender on the applicable Determination Date (including, without
limitation, basic, supplemental, marginal and emergency reserves) under any regulations of any
Governmental Authority as now and from time to time hereafter in effect, dealing with reserve
requirements prescribed for Eurocurrency funding (currently referred to as “Eurocurrency
Liabilities” in Regulation D of the Board of Governors of the Federal Reserve System) (or
against any other category of liabilities which includes deposits by reference to which LIBOR is
determined or against any category of extensions of credit or other assets which includes loans
by a non United States office of a depository institution to United States residents or loans which
charge interest at a rate determined by reference to such deposits). The determination of the
Reserve Percentage shall be based on the assumption that Lender funded 100% of the Loan in
the interbank Eurodollar market. In the event of any change in the rate of such Reserve
Percentage during an Interest Period, or any variation in such requirements based upon amounts
or kinds of assets or liabilities, or other factors, including, without limitation, the imposition of
Reserve Percentages, or differing Reserve Percentages, on one or more but not all of the holders
of the Loan or any participation therein, Lender may use any reasonable averaging and/or
attribution methods which it deems appropriate and practical for determining the rate of such
Reserve Percentage which shall be used in the computation of the Reserve Percentage. Lender’s
computation of the Reserve Percentage shall be determined conclusively by Lender and shall be
conclusive and binding on Borrower for all purposes, absent manifest error.

       “Responsible Officer” means with respect to a Person, the chairman of the board,
president, chief operating officer, chief financial officer, treasurer or vice president of such
Person or such other similar officer of such Person reasonably acceptable to Lender.



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        “Restoration” shall mean, following the occurrence of a Casualty or a Condemnation
which is of a type necessitating the repair of the Property (or any portion thereof), the completion
of the repair and restoration of the Property (or applicable portion thereof) as nearly as possible
to the condition the Property (or applicable portion thereof) was in immediately prior to such
Casualty or Condemnation, with such alterations as may be reasonably approved by Lender.

          “Restoration Retainage” shall have the meaning set forth in Section 5.4 hereof.

      “Restoration Threshold” shall mean an amount equal to 5% of the outstanding principal
amount of the Loan.

        “Restricted Party” shall mean Borrower, Guarantor, any SPE Component Entity, any
Affiliated Manager, or any shareholder, partner, member or non-member manager, or any direct
or indirect legal or beneficial owner of Borrower, Guarantor, any SPE Component Entity, any
Affiliated Manager or any non-member manager.

        “Sale or Pledge” shall mean a voluntary or involuntary sale, conveyance, mortgage,
grant, bargain, encumbrance, pledge, assignment, grant of any options with respect to, or any
other transfer or disposition (directly or indirectly, voluntarily or involuntarily, by operation of
law or otherwise, and whether or not for consideration or of record) of a legal or beneficial
interest.

          “Sam Tell” shall have the meaning set forth in Section 7.1 hereof.

          “Sam Tell Account” shall have the meaning set forth in Section 7.1 hereof.

          “Sam Tell Funds” shall have the meaning set forth in Section 7.1 hereof.

          “Sam Tell UCC” shall have the meaning set forth in Section 7.1 hereof.

          “Satisfactory Replacement Guarantor” shall have the meaning set forth in Section 6.4.

          “Secondary Market Transaction” shall have the meaning set forth in Section 9.1
hereof.

          “Securities” shall have the meaning set forth in Section 9.1 hereof.

          “Securities Act” shall mean the Securities Act of 1933, as amended.

          “Securitization” shall have the meaning set forth in Section 9.1 hereof.

        “Security Instrument” shall mean that certain first priority Consolidation, Modification,
Spreader and Extension Agreement dated as of the date hereof, executed and delivered by
Borrower as security for the Loan and encumbering the Property, as the same may be amended,
restated, replaced, supplemented or otherwise modified from time to time.

          “Servicer” shall have the meaning set forth in Section 9.4 hereof.

          “Servicing Agreement” shall have the meaning set forth in Section 9.4 hereof.

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        “Severed Loan Documents” shall have the meaning set forth in Article 10.

       “Significant Obligor” shall have the meaning set forth in Item 1101(k) of Regulation AB
under the Securities Act.

        “SPE Component Entity” shall have the meaning set forth on Exhibit C attached hereto.

         “Springing Member LLC” shall mean a Delaware limited liability company properly
structured in accordance with applicable Rating Agency criteria with at least one springing
member that shall, upon the dissolution, withdrawal or disassociation of such limited liability
company’s last remaining member, immediately become the sole member of such limited
liability company.

     “S&P” shall mean Standard & Poor’s Ratings Services, a division of The McGraw-Hill
Companies, Inc.

        “State” shall mean the state in which the Property or any part thereof is located.

        “State National” shall have the meaning set forth in Section 5.1 hereof.

        “Strike Rate” shall mean two percent (2.0%).

        “Substitution” shall have the meaning set forth in Section 6.4.

       “Survey” shall mean that certain survey of the Property certified and delivered to Lender
in connection with the closing of the Loan.

        “Syndication” shall have the meaning set forth in Section 9.7 hereof.

        “Tax Account” shall have the meaning set forth in Section 7.2 hereof.

        “Tax and Insurance Funds” shall have the meaning set forth in Section 7.2 hereof.

        “Taxes” shall mean all taxes, assessments, water rates, sewer rents, and other
governmental impositions, including, without limitation, vault charges and license fees for the
use of vaults, chutes and similar areas adjoining the Land, now or hereafter levied or assessed or
imposed against the Property or any part thereof.

        “Tenant” shall mean any Person leasing, subleasing or otherwise occupying any portion
of the Property under a Lease or other occupancy agreement.

       “Title Insurance Policy” shall mean, individually and collectively, each ALTA (or
TLTA, as applicable) mortgagee title insurance policy issued with respect to the Property and
insuring the lien of the Security Instrument.

        “UCC” or “Uniform Commercial Code” shall mean the Uniform Commercial Code as
in effect in the State.



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       “Underwritable Cash Flow” shall mean an amount calculated by Lender on a monthly
basis equal to the trailing twelve (12) months Gross Rents less the trailing twelve (12) months
Operating Expenses, each of which shall be subject to Lender’s application of the Underwriting
Adjustments. Lender’s calculation of Underwritable Cash Flow (including determination of
items that do not qualify as Operating Expenses) shall be calculated by Lender in good faith
based upon Lender’s determination of Rating Agency criteria and shall be final absent manifest
error.

      “Underwriter Group” shall mean Lender Affiliate, any other placement agent or
underwriter with respect to the applicable Securitization, each of their respective directors and
each Person who controls the applicable Lender Affiliate or any other placement agent or
underwriter within the meaning of Section 15 of the Securities Act and Section 20 of the
Exchange Act.

         “Underwriting Adjustments” shall mean adjustments made by Lender in its calculation
of Underwritable Cash Flow and the components thereof, in each case, based upon Lender and
Rating Agency underwriting criteria, which such adjustments shall include, without limitation,
adjustments (A) for (i) items of a non-recurring nature, (ii) intentionally omitted, and (iii)
imminent liabilities and/or other expense increases (including, without limitation, imminent
increases to Taxes and Insurance Premiums) and (B) to exclude rental income attributable to any
Tenant (1) in bankruptcy that has not affirmed its Lease in the applicable bankruptcy proceeding
pursuant to a final, non-appealable order of a court of competent jurisdiction, (2) not paying rent
under its Lease or otherwise in default under its Lease for at least sixty (60) days beyond any
applicable notice and cure periods, (3) that has expressed its intention (directly, constructively or
otherwise) to not renew, terminate, cancel and/or reject its applicable Lease, and (4) whose Lease
is not in full force and effect.

        “Updated Information” shall have the meaning set forth in Section 9.1 hereof.

      “Uniform System of Accounts” shall mean the most recent edition of the Uniform
System of Accounts for Hotels, as adopted by the American Hotel and Motel Association.

      “U.S. Obligations” shall mean direct full faith and credit obligations of the United States
of America that are not subject to prepayment, call or early redemption.

        “Violation Work” shall have the meaning set forth in Section 4.31 hereof.

        Section 1.2    Principles of Construction.

       All references to sections and schedules are to sections and schedules in or to this
Agreement unless otherwise specified. All uses of the word “including” shall mean “including,
without limitation” unless the context shall indicate otherwise. Unless otherwise specified, the
words “hereof,” “herein” and “hereunder” and words of similar import when used in this
Agreement shall refer to this Agreement as a whole and not to any particular provision of this
Agreement. Unless otherwise specified, all meanings attributed to defined terms herein shall be
equally applicable to both the singular and plural forms of the terms so defined.



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                                          ARTICLE 2

                                       GENERAL TERMS

       Section 2.1 No Loan Commitment. Except as expressly and specifically set forth
herein, Lender has no obligation or other commitment to loan any funds to Borrower or
otherwise make disbursements to Borrower. Borrower hereby waives any right Borrower may
have to make any claim to the contrary.

      Section 2.2 The Loan. Subject to and upon the terms and conditions set forth herein,
Lender hereby agrees to make and Borrower hereby agrees to accept the Loan on the Closing
Date.

        Section 2.3 Disbursement to Borrower. Borrower may request and receive only one
borrowing hereunder in respect of the Loan. Any amount borrowed and repaid hereunder in
respect of the Loan may not be re-borrowed.

       Section 2.4 The Note and the other Loan Documents. The Loan shall be evidenced
by the Note and this Agreement and secured by this Agreement and the other Loan Documents.

        Section 2.5   Interest Rate.

       (a)     Interest on the outstanding principal balance of the Loan shall accrue from the
Closing Date at the Interest Rate until repaid in accordance with the applicable terms and
conditions hereof.

        (b)     The following additional provisions shall apply and, subject to Section 2.5(c)
hereof, the Interest Rate shall be determined in accordance with this Section 2.5(b):

                (i)    The Interest Rate with respect to the Loan shall be: (A) the LIBOR Rate
        with respect to the applicable Interest Period for a LIBOR Loan, (B) the Prime Rate plus
        the Prime Rate Spread for a Prime Rate Loan if the Loan is converted to a Prime Rate
        Loan pursuant to the provisions hereof or (C) the Alternate Rate plus the Alternate Rate
        Rate Spread for an Alternate Rate Loan if the Loan is converted to an Alternate Rate
        Loan pursuant to the provisions hereof. Notwithstanding any provision of this Agreement
        to the contrary, in no event shall Borrower have the right to convert a LIBOR Loan to a
        Prime Rate Loan or an Alternate Rate Loan.

                (ii)    Subject to the terms and conditions hereof, the Loan shall be a LIBOR
        Loan and Borrower shall pay interest on the outstanding principal amount of the Loan at
        the LIBOR Rate for the applicable Interest Period. Any change in the rate of interest
        hereunder due to a change in the Interest Rate shall become effective as of the opening of
        business on the first day on which such change in the Interest Rate shall become
        effective. Each determination by Lender of the Interest Rate shall be conclusive and
        binding for all purposes, absent manifest error.

              (iii) In the event that Lender shall have determined (which determination shall
        be conclusive and binding upon Borrower absent manifest error) that by reason of

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        circumstances affecting the interbank Eurodollar market, adequate and reasonable means
        do not exist for ascertaining LIBOR and an Alternate Index has not been established
        pursuant to Section 2.5(b)(iv) below, then Lender shall forthwith give notice of such
        determination (which notice may be given by telephone, confirmed in writing), to
        Borrower at least one (1) day prior to the last day of the related Interest Period. If such
        notice is given, the related outstanding LIBOR Loan shall be converted, on the last day of
        the then current Interest Period, to a Prime Rate Loan.

                (iv)   If, prior to the Loan being converted from a LIBOR Loan to a Prime Rate
        Loan in accordance with Section 2.5 hereof or following the Loan being converted from a
        Prime Rate Loan back to a LIBOR Loan in accordance with Section 2.5 hereof, Lender
        has determined in good faith that LIBOR has been succeeded by an Alternate Index, the
        Loan shall be converted from a LIBOR Loan to an Alternate Rate Loan, provided that the
        same does not violate applicable law. Lender may exercise the foregoing conversion right
        by giving notice of such determination in writing to Borrower at least one (1) day prior to
        the last day of the related Interest Period. If such notice is given, the Loan shall be
        converted, as of the first day of the next succeeding Interest Period, to an Alternate Rate
        Loan. Notwithstanding any provision of this Agreement to the contrary, in no event shall
        Borrower have the right to convert a LIBOR Loan to an Alternate Rate Loan, or to
        convert an Alternate Rate Loan to a LIBOR Loan or a Prime Rate Loan.

                (v)    If, pursuant to the terms hereof, any portion of the Loan has been
        converted to a Prime Rate Loan and Lender shall determine (which determination shall
        be conclusive and binding upon Borrower absent manifest error) that the event(s) or
        circumstance(s) which resulted in such conversion shall no longer be applicable, Lender
        shall give notice of such determination (which notice may be given by telephone,
        confirmed in writing), to Borrower at least one (1) day prior to the last day of the related
        Interest Period. If such notice is given, the related outstanding Prime Rate Loan shall be
        converted to a LIBOR Loan on the last day of the then current Interest Period.

                (vi)    All payments made by Borrower hereunder shall, provided that Lender
        complies with the requirements of Section 2.5(b)(ix) below, be made free and clear of,
        and without reduction for or on account of, any and all present or future income, stamp or
        other taxes, levies, imposts, duties, charges, fees, deductions, reserves or withholdings
        imposed, levied, collected, withheld or assessed by any Governmental Authority,
        excluding income and franchise taxes of the United States of America imposed by the
        jurisdiction under the laws of which Lender is organized or any political subdivision or
        taxing authority thereof or therein or imposed by the jurisdiction of Lender’s applicable
        lending office where Lender is resident or engaged in business or any political
        subdivision or taking authority thereof or therein (such non-excluded taxes being referred
        to collectively as “Foreign Taxes”). If any Foreign Taxes are required to be withheld
        from any amounts payable to Lender hereunder, the amounts so payable to Lender shall
        be increased to the extent necessary to yield to Lender (after payment of all Foreign
        Taxes) interest or any such other amounts payable hereunder at the rate or in the amounts
        specified hereunder. Whenever any Foreign Tax is payable pursuant to applicable law by
        Borrower, as promptly as possible thereafter, Borrower shall send to Lender an original
        official receipt, if available, or certified copy thereof showing payment of such Foreign

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        Tax. Borrower hereby indemnifies Lender for any incremental taxes, interest or penalties
        that may become payable by Lender which may result from any failure by Borrower to
        pay any such Foreign Tax when due to the appropriate taxing authority or any failure by
        Borrower to remit to Lender the required receipts or other required documentary
        evidence. All amounts payable under this Section 2.5(b)(v) shall constitute additional
        interest hereunder and shall be secured by the Security Instrument and the other Loan
        Documents. The provisions of this Section 2.5(b)(v) shall survive any payment or
        prepayment of the Loan and any foreclosure or satisfaction of the Security Instrument.
        Any reference under this Section 2.5(b)(v) to “Lender” shall be deemed to include any
        participant, Co-Lender and any assignees.

                (vii) If any requirement of law or any change therein or in the interpretation or
        application thereof, shall hereafter make it unlawful for Lender to make or maintain a
        LIBOR Loan as contemplated hereunder, then (A) the obligation of Lender hereunder to
        make a LIBOR Loan or to convert a Prime Rate Loan to a LIBOR Loan shall be canceled
        forthwith and (B) any outstanding LIBOR Loan shall be converted automatically to a
        Prime Rate Loan on the last day of the then current Interest Period or within such earlier
        period as required by law. Borrower hereby agrees to promptly pay to Lender, upon
        demand, any additional amounts necessary to compensate Lender for any reasonable
        costs incurred by Lender in making any conversion in accordance with this Agreement,
        including, without limitation, any interest or fees payable by Lender to lenders of funds
        obtained by it in order to make or maintain the LIBOR Loan hereunder. Lender’s notice
        of such costs, as certified to Borrower, shall be conclusive absent manifest error.

                (viii) In the event that any change in any requirement of law or in the
        interpretation or application thereof, or compliance by Lender with any request or
        directive (whether or not having the force of law) hereafter issued from any central bank
        or other Governmental Authority:

                         (A)    shall hereafter impose, modify or hold applicable any reserve,
                 capital adequacy, tax, special deposit, compulsory loan or similar requirement
                 against assets held by, or deposits or other liabilities in or for the account of,
                 advances or loans by, or other credit extended by, or any other acquisition of
                 funds by, any office of Lender which is not otherwise included in the
                 determination of LIBOR hereunder;

                        (B)    shall hereafter have the effect of reducing the rate of return on
                 Lender’s capital as a consequence of its obligations hereunder to a level below
                 that which Lender could have achieved but for such adoption, change or
                 compliance (taking into consideration Lender’s policies with respect to capital
                 adequacy) by any amount deemed by Lender to be material; or

                         (C)    shall hereafter impose on Lender any other condition, and the
                 result of any of the foregoing is to increase the cost to Lender of making,
                 renewing or maintaining loans or extensions of credit or to reduce any amount
                 receivable hereunder;



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        then, in any such case, Borrower shall promptly pay Lender, upon demand, any
        additional amounts necessary to compensate Lender for such additional cost or reduced
        amount receivable as determined by Lender (the “Additional Costs”). If, on or after the
        Open Period Start Date, Borrower is required to compensate Lender for Additional Costs
        pursuant to this clause (vii), then Borrower shall have a right to prepay the Loan within
        sixty (60) days after notification of such Additional Costs without payment of the
        Additional Interest, the Minimum Interest Payment or any prepayment premium or
        penalty, but otherwise in accordance with this Agreement. If Lender becomes entitled to
        claim any additional amounts pursuant to this subsection, Lender shall provide Borrower
        with not less than thirty (30) days’ notice specifying in reasonable detail the event by
        reason of which it has become so entitled and the additional amount required to fully
        compensate Lender for such additional cost or reduced amount. A certificate as to any
        additional costs or amounts payable pursuant to the foregoing sentence submitted by
        Lender to Borrower shall be conclusive in the absence of manifest error. This provision
        shall survive payment of the Note and the satisfaction of all other obligations of Borrower
        under this Agreement and the other Loan Documents.

                (ix)    Borrower agrees to indemnify Lender and to hold Lender harmless from
        any loss or expense which Lender sustains or incurs as a consequence of (A) any default
        by Borrower in payment of the principal of or interest on a LIBOR Loan, including,
        without limitation, any such loss or expense arising from interest or fees payable by
        Lender to lenders of funds obtained by it in order to maintain a LIBOR Loan hereunder,
        (B) any prepayment (whether voluntary or mandatory) of the LIBOR Loan on a day that
        is not the last day of an Interest Period, including, without limitation, such loss or
        expense arising from interest or fees payable by Lender to lenders of funds obtained by it
        in order to maintain the LIBOR Loan hereunder and (C) the conversion (for any reason
        whatsoever, whether voluntary or involuntary) of the Interest Rate from the LIBOR Rate
        to the Prime Rate plus the Prime Rate Spread with respect to any portion of the
        outstanding principal amount of the Loan then bearing interest at the LIBOR Rate on a
        date other than the last day of an Interest Period, including, without limitation, such loss
        or expenses arising from interest or fees payable by Lender to lenders of funds obtained
        by it in order to maintain a LIBOR Loan hereunder (the amounts referred to in clauses
        (A), (B) and (C) are herein referred to collectively as the “Breakage Costs”); provided,
        however, Borrower shall not indemnify Lender from any loss or expense arising from
        Lender’s willful misconduct or gross negligence. This provision shall survive payment
        of the Note in full and the satisfaction of all other obligations of Borrower under this
        Agreement and the other Loan Documents.

                (x)     If Lender is a U.S. Person (other than the lender originally named herein),
        Lender shall deliver to Borrower, upon request, a Form W-9 (unless it establishes to the
        reasonable satisfaction of Borrower that it is otherwise eligible for an exemption from
        backup withholding tax or other withholding tax). If Lender is not a U.S. Person, Lender
        shall deliver to Borrower, upon request, either (A) a Form W-8BEN which indicates a 0%
        rate of tax or (B) a Form W-8ECI. If Lender is not a U.S. Person, Lender further
        undertakes to deliver to Borrower additional Forms W-8, 1001, 4224 (or any successor
        forms) or other manner of certification, as the case may be, (x) on or before the date that
        any such form expires or becomes obsolete, (y) after the occurrence of any event

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        requiring a change in the most recent form previously delivered by it to Borrower, and
        (z) such extensions or renewals thereof as may reasonably be requested by Borrower,
        certifying that Lender is entitled to receive payments hereunder without deduction or
        withholding of any Loan Taxes. However, in the event that any change in law, rule,
        regulation, treaty or directive, or in the interpretation or application thereof (a “Law
        Change”), has occurred prior to the date on which any delivery pursuant to the preceding
        sentence would otherwise be required which renders such form inapplicable, or which
        would prevent Lender from duly completing and delivering any such form, or if such
        Law Change results in Lender being unable to deliver a Form W-9 (or other satisfactory
        evidence that it is otherwise eligible for an exemption from backup withholding tax or
        other withholding tax), Lender shall not be obligated to deliver such forms but shall,
        promptly following such Law Change, but in any event prior to the time the next payment
        hereunder is due following such Law Change, advise Borrower in writing whether it is
        capable of receiving payments without any deduction or withholding of Loan Taxes. In
        the event of such Law Change, Borrower shall have the obligation to make Lender whole
        and to “gross-up” under Section 2.5(b)(v) hereof, despite the failure by Lender to deliver
        such forms. Any reference under this Section 2.5(b)(ix) to “Lender” shall be deemed to
        include any participant, Co-Lender and any assignees.

        (c)     In the event that, and for so long as, any Event of Default shall have occurred and
be continuing, the outstanding principal balance of the Loan and, to the extent permitted by
applicable Legal Requirements, overdue interest in respect of the Loan, shall, at Lender’s
election, accrue interest at the Default Rate, calculated from the date the Default occurred which
led to such Event of Default, without regard to any grace or cure periods contained herein.
Interest at the Default Rate shall be paid immediately upon demand, which demand may be made
as frequently as Lender shall elect.

        (d)    Interest on the outstanding principal balance of the Loan shall be calculated by
multiplying (i) the actual number of days elapsed in the period for which the calculation is being
made by (ii) a daily rate based on a three hundred sixty (360) day year (that is, the Interest Rate
or the Default Rate, as then applicable, expressed as an annual rate divided by 360) by (iii) the
outstanding principal balance of the Loan. The accrual period for calculating interest due on
each Monthly Payment Date shall be the Interest Period immediately prior to such Monthly
Payment Date. Borrower understands and acknowledges that such interest accrual requirement
results in more interest accruing on the Loan than if either a thirty (30) day month and a three
hundred sixty (360) day year or the actual number of days and a three hundred sixty-five (365)
day year were used to compute the accrual of interest on the Loan.

       (e)     This Agreement and the other Loan Documents are subject to the express
condition that at no time shall Borrower be required to pay interest on the principal balance of
the Loan at a rate which could subject Lender to either civil or criminal liability as a result of
being in excess of the Maximum Legal Rate. If by the terms of this Agreement or the other Loan
Documents, Borrower is at any time required or obligated to pay interest on the principal balance
due hereunder at a rate in excess of the Maximum Legal Rate, the Interest Rate or the Default
Rate, as the case may be, shall be deemed to be immediately reduced to the Maximum Legal
Rate and all previous payments in excess of the Maximum Legal Rate shall be deemed to have
been payments in reduction of principal and not on account of the interest due hereunder. All

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sums paid or agreed to be paid to Lender for the use, forbearance, or detention of the sums due
under the Loan, shall, to the extent permitted by applicable law, be amortized, prorated,
allocated, and spread throughout the full stated term of the Loan until payment in full so that the
rate or amount of interest on account of the Loan does not exceed the Maximum Legal Rate from
time to time in effect and applicable to the Loan for so long as the Loan is outstanding.

        Section 2.6     Loan Payments.

        (a)    Borrower shall make a payment to Lender of interest only on the Closing Date for
the period from the Closing Date through and including the next succeeding fourteenth (14th) day
of a calendar month, whether such fourteenth (14th) day shall occur in the calendar month in
which the Closing Date occurs or in the month immediately succeeding the month in which the
Closing Date occurs (unless the Closing Date is the fifteenth (15th) day of a calendar month, in
which case no such separate payment of interest shall be due). Each interest accrual period (the
“Interest Period”) thereafter shall commence on the fifteenth (15th) day of each calendar month
during the term of the Loan and shall end on and include the fourteenth (14th) day of the next
occurring calendar month. No Interest Period shall be shortened by reason of any payment of the
Loan prior to the expiration of such Interest Period.

        (b)    Borrower shall make (i) on each Monthly Payment Date throughout the term of
the Loan, a payment to Lender of interest accruing on the outstanding principal balance of the
Loan during the Interest Period in which such Monthly Payment Date occurs, which payments
shall be applied to accrued and unpaid interest, and (ii) on each Monthly Amortization Payment
Date, a Monthly Amortization Payment to Lender, which payments shall be applied to principal
(each such payment in (i) and (ii), a “Monthly Debt Service Payment”).

       (c)    Borrower shall pay to Lender on the Maturity Date the outstanding principal
balance of the Loan, all accrued and unpaid interest and all other amounts due hereunder and
under the Note, the Security Instrument and the other Loan Documents.

        (d)    If any principal, interest or any other sum due under the Loan Documents, other
than the payment of principal due on the Maturity Date, is not paid by Borrower on the date on
which it is due, Borrower shall pay to Lender upon demand an amount equal to the lesser of (i)
five percent (5%) of such unpaid sum and (ii) the maximum amount permitted by applicable law
in order to defray the expense incurred by Lender in handling and processing such delinquent
payment and to compensate Lender for the loss of the use of such delinquent payment. Any such
amount shall be secured by the Security Instrument and the other Loan Documents.

        (e)      Additionally:

               (i)    Except as otherwise specifically provided herein, all payments and
        prepayments under this Agreement and the Note shall be made to Lender not later than
        1:00 P.M., New York City time, on the date when due and shall be made in lawful money
        of the United States of America in immediately available funds at Lender’s office, and
        any funds received by Lender after such time shall, for all purposes hereof, be deemed to
        have been paid on the next succeeding Business Day.



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                (ii)    Whenever any payment to be made hereunder or under any other Loan
        Document shall be stated to be due on a day which is not a Business Day, the due date
        thereof shall be deemed to be the immediately preceding Business Day.

                (iii) All payments required to be made by Borrower hereunder or under the
        Note or the other Loan Documents shall be made irrespective of, and without deduction
        for, any setoff, claim or counterclaim and shall be made irrespective of any defense
        thereto.

                (iv)   Lender shall have the right from time to time, in its sole discretion, upon
        not less than thirty (30) days prior written notice to Borrower, to change the Monthly
        Payment Date to a different calendar day each month which is not more than five (5) days
        earlier nor more than ten (10) days later than the sixth (6th) day of each calendar month;
        provided, however, that (A) if Lender shall have elected to change the Monthly Payment
        Date as aforesaid, Lender shall have the option, but not the obligation, to adjust the
        Interest Period correspondingly and (B) if Lender shall have elected to change the
        Monthly Payment Date as aforesaid to any calendar day earlier than the sixth (6th) day of
        each calendar month, Borrower shall have a grace period for any amounts due on a
        Monthly Payment Date through the sixth (6th) day of each such calendar month.

        Section 2.7   Prepayments.

        (a)     Except as otherwise provided in this Section 2.7, Borrower shall not have the
right to prepay the Loan in whole or in part. On or after the Open Period Start Date, Borrower
may, provided no Event of Default has occurred and is continuing, at its option and upon not less
than thirty (30) days prior notice (a “Prepayment Notice”) to Lender (or such shorter period of
time as may be permitted by Lender in its sole discretion), which notice must specify the date on
which such prepayment is to be made, prepay the Debt in whole (but not in part) on any date
(other than a date from, and including, the tenth (10th) day of a calendar month through, and
including, the fourteenth (14th) day of a calendar month); provided that such prepayment is
accompanied by payment of all interest accrued on the principal amount prepaid through and
including the date of repayment, the Breakage Costs, the Additional Interest and the Minimum
Interest Payment, in each case to the extent applicable. Lender shall not be obligated to accept
any prepayment unless it is accompanied by payment of all sums required to be paid in
connection therewith. As a condition to any voluntary prepayment, the Prepayment Notice may
not be given to Lender more than ninety (90) days prior to the date upon which prepayment is to
be made and Borrower hereby agrees that, in the event Borrower delivers a Prepayment Notice
and fails to prepay the Loan in accordance with the Prepayment Notice and the terms of this
Section 2.7, Borrower shall pay Lender all reasonable out-of-pocket costs and expenses incurred
by Lender, including, without limitation, any Breakage Costs or similar expenses, as a result of
such failure. A Prepayment Notice may be revoked by Borrower if written notice of such
revocation is delivered by Borrower to Lender on or before the date that is five (5) Business
Days prior to the prepayment date set forth in the Prepayment Notice. If Borrower delivers to
Lender a Prepayment Notice and subsequently revokes such Prepayment Notice prior to
prepayment, Borrower shall promptly reimburse Lender for all costs and expenses incurred by
Lender (including any attorneys’ fees) due to such revoked notice or otherwise in connection
with the anticipated prepayment.

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          (b)    On each date on which Lender actually receives a distribution of Net Proceeds,
and if Lender is not required pursuant to the terms and conditions of this Agreement to (and does
not otherwise elect to) make such Net Proceeds available to Borrower for Restoration, Borrower
shall, at Lender’s option, prepay the Debt in an amount equal to one hundred percent (100%) of
such Net Proceeds. Any prepayment received by Lender under this Section 2.7(b) shall be
accompanied by (i) all interest accrued on the principal amount prepaid through and including
the date of repayment, the applicable portion of the Additional Interest and any Breakage Costs,
(ii) all other sums due and payable under the Loan Documents (including, without limitation, any
amount due under Section 9.6 hereof) and (iii) all reasonable out-of-pocket costs and expenses
incurred by Lender in connection with such prepayment. No prepayment premium or penalty
(which shall not be deemed to include the Additional Interest or, if an Event of Default exists,
the Minimum Interest Payment, each of which shall be owed as provided for in this Agreement,
if applicable) shall be due in connection with any prepayment made pursuant to this
Section 2.7(b).

        (c)    If concurrently with or after an Event of Default, payment of all or any part of the
principal of the Loan is tendered by or on behalf of Borrower (including, without limitation, by
virtue of an application of Reserve Funds or any other cash collateral for the Loan by Lender
pursuant to the terms and conditions of the Loan Documents), a purchaser at foreclosure or any
other Person, (i) such tender shall be deemed an attempt to circumvent the prohibition against
prepayment set forth herein and (ii) Borrower, such purchaser at foreclosure or other Person shall
pay the Minimum Interest Payment, the Additional Interest and the Breakage Costs, in each case
to the extent applicable, in addition to (A) the outstanding principal balance of the Loan, (B) all
accrued and unpaid interest and other amounts payable under the Loan Documents and (C) if
such prepayment occurs prior to the final sale of the Loan in a Secondary Market Transaction,
Hedge Losses. Notwithstanding anything to the contrary contained herein or in any other Loan
Document, any prepayment of the Debt shall be applied to the Debt in such order and priority as
may be determined by Lender in its sole discretion.

        (d)    Except as otherwise expressly set forth herein, in all events and under all
circumstances Borrower shall be obligated to pay to Lender minimum interest in an amount
equal to interest at the Interest Rate in effect as of the date of full repayment of the Debt
(whether by virtue of a voluntary prepayment hereunder, acceleration, or otherwise) calculated
on the face amount of the Note for a period of fifteen (15) months (the “Minimum Interest”).
Upon prepayment or repayment in full of the Obligations or the acceleration thereof in
accordance with the terms of any of the Loan Documents, Borrower shall pay to Lender an
amount (such amount, the “Minimum Interest Payment”) equal to the positive difference, if
any, between (i) the entire Minimum Interest, minus (ii) the aggregate total of all Monthly Debt
Service Payments paid by Borrower during the term of the Loan (exclusive of any portions
thereof constituting (A) interest accrued at the Default Rate in excess of the Interest Rate or (B)
payments of principal). In furtherance of the foregoing, Borrower expressly acknowledges and
agrees that (x) Lender shall have no obligation to accept any prepayment or repayment of the
Loan unless and until Borrower shall have complied with this Section 2.7(d), and (y) Lender
shall have no obligation to release or, if requested by Borrower, assign the Note and Security
Instrument upon payment of the Obligations unless and until Lender shall have received the
entire Minimum Interest Payment. In the event that any Minimum Interest Payment is due
hereunder, Lender shall deliver to Borrower a statement setting forth the amount and

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determination of the Minimum Interest Payment, and, provided that Lender shall have in good
faith applied the formula described above, Borrower shall not have the right to challenge the
calculation or the method of calculation set forth in any such statement in the absence of
manifest error, which calculation may be made by Lender on any day during the fifteen (15) day
period preceding the date of such prepayment. Lender shall not be obligated or required to have
actually reinvested the prepaid principal balance at LIBOR or otherwise as a condition to
receiving the Minimum Interest Payment. Borrower expressly acknowledges and agrees that the
Minimum Interest Payment shall constitute additional consideration for the Loan, and shall, upon
payment, be the sole and exclusive property of Lender.

        Section 2.8    Interest Rate Cap Agreement.

         (a)      Prior to or contemporaneously with the Closing Date, Borrower shall enter into an
Interest Rate Cap Agreement with a LIBOR strike rate equal to the Strike Rate. The Interest
Rate Cap Agreement (i) shall at all times be in a form and substance acceptable to Lender,
(ii) shall at all times be with a Counterparty, (iii) shall at all times be for a period equal to the
term of the Loan, and (iv) shall at all times have a notional amount equal to or greater than the
principal balance of the Loan and shall at all times provide for the applicable LIBOR strike rate
to be equal to the Strike Rate. Borrower shall direct such Counterparty to deposit directly into
the Cash Management Account (or, if the Cash Management Account is not then activated, into
such other Account as Lender may designate) any amounts due Borrower under such Interest
Rate Cap Agreement so long as any portion of the Debt is outstanding, provided that the Debt
shall be deemed to be outstanding if the Property is transferred by judicial or non-judicial
foreclosure or deed-in-lieu thereof. Additionally, Borrower shall collaterally assign to Lender,
pursuant to the Collateral Assignment of Interest Rate Cap Agreement, all of its right, title and
interest in and to the Interest Rate Cap Agreement (and any replacements thereof), including,
without limitation, its right to receive any and all payments under the Interest Rate Cap
Agreement (and any replacements thereof), and Borrower shall, and shall cause Counterparty to,
deliver to Lender a fully executed Interest Rate Cap Agreement (which shall, by its terms,
authorize the assignment to Lender and require that payments be deposited directly into the Cash
Management Account).

        (b)     Borrower shall comply with all of its obligations under the terms and provisions
of the Interest Rate Cap Agreement. All amounts paid by the Counterparty under the Interest
Rate Cap Agreement to Borrower or Lender shall be deposited immediately into the Cash
Management Account. Borrower shall take all actions reasonably requested by Lender to
enforce Lender’s rights under the Interest Rate Cap Agreement in the event of a default by the
Counterparty and shall not waive, amend or otherwise modify any of its rights thereunder.

        (c)     In the event of any downgrade, withdrawal or qualification of the rating of the
Counterparty by any Rating Agency below the Minimum Counterparty Rating, Borrower shall
(i) replace the Interest Rate Cap Agreement not later than fifteen (15) Business Days following
receipt of notice of such downgrade, withdrawal or qualification with an Interest Rate Cap
Agreement in form and substance reasonably satisfactory to Lender (and meeting the
requirements set forth in this Section 2.8) (a “Replacement Interest Rate Cap Agreement”)
from a Counterparty reasonably acceptable to Lender having a Minimum Counterparty Rating or
(ii) if provided for in such Interest Rate Cap Agreement, cause the Counterparty to deliver

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collateral to secure Borrower’s exposure under the Interest Rate Cap Agreement in such amount
and pursuant to such terms as are acceptable to the Rating Agencies.

       (d)     In the event that Borrower fails to purchase and deliver to Lender the Interest Rate
Cap Agreement or fails to maintain the Interest Rate Cap Agreement in accordance with the
terms and provisions of this Agreement, Lender may purchase the Interest Rate Cap Agreement
and the cost incurred by Lender in purchasing such Interest Rate Cap Agreement shall be paid by
Borrower to Lender with interest thereon at the Default Rate from the date such cost was
incurred by Lender until such cost is reimbursed by Borrower to Lender.

        (e)     Each Interest Rate Cap Agreement shall contain the following language or its
equivalent: “In the event of any downgrade, withdrawal or qualification of the rating of the
Counterparty below (i) a long term rating of “A-” by S&P or (ii) a long term rating of “A3” by
Moody’s, the Counterparty must, within ten (10) business days, either (x) post collateral on
terms acceptable to each Rating Agency and Borrower, or (y) find a replacement Counterparty,
at the Counterparty’s sole cost and expense, acceptable to each Rating Agency and Borrower;
provided that, notwithstanding such a downgrade, withdrawal or qualification, unless and until
the Counterparty transfers the Interest Rate Cap Agreement to a replacement Counterparty
pursuant to the foregoing clause (y), the Counterparty will continue to perform its obligations
under the Interest Rate Cap Agreement. Failure to satisfy the foregoing shall constitute an
“Additional Termination Event” as defined by Section 5(b)(v) of the ISDA Master Agreement,
with the Counterparty as the “Affected Party.” In the event that a Counterparty is required
pursuant to the terms of an Interest Rate Cap Agreement to (i) deliver collateral as specified in
the applicable Interest Rate Cap Agreement, or (ii) find a replacement Counterparty, Borrower
covenants and agrees that Borrower shall seek Lender’s approval with respect thereto and shall
not approve or consent to the foregoing unless and until Borrower receives Lender’s prior written
approval and shall approve or consent to the foregoing upon receipt of Lender’s prior written
approval. Borrower’s failure to comply with the requirements of this Section 2.8(e) shall
constitute, at Lender’s option, an immediate Event of Default.

        (f)    Borrower shall obtain and deliver to Lender an opinion from counsel (which
counsel may be in house counsel for the Counterparty) for the Counterparty (upon which Lender
and its successors and assigns may rely) which shall provide, in relevant part, that:

                (i)    the Counterparty is duly organized, validly existing, and in good standing
        under the laws of its jurisdiction of incorporation and has the organizational power and
        authority to execute and deliver, and to perform its obligations under, the Interest Rate
        Cap Agreement;

                (ii)     the execution and delivery of the Interest Rate Cap Agreement by the
        Counterparty, and any other agreement which the Counterparty has executed and
        delivered pursuant thereto, and the performance of its obligations thereunder have been
        and remain duly authorized by all necessary action and do not contravene any provision
        of its certificate of incorporation or by-laws (or equivalent organizational documents) or
        any law, regulation or contractual restriction binding on or affecting it or its property;




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                (iii) all consents, authorizations and approvals required for the execution and
        delivery by the Counterparty of the Interest Rate Cap Agreement, and any other
        agreement which the Counterparty has executed and delivered pursuant thereto, and the
        performance of its obligations thereunder have been obtained and remain in full force and
        effect, all conditions thereof have been duly complied with, and no other action by, and
        no notice to or filing with any governmental authority or regulatory body is required for
        such execution, delivery or performance; and

               (iv)    the Interest Rate Cap Agreement, and any other agreement which the
        Counterparty has executed and delivered pursuant thereto, has been duly executed and
        delivered by the Counterparty and constitutes the legal, valid and binding obligation of
        the Counterparty, enforceable against the Counterparty in accordance with its terms,
        subject to applicable bankruptcy, insolvency and similar laws affecting creditors’ rights
        generally, and subject, as to enforceability, to general principles of equity (regardless of
        whether enforcement is sought in a proceeding in equity or at law).

      (g)   Borrower shall deliver to Lender a new Collateral Assignment of Interest Rate
Cap Agreement acceptable to Lender in connection with each Replacement Interest Rate Cap
Agreement.

       Section 2.9 Assignment of Security Instrument. Upon payment in full of all
principal and interest due on the Loan and all other amounts due and payable in accordance with
the terms and provisions of the Loan Documents, and upon the written request and at the sole
cost and expense of Borrower (including payment of Lender’s reasonable legal fees and
expenses and then customary administrative fee in connection therewith), Lender shall cooperate
with Borrower to effect an assignment of the Note and the Security Instrument to a new lender
by assigning the Note and the Security Instrument, each without recourse, covenant or warranty
of any nature, express or implied, to such new lender designated by Borrower (other than
Borrower or a nominee of Borrower) pursuant to documentation reasonably acceptable to
Lender.

        Section 2.10 Payment of Additional Interest.

        (a)    Subject only to Section 2.10(d) below, Borrower shall be obligated to pay the
Additional Interest to Lender as follows: (i) upon any (and each) partial prepayment of the Loan
in accordance with the terms hereof, in addition to all other amounts payable to Lender under
Section 2.7 hereof, Borrower shall pay to Lender, on account of the Additional Interest, an
amount equal to one-half of one percent (0.50%) of the amount so prepaid; (ii) upon any (and
each) application of any condemnation awards or Net Proceeds to the Debt in accordance with
the terms of this Agreement and the Security Instrument, one-half of one percent (0.50%) of the
amount thereof shall be retained by Lender on account of the Additional Interest and the balance
thereof shall be applied to the Debt; and (iii) upon repayment in full of the Debt or the
acceleration thereof in accordance with the terms of any of the Loan Documents, Borrower shall
pay to Lender the entire Additional Interest which would be due on such date, less any amounts
on account thereof previously paid to Lender under the foregoing clauses (i) and (ii) of this
Section 2.10(a).



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        (b)    In furtherance of the foregoing, Borrower expressly acknowledges and agrees that
(i) Lender shall have no obligation to accept any prepayment of the Loan unless and until
Borrower shall have complied with this Section 2.10, and (ii) Lender shall have no obligation to
release or assign any Loan Document upon payment of the Debt unless and until Lender shall
have received the Additional Interest then due and payable.

        (c)    Borrower expressly acknowledges and agrees that the Additional Interest shall
constitute additional consideration for the Loan.

        (d)     Notwithstanding anything herein or in any other Loan Document to the contrary,
upon any fixed rate refinancing of the Loan by the initially-named Lender hereunder, or an
Affiliate thereof, the Additional Interest due and payable in connection therewith shall be waived
(it being agreed, however, that in no event shall any refund be owed to Borrower on account of
any amounts paid pursuant to Section 2.10(a) above).

       Section 2.11 Extension of the Maturity Date. Borrower shall have the option to
extend the term of the Loan beyond the initial Maturity Date for two (2) successive terms (the
“Extension Option”) of six (6) months each (each, an “Extension Period”) to (i) December 9,
2019 if the first Extension Option is exercised and (ii) June 9, 2020 if the second Extension
Option is exercised (each such date, the “Extended Maturity Date”) upon satisfaction of the
following terms and conditions (in each case as determined by Lender):

       (a)  no Event of Default shall have occurred and be continuing at the time an
Extension Option is exercised and on the date that the applicable Extension Period is
commenced;

        (b)     Borrower shall notify Lender of its irrevocable election to extend the Maturity
Date as aforesaid not earlier than ninety (90) days and no later than thirty (30) days prior to the
applicable Maturity Date; provided, however, that Borrower shall be permitted to revoke such
notice at any time up to three (3) Business Days before the Maturity Date provided that Borrower
pays to Lender all actual out-of-pocket costs incurred by Lender in connection with such notice,
including, without limitation, any Breakage Costs;

        (c)     Borrower shall obtain and deliver to Lender prior to exercise of such Extension
Option, pursuant to the applicable terms and conditions of Section 2.8 hereof, a Replacement
Interest Rate Cap Agreement, which Replacement Interest Rate Cap Agreement shall be
effective commencing on the first day of the related Extension Period and shall have a maturity
date not earlier than the last day of the related Extension Period;

       (d)    Borrower shall have paid to Lender the Extension Fee on the date the related
Extension Period is commenced;

        (e)      intentionally omitted;

        (f)    each Guarantor shall execute and deliver a reaffirmation, in form and substance
satisfactory to Lender, of such Guarantor’s obligations under each of the Loan Documents
executed and delivered by such Guarantor;


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         (g)    Borrower shall deliver to Lender such other certificates, documents or instruments
as Lender may reasonably require, including, without limitation, an Officer’s Certificate stating
that all representations and warranties of Borrower set forth in Article 3 hereof remain true and
correct in all material respects, subject to any changes in facts or circumstances permitted to have
occurred, or not prohibited from having occurred, pursuant to the terms of the Loan Documents
(in which case such change of facts and circumstances shall be set forth in such Officer’s
Certificate with reference to the applicable representations and warranties) or setting forth any
exceptions to such representations and warranties, which exceptions shall be satisfactory to
Lender;

        (h)     if required by Lender, Lender shall have received, at Borrower’s expense, a title
continuation from the title company that provided the Title Insurance Policy evidencing that
there are no liens against the Property other than Permitted Encumbrances;

       (i)    Borrower shall have completed all Business Plan Work in accordance with the
terms and conditions of this Agreement;

        (j)      intentionally omitted;

        (k)    in connection with the second Extension Option, the Debt Yield shall not be less
than 10.5% at the time such Extension Option is exercised and on the date that such Extension
Period is commenced; provided, however, that if the foregoing condition is not satisfied,
Borrower may prepay a portion of the outstanding principal balance of the Loan as may be
necessary so that such condition is satisfied, provided that any such prepayment shall be subject
to Borrower’s obligation to pay the proportionate share of the Additional Interest applicable
thereto pursuant to Section 2.10 hereof;

        (l)    in connection with the second Extension Option, the Debt Service Coverage Ratio
(Combined) shall be not less than 1.25 to 1.00 at the time the Extension Option is exercised;
provided, however, that if the foregoing condition is not satisfied, Borrower may prepay a
portion of the outstanding principal balance of the Loan as may be necessary so that such
condition is satisfied, provided that any such prepayment shall be subject to Borrower’s
obligation to pay the proportionate share of the Additional Interest applicable thereto pursuant to
Section 2.10 hereof;

      (m)    in connection with the second Extension Option, a permanent certificate of
occupancy covering all of the Improvements shall have been obtained; and

       (n)     the maturity date of the Mezzanine Loan shall have been extended to the
applicable Extended Maturity Date.

       All references in this Agreement and in the other Loan Documents to the Maturity Date
shall mean the applicable Extended Maturity Date in the event an Extension Option is exercised.




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                                           ARTICLE 3

                         REPRESENTATIONS AND WARRANTIES

        Borrower represents and warrants to Lender as of the Closing Date that:

        Section 3.1 Existence and Authority. Borrower (a) is duly organized, validly
existing and in good standing under the laws of its state of formation; (b) is duly qualified to
transact business and is in good standing in the State; (c) except as set forth on Exhibit F hereto,
has all necessary approvals, governmental and otherwise, and full power and authority to own,
operate and lease the Property; and (d) has full power, authority and legal right to mortgage,
grant, bargain, sell, pledge, assign, warrant, transfer and convey the Property pursuant to the
terms hereof and to keep and observe all of the terms of this Agreement, the Note, the Security
Instrument and the other Loan Documents on Borrower’s part to be performed.

        Section 3.2 Borrower’s Principal Place of Business. Borrower’s principal place of
business and its chief executive office as of the date hereof is 1274 49th Street, Suite 184,
Brooklyn, New York 11219. Borrower’s mailing address, as set forth in the opening paragraph
hereof or as changed in accordance with the provisions hereof, is true and correct. Borrower’s
organizational identification number, if any, assigned by the state of its incorporation or
organization is 4253908. Borrower’s federal tax identification number is XX-XXXXXXX. Borrower
is not subject to back-up withholding taxes.

        Section 3.3 Validity of Documents. (a) The execution, delivery and performance of
this Agreement, the Note, the Security Instrument and the other Loan Documents by Borrower
and Guarantor and the borrowing evidenced by the Note and this Agreement (i) are within the
power and authority of such parties; (ii) have been authorized by all requisite organizational
action of such parties; (iii) have received all necessary approvals and consents, corporate,
governmental or otherwise; (iv) will not violate, conflict with, result in a breach of or constitute
(with notice or lapse of time, or both) a material default under any provision of law, any order or
judgment of any court or Governmental Authority, any license, certificate or other approval
required to operate the Property, any applicable organizational documents, or any applicable
indenture, agreement or other instrument, including, without limitation, the Management
Agreement; (v) will not result in the creation or imposition of any lien, charge or encumbrance
whatsoever upon any of its assets, except the lien and security interest created hereby and by the
other Loan Documents; and (vi) will not require any authorization or license from, or any filing
with, any Governmental Authority (except for the recordation of the Security Instrument in
appropriate land records in the State and except for Uniform Commercial Code filings relating to
the security interest created hereby), (b) this Agreement, the Note, the Security Instrument and
the other Loan Documents have been duly executed and delivered by Borrower and Guarantor
and (c) this Agreement, the Note, the Security Instrument and the other Loan Documents
constitute the legal, valid and binding obligations of Borrower and Guarantor. The Loan
Documents are not subject to any right of rescission, set-off, counterclaim or defense by
Borrower or Guarantor, including the defense of usury, nor would the operation of any of the
terms of the Loan Documents, or the exercise of any right thereunder, render the Loan
Documents unenforceable (except as such enforcement may be limited by bankruptcy,
insolvency, reorganization, moratorium or other similar Creditors Rights Laws, and by general

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principles of equity (regardless of whether such enforceability is considered in a proceeding in
equity or at law)). Neither Borrower nor Guarantor has asserted any right of rescission, set-off,
counterclaim or defense with respect to the Loan Documents. The Assignment of Leases creates
a valid assignment of, or a valid security interest in, certain rights under the Leases, subject only
to a license granted to Borrower to exercise certain rights and to perform certain obligations of
the lessor under the Leases, including the right to operate the Property. No Person other than
Lender has any interest in or assignment of the Leases or any portion of the Rents due and
payable or to become due and payable thereunder. No consent, approval, authorization or order
of any court or Governmental Authority is required for the execution, delivery and performance
by Borrower of, or compliance by Borrower with, the Loan Documents or the consummation of
the transactions contemplated hereby, other than those which have been obtained by Borrower.

         Section 3.4 Agreements. Borrower has no material financial obligation under any
agreement or instrument to which Borrower is a party or by which Borrower or the Property is
otherwise bound, other than (a) obligations incurred in the ordinary course of the operation of the
Property and (b) obligations under this Agreement, the Security Instrument, the Note and the
other Loan Documents. Borrower is not a party to any agreement or instrument or subject to any
restriction which would have a Material Adverse Effect. Borrower is not in default in any
material respect in the performance, observance or fulfillment of any of the obligations,
covenants or conditions contained in any agreement or instrument to which it is a party or by
which Borrower or the Property is bound. There is no agreement or instrument to which
Borrower is a party or by which Borrower is bound that would require the subordination in right
of payment of any of Borrower’s obligations hereunder or under the Note to an obligation owed
to another party.

        Section 3.5 Title; Permitted Encumbrances. Borrower has good, marketable and
insurable fee simple title to the real property comprising part of the Property and good title to the
balance of the Property owned by it, free and clear of all liens whatsoever except the Permitted
Encumbrances. None of the Permitted Encumbrances, individually or in the aggregate, (a)
materially interfere with the benefits of the security intended to be provided by the Loan
Documents, (b) materially and adversely affect the value of the Property, (c) impair the use or
operation of the Property, or (d) impair Borrower’s ability to pay the Obligations in a timely
manner. The Security Instrument, when properly recorded in the appropriate records, together
with any Uniform Commercial Code financing statements required to be filed in connection
therewith, will create (i) a valid, first priority, perfected lien on Borrower’s interest in the
Property, subject only to Permitted Encumbrances, and (ii) perfected security interests in and to,
and perfected collateral assignments of, all personalty (including the Leases), all in accordance
with the terms thereof, in each case subject only to the Permitted Encumbrances. There are no
mechanics’, materialman’s or other similar liens or claims which have been filed for work, labor
or materials affecting the Property which are or may become liens prior to, or equal or coordinate
with, the lien of the Security Instrument.

        Section 3.6 Purchase Options. Neither the Property nor any part thereof or interest
therein are subject to any purchase options, rights of first refusal or offer to purchase or other
similar rights in favor of third parties.



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       Section 3.7 Condemnation. No Condemnation or other proceeding has been
commenced or, to Borrower’s best knowledge, is threatened or contemplated with respect to all
or any portion of the Property or for the relocation of the access to the Property.

        Section 3.8 Separate Lots; Flood Zone; Wetlands. The Property is assessed for real
estate tax purposes as one or more wholly independent tax lot or lots, separate from any
adjoining land or improvements not constituting a part of such lot or lots, and no other land or
improvements is assessed and taxed together with the Property or any portion thereof. Except as
expressly disclosed on the Survey, no portion of the Improvements is located in an area
identified by the Federal Emergency Management Agency or any successor thereto as an area
having special flood hazards. No part of the Property consists of or is classified as wetlands,
tidelands or swamp and overflow lands.

       Section 3.9 Use of Property. The Property is used exclusively as a hotel and for other
appurtenant and related uses.

        Section 3.10 Certain Additional Property Representations.

       (a)   The Property and the present and contemplated use and occupancy thereof are in
full compliance with all applicable zoning ordinances, building codes, land use laws,
Environmental Laws and other similar Legal Requirements.

        (b)     The Property is served by public water and sewer systems and sanitary sewer and
storm drain facilities, in each case adequate to service the Property for its intended uses. All
liquid and solid waste disposal, septic and sewer systems located on the Property are in a good
and safe condition and repair and in compliance with all Legal Requirements. The Property is
served by all utilities necessary or convenient for the full use and enjoyment of the Property, all
of which (i) are provided by public utilities, (ii) either have been accepted by the Property or the
Property is equipped to accept the same, (iii) are located in a public right of way abutting the
Property and (iv) are connected so as to serve the Property without passing over other property
absent a valid easement.

        (c)    All public roads and streets necessary for service of and access to the Property for
the current or contemplated use thereof have been completed, dedicated to public use and
accepted by all Governmental Authorities, are serviceable and all-weather and are physically and
legally open for use by the public. The Property has either direct access to such public roads or
streets or access to such public roads or streets by virtue of a perpetual easement or similar
agreement inuring in favor of Borrower and any subsequent owners of the Property.

       (d)     Except as set forth on Exhibit F hereto, Borrower has obtained all Permits, all of
which are in full force and effect as of the date hereof and not subject to forfeiture, revocation,
suspension or modification.

        (e)    The Property is free from damage caused by fire or other casualty. The Property,
including, without limitation, all buildings, improvements, parking facilities, sidewalks, storm
drainage systems, roofs, plumbing systems, HVAC systems, fire protection systems, electrical
systems, equipment, elevators, exterior sidings and doors, landscaping, irrigation systems and all
structural components, are in good condition, order and repair (excepting ordinary wear and

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tear), except for any of the foregoing that will be completed as part of the Business Plan Work.
There exists no structural or other material defects or damages in the Property, whether latent or
otherwise, and Borrower has not received notice from any insurance company or bonding
company of any defects or inadequacies in the Property, or any part thereof, which would
adversely affect the insurability of the same or cause the imposition of extraordinary premiums
or charges thereon or of any termination or threatened termination of any policy of insurance or
bond.

        (f)    Except for the Business Plan Work, Borrower has paid in full for, and is the
owner of, all furnishings, fixtures and equipment (other than Tenants’ property) used in
connection with the operation of the Property, free and clear of any and all security interests,
liens or encumbrances, except the lien and security interest created by this Agreement, the Note,
the Security Instrument and the other Loan Documents.

        (g)    To Borrower’s knowledge after due inquiry, there are no pending or proposed
special or other assessments for public improvements or otherwise affecting the Property, nor are
there any contemplated improvements to the Property that may result in such special or other
assessments.

         (h)    All the Improvements lie within the boundaries of the Land and any building
restriction lines applicable to the Land. All easements, cross easements, licenses, air rights and
rights of way or other similar property interests, if any, necessary for the full utilization of the
Improvements for their intended purposes have been obtained, are described in the Title
Insurance Policy and are in full force and effect without default thereunder.

       (i)     Except for the Business Plan Work, Borrower has not (i) made, ordered or
contracted for any construction, repairs, alterations or improvements to be made on or to the
Property which have not been completed and paid for in full, (ii) ordered materials for any such
construction, repairs, alterations or improvements which have not been paid for in full or (iii)
attached any fixtures to the Property which have not been paid for in full. There is no such
construction, repairs, alterations or improvements ongoing at the Property as of the Closing Date.
There are no outstanding or disputed claims for any Labor and Materials Charges and there are
no outstanding liens or security interests in connection with any Labor and Materials Charges.
All costs and expenses of any and all labor, materials, supplies and equipment used in the
construction of the Improvements have been paid in full.

        Section 3.11 Financial Condition.

        (a)    Borrower is solvent and Borrower has received reasonably equivalent value for
the granting of the Security Instrument. No proceeding under Creditors Rights Laws with
respect to any Borrower Party has been initiated.

        (b)     In the last ten (10) years, no (i) petition in bankruptcy has been filed by or against
any Borrower Party and (ii) Borrower Party has ever made any assignment for the benefit of
creditors or taken advantage of any Creditors Rights Laws.




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       (c)     No Borrower Party is contemplating either the filing of a petition by it under any
Creditors Rights Laws or the liquidation of its assets or property and Borrower has no knowledge
of any Person contemplating the filing of any such petition against any Borrower Party.

        (d)      Except as set forth on Exhibit G attached hereto, with respect to any loan or
financing in which any Borrower Party or any Affiliate thereof has been directly or indirectly
obligated for or has, in connection therewith, otherwise provided any guaranty, indemnity or
similar surety (including, without limitation and to the extent applicable, any loan which is being
refinanced by the Loan), none of such loans or financings has ever been (i) more than 30 days in
default or (ii) transferred to special servicing.

         Section 3.12 Financial Information. All financial data, including, without limitation,
the balance sheets, statements of cash flow, statements of income and operating expense and rent
rolls, that have been delivered to Lender in respect of Borrower, Guarantor and/or the Property
(a) are true, complete and correct in all material respects, (b) accurately represent the financial
condition of Borrower, Guarantor or the Property, as applicable, as of the date of such reports,
and (c) to the extent prepared or audited by an independent certified public accounting firm, have
been prepared in accordance with the Approved Accounting Method throughout the periods
covered, except as disclosed therein. Borrower does not have any contingent liabilities,
liabilities for taxes, unusual forward or long-term commitments or unrealized or anticipated
losses from any unfavorable commitments that are known to Borrower and reasonably likely to
have a Material Adverse Effect, except as referred to or reflected in said financial statements and
except as set forth on Exhibit J attached hereto. Since the date of such financial statements, there
has been no materially adverse change in the financial condition, operations or business of
Borrower or Guarantor from that set forth in said financial statements.

        Section 3.13 Fraudulent Conveyance. Borrower (a) has not entered into the Loan or
any Loan Document with the actual intent to hinder, delay, or defraud any creditor and
(b) received reasonably equivalent value in exchange for its obligations under the Loan
Documents. Giving effect to the Loan, the fair saleable value of Borrower’s assets exceeds and
will, immediately following the execution and delivery of the Loan Documents, exceed
Borrower’s total liabilities, including, without limitation, subordinated, unliquidated, disputed or
contingent liabilities. The fair saleable value of Borrower’s assets is and will, immediately
following the execution and delivery of the Loan Documents, be greater than Borrower’s
probable liabilities, including the maximum amount of its contingent liabilities or its debts as
such debts become absolute and matured. Borrower’s assets do not and, immediately following
the execution and delivery of the Loan Documents will not, constitute unreasonably small capital
to carry out its business as conducted or as proposed to be conducted. Borrower does not intend
to, and does not believe that it will, incur debts and liabilities (including, without limitation,
contingent liabilities and other commitments) beyond its ability to pay such debts as they mature
(taking into account the timing and amounts to be payable on or in respect of obligations of
Borrower).

        Section 3.14 Disclosure. Borrower has disclosed to Lender all material facts and has
not failed to disclose any material fact that could cause any representation or warranty made
herein to be materially misleading.


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        Section 3.15 No Plan Assets.

        (a)     Borrower is not an “employee benefit plan,” as defined in Section 3(3) of ERISA,
subject to Title I of ERISA;

     (b)         Borrower is not a “governmental plan” within the meaning of Section 3(32) of
ERISA;

       (c)     transactions by or with Borrower are not subject to any state statute regulating
investments of, or fiduciary obligations with respect to, governmental plans;

        (d)   none of the assets of Borrower constitutes “plan assets” of one or more such plans
within the meaning of 29 C.F.R. Section 2510.3-101; and

       (e)    Neither Borrower, nor any member of a “controlled group of corporations”
(within the meaning of Section 414 of the IRS Code), maintains, sponsors or contributes to a
“defined benefit plan” (within the meaning of Section 3(35) of ERISA).

      Section 3.16 Not a Foreign Person. Borrower is not a “foreign person” within the
meaning of § 1445(f)(3) of the IRS Code.

      Section 3.17 Business Purposes. The Loan is solely for the business purpose of
Borrower, and is not for personal, family, household, or agricultural purposes.

        Section 3.18 Litigation. Except as set forth on Exhibit H attached hereto, there is no
action, suit, proceeding or governmental investigation, in each case, judicial, administrative or
otherwise (including any condemnation or similar proceeding), pending or, to the best of
Borrower’s knowledge, threatened or contemplated against Borrower or Guarantor or against or
affecting the Property.

        Section 3.19 Leases. The Property is not subject to any Leases.

        Section 3.20 Taxes.

        (a)    All Taxes and governmental assessments owing in respect of the Property have
been paid or an escrow of funds in an amount sufficient to cover such payments has been
established hereunder. There are no pending or proposed special or other assessments for public
improvements or otherwise affecting the Property, nor are there any contemplated improvements
to the Property that may result in such special or other assessments.

         (b)    Borrower has filed all federal, state, county, municipal, and city income, personal
property and other tax returns required to have been filed by it and has paid all taxes and related
liabilities which have become due pursuant to such returns or pursuant to any assessments
received by it. Borrower knows of no basis for any additional assessment in respect of any such
taxes and related liabilities for prior years.

       (c)     All mortgage, mortgage recording, stamp, intangible or other similar tax required
to be paid by any Person under applicable Legal Requirements currently in effect in connection

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with the execution, delivery, recordation, filing, registration, perfection or enforcement of any of
this Agreement, the Security Instrument, the Note and the other Loan Documents, including,
without limitation, the Security Instrument, have been paid or will be paid, and, under current
Legal Requirements, the Security Instrument and the other Loan Documents are enforceable in
accordance with their terms by Lender (or any subsequent holder thereof), except as such
enforcement may be limited by bankruptcy, insolvency, reorganization, moratorium or other
similar Creditors Rights Laws, and by general principles of equity (regardless of whether such
enforceability is considered in a proceeding in equity or at law).

        Section 3.21 Insurance. Borrower has obtained and has delivered to Lender certified
copies of all Policies (or such other evidence acceptable to Lender) reflecting the insurance
coverages, amounts and other requirements set forth in this Agreement. There are no present
claims of any material nature under any of the Policies, and to Borrower’s knowledge, no Person,
including Borrower, has done, by act or omission, anything which would impair the coverage of
any of the Policies.

       Section 3.22 Management Agreement. The Management Agreement is in full force
and effect and there is no default thereunder by any party thereto and, to Borrower’s knowledge,
no event has occurred that, with the passage of time and/or the giving of notice would constitute
a default thereunder. As of the date hereof, no management fees under the Management
Agreement are due and payable.

        Section 3.23 Illegal Activity/Forfeiture.

        (a)      No portion of the Property has been purchased, improved, equipped or furnished
with proceeds of any illegal activity and to the best of Borrower’s knowledge, there are no illegal
activities or activities relating to controlled substances at the Property.

        (b)     There has not been committed by Borrower or any other Person in occupancy of
or involved with the operation or use of the Property any act or omission affording the federal
government or any state or local government the right of forfeiture as against the Property or any
part thereof or any monies paid in performance of Borrower’s obligations under this Agreement,
the Note, the Security Instrument or the other Loan Documents.

        Section 3.24 Special Purpose Entity. Since Borrower’s and any SPE Component
Entity’s creation and as of the date hereof, Borrower and each SPE Component Entity have
complied with and are in compliance with the requirements set forth on Exhibit C attached
hereto. Additionally, Borrower represents and warrants to Lender that it and each SPE
Component Entity:

        (a)      is and always has been duly formed, validly existing, and in good standing in the
state of its formation and in all other jurisdictions where it is qualified to do business;

        (b)      has no judgments or liens of any nature against it except for tax liens not yet due;

       (c)     is in compliance with all laws, regulations, and orders applicable to it and has
received all permits necessary for it to operate;


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        (d)      is not aware of any pending or threatened litigation against it;

        (e)      is not involved in any dispute with any taxing authority;

        (f)      has paid all taxes that it owes;

        (g)    has never owned any property other than the Property (or, in the case of any SPE
Component Entity, its equity interest in Borrower) and personal property necessary or incidental
to its ownership or operation of the Property (or, in the case of any SPE Component Entity, its
equity interest in Borrower) and has never engaged in any business except the ownership and
operation of the Property (or, in the case of any SPE Component Entity, its equity interest in
Borrower);

       (h)    is not now, nor has ever been, party to any lawsuit, arbitration, summons, or legal
proceeding; and

        (i)      has no material contingent or actual obligations not related to the Property.

        Section 3.25 Federal Reserve Regulations. No part of the proceeds of the Loan will
be used for the purpose of purchasing or acquiring any “margin stock” within the meaning of
Regulation U of the Board of Governors of the Federal Reserve System or for any other purpose
which would be inconsistent with such Regulation U or any other Regulations of such Board of
Governors, or for any purposes prohibited by Legal Requirements or by the terms and conditions
of this Agreement, the Security Instrument, the Note or the other Loan Documents.

         Section 3.26 Investment Company Act. Borrower is not (a) an “investment company”
or a company “controlled” by an “investment company,” within the meaning of the Investment
Company Act of 1940, as amended; (b) a “holding company” or a “subsidiary company” of a
“holding company” or an “affiliate” of either a “holding company” or a “subsidiary company”
within the meaning of the Public Utility Holding Company Act of 1935, as amended; or (c)
subject to any other federal or state law or regulation which purports to restrict or regulate its
ability to borrow money.

        Section 3.27 Embargoed Person. Neither Borrower nor, to Borrower’s knowledge,
any owner of a direct or indirect interest in Borrower (a) is listed on any Government Lists, (b) is
a person who has been determined by competent authority to be subject to the prohibitions
contained in Presidential Executive Order No. 13224 (Sept. 23, 2001) or any other similar
prohibitions contained in the rules and regulations of the Office of Foreign Assets Control
(“OFAC”) or in any enabling legislation or other Presidential Executive Orders in respect
thereof, (c) has been previously indicted for or convicted of any felony involving a crime or
crimes of moral turpitude or for any Patriot Act Offense, or (d) is currently under investigation
by any Governmental Authority for alleged criminal activity. For purposes hereof, the term
“Patriot Act Offense” means any violation of the criminal laws of the United States of America
or of any of the several states, or that would be a criminal violation if committed within the
jurisdiction of the United States of America or any of the several states, relating to terrorism or
the laundering of monetary instruments, including any offense under (i) the criminal laws against
terrorism; (ii) the criminal laws against money laundering, (iii) the Bank Secrecy Act, as
amended, (iv) the Money Laundering Control Act of 1986, as amended, or (v) the Patriot Act.

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“Patriot Act Offense” also includes the crimes of conspiracy to commit, or aiding and abetting
another to commit, a Patriot Act Offense. For purposes hereof, the term “Government Lists”
means (A) the Specially Designated Nationals and Blocked Persons Lists maintained by OFAC,
(B) any other list of terrorists, terrorist organizations or narcotics traffickers maintained pursuant
to any of the Rules and Regulations of OFAC that Lender notified Borrower in writing is now
included in “Government Lists”, or (C) any similar lists maintained by the United States
Department of State, the United States Department of Commerce or any other Government
Authority or pursuant to any Executive Order of the President of the United States of America
that Lender notified Borrower in writing is now included in “Government Lists”.

        Section 3.28 Organizational Chart. The organizational chart attached as Exhibit A
hereto (the “Organizational Chart”), relating to Borrower and certain Affiliates and other
parties, is true, complete and correct on and as of the date hereof.

        Section 3.29 Bank Holding Company. Borrower is not a “bank holding company” or
a direct or indirect subsidiary of a “bank holding company” as defined in the Bank Holding
Company Act of 1956, as amended, and Regulation Y thereunder of the Board of Governors of
the Federal Reserve System.

        Section 3.30 No Other Financing; Other Obligations and Liabilities. Borrower has
not borrowed any funds which have not heretofore been repaid in full, except for the Loan.
Borrower has no liabilities or other obligations that arose or accrued prior to the date hereof that,
either individually or in the aggregate, could have a Material Adverse Effect. Borrower has no
known contingent liabilities other than pursuant to the Loan Documents.

        Section 3.31 Contracts.

       (a)     Borrower has not entered into, and is not bound by, any Major Contract which
continues in existence, except those previously disclosed in writing to Lender.

        (b)    Each of the Major Contracts is in full force and effect, there are no monetary or
other material defaults by Borrower thereunder and, to the knowledge of Borrower, there are no
monetary or other material defaults thereunder by any other party thereto. None of Borrower,
Manager or any other Person acting on Borrower’s behalf has given or received any notice of
default under any of the Major Contracts that remains uncured or in dispute.

        (c)     Borrower has delivered true, correct and complete copies of the Major Contracts
(including all amendments and supplements thereto) to Lender.

       (d)     Except for the Major Contracts set forth on Exhibit I attached hereto, no Major
Contract has as a party an Affiliate of Borrower. All fees and other compensation for services
previously performed under the Management Agreement have been paid in full.

        Section 3.32 Property Document Representations. With respect to each Property
Document, Borrower hereby represents that (a) each Property Document is in full force and
effect and has not been amended, restated, replaced or otherwise modified (except, in each case,
as expressly set forth herein), (b) there are no defaults under any Property Document by any
party thereto and, to Borrower’s knowledge, no event has occurred which, but for the passage of

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time, the giving of notice, or both, would constitute a default under any Property Document, (c)
all rents, additional rents and other sums due and payable under the Property Documents have
been paid in full, (d) no party to any Property Document has commenced any action or given or
received any notice for the purpose of terminating any Property Document and (e) the
representations made in any estoppel or similar document delivered with respect to any Property
Document in connection with the Loan are true, complete and correct and are hereby
incorporated by reference as if fully set forth herein.

        Section 3.33 No Change in Facts or Circumstances; Disclosure. All information
submitted by (or on behalf of) Borrower or Guarantor to Lender and in all financial statements,
rent rolls, reports, certificates and other documents submitted in connection with the Loan or in
satisfaction of the terms thereof and all statements of fact made by Borrower and/or Guarantor in
this Agreement or in the other Loan Documents, are accurate, complete and correct in all
material respects. There has been no material adverse change in any condition, fact,
circumstance or event that would make any such information inaccurate, incomplete or otherwise
misleading in any material respect or that otherwise have a Material Adverse Effect. Borrower
has disclosed to Lender all material facts and has not failed to disclose any material fact that
could cause any representation or warranty made herein to be materially misleading.

        Section 3.34 Third Party Representations. Each of the representations and the
warranties made by Guarantor in the other Loan Documents (if any) are true, complete and
correct in all material respects.

       Section 3.35 Non-Consolidation Opinion Assumptions. All of the assumptions made
in any Non-Consolidation Opinion delivered in connection with the closing of the Loan (if any),
including, but not limited to, any exhibits attached thereto and/or certificates delivered in
connection therewith, are true, complete and correct.

        Section 3.36 Hotel Representations.

       (a)     Other than as set forth on Exhibit L hereof (such leases or agreements, the
“Equipment Leases”), the Property is not subject to equipment leases or any other similar leases
or agreements.

        (b)    Except for any incentive compensation systems designed to promote increased
customer use of the Property, there are no: (i) collective bargaining agreements and/or other
labor agreements to which Borrower or the Property, or any portion thereof, is a party or by
which either is or may be bound; or (ii) employment, profit sharing, deferred compensation,
bonus, stock option, stock purchase, pension, retainer, consulting, retirement, health, welfare, or
incentive plans and/or contracts to which Borrower or the Property, or any portion thereof is a
party, or by which either is or may be bound. Borrower has no employees as of the date hereof.
Borrower has not violated in any material respects any applicable laws, rules and regulations
relating to the employment of labor, including those relating to wages, hours, collective
bargaining and the payment and withholding of taxes and other sums as required by appropriate
Governmental Authorities.




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       Section 3.37 Business Plan Work. Borrower has delivered or caused to be delivered
to Lender true, correct and complete copies of all Plans and Specifications in existence as of the
Closing Date.

        Section 3.38 Construction.

                 (i)      Construction Documents.

                         (A)    Borrower has delivered to Lender a list, certified by Borrower, of
                 all contractors who have been or, to the extent identified by Borrower, will be
                 supplying labor or materials in connection with the Business Plan Work.

                         (B)    Borrower has delivered to Lender the most recent completed and
                 itemized Application and Certificate for Payment (AIA Document No. G702),
                 containing the certification of the General Contractor to whom such payment is
                 made, as applicable, and the Architect as to the accuracy of same, together with
                 invoices relating to the costs covered thereby and accompanied by a cost
                 breakdown showing the cost of work on, and the cost of materials incorporated
                 into, the Property to the date of the requisition.

                         (C)    Borrower has furnished to Lender true and complete sets of the
                 Plans and Specifications which will comply with all applicable legal
                 requirements, all governmental approvals, and all restrictions, covenants and
                 easements affecting the Property, and which have been approved by General
                 Contractor, the Architect, and the other design professionals (as applicable), and
                 any governmental authority as is required for construction and renovation relating
                 to the Business Plan Work.

                 (ii)     Zoning.

                         (A)    The land use and zoning regulations which are in effect for the
                 Property permit the Business Plan Work to be completed and use of the Property
                 as a one hundred forty-seven (147) room hotel on an as of right basis and no
                 variance, conditional use permit, special use permit or other similar approval is
                 required for the completion the Business Plan Work or the use of the Property as
                 currently used and as contemplated by the Plans and Specifications that has not
                 been obtained prior to the date hereof.

                 (b)     All government approvals necessary for the Business Plan Work as
                 contemplated by the Plans and Specifications and the Business Plan, including,
                 without limitation, a final and full building permit, have been obtained , any
                 applicable appeal periods have expired and all necessary development rights for
                 the Property have fully and irrevocably vested. Borrower has complied with all
                 legal requirements, including all land use, building, subdivision, zoning and
                 similar ordinances and regulations promulgated by any applicable governmental
                 authority and applicable to any construction at the Property, so as to permit
                 construction to continue to progress and to permit the Business Plan Work to be
                 completed in accordance with the terms of this Agreement.

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                (iii) Budget. The Business Plan accurately reflects all costs and expenses of
        the Business Plan Work, including all anticipated costs and expenses through completion
        of the Business Plan Work.

        Borrower agrees that, unless expressly provided otherwise, all of the representations and
warranties of Borrower set forth in this Article 3 and elsewhere in this Agreement and the other
Loan Documents shall survive for so long as any portion of the Debt remains owing to Lender.
All representations, warranties, covenants and agreements made in this Agreement and in the
other Loan Documents shall be deemed to have been relied upon by Lender notwithstanding any
investigation heretofore or hereafter made by Lender or on its behalf.

                                            ARTICLE 4

                                  BORROWER COVENANTS

      Borrower hereby covenants and agrees with Lender that, from the date hereof and until
payment and performance in full of all obligations of Borrower under the Loan Documents:

        Section 4.1 Existence. Borrower will continuously maintain (a) its existence, (b) its
rights to do business in the State and (c) its franchises and trade names, if any. Borrower shall
not (i) engage in any dissolution, liquidation or consolidation or merger with or into any other
business entity, (ii) engage in any business activity not related to the ownership and operation of
the Property, (iii) transfer, lease or sell, in one transaction or any combination of transactions, all
or substantially all of the property or assets of Borrower except to the extent expressly permitted
by the Loan Documents, or (iv) cause, permit or suffer any SPE Component Entity to
(A) dissolve, wind up or liquidate or take any action, or omit to take any action, as a result of
which such SPE Component Entity would be dissolved, wound up or liquidated in whole or in
part or (B) amend, modify, waive or terminate the organizational documents of such SPE
Component Entity, in each case without obtaining the prior written consent of Lender.

        Section 4.2 Change of Name, Identity or Structure. Borrower shall not change (or
permit to be changed) Borrower’s or the SPE Component Entity’s (a) name, (b) identity
(including its trade name or names), (c) principal place of business set forth in this Agreement, or
(d) corporate, partnership or other structure or state of formation, without, in each case, notifying
Lender of such change in writing at least thirty (30) days prior to the effective date of such
change and, in the case of a change in Borrower’s or the SPE Component Entity’s structure or
state of formation, without first obtaining the prior written consent of Lender and, if required by
Lender, a Rating Agency Confirmation with respect thereto. Borrower shall execute and deliver
to Lender, prior to or contemporaneously with the effective date of any such change, any
financing statement or financing statement change required by Lender to establish or maintain
the validity, perfection and priority of the security interest granted herein. At the request of
Lender, Borrower shall execute a certificate in form satisfactory to Lender listing the trade
names under which Borrower or the SPE Component Entity intends to operate the Property, and
representing and warranting that Borrower or the SPE Component Entity does business under no
other trade name with respect to the Property.




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       Section 4.3 Business and Operations. Borrower will continue to engage in the
businesses now conducted by it as and to the extent the same are necessary for the ownership,
maintenance, management and operation of the Property. Borrower will qualify to do business
and will remain in good standing under the laws of the jurisdiction as and to the extent the same
are required for the ownership, maintenance, management and operation of the Property.

        Section 4.4   Title to Property; Legal Requirements.

       (a)     Borrower shall warrant and defend the validity and priority of the liens of the
Security Instrument and the Assignment of Leases on the Property against the claims of all
Persons whomsoever, subject only to the Permitted Encumbrances.

       (b)     Borrower shall promptly comply and shall cause the Property to comply with all
Legal Requirements affecting the Property or the use thereof (which such covenant shall be
deemed to (i) include Environmental Laws and (ii) require Borrower to keep all Permits in full
force and effect).

       (c)   Borrower shall from time to time, upon Lender’s request, provide Lender with
evidence reasonably satisfactory to Lender that the Property complies with all Legal
Requirements or is exempt from compliance with Legal Requirements.

       (d)     Borrower shall give prompt notice to Lender of the receipt by Borrower of any
notice related to a violation of any Legal Requirements and of the commencement of any
proceedings or investigations which relate to compliance with Legal Requirements.

        (e)     After prior written notice to Lender, Borrower, at its own expense, may contest by
appropriate legal proceeding, promptly initiated and conducted in good faith and with due
diligence, the validity of any Legal Requirement, the applicability of any Legal Requirement to
Borrower or the Property or any alleged violation of such Legal Requirement, provided that (i)
no Event of Default has occurred and remains uncured; (ii) such proceeding shall be permitted
under and be conducted in accordance with the provisions of any instrument to which Borrower
is subject and shall not constitute a default thereunder and such proceeding shall be permitted by
and conducted in accordance with all applicable Legal Requirements; (iii) neither the Property
nor any part thereof or interest therein will be in danger of being sold, forfeited, terminated,
cancelled or lost; (iv) Borrower shall promptly upon final determination thereof comply with any
such Legal Requirement determined to be valid or applicable or cure any violation of any Legal
Requirement; (v) such proceeding shall suspend the enforcement of the contested Legal
Requirement against Borrower or the Property; and (vi) Borrower shall furnish such security as
may be required in the proceeding, or as may be requested by Lender, to insure compliance with
such Legal Requirement, together with all interest and penalties payable in connection therewith.
Lender may apply any such security or part thereof, as necessary to cause compliance with such
Legal Requirement at any time when, in the judgment of Lender, the validity, applicability or
violation of such Legal Requirement is finally established or the Property (or any part thereof or
interest therein) shall be in danger of being sold, forfeited, terminated, cancelled or lost.

       Section 4.5 Waste. Borrower shall not intentionally commit or suffer any waste of the
Property or make any change in the use of the Property which will in any way materially


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increase the risk of fire or other hazard arising out of the operation of the Property, or take any
action that might invalidate or give cause for cancellation of any Policy, or do or permit to be
done thereon anything that may in any way impair the value of the Property or the security for
the Loan. Borrower will not, without the prior written consent of Lender, permit any drilling or
exploration for or extraction, removal, or production of any minerals from the surface or the
subsurface of the Property, regardless of the depth thereof or the method of mining or extraction
thereof.

        Section 4.6 Maintenance and Use of Property. Borrower shall cause the Property to
be maintained in a good and safe condition and repair. The Improvements and the Personal
Property shall not be removed, demolished or materially altered (except for normal replacement
of the Personal Property) without the consent of Lender or as otherwise permitted pursuant to
Section 4.19 hereof. Borrower shall perform (or cause to be performed) the prompt repair,
replacement and/or rebuilding of any part of the Property which may be destroyed by any
casualty, or become damaged, worn or dilapidated or which may be affected by any
Condemnation or similar proceeding and shall complete and pay for (or cause the completion
and payment for) any structure at any time in the process of construction or repair on the Land.
Borrower shall operate the Property for the same uses as the Property is currently operated and
Borrower shall not, without the prior written consent of Lender, (i) change the use of the
Property or (ii) initiate, join in, acquiesce in, or consent to any change in any private restrictive
covenant, zoning law or other public or private restriction, limiting or defining the uses which
may be made of the Property or any part thereof. If under applicable zoning provisions the use
of all or any portion of the Property is or shall become a nonconforming use, Borrower will not
cause or permit the nonconforming use to be discontinued or the nonconforming Improvement to
be abandoned without the express written consent of Lender.

        Section 4.7    Taxes and Other Charges.

        (a)    Borrower shall pay (or cause to be paid) all Taxes and Other Charges now or
hereafter levied or assessed or imposed against the Property or any part thereof as the same
become due and payable; provided, however, prior to the occurrence and continuance of an
Event of Default, Borrower’s obligation to directly pay Taxes shall be suspended for so long as
Borrower complies with the terms and provisions of Section 7.2 hereof. Borrower shall furnish
to Lender receipts for the payment of the Taxes and the Other Charges prior to the date the same
shall become delinquent (provided, however, that Borrower is not required to furnish such
receipts for payment of Taxes in the event that such Taxes have been paid by Lender pursuant to
Section 7.2 hereof). Borrower shall not suffer and shall promptly cause to be paid and
discharged any lien or charge whatsoever which may be or become a lien or charge against the
Property, and shall promptly pay for all utility services provided to the Property.

        (b)    After prior written notice to Lender, Borrower, at its own expense, may contest
(or permit to be contested) by appropriate legal proceeding, promptly initiated and conducted in
good faith and with due diligence, the amount or validity or application in whole or in part of any
Taxes or Other Charges, provided that (i) no Event of Default has occurred and remains uncured;
(ii) such proceeding shall be permitted under and be conducted in accordance with the provisions
of any other instrument to which Borrower is subject and shall not constitute a default thereunder
and such proceeding shall be permitted by and conducted in accordance with all applicable Legal

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Requirements; (iii) neither the Property nor any part thereof or interest therein will be in danger
of being sold, forfeited, terminated, canceled or lost; (iv) Borrower shall promptly upon final
determination thereof pay the amount of any such Taxes or Other Charges, together with all
costs, interest and penalties which may be payable in connection therewith; (v) such proceeding
shall suspend the collection of such contested Taxes or Other Charges from the Property; and
(vi) Borrower shall furnish such security as may be required in the proceeding, or deliver to
Lender such reserve deposits as may be requested by Lender, to insure the payment of any such
Taxes or Other Charges, together with all interest and penalties thereon. Lender may pay over
any such cash deposit or part thereof held by Lender to the claimant entitled thereto at any time
when, in the judgment of Lender, the entitlement of such claimant is established or the Property
(or part thereof or interest therein) shall be in danger of being sold, forfeited, terminated,
canceled or lost or there shall be any danger of the lien of the Security Instrument being primed
by any related lien.

        Section 4.8    Labor and Materials.

        (a)    Subject to Section 4.8(b) below, Borrower will promptly pay (or cause to be paid)
when due all bills and costs for labor, materials, and specifically fabricated materials incurred in
connection with the Property (any such bills and costs, a “Labor and Materials Charge”) and
never permit to exist in respect of the Property or any part thereof any lien or security interest,
even though inferior to the liens and the security interests hereof, and in any event never permit
to be created or exist in respect of the Property or any part thereof any other or additional lien or
security interest other than the liens or security interests created hereby and by the Security
Instrument, except for the Permitted Encumbrances.

        (b)    After prior written notice to Lender, Borrower, at its own expense, may contest by
appropriate legal proceeding, promptly initiated and conducted in good faith and with due
diligence, the validity of any Labor and Materials Charge, the applicability of any Labor and
Materials Charge to Borrower or to the Property or any alleged non-payment of any Labor and
Materials Charge and defer paying the same, provided that (i) no Event of Default has occurred
and is continuing; (ii) such proceeding shall be permitted under and be conducted in accordance
with the provisions of any instrument to which Borrower is subject and shall not constitute a
default thereunder and such proceeding shall be conducted in accordance with all applicable
Legal Requirements; (iii) neither the Property nor any part thereof or interest therein will be in
imminent danger of being sold, forfeited, terminated, cancelled or lost; (iv) Borrower shall
promptly upon final determination thereof pay (or cause to be paid) any such contested Labor
and Materials Charge determined to be valid, applicable or unpaid; (v) such proceeding shall
suspend the collection of such contested Labor and Materials Charge from the Property or
Borrower shall have paid the same (or shall have caused the same to be paid) under protest; and
(vi) Borrower shall furnish (or cause to be furnished) such security as may be required in the
proceeding, or as may be reasonably requested by Lender, to insure payment of such Labor and
Materials Charge, together with all interest and penalties payable in connection therewith.
Lender may apply any such security or part thereof, as necessary to pay for such Labor and
Materials Charge at any time when, in the judgment of Lender, the validity, applicability or non-
payment of such Labor and Materials Charge is finally established or the Property (or any part
thereof or interest therein) shall be in present danger of being sold, forfeited, terminated,
cancelled or lost.

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       Section 4.9 Property Access. Borrower shall permit agents, representatives and
employees of Lender to inspect the Property or any part thereof at reasonable hours upon
reasonable advance notice, subject to the rights of Tenants.

         Section 4.10 Litigation. Borrower shall give prompt written notice to Lender of any
litigation or governmental proceedings pending or threatened in writing against Borrower which
could reasonably be expected to have a Material Adverse Effect.

       Section 4.11 Performance by Borrower. Borrower hereby acknowledges and agrees
that Borrower’s observance, performance and fulfillment of each and every covenant, term and
provision to be observed and performed by Borrower under this Agreement, the Security
Instrument, the Note and the other Loan Documents is a material inducement to Lender in
making the Loan.

        Section 4.12 Books and Records.

        (a)    Borrower will keep and maintain or will cause to be kept and maintained on a
Fiscal Year basis, in accordance with the requirements set forth on Exhibit C hereof and the
Approved Accounting Method, proper and accurate books, records and accounts reflecting all of
the financial affairs of Borrower and all items of income and expense in connection with the
operation of the Property. Lender shall have the right from time to time at all times during
normal business hours upon reasonable notice to examine such books, records and accounts at
the office of Borrower or any other Person maintaining such books, records and accounts and to
make and retain such copies or extracts thereof as Lender shall desire, provided that, prior to the
occurrence of an Event of Default, Borrower shall not be required to pay costs and expenses
incurred by Lender. After the occurrence of an Event of Default, Borrower shall pay any costs
and expenses incurred by Lender to examine Borrower’s accounting records with respect to the
Property, as Lender shall determine to be necessary or appropriate in the protection of Lender’s
interest.

       (b)      Borrower will furnish to Lender annually, within one hundred twenty (120) days
following the end of each Fiscal Year of Borrower, a complete copy of Borrower’s annual
financial statements prepared and reviewed by an independent certified public accountant
acceptable to Lender (it being acknowledged and agreed that Berdon LLP is acceptable to
Lender) (provided, however, that at any time an Event of Default exists or Lender has a
reasonable basis to believe any such financial statements are inaccurate in any material respect or
do not fairly represent the financial condition of Borrower or the Property, the same shall, upon
Lender’s written request, be audited by such independent certified public accountant) in
accordance with the Approved Accounting Method covering the Property for such Fiscal Year
and containing statements of profit and loss for Borrower and the Property and a balance sheet
for Borrower. Such statements shall set forth the financial condition and the results of operations
for the Property for such Fiscal Year, and shall include, but not be limited to, amounts
representing annual net operating income, net cash flow, gross income, operating expenses and
occupancy statistics for the Property (including an average daily room rate).

       (c)      Borrower will furnish, or cause to be furnished, to Lender on or before forty-five
(45) days after the end of each calendar quarter the following items, accompanied by an Officer’s


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Certificate stating that such items are true, correct, accurate, and complete and fairly present the
financial condition and results of the operations of Borrower and the Property (subject to normal
year-end adjustments) as applicable: (i) a rent roll for the subject quarter, (ii) an occupancy
report for the Property (including an average daily room rate) and any franchise scores, franchise
inspection reports or other similar information made available to Borrower during the subject
quarter, (iii) FF&E expenditures, (iv) the most current Smith Travel Research Reports, in a form
reasonably acceptable to Lender, then available to Borrower reflecting market penetration and
relevant hotel properties competing with the Property, (v) quarterly and year-to-date operating
statements (including expenditures for FF&E) prepared for each calendar quarter, noting net
operating income, gross income, and operating expenses (not including any contributions to the
FF&E Reserve Funds) and (vi) an updated ARGUS (or similar) cash flow projections model in
form substantially similar to the model delivered to Lender prior to the Closing Date in
connection with the closing of the Loan, and other information necessary and sufficient to fairly
represent the financial position and results of operation of the Property during such calendar
quarter, and containing a comparison of budgeted income and expenses and the actual income
and expenses. In addition, such certificate shall also be accompanied by an Officer’s Certificate
stating that Borrower is in compliance with the requirements set forth in Section 4.23 as of the
date of such certificate.

        (d)     Borrower will furnish, or cause to be furnished, to Lender on or before twenty
(20) days after the end of each calendar month the following items, accompanied by an Officer’s
Certificate stating that such items are true, correct, accurate, and complete and fairly present the
financial condition and results of the operations of Borrower and the Property (subject to normal
year-end adjustments) as applicable: (i) a rent roll for the subject month, (ii) an occupancy
report for the Property (including an average daily room rate) and any franchise scores, franchise
inspection reports or other similar information made available to Borrower during the subject
month, (iii) FF&E expenditures, (iv) the most current Smith Travel Research Reports, in a form
reasonably acceptable to Lender, then available to Borrower reflecting market penetration and
relevant hotel properties competing with the Property, (v) monthly and year-to-date operating
statements (including expenditures for FF&E) prepared for each calendar month, noting net
operating income, gross income, and operating expenses (not including any contributions to the
FF&E Reserve Funds) and (vi) upon request by Lender (not more frequently than two (2) times
in any calendar year), an updated ARGUS (or similar) cash flow projections model in form
substantially similar to the model delivered to Lender prior to the Closing Date in connection
with the closing of the Loan, and other information necessary and sufficient to fairly represent
the financial position and results of operation of the Property during such calendar month, and
containing a comparison of budgeted income and expenses and the actual income and expenses.

        (e)     For the partial year period commencing on the Closing Date, and for each Fiscal
Year thereafter, Borrower shall submit to Lender an Annual Budget not later than thirty (30)
days prior to the commencement of such period or Fiscal Year in form reasonably satisfactory to
Lender. The Annual Budget shall be subject to Lender’s written approval (each such Annual
Budget so approved by Lender, an “Approved Annual Budget”). In the event that Lender
objects to a proposed Annual Budget submitted by Borrower in accordance with this Section
4.12, Lender shall advise Borrower of such objections within ten (10) days after receipt thereof
(and deliver to Borrower a reasonably detailed description of such objections) and Borrower
shall promptly revise such Annual Budget and resubmit the same to Lender. Lender shall advise

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Borrower of any objections to such revised Annual Budget within seven (7) days after receipt
thereof (and deliver to Borrower a reasonably detailed description of such objections) and
Borrower shall promptly revise the same in accordance with the process described in this
subsection until Lender approves the Annual Budget. Until such time that Lender approves a
proposed Annual Budget, (1) to the extent that an Approved Annual Budget does not exist for
the immediately preceding calendar year, all operating expenses of the Property for the then
current calendar year shall be deemed extraordinary expenses of the Property and shall be subject
to Lender’s prior written approval (not to be unreasonably withheld or delayed) and (2) to the
extent that an Approved Annual Budget exists for the immediately preceding calendar year, such
Approved Annual Budget shall apply to the then current calendar year; provided, that such
Approved Annual Budget shall be adjusted to reflect (A) actual increases in Taxes, Insurance
Premiums and utilities expenses and (B) up to five percent (5%) increases in any budgeted line
items provided such increases do not exceed a five percent (5%) increase in the Approved
Annual Budget in the aggregate.

        (f)    Borrower shall furnish to Lender, within ten (10) Business Days after request (or
as soon thereafter as may be reasonably possible), such further detailed information with respect
to the operation of the Property and the financial affairs of Borrower and Guarantor as may be
reasonably requested by Lender any of the aforementioned items in this Section 4.12 on a
monthly basis).

       (g)     Borrower shall furnish to Lender, within ten (10) Business Days after Lender’s
request (or as soon thereafter as may be reasonably possible), financial and sales information
from any Tenant designated by Lender (to the extent such financial and sales information is
required to be provided under the applicable Lease and same is received by Borrower after
request therefor).

       (h)     If Borrower shall consist of more than one Person, then the annual financial
statements required to be delivered hereunder shall be in the form of an annual combined balance
sheet of each Borrower (and no other Person), together with the related combined statements of
operations, members’ capital and cash flows with respect to each Borrower, including a
combined balance sheet and a statement of income for the Property on a combined basis.

        (i)     Borrower agrees that all financial information delivered to Lender pursuant to this
Section 4.12 shall: (i) be complete and correct in all material respects; (ii) present fairly the
financial condition of the applicable Person; (iii) disclose all liabilities that are required to be
reflected or reserved against; and (iv) be prepared (A) in the form required by Lender and
certified by a Responsible Officer of Borrower (B) in hardcopy and electronic formats and (C) in
accordance with the Approved Accounting Method. Borrower shall be deemed to warrant and
represent that, as of the date of delivery of any such financial statement, there has been no
material adverse change in financial condition, nor have any assets or properties been sold,
transferred, assigned, mortgaged, pledged or encumbered since the date of such financial
statement except as disclosed by Borrower in a writing delivered to Lender. Borrower agrees
that all financial information delivered hereunder shall not contain any misrepresentation or
omission of a material fact.




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         Section 4.13 Contracts. Borrower may enter into any Contract without Lender’s
consent so long as such Contract (a) contains terms that are commercially reasonable and
comparable to existing local market terms for similar contractual agreements with respect to
commercial properties similar to the Property as would be available from unaffiliated third
parties and (b) does not contain any terms which would have a Material Adverse Effect.
Notwithstanding anything to the contrary contained herein, Borrower shall be required to obtain
Lender’s prior written approval of any and all Major Contracts affecting the Property (including
any renewals or extensions thereof, or any amendments or modifications thereto), which
approval shall not be unreasonably withheld, conditioned or delayed. Borrower shall
(i) diligently perform and observe all of the terms, covenants and conditions to be performed and
observed by it under each Contract to which it is a party, and do all things necessary to preserve
and keep unimpaired its rights thereunder, (ii) promptly notify Lender of any notice of default
given by any party under any Major Contract and deliver to Lender a true copy of each such
notice, and (iii) enforce the performance and observance of all of the material terms, covenants
and conditions required to be performed and/or observed by the other party to each Contract and
to which Borrower is a party in a commercially reasonable manner.

       Section 4.14 Cooperation in Proceedings. Borrower shall cooperate fully with Lender
with respect to any proceedings before any court, board or other Governmental Authority which
may in any way affect the rights of Lender hereunder or any rights obtained by Lender under any
of the Note, the Security Instrument or the other Loan Documents and, in connection therewith,
permit Lender, at its election, to participate in any such proceedings.

        Section 4.15 Estoppel Certificates.

        (a)      After request by Lender, Borrower, within ten (10) Business Days of such
request, shall furnish Lender or any proposed assignee with a statement, duly acknowledged and
certified, setting forth (i) the outstanding principal balance of the Note, (ii) the Interest Rate, (iii)
the date installments of interest and/or principal were last paid, (iv) any offsets or defenses to the
payment and performance of the Obligations, and (v) any other matters reasonably requested by
Lender and reasonably related to the Leases, the obligations created and evidenced hereby and
by the Security Instrument or the Property.

        (b)      Intentionally omitted.

       (c)    Borrower shall use commercially reasonable efforts to deliver to Lender, within
twenty (20) Business Days of request, estoppel certificates from each party under any Property
Document in form and substance reasonably acceptable to Lender.

        (d)    In connection with any Secondary Market Transaction, within ten (10) Business
days of Lender’s request and at Borrower’s expense, subject to Section 9.1(j) hereof, Borrower
shall provide an estoppel certificate to any Investor or any prospective Investor in such form,
substance and detail as Lender, such Investor or prospective Investor may require.

        Section 4.16 Leases and Rents.

       (a)     All Leases and all renewals of Leases executed after the date hereof shall (i)
provide for rental rates comparable to existing local market rates for similar properties, (ii) be on

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commercially reasonable terms with unaffiliated, third parties (unless otherwise consented to by
Lender), (iii) provide that such Lease is subordinate to the Security Instrument and (iv) not
contain any terms which would have a Material Adverse Effect. Notwithstanding anything to the
contrary contained herein, Borrower shall not, without the prior written approval of Lender
(which approval shall not be unreasonably withheld or delayed), enter into, renew, extend,
amend, modify, permit any assignment of or subletting under, waive any provisions of, release
any party to, terminate, reduce rents under, accept a surrender of space under, or shorten the term
of, in each case, any Major Lease.

        (b)    Without limitation of subsection (a) above, Borrower (i) shall observe and
perform the obligations imposed upon the lessor under the Leases in a commercially reasonable
manner; (ii) shall enforce the material terms, covenants and conditions contained in the Leases
upon the part of the lessee thereunder to be observed or performed in a commercially reasonable
manner; (iii) shall not collect any of the Rents more than one (1) month in advance (other than
security deposits); (iv) shall not execute any assignment of lessor’s interest in the Leases or the
Rents (except as contemplated by the Loan Documents); (v) shall not, without Lender’s prior
written consent, alter, modify or change any Lease to the extent the same would, individually or
in the aggregate, (A) cause any such Lease to violate 4.16(a)(i) through (iii) above or (B) have a
Material Adverse Effect; and (vi) shall hold all security deposits under all Leases in accordance
with Legal Requirements. Upon request, Borrower shall furnish Lender with executed copies of
all Leases.

        (c)    Notwithstanding anything contained herein to the contrary, Borrower shall not
willfully withhold from Lender any information regarding renewal, extension, amendment,
modification, waiver of provisions of, termination, rental reduction of, surrender of space of, or
shortening of the term of, any Lease during the term of the Loan. Borrower further agrees to
provide Lender with written notice of any commercial Tenant (if any exist at the Property)
“going dark” under such Tenant’s Lease within five (5) Business Days after Borrower becomes
aware of such Tenant “going dark” and Borrower’s failure to provide such notice shall constitute
an Event of Default.

        (d)    Borrower shall notify Lender in writing, within two (2) Business Days following
receipt thereof, of Borrower’s receipt of any early termination fee or payment or other
termination fee or payment paid by any Tenant under any commercial Lease or any Major Lease,
and Borrower further covenants and agrees that Borrower shall hold any such termination fee or
payment in trust for the benefit of Lender and that any use of such termination fee or payment
shall be subject in all respects to Lender’s prior written consent in Lender’s sole discretion
(which consent may include, without limitation, a requirement by Lender that such termination
fee or payment be placed in reserve with Lender to be disbursed by Lender for tenant
improvement and leasing commission costs with respect to the Property and/or for payment of
the Debt or otherwise in connection with the Loan evidenced by the Note and/or the Property, as
so determined by Lender). The foregoing consent right of Lender (including, without limitation,
any reserve requirement) shall not be subject to any “cap” or similar limit on the amount of
Reserve Funds held by Lender.

       (e)    To the extent that the Deemed Approval Requirements are fully satisfied in
connection with any Borrower request for Lender consent under this Section 4.16 and Lender

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thereafter fails to respond, Lender’s approval shall be deemed given with respect to the matter
for which approval was requested.

        Section 4.17 Notice of Default. Borrower shall promptly advise Lender of any
material adverse change in Borrower’s and/or Guarantor’s condition (financial or otherwise) or
of the occurrence of any Default or Event of Default of which Borrower has knowledge.

       Section 4.18 Other Agreements. Borrower shall observe and perform each and every
term to be observed or performed by Borrower pursuant to the terms of any agreement or
recorded instrument affecting or pertaining to the Property, or given by Borrower to Lender for
the purpose of further securing the Debt and any amendments, modifications or changes thereto.

        Section 4.19 Alterations. Notwithstanding anything contained herein (including,
without limitation, Article 7 hereof) to the contrary, Lender’s prior approval shall be required in
connection with any alterations to any Improvements (other than the Business Plan Work) (a)
that may have a Material Adverse Effect, (b) the cost of which (including any related alteration,
improvement or replacement) is reasonably anticipated to exceed the Alteration Threshold or (c)
that are structural in nature, which approval, in the case of clauses (a) and (c), may be granted or
withheld in Lender’s sole discretion, and in the case of clause (b), shall not be unreasonably
withheld. If the total unpaid amounts incurred and to be incurred with respect to any alterations
to the Improvements shall at any time exceed the Alteration Threshold, Borrower shall promptly
deliver to Lender as security for the payment of such amounts and as additional security for
Borrower’s obligations under the Loan Documents any of the following: (i) cash, (ii) U.S.
Obligations, (iii) other security acceptable to Lender (provided that Lender shall have received a
Rating Agency Confirmation as to the form and issuer of same), or (iv) a completion bond
(provided that Lender shall have received a Rating Agency Confirmation as to the form and
issuer of same). Such security shall be in an amount equal to the excess of the total unpaid
amounts incurred and to be incurred with respect to such alterations to the Improvements over
the Alteration Threshold, taking into account any Reserve Funds on deposit and available
pursuant to the terms and conditions of the Loan Documents to pay such costs.

        Section 4.20 Management Agreement.

        (a)     Borrower shall (i) cause Manager to manage the Property in accordance with the
Management Agreement, (ii) diligently perform and observe all of the terms, covenants and
conditions of the Management Agreement on the part of Borrower to be performed and
observed, (iii) promptly notify Lender of any default under the Management Agreement of which
it is aware, (iv) promptly deliver to Lender a copy of each financial statement, business plan,
capital expenditures plan, estimate, report and each material notice received by it under the
Management Agreement, and (v) promptly enforce the performance and observance of all of the
covenants required to be performed and observed by Manager under the Management
Agreement. If Borrower shall default in the performance or observance of any material term,
covenant or condition of the Management Agreement on the part of Borrower to be performed or
observed, then, without limiting Lender’s other rights or remedies under the Loan Documents,
and without waiving or releasing Borrower from any of its Obligations hereunder or under the
Management Agreement, Lender shall have the right, but shall be under no obligation, to pay any



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sums and to perform any act as may be appropriate to cause all the material terms, covenants and
conditions of the Management Agreement on the part of Borrower to be performed or observed.

        (b)    Borrower shall not, without the prior written consent of Lender (which consent
may be conditioned, without limitation, on Lender’s receipt of evidence that the same would not
result in a breach or violation of any Property Document), (i) surrender, terminate, cancel,
materially modify, renew or extend the Management Agreement (other than a renewal or
extension provided for in the Management Agreement); provided, that, so long as no Event of
Default shall have occurred and be continuing or would occur as a result of such replacement,
Borrower may replace Manager with a Qualified Manager pursuant to a Qualified Management
Agreement, (ii) enter into any new or other agreement relating to the management or operation of
the Property with Manager or any other Person, (iii) consent to the assignment by Manager of its
interest under the Management Agreement, (iv) permit or suffer any transfer of the ownership,
management or Control of an Affiliated Manager to occur, or (v) waive or release any of its
rights and remedies under the Management Agreement in any material respect.

       (c)     In the event that the Management Agreement expires or is surrendered, terminated
or canceled (without limiting any obligation of Borrower to obtain Lender’s consent to any
surrender, termination, cancellation, modification, renewal or extension of the Management
Agreement in accordance with the terms and provisions of this Agreement), Borrower shall enter
into a Qualified Management Agreement with a Qualified Manager contemporaneously with
such expiration, surrender, termination or cancellation.

          (d)     Lender shall have the right to require Borrower to replace Manager with a
Qualified Manager chosen by Borrower which is not an Affiliated Manager to manage the
Property pursuant to a Qualified Management Agreement upon the occurrence of any one or
more of the following events: (i) at any time following the occurrence of an Event of Default,
(ii) if, at any time after the first (1st) anniversary of the Closing Date, the Debt Service Coverage
Ratio (Combined) falls below 1.00 to 1.00, (iii) if Manager shall be in default under the
Management Agreement beyond any applicable notice and cure period, (iv) if Manager shall
become insolvent or a debtor in any involuntary bankruptcy or insolvency proceeding that is not
dismissed within ninety (90) days of the filing thereof, or any voluntary bankruptcy or
insolvency proceeding, (v) if at any time Manager has engaged in gross negligence, fraud or
willful misconduct, or (vi) if there is an increase or consent to any increase in the amount of any
management or other fees under the Management Agreement. Notwithstanding anything to the
contrary contained herein or in any other Loan Document, so long as Manager is the initial
Manager named herein, Lender shall not exercise its rights under this Section 4.20(d) unless
either (i) a monetary Event of Default (including failure to repay the Debt on the Maturity Date)
has occurred and is continuing or (ii) a Default or an Event of Default attributable or relating to,
or arising from, any acts, omissions, circumstances, conditions or events giving rise to liability
under Article 12 of this Agreement has occurred.

        (e)    Upon the occurrence and during the continuance of an Event of Default, Borrower
shall not exercise any rights, make any decisions, grant any approvals or otherwise take any
action under the Management Agreement without the prior written consent of Lender.




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        (f)    If at any time Lender consents to the appointment of a new manager and/or the
execution of a management agreement under this Agreement, such manager and Borrower shall,
as a condition of Lender’s consent, execute an Assignment of Management Agreement and
subordination of management fees substantially in the form then used by Lender (or in such
other form and substance reasonably satisfactory to Lender).

        Section 4.21 No Joint Assessment. Borrower shall not suffer, permit or initiate the
joint assessment of the Property with (a) any other real property constituting a tax lot separate
from the Property, or (b) any portion of the Property which may be deemed to constitute personal
property, or any other procedure whereby the lien of any taxes which may be levied against such
personal property shall be assessed or levied or charged to the Property.

        Section 4.22 ERISA.

        (a)    Borrower shall not engage in any transaction which would cause any obligation,
or action taken or to be taken, hereunder (or the exercise by Lender of any of its rights hereunder
or under the other Loan Documents) to be a non exempt (under a statutory or administrative class
exemption) prohibited transaction under ERISA.

        (b)    Borrower further covenants and agrees to deliver to Lender such certifications or
other evidence from time to time throughout the term of the Security Instrument, as requested by
Lender in its reasonable discretion, that (i) Borrower is not an “employee benefit plan” as
defined in Section 3(3) of ERISA, or other retirement arrangement, which is subject to Title I of
ERISA or Section 4975 of the IRS Code, or a “governmental plan” within the meaning of
Section 3(32) of ERISA; (ii) Borrower is not subject to state statutes regulating investments and
fiduciary obligations with respect to governmental plans; and (iii) one or more of the following
circumstances is true:

                        (A)    Equity interests in Borrower are publicly offered securities, within
                 the meaning of 29 C.F.R. § 2510.3 101(b)(2);

                        (B)    Less than 25 percent of each outstanding class of equity interests in
                 Borrower are held by “benefit plan investors” within the meaning of 29 C.F.R.§
                 2510.3 101(f)(2); or

                        (C)   Borrower qualifies as an “operating company” or a “real estate
                 operating company” within the meaning of 29 C.F.R § 2510.3 101(c) or (e) or an
                 investment company registered under The Investment Company Act of 1940, as
                 amended.

       (c)      Borrower shall not maintain, sponsor, contribute to or become obligated to
contribute to, or suffer or permit any member of Borrower’s “controlled group of corporations”
to maintain, sponsor, contribute to or become obligated to contribute to a “defined benefit plan”
or a “multiemployer pension plan” (as each of the same is defined in Section 3.15 of this
Agreement).

         Section 4.23 Special Purpose Entity. Borrower and each SPE Component Entity shall
at all times comply with the requirements set forth on Exhibit C attached hereto and shall not

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take or permit any action that would result in Borrower or any SPE Component Entity not being
in compliance with the representations, warranties and covenants set forth in Section 3.24 and
Exhibit C attached hereto.

        Section 4.24 Debt Cancellation. Borrower shall not cancel or otherwise forgive or
release any claim or debt (other than termination of Leases in accordance herewith) owed to
Borrower by any Person, except for adequate consideration and in the ordinary course of
Borrower’s business.

        Section 4.25 Property Documents. Without limiting the other provisions of this
Agreement and the other Loan Documents, Borrower shall (a) promptly perform and/or observe,
in all material respects, all of the covenants and agreements required to be performed and
observed by it under the Property Documents and do all things necessary to preserve and to keep
unimpaired its material rights thereunder; (b) promptly notify Lender of any material default
under the Property Documents of which it is aware; (c) promptly deliver to Lender a copy of
each financial statement, business plan, capital expenditures plan, notice, report and estimate
received by it under the Property Documents; (d) enforce the performance and observance of all
of the covenants and agreements required to be performed and/or observed under the Property
Documents in a commercially reasonable manner; (e) cause the Property to be operated, in all
material respects, in accordance with the Property Documents; and (f) not, without the prior
written consent of Lender, (i) enter into any new Property Document or replace or execute
modifications to any existing Property Documents or renew or extend the same (exclusive of, in
each case, any automatic renewal or extension in accordance with its terms), (ii) surrender,
terminate or cancel the Property Documents, (iii) reduce or consent to the reduction of the term
of the Property Documents, (iv) increase or consent to the increase of the amount of any charges
under the Property Documents, (v) otherwise modify, change, supplement, alter or amend, or
waive or release any of its rights and remedies under, the Property Documents in any material
respect or (vi) following the occurrence and during the continuance of an Event of Default,
exercise any rights, make any decisions, grant any approvals or otherwise take any action under
the Property Documents.

        Section 4.26 Embargoed Person. At all times throughout the term of the Loan,
including after giving effect to any transfers of all or any portion of the Property or any direct or
indirect equity or beneficial interests in Borrower or any Guarantor that is not a natural person,
(a) none of the funds or other assets of Borrower or any Guarantor shall constitute property of, or
shall be beneficially owned, directly or indirectly, by any Person subject to trade restrictions
under United States law, including, but not limited to, the International Emergency Economic
Powers Act, 50 U.S.C. §§ 1701 et seq., The Trading with the Enemy Act, 50 U.S.C. App. 1 et
seq., the Patriot Act and any Executive Orders or regulations promulgated thereunder, each as
may be amended from time to time, with the result that the investment in Borrower or any
Guarantor, as applicable (whether directly or indirectly), would be prohibited by law (each, an
“Embargoed Person”), or the Loan made by Lender would be in violation of law, (b) no
Embargoed Person shall have any interest of any nature whatsoever in Borrower or any
Guarantor, as applicable, with the result that the investment in Borrower or any Guarantor, as
applicable (whether directly or indirectly), would be prohibited by law or the Loan would be in
violation of law, and (c) none of the funds of Borrower or any Guarantor, as applicable, shall be
derived from any unlawful activity with the result that the investment in Borrower or any

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Guarantor, as applicable (whether directly or indirectly), would be prohibited by law or the Loan
would be in violation of law.

        Section 4.27 Patriot Act. Borrower shall comply with the Patriot Act and all
applicable requirements of Governmental Authorities having jurisdiction over Borrower and/or
the Property, including those relating to money laundering and terrorism. Lender shall have the
right to audit Borrower’s compliance with the Patriot Act and all applicable requirements of
Governmental Authorities having jurisdiction over Borrower and/or the Property, including those
relating to money laundering and terrorism. In the event that Borrower fails to comply with the
Patriot Act or any such requirements of Governmental Authorities, then Lender may, at its
option, cause Borrower to comply therewith and any and all costs and expenses incurred by
Lender in connection therewith shall be secured by the Security Instrument and the other Loan
Documents and shall be immediately due and payable.

        Section 4.28 No Plan Assets; Illegal Activity/Forfeiture. Borrower shall take all
necessary actions in order to remain in compliance with the representation contained in Sections
3.15 and 3.23 hereof at all times during the term of the Loan, and shall not take any actions that
would cause Borrower to violate any of the same. Borrower covenants and agrees not to
commit, permit or suffer to exist any act or omission affording any right of forfeiture described
in Section 3.23.

        Section 4.29 Business Plan Work.

        (a)    Borrower shall diligently pursue the Business Plan Work to Completion on or
prior to the Completion Date in accordance with the Plans and Specifications and the Business
Plan and in compliance with all restrictions, covenants and easements affecting the Property, all
applicable Legal Requirements, and all approvals of any Governmental Authority, and with all
terms and conditions of the Loan Documents, free from any liens, claims or assessments (actual
or contingent) asserted against the Property for any material, labor or other items furnished in
connection therewith unless bonded and removed as a lien on the Property. Evidence of
satisfactory compliance with the foregoing shall be furnished by Borrower to Lender on or
before the Completion Date. If any certificate of occupancy or other approval of any
Governmental Authority is temporary in nature, Borrower shall diligently pursue procuring all
final approvals from such Governmental Authorities. Borrower shall pay all costs and expenses
incurred in connection with the Business Plan Work.

        (b)    Borrower acknowledges that (i) Lender may retain a Lender Consultant at the sole
expense of Borrower (not to exceed $10,000 after the date hereof, unless an Event of Default has
occurred), to act as a consultant and only as a consultant to Lender in connection with the
Business Plan Work and will have no duty to Borrower, (ii) the Lender Consultant shall in no
event have any power or authority to give any approval or consent or to do any other act or thing
which is binding upon Lender, (iii) Lender reserves the right to make any and all decisions
required to be made by Lender under this Agreement and to give or refrain from giving any and
all consents or approvals required to be given by Lender under this Agreement and to accept or
not accept any matter or thing required to be accepted by Lender under this Agreement, and
without being bound or limited in any manner or under any circumstance whatsoever by any
opinion expressed or not expressed, or advice given or not given, or information, certificate or

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report provided or not provided, by the Lender Consultant with respect thereto, (iv) Lender
reserves the right in its sole and absolute discretion to disregard or disagree, in whole or in part,
with any opinion expressed, advice given or information, certificate or report furnished or
provided by the Lender Consultant to Lender or any other person or party, and (v) Lender
reserves the right to replace the Lender Consultant with another inspecting engineer or other
appropriate Person at any time and without prior notice to or approval by Borrower. Lender
hereby advises Borrower that it will advise the Lender Consultant retained by it of the
restrictions contained in this Section.

       (c)   Without in anyway limiting the scope of the Lender Consultant’s engagement, the
Lender Consultant may perform the following services on behalf of Lender:

               (i)   To review and advise Lender or Servicer whether, in the opinion of the
        Lender Consultant, the Plans and Specifications are satisfactory;

               (ii)    To review requests for disbursements from the Business Plan Reserve
        Account, and any requests for approval of changes to the Business Plan and to the Plans
        and Specifications; and

                (iii) To make periodic inspections (approximately at the date of each request
        for disbursements from the Business Plan Reserve Account) for the purpose of assuring
        that the Business Plan Work performed to date is in accordance with the Plans and
        Specifications and the Business Plan and to approve Borrower’s then current funding
        request as being consistent with Borrower’s obligations under this Agreement, including,
        among other things, an opinion as to Borrower’s continued compliance with the
        requirement that the Business Plan Reserve Funds will be sufficient to cover all costs of
        Business Plan Work reasonably anticipated to be incurred.

        (d)    The reasonable fees of the Lender Consultant shall be paid by Borrower within
ten (10) days after Borrower’s receipt of the billing therefor and expenses incurred by Lender
shall be reimbursed to Lender within ten (10) days after such receipt or deemed receipt, but
neither Lender nor the Lender Consultant shall have any liability to Borrower on account of (i)
the services performed by the Lender Consultant, (ii) any neglect or failure on the part of the
Lender Consultant to properly perform its services, except for its gross negligence and/or willful
misconduct or (iii) any approval by the Lender Consultant of any Business Plan Work. Neither
Lender nor the Lender Consultant assumes any obligation to Borrower or any other person
concerning the quality of renovation of the Improvements or the absence therefrom of defects.

       (e)      Borrower shall promptly correct all defects in the Improvements or any departure
from the Plans and Specifications or the Business Plan not approved by Lender to the extent
required hereunder. Borrower agrees that the advance of any proceeds of the Loan whether
before or after such defects or departures from the Plans and Specifications are discovered by, or
brought to the attention of, Lender shall not constitute a waiver of Lender’s right to require
compliance with this covenant.

        Section 4.30 Construction Costs and Expenses. Borrower shall promptly pay when
due all costs and expenses of any work (including the Business Plan Work).


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        Section 4.31 Violation Work. Borrower shall, on or prior to the Completion Date, (i)
cure, remediate and discharge of record all violations of law, pay all fees, costs, fines and
penalties, and comply with all other requirements of Governmental Authorities that are set forth
on or related to the matters attached hereto as Exhibit K (collectively, the “Violation Work”)
and (ii) provide Lender with satisfactory evidence of Borrower’s compliance with clause (i).

       Section 4.32 Parking Work. If required by any Governmental Authority in order to
comply with any applicable Legal Requirements or as a condition to the issuance of any
temporary or permanent certificate of occupancy, Borrower will, at its sole cost and expense,
reconfigure the parking at the Property in accordance with the parking plan depicted on Exhibit
B hereto (the “Parking Work”) in order to comply with such Legal Requirements or otherwise
cause such compliance in a manner satisfactory to Lender within the time periods required for
compliance.

        Section 4.33 Post-Closing Execution of Collateral Assignment of Interest Rate Cap
Agreement. Notwithstanding anything to the contrary contained herein, Borrower shall deliver,
within ten (10) Business Days after the date hereof, a fully executed Collateral Assignment of
Interest Rate Cap Agreement, rate cap confirmation and customary legal opinion with respect
thereto, each as reasonably satisfactory to Lender.

                                           ARTICLE 5

                 INSURANCE; CASUALTY; CONDEMNATION; RESTORATION

        Section 5.1    Insurance.

        (a)     Unless otherwise agreed to by Lender in its sole and absolute discretion,
Borrower, at its sole cost and expense, shall obtain and maintain during the entire term of the
Loan, or cause to be maintained, insurance policies for Borrower and the Property providing at
least the following coverages:

                 (i)     property insurance against loss or damage by fire, wind (including named
        storms), lightning and such other perils as are included in a standard “all risk” or “special
        form” policy, including riot and civil commotion, vandalism, terrorist acts, malicious
        mischief, burglary and theft, in each case (A) in an amount equal to one hundred percent
        (100%) of the “Full Replacement Cost” of the Property, which for purposes of this
        Agreement shall mean actual replacement value (exclusive of costs of excavations,
        foundations, underground utilities and footings) waiving depreciation. The Full
        Replacement Cost must be adjusted annually to reflect increased value due to inflation.
        If this is not provided, Inflation Guard Coverage shall be required; (B) written on a no co-
        insurance form or containing an agreed amount endorsement with respect to the
        Improvements and, if applicable, personal property at the Property waiving all co-
        insurance provisions; (C) providing for no deductible in excess of $25,000.00 (except for
        deductibles for windstorm and earthquake coverage, which deductibles may be up to five
        percent (5%) of the total insurable value of the Property); and (D) containing “Ordinance
        or Law Coverage” if any of the Improvements or the use of the Property shall at any time
        constitute legal non conforming structures or uses, including coverage for Loss to the


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        Undamaged Portion, Demolition Costs and Increased Cost of Construction, all in
        amounts acceptable to Lender. In addition, Borrower shall obtain: (y) if any portion of
        the Improvements is currently or at any time in the future located in a federally
        designated “special flood hazard area”, flood hazard insurance in an amount equal to the
        maximum amount of such insurance available under the National Flood Insurance Act of
        1968, the Flood Disaster Protection Act of 1973 or the National Flood Insurance Reform
        Act of 1994, as each may be amended plus such greater amount as Lender shall require;
        and (z) earthquake insurance in amounts and in form and substance satisfactory to Lender
        in the event the Property is located in an area with a high degree of seismic activity,
        provided that the insurance pursuant to clauses (y) and (z) hereof shall be on terms
        consistent with the comprehensive all risk insurance policy required under this subsection
        (i);

                (ii)    commercial general liability insurance, including a broad form
        comprehensive general liability endorsement and coverages against claims for personal
        injury, bodily injury, death or property damage occurring upon, in or about the Property,
        such insurance (A) to be on the so called “occurrence” form and containing minimum
        limits per occurrence of One Million and No/100 Dollars ($1,000,000.00), with a
        combined limit per policy year, excluding umbrella coverage, of not less than Two
        Million and No/100 Dollars ($2,000,000.00) applying “per location” if the policy covers
        more than one location; (B) to continue at not less than the aforesaid limit until required
        to be changed by Lender by reason of changed economic conditions making such
        protection inadequate; and (C) to cover at least the following hazards: (1) premises and
        operations; (2) products and completed operations on an “if any” basis; (3) independent
        contractors; (4) contractual liability for all insured contracts; and (5) contractual liability
        covering the indemnities contained in Article 11 hereof to the extent the same is
        available;

                (iii) rental loss and/or business income interruption insurance (A) with loss
        payable to Lender; (B) covering all risks required to be covered by the insurance
        provided for in subsection (i) above, subsections (iv) (if applicable), subsection (vi),
        subsection (x) and Section 5.1(h) below; (C) containing an extended period of indemnity
        endorsement which provides the continued loss of income shall be insured until such
        income either returns to the same level it was at prior to the loss, or the expiration of
        twelve (12) months from the date that the Property is repaired or replaced and operations
        are resumed, whichever first occurs, and notwithstanding that the policy may expire prior
        to the end of such period; and (D) in an amount equal to one hundred percent (100%) of
        the projected Gross Rents from the Property for a period of eighteen (18) months from
        the date of the Casualty. The amount of such business income insurance shall be
        determined prior to the date hereof and at least once each year thereafter based on
        Borrower’s reasonable estimate of the Gross Rents from the Property for the succeeding
        eighteen (18) month period. Subject to Section 5.5(b), all proceeds payable to Lender
        pursuant to this subsection shall be held by Lender and shall be applied to the Obligations
        secured by the Loan Documents from time to time due and payable hereunder and under
        the Note; provided, however, that nothing herein contained shall be deemed to relieve
        Borrower of its Obligations to pay the Debt on the respective dates of payment provided


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        for in the Loan Documents except to the extent such amounts are actually paid out of the
        proceeds of such business income insurance;

                 (iv)   at all times during which structural construction, repairs or alterations are
        being made with respect to the Improvements, and only if the property and liability
        insurance coverage forms do not otherwise apply, coverage all in form and substance and
        with limits, terms and conditions acceptable to Lender including (A) commercial general
        liability and umbrella liability insurance covering claims related to the construction,
        repairs or alterations being made which are not covered by or under the terms or
        provisions of the commercial general liability and umbrella liability insurance policies
        required in this Section 5.1(a); and (B) the insurance provided for in subsection (i) above
        written in a so called builder’s risk completed value form (1) on a non-reporting basis, (2)
        against all risks insured against pursuant to subsections (i), (iii), (vi), (x) and Section
        5.1(h), (3) including permission to occupy the Property, (4) with an agreed amount
        endorsement waiving co-insurance provisions, (5) including coverage for 100% of the
        hard costs, and (6) including Soft Costs that are recurring costs as agreed to by Lender in
        its reasonable discretion. Borrower shall cause design professionals, if any, including
        any architects and engineers, to obtain and maintain professional liability insurance
        during the period commencing on the date of the architect’s or engineer’s contract and
        expiring no earlier than the expiration of the applicable statute of repose after completion
        of services or Substantial Completion. Such insurance shall have limits commensurate
        with the risk and acceptable to Lender. Borrower shall further cause the General
        Contractor to obtain and maintain commercial general liability coverage, including,
        without limitation, products and completed operations to the extent available in the
        market expiring no earlier than the expiration of the applicable statute of repose after
        completion of services or Substantial Completion. Such policy maintained by the
        General Contractor shall name Borrower and Lender as additional insureds by
        endorsement reasonably satisfactory to Lender and have limits no less than $1,000,000
        per occurrence and $2,000,000 in the aggregate for the Project. The General Contractor
        shall provide umbrella liability over the required policies with limits commensurate with
        the risk and acceptable to Lender. The General Contractor shall maintain statutory
        Workers Compensation, Disability and Employers Liability insurance in force for all
        workers on the job as well as commercial auto liability for all owned, hired and non-
        owned vehicles with a combined single limit no less than $1,000,000. Borrower may use
        an Owner Controlled Insurance Program (OCIP), also known as a “Wrap Up” policy, to
        satisfy the Borrower’s and General Contractor’s requirements herein, including
        commercial general liability and umbrella liability, workers compensation and auto
        liability, provided the coverages are in form and substance acceptable to Lender, contain
        a deductible acceptable to Lender, and otherwise meet the requirements as set forth
        herein. Certificates of insurance and endorsements reasonably acceptable to Lender must
        be provided prior to any work being performed on the Property;

               (v)      workers’ compensation, subject to the statutory limits of the State in which
        the Property is located, and employer’s liability insurance with limits which are required
        from time to time by Lender in respect of any work or operations on or about the
        Property, or in connection with the Property or its operation (if applicable);


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               (vi)    boiler and machinery/equipment breakdown insurance in amounts as shall
        be reasonably required by Lender on terms consistent with the commercial property
        insurance Policy required under subsection (i) above (if applicable);

                (vii) umbrella liability insurance in addition to primary coverage in an amount
        not less than Fifty Million and No/100 Dollars ($50,000,000.00) per occurrence on terms
        consistent with the commercial general liability insurance policy required under
        subsection (ii) and, if applicable, the Policies required in subsection (v) above and (viii)
        below;

                (viii) commercial auto liability coverage for all owned and non-owned vehicles,
        including rented and leased vehicles containing minimum limits per occurrence,
        including umbrella coverage, with limits which are required from time to time by Lender
        (if applicable);

               (ix)  if applicable, insurance against employee dishonesty in an amount not less
        than one month of Gross Rents from the Property and with a deductible not greater than
        Ten Thousand and No/100 Dollars ($10,000.00) (if applicable); and

               (x)     upon sixty (60) days’ notice, such other insurance and in such amounts as
        Lender from time to time may request against such other insurable hazards which at the
        time are commonly insured against for properties similar to the Property located in or
        around the region in which the Property is located.

        (b)     All insurance provided for in Section 5.1(a) shall be obtained under valid and
enforceable policies (collectively, the “Policies” or in the singular, the “Policy”) and shall be
subject to the approval of Lender as to form and substance including deductibles, loss payees and
insureds. Not less than ten (10) days prior to the expiration dates of the Policies theretofore
furnished to Lender, certificates of insurance and, if requested by Lender, other documentation,
in each case acceptable to Lender, evidencing the Policies, accompanied by evidence satisfactory
to Lender of payment of the premiums then due thereunder (the “Insurance Premiums”), shall
be delivered by Borrower to Lender.

        (c)    Any blanket insurance Policy shall be subject to Lender’s approval and shall
provide the same protection as would a separate Policy insuring only the Property in compliance
with the provisions of Section 5.1(a). Lender shall have determined based on a review of the
schedule of locations and values that the amount of such coverage is sufficient in light of the
other risks and properties insured under the blanket policy.

       (d)     All Policies of insurance provided for or contemplated by Section 5.1(a) shall
name Borrower as a named insured and, in the case of liability coverages (except for the Policies
referenced in Sections 5.1(a)(v) and (viii)) shall name Lender and its successors and/or assigns as
the additional insured, as its interests may appear, and in the case of property insurance
coverages, including but not limited to boiler and machinery, terrorism, flood and earthquake
insurance, shall contain a standard non-contributing mortgagee/lender’s loss payable clause in
favor of Lender providing that the loss thereunder shall be payable to Lender. Additionally, if
Borrower obtains property insurance coverage in addition to or in excess of that required by


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Section 5.1(a)(i), then such insurance policies shall also contain a standard non-contributing
mortgagee/lender’s loss payable clause in favor of Lender providing that the loss thereunder
shall be payable to Lender.

        (e)      All property insurance Policies provided for in Section 5.1(a) shall:

                (i)     provide that no act or negligence of Borrower or any other insured under
        the Policy, or failure to comply with the provisions of any Policy, which might otherwise
        result in a forfeiture of the insurance or any part thereof, or foreclosure or similar action,
        shall in any way affect the validity or enforceability of the insurance insofar as Lender is
        concerned;

                (ii)    provide that the Policy shall not be canceled without at least thirty (30)
        days’ written notice to Lender, except ten (10) days’ notice for non-payment of Insurance
        Premiums and, if obtainable by Borrower using commercially reasonable efforts, shall
        not be materially changed (other than to increase the coverage provided thereby) without
        such a thirty (30) day notice; and

                (iii) not contain any provision that would make Lender liable for any Insurance
        Premiums thereon or subject to any assessments thereunder, except that Lender is
        permitted to make payments to effect the contribution of such Policy upon notice of
        cancellation due to non-payment of Insurance Premiums pursuant to the mortgagee
        clause required herein.

       (f)     If at any time Lender is not in receipt of written evidence that all insurance
required hereunder is in full force and effect, or Borrower shall fail to deliver certificates of
insurance and, if requested by Lender, other documentation evidencing the Policies, evidence of
payment and any other information required by Section 5.1(b), no less than ten (10) days prior to
the expiration date of any Policies, Lender shall have the right, without notice to Borrower, to
take such action as Lender deems necessary to protect its interest in the Property, including the
obtaining of such insurance coverage as Lender in its sole discretion deems appropriate and all
Insurance Premiums incurred by Lender in connection with such action or in obtaining such
insurance and keeping it in effect shall be paid by Borrower to Lender upon demand and until
paid shall be secured by the Security Instrument and shall bear interest at the Default Rate.
Borrower shall promptly forward to Lender a copy of each written notice received by Borrower
of any modification, reduction or cancellation of any of the Policies or of any of the coverages
afforded under any of the Policies.

        (g)    In the event of foreclosure of the Security Instrument or other transfer of title to
the Property in extinguishment in whole or in part of the Debt, all right, title and interest of
Borrower in and to the Policies that are not blanket Policies then in force concerning the Property
and all proceeds payable thereunder shall thereupon vest in the purchaser at such foreclosure or
Lender or other transferee in the event of such other transfer of title.

        (h)     If any of the all risk/special form property, rental loss and/or business
interruption, commercial general liability or umbrella liability Policies include any exclusions for
loss, cost, damage or liability caused by “terrorism” or “terrorist acts”, Borrower shall obtain and


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maintain terrorism coverage to cover such exclusion(s) from a carrier which otherwise satisfies
the rating criteria specified in Section 5.1(i) (a “Qualified Carrier”) or, in the event that such
terrorism coverage is not available from a Qualified Carrier, Borrower shall obtain such
terrorism coverage from the highest rated insurance company providing such terrorism coverage.

        (i)      All Policies required pursuant to Section 5.1(a): (i) shall be issued by companies
authorized to do business in the State with a financial strength and claims paying ability rating of
“A” or better by S&P; (ii) shall, with respect to the property, rental loss and/or business
interruption, commercial general liability and umbrella liability Policies, contain a waiver of
subrogation against Lender; (iii) shall contain such provisions as Lender deems reasonably
necessary or desirable to protect its interest including endorsements providing that neither
Borrower, Lender nor any other party shall be a co-insurer under said Policies; and (iv) shall be
satisfactory in form and substance to Lender and shall be approved by Lender as to amounts,
form, risk coverage, deductibles, loss payees and insureds. Complete copies of the Policies shall
be delivered to Lender, at 142 West 57th Street, Suite 1201, New York, New York 10019,
Attention: Micah Goodman, General Counsel, on the date hereof with respect to the current
Policies and within thirty (30) days after the effective date thereof with respect to all renewal
Policies; provided, however, that if complete copies of the current Policies are not available on
the date hereof, Borrower shall deliver to Lender on the date hereof documentation acceptable to
Lender evidencing such Policies and shall deliver to Lender complete copies of such Policies
within ten (10) days after such Policies are available. Borrower shall pay the Insurance
Premiums annually in advance as the same become due and payable and shall furnish to Lender
evidence of the renewal of each of the Policies with receipts for the payment of the Insurance
Premiums or other evidence of such payment reasonably satisfactory to Lender (provided,
however, that Borrower shall not be required to pay such Insurance Premiums nor furnish such
evidence of payment to Lender in the event that the amounts required to pay such Insurance
Premiums have been deposited into the Insurance Account pursuant to Section 7.2 hereof). In
addition to the insurance coverages described in Section 5.1(a) above, Borrower shall obtain
such other insurance as may from time to time be reasonably required by Lender in order to
protect its interests. Within thirty (30) days after request by Lender, Borrower shall obtain such
increases in the amounts of coverage required hereunder as may be reasonably requested by
Lender, taking into consideration changes in the value of money over time, changes in liability
laws, changes in prudent customs and practices, and the like.

        Section 5.2 Casualty. If the Property shall be damaged or destroyed, in whole or in
part, by fire or other casualty (a “Casualty”), Borrower shall give prompt notice of such damage
to Lender and shall promptly commence and diligently prosecute the completion of the
Restoration of the Property and otherwise comply with the provisions of Section 5.4. Borrower
shall pay all costs of Restoration (including, without limitation, any applicable deductibles under
the Policies) whether or not such costs are covered by the Net Proceeds. Lender may, but shall
not be obligated to, make proof of loss if not made promptly by Borrower. In the event of a
Casualty where the loss does not exceed the Restoration Threshold, Borrower may settle and
adjust such claim so long as no Event of Default has occurred and is continuing. Any such
adjustment must be carried out by Borrower in a commercially reasonable and timely manner. In
the event of a Casualty where the loss exceeds the Restoration Threshold or if an Event of
Default then exists, Borrower may settle and adjust such claim only with the prior written
consent of Lender (which consent shall not be unreasonably withheld or delayed) and Lender

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shall have the opportunity to participate, at Borrower’s cost, in any such adjustment; provided,
however, if Borrower fails to settle and adjust such claim within one hundred twenty (120) days
after the Casualty, Lender shall have the right to settle and adjust such claim at Borrower’s cost
and without Borrower’s consent. Notwithstanding any Casualty, Borrower shall continue to pay
the Debt at the time and in the manner provided for its payment in the Note and in this
Agreement.

         Section 5.3 Condemnation. Borrower shall promptly give Lender notice of the actual
or threatened commencement of any proceeding for the Condemnation of the Property of which
Borrower has knowledge and shall deliver to Lender copies of any and all papers served in
connection with such proceedings. Provided no Event of Default has occurred and is continuing,
in the event of a Condemnation where the amount of the taking does not exceed the Restoration
Threshold, Borrower may settle and compromise such Condemnation. Any such settlement and
compromise must be carried out in a commercially reasonable and timely manner. In the event
of a Condemnation where the amount of the taking exceeds the Restoration Threshold or if an
Event of Default then exists, Borrower may settle and compromise the Condemnation only with
the prior written consent of Lender (which consent shall not be unreasonably withheld or
delayed) and Lender shall have the opportunity to participate, at Borrower’s cost, in any
litigation and settlement discussions in respect thereof, and Borrower shall from time to time
deliver to Lender all instruments requested by it to permit such participation. Borrower shall, at
its expense, diligently prosecute any such proceedings, and shall consult with Lender, its
attorneys and experts, and cooperate with them in the carrying on or defense of any such
proceedings. Notwithstanding any taking by any public or quasi-public authority through
Condemnation or otherwise (including but not limited to any transfer made in lieu of or in
anticipation of the exercise of such taking), Borrower shall continue to pay the Debt at the time
and in the manner provided for its payment in the Note and in this Agreement and the Debt shall
not be reduced until any Award shall have been actually received and applied by Lender, after
the deduction of expenses of collection, to the reduction or discharge of the Debt. Lender shall
not be limited to the interest paid on the Award by the condemning authority but shall be entitled
to receive out of the Award interest at the rate or rates provided herein or in the Note. If the
Property or any portion thereof is taken by a condemning authority, Borrower shall promptly
commence and diligently prosecute the Restoration of the Property and otherwise comply with
the provisions of Section 5.4. Borrower shall pay all costs of Restoration whether or not such
costs are covered by the Net Proceeds. If the Property is sold, through foreclosure or otherwise,
prior to the receipt by Lender of the Award, Lender shall have the right, whether or not a
deficiency judgment on the Note shall have been sought, recovered or denied, to receive the
Award, or a portion thereof sufficient to pay the Debt.

       Section 5.4 Restoration. The following provisions shall apply in connection with the
Restoration of the Property:

        (a)    If the Net Proceeds shall be less than the Restoration Threshold and the costs of
completing the Restoration shall be less than the Restoration Threshold, then provided that no
Event of Default has occurred and is continuing and the condition in Section 9.6 hereof has been
satisfied, subject to Section 5.5 hereof, the Net Proceeds will be disbursed by Lender to
Borrower upon receipt. Promptly after receipt of the Net Proceeds, Borrower shall commence
and satisfactorily complete with due diligence the Restoration in accordance with the terms of

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this Agreement. If any Net Proceeds are received by Borrower and may be retained by Borrower
pursuant to the terms hereof, such Net Proceeds shall, until completion of the Restoration, be
held for the benefit of Lender and shall be segregated from other funds of Borrower to be used to
pay for the cost of Restoration in accordance with the terms hereof.

        (b)     If the Net Proceeds are equal to or greater than the Restoration Threshold or the
costs of completing the Restoration are equal to or greater than the Restoration Threshold,
subject to Section 5.5 hereof, Lender shall make the Net Proceeds available for the Restoration in
accordance with the provisions of this Section 5.4(b).

               (i)      The Net Proceeds shall be made available for Restoration provided that
        each of the following conditions are met:

                        (A)     no Event of Default shall have occurred and be continuing;

                          (B)    (1) in the event the Net Proceeds are insurance proceeds, less than
                 thirty percent (30%) of each of (i) fair market value of the Property as reasonably
                 determined by Lender, and (ii) rentable area of the Property has been damaged,
                 destroyed or rendered unusable as a result of a Casualty or (2) in the event the Net
                 Proceeds are condemnation proceeds, less than fifteen percent (15%) of each of
                 (i) the fair market value of the Property as reasonably determined by Lender and
                 (ii) rentable area of the Property is taken, such land is located along the perimeter
                 or periphery of the Property, no portion of the Improvements is located on such
                 land and such taking does not materially impair the existing access to the
                 Property;

                         (C)    Leases demising in the aggregate a percentage amount equal to or
                 greater than seventy-five percent (75%) of the total rentable space in the Property
                 which has been demised under executed and delivered Leases in effect as of the
                 date of the occurrence of such fire or other casualty or taking, whichever the case
                 may be, shall remain in full force and effect during and after the completion of the
                 Restoration, notwithstanding the occurrence of any such Casualty or
                 Condemnation, whichever the case may be, and Borrower furnishes to Lender
                 evidence satisfactory to Lender that all Tenants under Major Leases shall continue
                 to operate their respective space at the Property after the completion of the
                 Restoration;

                         (D)    Borrower shall commence (or shall cause the commencement of)
                 the Restoration as soon as reasonably practicable (but in no event later than thirty
                 (30) days after the issuance of a building permit with respect thereto) and shall
                 diligently pursue the same to satisfactory completion in compliance with all
                 applicable Legal Requirements, including, without limitation, all applicable
                 Environmental Laws, and the applicable requirements of the Property Documents;

                        (E)     Lender shall be satisfied that any operating deficits which will be
                 incurred with respect to the Property as a result of the occurrence of any such fire
                 or other casualty or taking will be covered out of (1) the Net Proceeds, (2) the


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                 insurance coverage referred to in Section 5.1(a)(iii) above, or (3) by other funds
                 of Borrower;

                         (F)    Lender shall be satisfied that the Net Proceeds, together with any
                 cash or cash equivalent deposited by Borrower with Lender, are sufficient to
                 cover the cost of the Restoration;

                        (G)     Lender shall be satisfied that, upon the completion of the
                 Restoration, the fair market value and cash flow of the Property will not be less
                 than the fair market value and cash flow of the Property as the same existed
                 immediately prior to the applicable Casualty or Condemnation;

                         (H)     Lender shall be satisfied that the Restoration will be completed on
                 or before the earliest to occur of (1) six (6) months prior to the Maturity Date, (2)
                 twelve (12) months after the occurrence of such fire or other casualty or taking,
                 (3) the earliest date required for such completion under the terms of any Leases
                 and the Property Documents, (4) such time as may be required under applicable
                 Legal Requirements or (5) the expiration of the insurance coverage referred to in
                 Section 5.1(a)(iii) above;

                         (I)    Borrower and Guarantor shall execute and deliver to Lender a
                 completion guaranty in form and substance satisfactory to Lender and its counsel
                 pursuant to the provisions of which Borrower and Guarantor shall jointly and
                 severally guaranty to Lender the lien-free completion by Borrower of the
                 Restoration in accordance with the provisions of this Subsection 5.4(b);

                        (J)   the Property and the use thereof after the Restoration will be in
                 compliance with and permitted under all applicable Legal Requirements and the
                 Property Documents;

                         (K)    the Restoration shall be done and completed in an expeditious and
                 diligent fashion and in compliance with all applicable Legal Requirements and the
                 Property Documents;

                         (L)     the Property Documents will remain in full force and effect during
                 and after the Restoration and a Property Document Event shall not occur as a
                 result of the applicable Casualty, Condemnation and/or Restoration; and

                         (M) Lender shall be satisfied that making the Net Proceeds available
                 for Restoration shall be permitted pursuant to REMIC Requirements (including,
                 without limitation, satisfaction of the condition in Section 9.6 hereof) and, in that
                 regard, Lender may require Borrower to deliver a REMIC Opinion in connection
                 therewith.

               (ii)   The Net Proceeds shall be held by Lender and, until disbursed in
        accordance with the provisions of this Section 5.4(b), shall constitute additional security
        for the Debt and other obligations under this Agreement, the Security Instrument, the
        Note and the other Loan Documents. The Net Proceeds shall be disbursed by Lender to,

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        or as directed by, Borrower from time to time during the course of the Restoration, upon
        receipt of evidence satisfactory to Lender that (A) all materials installed and work and
        labor performed (except to the extent that they are to be paid for out of the requested
        disbursement) in connection with the related Restoration item have been paid for in full,
        and (B) there exist no notices of pendency, stop orders, mechanic’s or materialman’s
        liens or notices of intention to file same, or any other liens or encumbrances of any nature
        whatsoever on the Property which have not either been fully bonded to the satisfaction of
        Lender and discharged of record or in the alternative fully insured to the satisfaction of
        Lender by the title company issuing the Title Insurance Policy.

                (iii) All plans and specifications required in connection with the Restoration
        shall be subject to prior review and acceptance in all respects by Lender and by an
        independent consulting engineer selected by Lender (the “Casualty Consultant”).
        Lender shall have the use of the plans and specifications and all permits, licenses and
        approvals required or obtained in connection with the Restoration. The identity of the
        contractors, subcontractors and materialmen engaged in the Restoration shall be subject
        to prior review and acceptance by Lender and the Casualty Consultant. All costs and
        expenses incurred by Lender in connection with making the Net Proceeds available for
        the Restoration including, without limitation, reasonable counsel fees and disbursements
        and the Casualty Consultant’s fees, shall be paid by Borrower. Borrower shall have the
        right to settle all claims under the Policies jointly with Lender, provided that (a) no Event
        of Default exists, (b) Borrower promptly and with commercially reasonable diligence
        negotiates a settlement of any such claims and (c) the insurer with respect to the Policy
        under which such claim is brought has not raised any act of the insured as a defense to the
        payment of such claim. If an Event of Default exists, Lender shall, at its election, have
        the exclusive right to settle or adjust any claims made under the Policies in the event of a
        Casualty.

                (iv)   In no event shall Lender be obligated to make disbursements of the Net
        Proceeds in excess of an amount equal to the costs actually incurred from time to time for
        work in place as part of the Restoration, as certified by the Casualty Consultant, minus
        the Restoration Retainage. The term “Restoration Retainage” as used in this Subsection
        5.4(b) shall mean an amount equal to 10% of the costs actually incurred for work in place
        as part of the Restoration, as certified by the Casualty Consultant, until such time as the
        Casualty Consultant certifies to Lender that Net Proceeds representing 50% of the
        required Restoration have been disbursed. There shall be no Restoration Retainage with
        respect to costs actually incurred by Borrower for work in place in completing the last
        50% of the required Restoration. The Restoration Retainage shall in no event, and
        notwithstanding anything to the contrary set forth above in this Subsection 5.4(b), be less
        than the amount actually held back by Borrower from contractors, subcontractors and
        materialmen engaged in the Restoration. The Restoration Retainage shall not be released
        until the Casualty Consultant certifies to Lender that the Restoration has been completed
        in accordance with the provisions of this Subsection 5.4(b) and that all approvals
        necessary for the re-occupancy and use of the Property have been obtained from all
        appropriate governmental and quasi-governmental authorities, and Lender receives
        evidence satisfactory to Lender that the costs of the Restoration have been paid in full or
        will be paid in full out of the Restoration Retainage, provided, however, that Lender will

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        release the portion of the Restoration Retainage being held with respect to any contractor,
        subcontractor or materialman engaged in the Restoration as of the date upon which the
        Casualty Consultant certifies to Lender that the contractor, subcontractor or materialman
        has satisfactorily completed all work and has supplied all materials in accordance with
        the provisions of the contractor’s, subcontractor’s or materialman’s contract, and the
        contractor, subcontractor or materialman delivers the lien waivers and evidence of
        payment in full of all sums due to the contractor, subcontractor or materialman as may be
        reasonably requested by Lender or by the title company insuring the lien of the Security
        Instrument. If required by Lender, the release of any such portion of the Restoration
        Retainage shall be approved by the surety company, if any, which has issued a payment
        or performance bond with respect to the contractor, subcontractor or materialman.

               (v)    Lender shall not be obligated to make disbursements of the Net Proceeds
        more frequently than once every calendar month.

                (vi)    If at any time the Net Proceeds or the undisbursed balance thereof shall
        not, in the reasonable opinion of Lender in consultation with the Casualty Consultant, be
        sufficient to pay in full the balance of the costs which are estimated by the Casualty
        Consultant to be incurred in connection with the completion of the Restoration, Borrower
        shall deposit the deficiency (the “Net Proceeds Deficiency”) with Lender before any
        further disbursement of the Net Proceeds shall be made. The Net Proceeds Deficiency
        deposited with Lender shall be held by Lender and shall be disbursed for costs actually
        incurred in connection with the Restoration on the same conditions applicable to the
        disbursement of the Net Proceeds, and until so disbursed pursuant to this Section 5.4(b)
        shall constitute additional security for the Debt and other obligations under this
        Agreement, the Security Instrument, the Note and the other Loan Documents.

                (vii) The excess, if any, of the Net Proceeds and the remaining balance, if any,
        of the Net Proceeds Deficiency deposited with Lender after the Casualty Consultant
        certifies to Lender that the Restoration has been completed in accordance with the
        provisions of this Section 5.4(b), and the receipt by Lender of evidence satisfactory to
        Lender that all costs incurred in connection with the Restoration have been paid in full,
        shall be remitted by Lender to Borrower, provided no Event of Default shall have
        occurred and shall be continuing under this Agreement, the Security Instrument, the Note
        or any of the other Loan Documents.

        (c)    All Net Proceeds not required (i) to be made available for the Restoration or (ii) to
be returned to Borrower as excess Net Proceeds pursuant to Subsection 5.4(b)(vii) shall be
retained and applied by Lender toward the payment of the Debt whether or not then due and
payable in such order, priority and proportions as Lender in its discretion shall deem proper. If
Lender shall receive and retain Net Proceeds, the lien of the Security Instrument shall be reduced
only by the amount thereof received and retained by Lender and actually applied by Lender in
reduction of the Debt.

        (d)   Notwithstanding the foregoing or anything to the contrary contained herein, to the
extent that Borrower is entitled to a disbursement of Net Proceeds hereunder for any purpose
other than Restoration, Borrower hereby authorizes and directs Lender to pay the same to

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Mezzanine Lender to the extent that Mezzanine Lender is entitled to the same under the terms
and conditions of the Mezzanine Loan Documents. Borrower further (i) agrees that Lender shall
be entitled to conclusively rely on Mezzanine Lender’s assertion that it is entitled to such Net
Proceeds and (ii) hereby releases Lender and indemnifies Lender against any Losses that may be
incurred by Lender as a result of any Person claiming that Lender improperly remitted such Net
Proceeds to Mezzanine Lender.

       Section 5.5 Business Interruption Proceeds.              Notwithstanding the foregoing
provisions of this Article 5 to the contrary:

        (a)    Subject to Section 5.5(b), payments received on account of the business
interruption insurance specified in Section 5.1(a)(iii) above shall be deposited directly into the
Casualty and Condemnation Account. Notwithstanding the last sentence of Section 5.1(a)(iii)
above, and provided that no Event of Default shall have occurred and be continuing, proceeds
received by Lender on account of business or rental interruption or other loss of income
insurance specified in Section 5.1(a)(iii) above shall be held by Lender and disbursed to
Borrower (in installments relating o to the relevant period) to the extent such proceeds (or a
portion thereof) reflect a replacement for lost Rents for the relevant period, as determined by
Lender in good faith. All other such proceeds not reflecting a replacement for lost Rents shall be
held by Lender and disbursed in accordance with Section 5.4 hereof.

        (b)     Notwithstanding the foregoing provisions of Section 5.5(a), if in connection with
a Casualty any insurance carrier makes a payment under a property insurance Policy that
Borrower proposes be treated as business or rental interruption insurance, then, notwithstanding
any designation (or lack of designation) by the insurance carrier as to the purpose of such
payment, as between Lender and Borrower, such payment shall not be treated as business or
rental interruption Insurance Proceeds unless Borrower has demonstrated to Lender’s satisfaction
that the remaining Net Proceeds that will be received from the property insurance carriers are
sufficient to pay one hundred percent (100%) of the cost of fully restoring the Improvements or,
if such Net Proceeds are to be applied repay the Loan in accordance with the terms hereof, that
such remaining Net Proceeds will be sufficient to pay off the Loan in full.

                                          ARTICLE 6

                 NO SALE OR ENCUMBRANCE; PERMITTED TRANSFERS

       Section 6.1 No Sale/Encumbrance. It shall be an Event of Default hereunder if,
without the prior written consent of Lender, a Prohibited Transfer occurs, other than (i) pursuant
to Leases in accordance with the provisions of this Agreement and (ii) as expressly permitted
pursuant to the terms of this Article 6.

        Section 6.2   Intentionally Omitted.

        Section 6.3   Permitted Equity Transfers.

       (a)    Notwithstanding Section 6.1 hereof, the following equity transfers shall be
permitted without Lender’s consent:


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                (i)     the sale, transfer or issuance of shares of common stock in any Restricted
        Party that is a publicly traded entity, provided such shares of common stock are listed on
        the New York Stock Exchange or another nationally recognized stock exchange;
        provided, that, the foregoing shall not be deemed to waive, qualify or otherwise limit
        Borrower’s obligation to comply (or to cause the compliance with) the other covenants
        set forth herein and in the other Loan Documents (including, without limitation, the
        covenants contained herein relating to ERISA matters).

                (ii)    a transfer (but not a pledge) by devise or descent or by operation of law
        upon the death or declaration of incompetence of a Restricted Party or any member,
        partner or shareholder of a Restricted Party, so long as, in any case, each of the following
        conditions is satisfied:

                         (A)      no Event of Default has occurred and is continuing, or would occur
                 as a result of such transfer;

                         (B)     Lender shall receive not less than thirty (30) days prior written
                 notice of such transfers (except in the case of a transfer occurring upon the death
                 or declaration of incompetence of any Person, in which case Lender shall receive
                 written notice thereof not more than thirty (30) days after such transfer);

                         (C)   no such transfers shall result in a change in Control of Guarantor or
                 Affiliated Manager;

                         (D)    after giving effect to such transfers, Guarantor shall (1) own at
                 least a 51% direct or indirect equity ownership interest in each of Borrower and
                 any SPE Component Entity; (2) Control Borrower and any SPE Component
                 Entity and (3) control the day-to-day operation of the Property;

                        (E)      after giving effect to such transfers, the Property shall continue to
                 be managed by Manager or a replacement Manager approved in accordance with
                 the applicable terms and conditions hereof;

                        (F)    in the case of the transfer of any direct equity ownership interests
                 in Borrower or in any SPE Component Entity, such transfers shall be conditioned
                 upon continued compliance with the relevant provisions of Exhibit C hereof;

                        (G)     such transfers shall be conditioned upon Borrower’s ability to,
                 after giving effect to the equity transfer in question, (1) remake the
                 representations contained herein relating to ERISA matters (and, upon Lender’s
                 request, Borrower shall deliver to Lender an Officer’s Certificate containing such
                 updated representations effective as of the date of the consummation of the
                 applicable equity transfer) and (2) continue to comply with the covenants
                 contained herein relating to ERISA matters;

                        (H)   such transfers shall be permitted pursuant to the terms of the
                 Property Documents and the Mezzanine Loan Documents;


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                         (I)     if after giving effect to any equity transfer set forth in Section
                 6.3(a)(ii), ten percent (10%) or more in the aggregate of the direct or indirect
                 ownership interests in Borrower, any SPE Component Entity or any Guarantor
                 that is not a natural person would be owned by a Person (together with its
                 Affiliates) which did not own ten percent (10%) or more of the direct or indirect
                 ownership interests in such Person on the Closing Date or as a result of other
                 equity transfers previously made in accordance with the terms and provisions of
                 this Agreement, then, as a condition to any such equity transfer being permitted
                 hereunder, Borrower shall deliver Lender credit searches (in form, scope and
                 substance and from a provider, in each case, reasonably acceptable to Lender)
                 with respect to such equity transfer; and

                         (J)      if after giving effect to any equity transfer set forth in Section
                 6.3(a)(ii), forty nine percent (49%) or more in the aggregate of the direct or
                 indirect ownership interests in Borrower, any SPE Component Entity or any
                 Guarantor that is not a natural person would be owned by a Person (together with
                 its Affiliates), other than Guarantor, which did not own forty nine percent (49%)
                 or more of the direct or indirect ownership interests in Borrower, any SPE
                 Component Entity or such Guarantor, as applicable, on the Closing Date or as a
                 result of other equity transfers previously made in accordance with the terms and
                 provisions of this Agreement, then, as a condition to any such equity transfer
                 being permitted hereunder, Borrower shall deliver to Lender (1) a Rating Agency
                 Confirmation and (2) if a Non-Consolidation Opinion has previously been
                 delivered in connection with the Loan, a New Non-Consolidation Opinion.

                 (iii)   any Mezzanine Transfer.

        (b)     Upon request from Lender, Borrower shall promptly provide Lender a revised
version of the Organizational Chart reflecting any equity transfer consummated in accordance
with this Section 6.3.

        Section 6.4 Replacement Guarantor. To the extent that any Guarantor is a natural
person, the death or incapacity of such Guarantor shall be an Event of Default hereunder unless
such Guarantor is replaced in accordance with this Section 6.4. Borrower shall be permitted to
substitute a replacement guarantor (a “Substitution”) and no Event of Default shall be deemed
to have occurred hereunder, provided that each of the following terms and conditions are
satisfied: (a) no Default or Event of Default shall have occurred and be continuing or would
occur as a result of such Substitution; (b) within thirty (30) days after the occurrence of such
death or incapacity, Borrower delivers to Lender notice of its intent to substitute such Guarantor
and, concurrently therewith, gives Lender all such information concerning the proposed
substitute guarantor as Lender may reasonably require, including, without limitation, certified
financial statements detailing assets and liabilities; (c) the replacement guarantor is a Satisfactory
Replacement Guarantor; (d) within fifteen (15) days after delivery of the written notice described
in the preceding clause (b), such Satisfactory Replacement Guarantor (i) assumes the obligations
of Guarantor under the Guaranty and the Environmental Indemnity for events or conditions
occurring prior to, as of and after the Substitution or (ii) executes and delivers to Lender a
replacement guaranty and a replacement environmental indemnity in each case in form and

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substance the same as the Guaranty and the Environmental Indemnity, respectively, and
otherwise reasonably acceptable to Lender, for events or conditions occurring prior to, as of and
after the Substitution; (e) concurrently with such assumption or execution and delivery (i) such
Satisfactory Replacement Guarantor delivers to Lender a spousal consent in form and substance
acceptable to Lender, as and to the extent applicable, and (ii) each of Borrower, each remaining
Guarantor and/or such Satisfactory Replacement Guarantor, as applicable, affirms each of their
respective obligations under the Loan Documents; (f) Borrower delivers to Lender a Rating
Agency Confirmation with respect to such Substitution; (g) if required by Lender or the Rating
Agencies, Borrower delivers to Lender an opinion from counsel, and in form and substance, in
each case reasonably acceptable to Lender and acceptable to the Rating Agencies in their sole
discretion stating, among other things, (i) that the Guaranty and the Environmental Indemnity (or
the replacement guaranty and environmental indemnity, as the case may be) are enforceable
against such Satisfactory Replacement Guarantor in accordance with their terms and (ii) that any
REMIC Trust formed pursuant to a Securitization will not fail to maintain its status as a “real
estate mortgage investment conduit” within the meaning of Section 860D of the Code or be
subject to tax as a result of such Substitution; and (h) if required by Lender or the Rating
Agencies and a Non-Consolidation Opinion has previously been delivered in connection with the
Loan, Borrower delivers to Lender a New Non-Consolidation Opinion. No such death or
replacement of a Guarantor shall hinder, impair, limit, terminate or effectuate a novation of the
obligations or liabilities of any other Guarantor under any of the Loan Documents. As used
herein, the term “Satisfactory Replacement Guarantor” shall mean a replacement guarantor
that is acceptable to Lender, which determination shall be based upon, inter alia, (A) such
replacement guarantor having (1) a direct or indirect ownership interest in Borrower, which is
reasonably satisfactory to Lender, and (2) the ability to Control Borrower, (B) such replacement
guarantor having a net worth and liquidity reasonably satisfactory to Lender, (C) Lender’s
receipt of searches (including credit, negative news, OFAC, litigation, judgment, lien and
bankruptcy searches) reasonably required by Lender on such replacement guarantor, the results
of which must be reasonably acceptable to Lender, (D) such replacement guarantor otherwise
satisfying Lender’s then current applicable underwriting criteria and requirements, and (E) such
replacement guarantor being an experienced operator and/or owner of properties similar in
location, size, class, use, operation and value as the Property, as evidenced by financial
statements and other information reasonably requested by Lender or requested by the Rating
Agencies.

        Section 6.5 Lender’s Rights. Lender reserves the right to condition the consent to a
Prohibited Transfer requested hereunder upon (a) a modification of the terms hereof and on
assumption of this Agreement and the other Loan Documents as so modified by the proposed
Prohibited Transfer, (b) payment of a transfer fee of 1% of outstanding principal balance of the
Loan and all of Lender’s expenses incurred in connection with such Prohibited Transfer, (c)
receipt of a Rating Agency Confirmation with respect to the Prohibited Transfer, (d) the
proposed transferee’s continued compliance with the covenants set forth in this Agreement,
including, without limitation, the covenants in Section 4.23, (e) receipt of a New Non-
Consolidation Opinion with respect to the Prohibited Transfer (if at such time a Non-
Consolidation Opinion has previously been issued to Lender in connection with the Loan) and/or
(f) such other conditions and/or legal opinions as Lender shall determine in its sole discretion to
be in the interest of Lender. All expenses incurred by Lender shall be payable by Borrower
whether or not Lender consents to the Prohibited Transfer. Lender shall not be required to

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demonstrate any actual impairment of its security or any increased risk of default hereunder in
order to declare the Debt immediately due and payable upon a Prohibited Transfer without
Lender’s consent. This provision shall apply to every Prohibited Transfer, whether or not Lender
has consented to any previous Prohibited Transfer.

        Section 6.6 Economic Sanctions, Anti-Money Laundering. Borrower shall (and
shall cause its direct and indirect constituent owners and Affiliates to) (a) at all times comply
with the representations and covenants contained in Sections 3.27, 4.26 and 4.27 such that the
same remain true, correct and not violated or breached and (b) not permit a Prohibited Transfer
to occur and shall cause the ownership requirements specified in this Article 6 to be complied
with at all times. Borrower hereby represents that, other than in connection with the Loan, the
Loan Documents and any Permitted Encumbrances, as of the date hereof, there exists no Sale or
Pledge of (i) the Property or any part thereof or any legal or beneficial interest therein or (ii) any
interest in any Restricted Party.

       Section 6.7 Costs and Expenses. Borrower shall pay all costs and expenses of
Lender in connection with any Transfer, assumption and/or replacement of any Guarantor,
including, without limitation, the cost of any Rating Agency Confirmation and all reasonable
fees and expenses of Lender’s counsel, and the cost of any required counsel opinions, including,
without limitation, any New Non-Consolidation Opinion.

                                            ARTICLE 7

                                        RESERVE FUNDS

        Section 7.1    Sam Tell Funds.

       (a)     On the Closing Date, Borrower shall deposit into an Eligible Account held by
Lender or Servicer (the “Sam Tell Account”) an amount equal to $88,421.17 for amounts
required to be paid in connection with the termination of a UCC-1 Financing Statement filed on
May 25, 2016 by Sam Tell & Son, Inc. (“Sam Tell”) against Manager and 96 W Development
LLC with the New York Secretary of State as Filing Number 201605250244039 (the “Sam Tell
UCC”). Amounts deposited pursuant to this Section 7.1 are referred to herein as the “Sam Tell
Funds”.

       (b)     Lender shall disburse to Borrower the Sam Tell Funds upon Lender’s receipt of
evidence satisfactory to Lender that all amounts required to be paid to Sam Tell have been paid,
including, without limitation, receipt of a filed UCC-3 Financing Statement Termination
authorized by Sam Tell with respect to the Sam Tell UCC. If Borrower has failed to deliver such
evidence to Lender on or prior to March 31, 2018 (provided that such date shall be extended for
any period that Borrower is contesting the Sam Tell UCC and any related charges in accordance
with the terms of Section 4.8(b) hereof), Lender may, at its option, disburse the Sam Tell Funds
to Sam Tell to satisfy and cause the termination of the Sam Tell UCC.

        Section 7.2    Tax and Insurance Funds.

       On the Closing Date, Borrower shall make an initial deposit with Lender with respect to
Taxes and Insurance Premiums in an amount reasonably determined by Lender, to be held in

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Eligible Accounts by Lender or Servicer and hereinafter respectively referred to as the “Tax
Account” and the “Insurance Account”. In addition, Borrower shall pay (or cause to be paid)
to Lender on each Monthly Payment Date (a) one-twelfth of an amount which would be
sufficient to pay the Taxes payable, or estimated by Lender to be payable, during the next
ensuing twelve (12) months assuming that said Taxes are to be paid in full on the Tax Payment
Date (the “Monthly Tax Deposit”), each of which such deposits shall be held in the Tax
Account, and (b) one-twelfth of an amount which would be sufficient to pay the Insurance
Premiums due for the renewal of the coverage afforded by the Policies on the Insurance Payment
Date (the “Monthly Insurance Deposit”), each of which such deposits shall be held in the
Insurance Account (amounts held in the Tax Account and the Insurance Account are collectively
herein referred to as the “Tax and Insurance Funds”). If, at any time, Lender determines that
amounts on deposit or scheduled to be deposited in (i) the Tax Account will be insufficient to
pay all applicable Taxes in full on the Tax Payment Date and/or (ii) the Insurance Account will
be insufficient to pay all applicable Insurance Premiums in full on the Insurance Payment Date,
Borrower shall make a payment into the applicable Reserve Account in an amount which will be
sufficient to make up such insufficiency, as reasonably determined by Lender. Borrower agrees
to notify Lender immediately of any changes to the amounts, schedules and instructions for
payment of any Taxes and Insurance Premiums of which it has or obtains knowledge and
authorizes Lender or its agent to obtain the bills for Taxes directly from the appropriate taxing
authority. Provided there are sufficient amounts in the Tax Account and Insurance Account,
respectively, and no Event of Default exists, Lender shall be obligated to pay the Taxes and
Insurance Premiums as they become due on their respective due dates on behalf of Borrower by
applying the Tax and Insurance Funds to the payment of such Taxes and Insurance Premiums. If
the amount of the Tax and Insurance Funds shall exceed the amounts due for Taxes and
Insurance Premiums pursuant to Sections 4.7 and 5.1 hereof, Lender shall either return any
excess to Borrower or credit such excess against future payments to be made to the Tax and
Insurance Funds (such election to be made by Lender in its discretion).

        Section 7.3    FF&E Reserve Funds.

        (a)    Borrower shall deposit into an Eligible Account held by Lender or Servicer (the
“FF&E Reserve Account”) on each Monthly Payment Date, for FF&E costs, an amount equal
to 1/12th of (x) 2.0%, commencing with the first Monthly Payment Date following the first
anniversary of the Closing Date and (y) 4.0%, following the commencement of the second
Extension Period and thereafter, in each case, the greater of (i) gross revenues for the Property in
the preceding calendar year or (ii) the projected gross revenues for the Property for the current
calendar year according to the most recently submitted Annual Budget (the “FF&E Reserve
Monthly Deposit”). Amounts deposited pursuant to this Section 7.3 are referred to herein as the
“FF&E Reserve Funds”. Lender may reassess its estimate of the amount necessary for FF&E
costs from time to time, and may require Borrower to increase the monthly deposits required
pursuant to this Section 7.3 upon thirty (30) days’ notice to Borrower if Lender determines in its
reasonable discretion that an increase is necessary to maintain proper operation of the Property.

       (b)     Lender shall disburse FF&E Reserve Funds only for costs associated with FF&E
reasonably approved by Lender. Lender shall disburse to Borrower the FF&E Reserve Funds
upon satisfaction by Borrower of each of the following conditions: (i) Borrower shall submit a
request for payment to Lender at least ten (10) days prior to the date on which Borrower requests

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such payment be made and specifies the FF&E to be paid; (ii) on the date such request is
received by Lender and on the date such payment is to be made, no Event of Default shall exist
and remain uncured, (iii) Lender shall have received a certificate from Borrower (A) stating that
the items to be funded by the requested disbursement are FF&E, (B) stating that all FF&E at the
Property to be funded by the requested disbursement have been installed in a good and
workmanlike manner and in accordance with all applicable Legal Requirements, such certificate
to be accompanied by a copy of any license, permit or other approval required by any
Governmental Authority in connection with the FF&E, (C) identifying each Person that supplied
materials or labor in connection with the FF&E to be funded by the requested disbursement and
(D) stating that each such Person has been paid in full or will be paid in full upon such
disbursement, such certificate to be accompanied by lien waivers, invoices and/or other evidence
of payment satisfactory to Lender; (iv) at Lender’s option, in the case of any work, if the
disbursement amount exceeds $100,000, Lender shall have received a title search for the
Property indicating that the Property is free from all liens, claims and other encumbrances other
than Permitted Encumbrances; (v) at Lender’s option, in the case of any work, if the
disbursement exceeds $100,000, Lender shall have received a report satisfactory to Lender in its
reasonable discretion from an architect or engineer approved by Lender in respect of such
architect or engineer’s inspection of the applicable work; and (vi) Lender shall have received
such other evidence as Lender shall reasonably request that the FF&E at the Property to be
funded by the requested disbursement has, as applicable, been completed and are paid for or will
be paid upon such disbursement to Borrower. Lender shall not be required to disburse FF&E
Reserve Funds more frequently than once each calendar month nor in an amount less than the
Minimum Disbursement Amount (or a lesser amount if the total amount of FF&E Reserve Funds
is less than the Minimum Disbursement Amount, in which case only one disbursement of the
amount remaining in the account shall be made).

       (c)     Nothing in this Section 7.3 shall (i) make Lender responsible for any costs
associated with any FF&E; (ii) require Lender to expend funds in addition to the FF&E Reserve
Funds to pay for or complete, as applicable, any FF&E; (iii) obligate Lender to proceed with any
FF&E work; or (iv) obligate Lender to demand from Borrower additional sums to pay for or
complete, as applicable, any FF&E.

        (d)     Borrower shall permit Lender and Lender’s agents and representatives (including,
without limitation, Lender’s engineer, architect, or inspector) or third parties to enter onto the
Property during normal business hours (subject to the rights of any Tenants under their Leases)
to inspect the progress of any FF&E work and all materials being used in connection therewith
and to examine all plans and shop drawings relating to such FF&E work. Borrower shall cause
all contractors and subcontractors to cooperate with Lender or Lender’s representatives or such
other Persons described above in connection with inspections described in this Section.

        Section 7.4   Intentionally Omitted.

        Section 7.5   Intentionally Omitted.

        Section 7.6 Excess Cash Flow Funds. On each Monthly Payment Date occurring
after the occurrence and during the continuance of an Event of Default, Borrower shall deposit
(or cause to be deposited) into an Eligible Account with Lender or Servicer (the “Excess Cash

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Flow Account”) an amount equal to the Excess Cash Flow generated by the Property for the
immediately preceding Interest Period (the amounts on deposit in the Excess Cash Flow Account
being herein referred to as the “Excess Cash Flow Funds”). Provided no Event of Default has
occurred and is continuing, any Excess Cash Flow Funds remaining in the Excess Cash Flow
Account upon the expiration of all Cash Sweep Periods in accordance with the applicable terms
and conditions hereof shall be disbursed to Borrower.

        Section 7.7    The Accounts Generally.

        (a)     Borrower grants to Lender a first-priority perfected security interest in each of the
Accounts and any and all sums now or hereafter deposited in the Accounts as additional security
for payment of the Debt. Until expended or applied in accordance herewith, the Accounts and
the funds deposited therein shall constitute additional security for the Debt. The provisions of
this Section 7.7 (together with the other related provisions of the other Loan Documents) are
intended to give Lender and/or Servicer “control” of the Accounts and the Account Collateral
and serve as a “security agreement” and a “control agreement” with respect to the same, in each
case, within the meaning of the UCC. Borrower acknowledges and agrees that the Accounts are
subject to the sole dominion, control and discretion of Lender, its authorized agents or designees,
subject to the terms hereof, and Borrower shall have no right of withdrawal with respect to any
Account except with the prior written consent of Lender or as otherwise provided herein. The
funds on deposit in the Accounts shall not constitute trust funds and may be commingled with
other monies held by Lender. Notwithstanding anything to the contrary contained herein, unless
otherwise consented to in writing by Lender, Borrower shall only be permitted to request (and
Lender shall only be required to disburse) Reserve Funds on account of the liabilities, costs,
work and other matters (as applicable) for which said sums were originally reserved hereunder,
in each case, as reasonably determined by Lender.

        (b)    Borrower shall not, without obtaining the prior written consent of Lender, further
pledge, assign or grant any security interest in the Accounts or the sums deposited therein or
permit any lien to attach thereto, or any levy to be made thereon, or any UCC-1 Financing
Statements, except those naming Lender as the secured party, to be filed with respect thereto.
Borrower hereby authorizes Lender to file a financing statement or statements under the UCC in
connection with any of the Accounts and the Account Collateral in the form required to properly
perfect Lender’s security interest therein. Borrower agrees that at any time and from time to
time, at the expense of Borrower, Borrower will promptly execute and deliver all further
instruments and documents, and take all further action, that may be reasonably necessary or
desirable, or that Lender may reasonably request, in order to perfect and protect any security
interest granted or purported to be granted hereby (including, without limitation, any security
interest in and to any Permitted Investments) or to enable Lender to exercise and enforce its
rights and remedies hereunder with respect to any Account or Account Collateral.

        (c)   Notwithstanding anything to the contrary contained herein or in any other Loan
Document, upon the occurrence and during the continuance of an Event of Default, without
notice from Lender or Servicer (i) Borrower shall have no rights in respect of the Accounts, (ii)
Lender may liquidate and transfer any amounts then invested in Permitted Investments pursuant
to the applicable terms hereof to the Accounts or reinvest such amounts in other Permitted
Investments as Lender may reasonably determine is necessary to perfect or protect any security

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interest granted or purported to be granted hereby or pursuant to the other Loan Documents or to
enable Lender to exercise and enforce Lender’s rights and remedies hereunder or under any other
Loan Document with respect to any Account or any Account Collateral, and (iii) Lender shall
have all rights and remedies with respect to the Accounts and the amounts on deposit therein and
the Account Collateral as described in this Agreement and in the Security Instrument, in addition
to all of the rights and remedies available to a secured party under the UCC, and,
notwithstanding anything to the contrary contained in this Agreement or in the Security
Instrument, may apply the amounts of such Accounts as Lender determines in its sole discretion
including, but not limited to, payment of the Debt.

       (d)     The insufficiency of funds on deposit in the Accounts shall not absolve Borrower
of the obligation to make any payments, as and when due pursuant to this Agreement and the
other Loan Documents, and such obligations shall be separate and independent, and not
conditioned on any event or circumstance whatsoever.

        (e)    Borrower shall indemnify Lender and hold Lender harmless from and against any
and all actions, suits, claims, demands, liabilities, losses, damages, obligations and costs and
expenses (including litigation costs and reasonable attorneys’ fees and expenses) arising from or
in any way connected with the Accounts, the sums deposited therein or the performance of the
obligations for which the Accounts were established, except to the extent arising from the gross
negligence or willful misconduct of Lender, its agents or employees. Borrower shall assign to
Lender all rights and claims Borrower may have against all Persons supplying labor, materials or
other services which are to be paid from or secured by the Accounts; provided, however, that
Lender may not pursue any such right or claim unless an Event of Default has occurred and
remains uncured.

         (f)    Borrower and Lender (or Servicer on behalf of Lender) shall maintain each
applicable Account as an Eligible Account, except as otherwise expressly agreed to in writing by
Lender. In the event that Lender or Servicer no longer satisfies the criteria for an Eligible
Institution, Borrower shall cooperate with Lender in transferring the applicable Accounts to an
institution that satisfies such criteria. Borrower hereby grants Lender power of attorney
(irrevocable for so long as the Loan is outstanding) with respect to any such transfers and the
establishment of accounts with a successor institution.

        (g)     Interest accrued on any Account other than an Interest Bearing Account shall not
be required to be remitted either to Borrower or to any Account and may instead be retained by
Lender. Funds deposited in the Interest Bearing Accounts shall be invested in Permitted
Investments as provided for in Section 7.7(h) hereof. Interest accrued, if any, on sums on deposit
in the Interest Bearing Accounts shall be remitted to and become part of the applicable Account.
All such interest that so becomes part of the applicable Account shall be disbursed in accordance
with the disbursement procedures contained herein applicable to such Account; provided,
however, that Lender may, at its election, retain any such interest for its own account during the
occurrence and continuance of an Event of Default.

       (h)     Sums on deposit in the Interest Bearing Accounts shall, upon Borrower’s written
request, be invested in Permitted Investments selected by Lender or Servicer provided (i) such
investments are then regularly offered by Lender (or Servicer on behalf of Lender) for accounts

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of this size, category and type (Borrower acknowledges that the Servicer or Lender may only
offer as an investment opportunity the right to place funds on deposit in the applicable Accounts
in an interest bearing account (bearing interest at the money market rate)), (ii) such investments
are permitted by applicable federal, State and local rules, regulations and laws, (iii) the maturity
date of the Permitted Investment is not later than the date on which sums in the Interest Bearing
Accounts are required to be disbursed pursuant to the terms hereof, and (iv) no Event of Default
shall have occurred and be continuing. All income earned from the aforementioned Permitted
Investments shall be property of Borrower and Borrower hereby irrevocably authorizes and
directs Lender (or Servicer on behalf of Lender) to hold any income earned from the
aforementioned Permitted Investments as part of the applicable Interest Bearing Account.
Borrower shall be responsible for payment of any federal, State or local income or other tax
applicable to income earned from Permitted Investments. No other investments of the sums on
deposit in the Interest Bearing Accounts shall be permitted. Lender shall not be liable for any
loss sustained on the investment of any funds in the Interest Bearing Accounts.

       (i)     Borrower acknowledges and agrees that it solely shall be, and shall at all times
remain, liable to Lender or Servicer for all fees, charges, costs and expenses in connection with
the Accounts, this Agreement and the enforcement hereof, including, without limitation, any
monthly or annual fees or charges as may be assessed by Lender or Servicer in connection with
the administration of the Accounts and the reasonable fees and expenses of legal counsel to
Lender and Servicer as needed to enforce, protect or preserve the rights and remedies of Lender
and/or Servicer under this Agreement.

        Section 7.8    Business Plan Reserve Funds.

        (a)    On the Closing Date, Borrower shall deposit into an Eligible Account held by
Lender or Servicer (the “Business Plan Reserve Account”) an amount equal to $1,651,000.00,
which deposit shall be derived from capital contributions to Borrower and shall not come from
Loan proceeds. In addition to the foregoing, if Lender determines that the cost of completing the
Business Plan Work (taking into account any amounts remaining in the contingency line item of
the Business Plan) is likely to exceed the Business Plan Reserve Funds then on deposit, then
(1) Borrower shall, within ten (10) Business Days of notice thereof, deposit with or on behalf of
Lender into the Business Plan Reserve Account such amount as Lender determines will be
necessary to complete such Business Plan Work (the “Business Plan Reserve Funds Borrower
Deposit”) and (2) notwithstanding anything to the contrary contained in Section 7.8(b) hereof,
no Business Plan Reserve Funds (other than such funds consisting of the Business Plan Reserve
Funds Borrower Deposit) shall be disbursed hereunder until the full amount of the Business Plan
Reserve Funds Borrower Deposit has been disbursed pursuant to the terms and conditions of
Section 7.8(b) hereof; provided, however, that if Lender determines, subsequent to Borrower
making any Business Plan Reserve Funds Borrower Deposit, that the conditions set forth above
which necessitated such Business Plan Reserve Funds Borrower Deposit no longer exist (for
purposes of which any remaining portion of such Business Plan Reserve Funds Borrower
Deposit shall not be counted), then Lender shall promptly disburse any remaining portion of such
Business Plan Reserve Funds Borrower Deposit then on deposit in the Business Plan Reserve
Funds Account to Borrower. Amounts deposited pursuant to this Section 7.8 are referred to
herein as the “Business Plan Reserve Funds”.


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        (b)     On the Closing Date, Borrower shall deliver invoices to Lender for the cost of
furniture in the amount of $174,424.32, and invoices for the construction of the pool at the
Property in the amount of $150,000.00. Lender shall disburse the amount of such invoices
directly to the vendors and/or contractor, as applicable, from the Business Plan Reserve Funds
from the Business Plan Reserve Account (the “Business Plan Reserve Funds Initial
Disbursement”). Thereafter, following the satisfaction of the Business Plan Reserve Funds
Future Disbursement Conditions and subject to Section 7.8(a) above and the final sentence of
this Section 7.8(b), Lender shall disburse to Borrower the Business Plan Reserve Funds to pay
the costs of Business Plan Work, pursuant to the terms and conditions of Section 7.3 hereof (as if
such Business Plan Reserve Funds were FF&E Reserve Funds). Lender shall not be required to
disburse Business Plan Reserve Funds more frequently than once each calendar month nor in an
amount less than the Minimum Disbursement Amount (or a lesser amount if the total amount of
Business Plan Reserve Funds is less than the Minimum Disbursement Amount, in which case
only one disbursement of the amount remaining in the account shall be made). Notwithstanding
the foregoing, (A) Lender shall not be obligated to make disbursements of Business Plan Reserve
Funds to reimburse Borrower to the extent (1) there are amounts available to pay the relevant
costs on deposit in the FF&E Reserve Account, (2) any requested disbursement does not, in
Lender’s reasonable determination, adhere to the Business Plan (including, without limitation, by
virtue of the purpose or amount of such disbursement, or because the costs to be paid with the
proceeds of such disbursement have been the subject of a previous disbursement of any Reserve
Funds), (B) any disbursement of Business Plan Reserve Funds allocable to the contingency line
item of the Business Plan shall be subject to Lender’s reasonable discretion, and (C) each
disbursement of Business Plan Reserve Funds to pay for Business Plan Work shall be subject to
a retainage equal to the greater of (x) the actual retention required by the applicable contract and
(y) (1) at such time as fifty percent (50%) or less of the contract in question is complete, ten
percent (10%) retention or (2) at such time as more than fifty percent (50%) of the contract in
question is complete, five percent (5%), which retainage shall only be disbursed by Lender
(subject to the other terms and conditions of this Section 7.8) upon Lender’s receipt of evidence
in form and substance reasonably satisfactory to Lender that each applicable vendor has
completed all work, or delivered all materials, being performed and/or delivered, as applicable,
by such vendor with respect to the Property.

       (c)    Nothing in this Section 7.8 shall (i) make Lender responsible for performing or
completing any Business Plan Work; (ii) require Lender to expend funds in addition to the
Business Plan Reserve Funds to complete any Business Plan Work; (iii) obligate Lender to
proceed with any Business Plan Work; or (iv) obligate Lender to demand from Borrower
additional sums to complete any Business Plan Work.

        (d)      Borrower shall permit Lender and Lender’s agents and representatives (including,
without limitation, Lender’s engineer, architect, or inspector) or third parties to enter onto the
Property during normal business hours (subject to the rights of Tenants under their Leases) to
inspect the progress of any Business Plan Work and all materials being used in connection
therewith and to examine all plans and shop drawings relating to such Business Plan Work.
Borrower shall cause all contractors and subcontractors to cooperate with Lender or Lender’s
representatives or such other Persons described above in connection with inspections described
in this Section.


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       (e)    In addition to any insurance required under the Loan Documents, Borrower shall
cause to be provided workmen’s compensation insurance, builder’s risk, public liability
insurance and other insurance to the extent required under applicable law in connection with
Business Plan Work. All such policies shall be in form and amount satisfactory to Lender.

       (f)    For purposes of clarity it is agreed that Borrower shall pay for all costs and
expenses of Lender, any Lender Consultant and/or Servicer incurred in connection with any
disbursements under this Section 7.8.

       (g)     Upon the written request of Borrower following (i) Completion of all Business
Plan Work in accordance with the terms of this Agreement, and (ii) Lender’s receipt of a
permanent certificate of occupancy covering all of the Improvements, any remaining Business
Plan Reserve Funds on deposit in the Business Plan Reserve Account shall be (x) provided no
Cash Sweep Period exists, disbursed to Borrower or (y) if a Cash Sweep Period exists, deposited
into the Interest Reserve Account and held in accordance with the terms and conditions of
Section 7.9 hereof.

        Section 7.9 Interest Reserve Funds. On the Closing Date, Borrower shall deposit (or
shall cause there to be deposited) into an Eligible Account held by Lender or Servicer (the
“Interest Reserve Account”) the sum of $2,400,000.00, to be held as additional security for the
Debt and all of the other Obligations. Amounts deposited pursuant to this Section 7.9 are
referred to herein as the “Interest Reserve Funds”. Until such time as the Required DSCR is
first achieved, if at any time during the term of the Loan Lender determines that the remaining
balance in the Interest Reserve Account is insufficient to pay Debt Service projected to be due
and payable during the next ensuing two (2) month period (which Debt Service shall be
calculated based on the Applicable Interest Rate) (the “Interest Reserve Deficiency”), Lender
shall notify Borrower of such determination and Borrower shall, upon fifteen (15) days’ notice,
deposit an amount equal to the Interest Reserve Deficiency (the “Interest Reserve Deficiency
Amount”). Provided no Event of Default has occurred and is continuing, on each Monthly
Payment Date on which a shortfall exists in available revenues from the Property to pay all or
any portion of the Monthly Debt Service Payment and/or required deposits into the Tax Account
and/or the Insurance Account due on such Monthly Payment Date (as demonstrated to Lender’s
reasonable satisfaction including, without limitation, by virtue of an Officer’s Certificate
detailing the applicable shortfall and the amount(s) to be paid by the disbursement of Interest
Reserve Funds and a Cash Application Statement covering the applicable period), Lender shall
disburse an amount of available Interest Reserve Funds, up to the amount of such shortfall, in
payment of such amount(s). Provided no Event of Default exists, all funds on deposit in the
Interest Reserve Account shall be disbursed to Borrower once the Debt Service Coverage Ratio
(Combined) is equal to or greater than 1.25 to 1.00 for six (6) consecutive months (“Required
DSCR”).




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                                           ARTICLE 8

                                    CASH MANAGEMENT

        Section 8.1    Distribution of Cash Flow.

       (a)    Borrower shall cause all Rents and other revenue derived from the Property and
received by Borrower or Manager, as the case may be, to be applied on a monthly basis for the
following purposes and in the following order of priority:

               (i)   First, funds sufficient to pay the Monthly Tax Deposit due for the then
        applicable Monthly Payment Date, if any;

               (ii)    Then, funds sufficient to pay the Monthly Insurance Deposit due for the
        then applicable Monthly Payment Date, if any;

                (iii) Then, funds sufficient to pay any interest accruing at the Default Rate and
        late payment charges, if any;

              (iv)  Then, funds sufficient to pay Debt Service due for then applicable
        Monthly Payment Date;

               (v)   Then, funds to pay the FF&E Reserve Monthly Deposit for the then
        applicable Monthly Payment Date, if any;

               (vi)    Then, funds sufficient to pay any other amounts due and owing to Lender
        and/or Servicer pursuant to the terms hereof and/or of the other Loan Documents, if any;

               (vii) Then, funds sufficient to pay Approved Operating Expenses and Approved
        Extraordinary Expenses incurred by Borrower for the then applicable period;

                (viii) Then, unless an Event of Default exists, funds sufficient to pay the amount
        of the Mezzanine Loan Monthly Debt Service that is then due; and

                (ix)    Lastly, all amounts remaining after the payment of items (i) through (viii)
        above (the “Excess Cash Flow”) shall be (x) unless Event of Default exists, held and
        applied strictly in the manner set forth in Section 8.2 below and (y) if an Event of Default
        exists, deposited into the Excess Cash Flow Account.

       (b)    In the event that available revenue derived from the Property and received by
Borrower shall not be sufficient to enable Borrower to make any of the payments described in
subparagraphs (i) through (vii) above (such amount being referred to herein as the “Operating
Deficiency”), Borrower shall not be relieved of its obligations to make such payments.

        Section 8.2 Excess Operating Cash Flow Funds. All Excess Cash Flow shall be
held in trust by Borrower for the benefit of Lender as additional collateral for the Loan. Amounts
held by Borrower pursuant to this Section 8.2 are referred to herein as the “Excess Operating
Cash Flow Funds”. Provided no Cash Sweep Period exists, Excess Operating Cash Flow Funds

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may be used, enjoyed and distributed by Borrower. Upon the occurrence of an Event of Default,
Borrower shall immediately deposit all Excess Operating Cash Flow Funds into the Excess Cash
Flow Account.

        Section 8.3   Intentionally Omitted.

         Section 8.4 Cash Application Statement. Until the Loan is paid in full, Borrower
shall deliver to Lender monthly operating statements for the Property certified by an authorized
representative of Borrower within twenty (20) days after the end of each month, which operating
statements (each, a “Cash Application Statement”) show in detail the net operating income, the
amounts and sources of Rents and other revenue received by or on behalf of Borrower and the
amounts and purposes of Approved Operating Expenses and Approved Extraordinary Expenses
paid by or on behalf of Borrower with respect to the Property for the previous month and year-
to-date (including, in each case, a comparison to the Approved Annual Budget), or the portion
thereof, paid out of Rents or other revenue for such calendar month or year-to-date, as
applicable; amounts funded into any reserves hereunder; amounts paid to Manager, if any;
shortfalls that exists in available revenues from the Property to pay all or any portion of the
Monthly Debt Service Payment and/or required deposits into the Tax Account and/or the
Insurance Account; any Operating Deficiency; and the amount of any distributions made during
such month (and year-to-date) pursuant to Section 8.1(a) above or from Excess Operating Cash
Flow Funds, together with a certification of Borrower that Borrower has not made any
distributions in violation of the terms of Section 8.1(a); such statements also to include
delinquency reports, tenant and expenses payable and receivable reports, and occupancy
statistics. Each such monthly statement shall provide for comparisons with the same calendar
month in the immediately preceding calendar year, including year-to-date information, to the
extent Borrower is in possession of such information for the applicable month and/or year-to-
date for the preceding calendar year.

        Section 8.5   Establishment of Certain Accounts.

        (a)   Borrower shall, upon the occurrence of an Event of Default, establish an Eligible
Account (the “Clearing Account”) pursuant to the Clearing Account Agreement in the name of
Borrower for the sole and exclusive benefit of Lender into which Borrower shall deposit, or
cause to be deposited, all revenue generated by the Property. Pursuant to the Clearing Account
Agreement, funds on deposit in the Clearing Account shall be transferred on each Business Day
to the Cash Management Account.

        (b)     Upon the occurrence of an Event of Default, Lender, on Borrower’s behalf, shall
establish an Eligible Account with Lender or Servicer, as applicable, in the name of Borrower for
the sole and exclusive benefit of Lender (the “Cash Management Account”). All sums in the
Cash Management Account shall be held as additional collateral for the Loan and shall be
applied in such order, proportion and priority as Lender may determine in its sole discretion.

        Section 8.6   Deposits into and Maintenance of Clearing Account.

       (a)   Borrower represents, warrants and covenants that, upon the occurrence of an
Event of Default and thereafter for so long as the Debt remains outstanding, (i) Borrower shall,


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or shall cause Manager to, immediately deposit all revenue derived from the Property and
received by Borrower or Manager, as the case may be, into the Clearing Account; (ii) Borrower
shall instruct Manager to immediately deposit (A) all revenue derived from the Property
collected by Manager, if any, pursuant to the Management Agreement (or otherwise) into the
Clearing Account and (B) all funds otherwise payable to Borrower by Manager pursuant to the
Management Agreement (or otherwise in connection with the Property) into the Clearing
Account; (iii) Borrower shall send (1) a notice, in a form approved by Lender, to all Tenants now
occupying space at the Property directing them to pay all rent and other sums due under the
Lease to which they are a party into the Clearing Account (such notice, the “Tenant Direction
Notice”) and (2) a notice, in a form approved by Lender, to all credit card companies and credit
card clearing banks with which Borrower or Manager has entered into agreements with respect to
the Property directing them to pay all receipts payable with respect to the Property into the
Clearing Account (such notice, the “Credit Card Direction Notice”), (B) (1) simultaneously
with the execution of any Lease entered into on or after the occurrence of an Event of Default in
accordance with the applicable terms and conditions hereof, Borrower shall furnish each Tenant
under each such Lease the Tenant Direction Notice and (2) simultaneously with the execution of
any credit card company agreement, credit card bank agreement or similar agreement entered
into on or after the occurrence of an Event of Default in accordance with the applicable terms
and conditions hereof, Borrower shall furnish the counterparty thereunder the Credit Card
Direction Notice and (C) Borrower shall continue to send the aforesaid Tenant Direction Notices
and Credit Card Direction Notices until each addressee thereof complies with the terms thereof;
(iv) there shall be no other accounts maintained by Borrower or any other Person into which
revenues from the ownership and operation of the Property are directly deposited; and (v) neither
Borrower nor any other Person shall open any other such account with respect to the direct
deposit of income in connection with the Property. From and after the occurrence of an Event of
Default, until deposited into the Clearing Account, any Rents and other revenues from the
Property held by Borrower shall be deemed to be collateral and shall be held in trust by it for the
benefit, and as the property, of Lender pursuant to the Security Instrument and shall not be
commingled with any other funds or property of Borrower. Borrower warrants and covenants
that it shall not rescind, withdraw or change any notices or instructions required to be sent by it
pursuant to this Section 8.6 without Lender’s prior written consent.

        (b)     From and after the occurrence of an Event of Default, Borrower shall maintain the
Clearing Account for the term of the Loan, which Clearing Account shall be under the sole
dominion and control of Lender (subject to the terms hereof and of the Clearing Account
Agreement). The Clearing Account shall have a title evidencing the foregoing in a manner
reasonably acceptable to Lender. Borrower hereby grants to Lender a first-priority security
interest in the Clearing Account and all deposits at any time contained therein and the proceeds
thereof and will take all actions necessary to maintain in favor of Lender a perfected first priority
security interest in the Clearing Account. Borrower hereby authorizes Lender to file UCC
Financing Statements and continuations thereof to perfect Lender’s security interest in the
Clearing Account and all deposits at any time contained therein and the proceeds thereof. All
costs and expenses for establishing and maintaining the Clearing Account (or any successor
thereto) shall be paid by Borrower. All monies now or hereafter deposited into the Clearing
Account shall be deemed additional security for the Debt. Borrower shall pay all sums due
under and otherwise comply with the Clearing Account Agreement. Borrower shall not alter or
modify either the Clearing Account or the Clearing Account Agreement, in each case without the

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prior written consent of Lender. The Clearing Account Agreement shall provide (and Borrower
shall provide) Lender online access to bank and other financial statements relating to the
Clearing Account (including, without limitation, a listing of the receipts being collected therein).
In connection with any Secondary Market Transaction, Lender shall have the right to cause the
Clearing Account to be entitled with such other designation as Lender may select to reflect an
assignment or transfer of Lender’s rights and/or interests with respect to the Clearing Account.
Lender shall provide Borrower with prompt written notice of any such renaming of the Clearing
Account. Borrower shall not further pledge, assign or grant any security interest in the Clearing
Account or the monies deposited therein or permit any lien or encumbrance to attach thereto, or
any levy to be made thereon, or any UCC Financing Statements, except those naming Lender as
the secured party, to be filed with respect thereto. The Clearing Account (i) shall be an Eligible
Account and (ii) shall not be commingled with other monies held by Borrower or Bank. Upon
(A) Bank ceasing to be an Eligible Institution, (B) the Clearing Account ceasing to be an Eligible
Account, (C) any resignation by Bank or termination of the Clearing Account Agreement by
Bank or Lender and/or (D) the occurrence and continuance of an Event of Default, Borrower
shall, within fifteen (15) days of Lender’s request, (1) terminate the existing Clearing Account
Agreement, (2) appoint a new Bank (which such Bank shall (I) be an Eligible Institution, (II)
other than during the continuance of an Event of Default, be selected by Borrower and approved
by Lender and (III) during the continuance of an Event of Default, be selected by Lender), (3)
cause such Bank to open a new Clearing Account (which such account shall be an Eligible
Account) and enter into a new Clearing Account Agreement with Lender on substantially the
same terms and conditions as the previous Clearing Account Agreement and (4) send any new
Credit Card Direction Notices, Tenant Direction Notices and other notices required pursuant to
the terms hereof relating to such new Clearing Account Agreement and Clearing Account.
Borrower constitutes and appoints Lender its true and lawful attorney-in-fact with full power of
substitution to complete or undertake any action required of Borrower under this Section 8.6 in
the name of Borrower in the event Borrower fails to do the same, provided that Lender will not
exercise its rights herein granted unless an Event of Default exists. Such power of attorney shall
be deemed to be a power coupled with an interest and cannot be revoked.

       (c)      Subject to the terms and conditions of the Clearing Account Agreement, all funds
on deposit in the Clearing Account shall be transferred into the Cash Management Account.

         Section 8.7 Events of Default. Notwithstanding anything to the contrary contained
in this Agreement, upon the occurrence and during the continuance of an Event of Default, (i)
Borrower shall have no right to apply revenue derived from the Property for any purpose without
Lender’s prior written approval and (ii) Lender shall have all of the remedies available to it
pursuant to this Agreement and pursuant to applicable law, including, without limitation, the
institution of all of Lender’s controls respecting deposits into and distributions from the Clearing
Account and/or the Cash Management Account as more particularly set forth herein and in the
Cash Management Agreement, and the exercise by Lender of the remedies specified in Article 8
and Article 10 hereof. Without limitation to the foregoing, upon the occurrence of an Event of
Default, Lender shall have the continuing exclusive control of, right to withdraw and apply, the
funds in the Clearing Account or the Cash Management Account to payment of any and all
debts, liabilities and obligations of Borrower to Lender pursuant to or in connection with this
Agreement, the Note, the Cash Management Agreement, the Clearing Account Agreement, the


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Security Instrument and the other Loan Documents in such order, proportion and priority as
Lender may determine in its sole discretion.

        Section 8.8 Borrower Distributions; Acknowledgement.                   Any transfer of
Borrower’s funds to or for the benefit of the Mezzanine Lender or the Mezzanine Borrower
pursuant to this Agreement or any of the other Loan Documents, is intended by the parties to
constitute, and shall constitute, a distribution from the Borrower to the Mezzanine Borrower and
shall be treated as such on the books and records of each party. No provision of any Loan
Document is intended to nor shall create a debtor-creditor relationship between Borrower and the
Mezzanine Lender.

                                          ARTICLE 9

                                   SECONDARY MARKET

        Section 9.1   Securitization.

        (a)     Lender shall have the right (i) to sell or otherwise transfer the Loan (or any
portion thereof and/or interest therein), (ii) to sell participation interests in the Loan (or any
portion thereof and/or interest therein) or (iii) to securitize the Loan (or any portion thereof
and/or interest therein) in a single asset securitization or a pooled asset securitization. The
transactions referred to in clauses (i), (ii) and (iii) above shall hereinafter be referred to
collectively as “Secondary Market Transactions” and the transactions referred to in clause (iii)
shall hereinafter be referred to as a “Securitization”. Any certificates, notes or other securities
issued in connection with a Securitization are hereinafter referred to as “Securities”. At
Lender’s election, each note and/or component comprising the Loan may be subject to one or
more Secondary Market Transactions.

       (b)     If requested by Lender in connection with any Secondary Market Transaction,
Borrower shall assist Lender (at Borrower’s sole cost and expense) in satisfying the market
standards to which Lender customarily adheres or which may be reasonably required in the
marketplace or by the NRSROs in connection with such Secondary Market Transactions,
including, without limitation, to:

                (i)     provide (A) updated financial and other information with respect to the
        Property, the business operated at the Property, Borrower, Guarantor, any SPE
        Component Entity and Manager including, without limitation, the information set forth
        on Exhibit E attached hereto, (B) updated budgets relating to the Property, (C) updated
        appraisals, market studies, environmental reviews (Phase I’s and, if appropriate, Phase
        II’s), property condition reports and other due diligence investigations of the Property
        (the “Updated Information”), together, if customary, with appropriate verification of the
        Updated Information through letters of auditors or opinions of counsel acceptable to
        Lender and the Rating Agencies and (D) revisions to and other agreements with respect
        to the Property Documents in form and substance acceptable to Lender and the Rating
        Agencies;




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               (ii)   provide new and/or updated opinions of counsel, which may be relied
        upon by Lender, the NRSROs and their respective counsel, agents and representatives, as
        may be customary in Secondary Market Transactions or required by the Rating Agencies,
        which counsel and opinions shall be satisfactory in form and substance to Lender and the
        Rating Agencies;

               (iii) provide updated (as of the closing date of the applicable Secondary
        Market Transaction) representations and warranties made in the Loan Documents and
        such additional representations and warranties as the Rating Agencies may require;

                (iv)    execute such amendments to the Loan Documents, the Property
        Documents and Borrower’s or any SPE Component Entity’s organizational documents as
        may be reasonably requested by Lender or requested by the Rating Agencies to effect any
        Secondary Market Transaction, including, without limitation, (A) to amend and/or
        supplement the independent director provisions provided on Exhibit C attached hereto, in
        each case, in accordance with the applicable requirements of the Rating Agencies, (B)
        bifurcating the Loan into two or more components and/or additional separate notes and/or
        creating additional senior/subordinate note structure(s) (any of the foregoing, a “Loan
        Bifurcation”) and (C) to modify all operative dates (including but not limited to payment
        dates, interest period start dates and end dates, etc.) under the Loan Documents, by up to
        ten (10) days; provided, however, that Borrower shall not be required to so modify or
        amend any Loan Document if such modification or amendment would change the interest
        rate, the stated maturity (except as provided in subclause (C) above) or the amortization
        of principal set forth herein, except in connection with a Loan Bifurcation which may
        result in varying interest rates and, as applicable, amortization schedules, but which shall
        have the same initial weighted average coupon of the original Note; and

               (v)     review any Disclosure Document or any interim draft thereof furnished by
        Lender to Borrower with respect to information contained therein that was furnished to
        Lender by or on behalf of Borrower specifically in connection with the preparation of
        such Disclosure Document and provide to Lender any revisions to such Disclosure
        Document or interim draft thereof necessary to insure that such reviewed information
        does not contain any untrue statement of a material fact or omit to state any material fact
        necessary to make statements contained therein not misleading.

        (c)     If, at the time a Disclosure Document is being prepared for a Securitization,
Lender expects that Borrower alone or Borrower and one or more Affiliates of Borrower
collectively, or the Property alone or the Property and Related Properties collectively, will be a
Significant Obligor, Borrower shall furnish to Lender upon request the following information:

                (i)     if Lender expects that the principal amount of the Loan together with any
        Related Loans as of the cut-off date for such Securitization may, or if the principal
        amount of the Loan together with any Related Loans as of the cut-off date for such
        Securitization and at any time during which the Loan and any Related Loans are included
        in a Securitization does, equal or exceed ten percent (10%) (but less than twenty percent
        (20%)) of the aggregate principal amount of all mortgage loans included or expected to
        be included, as applicable, in the Securitization, net operating income for the Property

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        and the Related Properties for the most recent Fiscal Year and interim period as required
        under Item 1112(b)(1) of Regulation AB (or, if the Loan is not treated as a non-recourse
        loan under Instruction 3 for Item 1101(k) of Regulation AB, selected financial data
        meeting the requirements and covering the time periods specified in Item 301 of
        Regulation S-K and Item 1112(b)(1) of Regulation AB), or

                (ii)    if Lender expects that the principal amount of the Loan together with any
        Related Loans as of the cut-off date for such Securitization may, or if the principal
        amount of the Loan together with any Related Loans as of the cut-off date for such
        Securitization and at any time during which the Loan and any Related Loans are included
        in a Securitization does, equal or exceed twenty percent (20%) of the aggregate principal
        amount of all mortgage loans included or expected to be included, as applicable, in the
        Securitization, the financial statements required under Item 1112(b)(2) of Regulation AB
        (which includes, but may not be limited to, a balance sheet with respect to the entity that
        Lender determines to be a Significant Obligor for the two most recent Fiscal Years and
        applicable interim periods, meeting the requirements of Rule 3-01 of Regulation S-X, and
        statements of income and statements of cash flows with respect to the Property for the
        three most recent Fiscal Years and applicable interim periods, meeting the requirements
        of Rule 3-02 of Regulation S-X (or if Lender determines that the Property is the
        Significant Obligor and the Property (other than properties that are hotels, nursing homes,
        or other properties that would be deemed to constitute a business and not real estate under
        Regulation S-X or other legal requirements) was acquired from an unaffiliated third party
        and the other conditions set forth in Rule 3-14 of Regulation S-X have been met, the
        financial statements required by Rule 3-14 of Regulation S-X)).

        (d)     If Lender determines that Borrower alone or Borrower and one or more Affiliates
of Borrower collectively, or the Property alone or the Property and Related Properties
collectively, are a Significant Obligor, then Borrower shall furnish to Lender, on an ongoing
basis, selected financial data or financial statements meeting the requirements of Item 1112(b)(1)
or (2) of Regulation AB, as specified by Lender, but only for so long as such entity or entities are
a Significant Obligor and either (x) filing pursuant to the Exchange Act in connection with or
relating to the Securitization (an “Exchange Act Filing”) are required to be made under
applicable Legal Requirements or (y) comparable information is required to otherwise be
“available” to holders of the Securities under Regulation AB or applicable Legal Requirements.

        (e)     If requested by Lender, Borrower shall furnish to Lender financial data and/or
financial statements for any tenant of the Property if, in connection with a Securitization, Lender
expects there to be, with respect to such tenant or group of Affiliated tenants, a concentration
within all of the mortgage loans included or expected to be included, as applicable, in the
Securitization such that such tenant or group of Affiliated tenants would constitute a Significant
Obligor.

        (f)    The financial data and statements provided by Borrower under this Section 9.1
shall be furnished to Lender (A) with respect to information requested in connection with the
preparation of Disclosure Documents for a Securitization, within ten (10) Business Days after
notice from Lender, and (B) with respect to ongoing information required under Section 9.1(d)


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and (e) above, not later than thirty (30) days after the end of each fiscal quarter of Borrower and
(B) not later than seventy-five (75) days after the end of each fiscal year of Borrower.

        (g)     All financial data and statements provided by Borrower under Sections 9.1(c), (d),
(e) and (f) shall be prepared in accordance with GAAP, and shall meet the requirements of
Regulation AB and other applicable legal requirements. All financial statements referred to in
such Sections shall be audited by independent accountants of Borrower acceptable to Lender (it
being acknowledged and agreed that Berdon LLP is acceptable to Lender) in accordance with
Regulation AB and all other applicable legal requirements, shall be accompanied by the
manually executed report of the independent accountants thereon, which report shall meet the
requirements of Regulation AB and all other applicable legal requirements, and shall be further
accompanied by a manually executed written consent of the independent accountants, in form
and substance acceptable to Lender, to the inclusion of such financial statements in any
Disclosure Document and any Exchange Act Filing and to the use of the name of such
independent accountants and the reference to such independent accountants as “experts” in any
Disclosure Document and Exchange Act Filing, all of which shall be provided at the same time
as the related financial statements are required to be provided. All financial data and statements
(audited or unaudited) provided by Borrower under this Section shall be accompanied by an
Officer’s Certificate, which certification shall state that such financial statements meet the
requirements set forth in the first sentence of this subsection (g).

       (h)    If requested by Lender, Borrower shall provide Lender, promptly upon request,
with any other or additional financial statements, or financial, statistical or operating
information, as Lender shall determine to be required pursuant to Regulation AB or any
amendment, modification or replacement thereto or other legal requirements in connection with
any Disclosure Document or any Exchange Act Filing or as shall otherwise be reasonably
requested by Lender.

       (i)     In the event Lender determines, in connection with a Securitization, that the
financial data and financial statements required in order to comply with Regulation AB or any
amendment, modification or replacement thereto or other legal requirements are other than as
provided herein, then notwithstanding the provisions of this Section, Lender may request, and
Borrower shall promptly provide, such other financial data and financial statements as Lender
determines to be necessary or appropriate for such compliance.

        (j)     All costs and expenses incurred by Borrower, Guarantor, Manager and their
respective Affiliates in connection with this Section 9.1 (including, without limitation, the fees
and expenses of the Rating Agencies) shall be paid by Borrower; provided that such costs and
expenses shall not exceed $10,000 (and Lender shall reimburse Borrower for all reasonable third
party costs and expenses incurred by Borrower, Guarantor, Manager and their respective
Affiliates in connection with Borrower’s compliance with this Section 9.1 (including, without
limitation, the fees and expenses of the Rating Agencies) in excess of $10,000).

        Section 9.2   Disclosure and Indemnification.

       (a)    Borrower (on its own behalf and on behalf of each other Borrower Party)
understands that information provided to Lender by Borrower, any other Borrower Party and/or


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their respective agents, counsel and representatives may be (i) included in (A) the Disclosure
Documents and (B) filings under the Securities Act and/or the Exchange Act and (ii) made
available to Investors, the NRSROs, investment banking firms, accounting firms, law firms and
other third-party advisory and service providers, in each case, in connection with any Secondary
Market Transaction. Borrower also understands that the findings and conclusions of any third-
party due diligence report obtained by the Lender, the Issuer or the Securitization placement
agent or underwriter may be made publicly available if required, and in the manner prescribed,
by Section 15E(s)(4)(A) of the Exchange Act and any rules promulgated thereunder.

        (b)     Borrower agrees to indemnify Lender, the Lender Group and the Underwriter
Group against any losses, claims, damages or liabilities (collectively, the “Liabilities”) to which
Lender, the Lender Group or the Underwriter Group may become subject in connection with (x)
any Disclosure Document and/or any Covered Rating Agency Information, in each case, insofar
as such Liabilities arise out of or are based upon any untrue statement of any material fact in the
Provided Information and/or arise out of or are based upon the omission to state a material fact in
the Provided Information required to be stated therein or necessary in order to make the
statements in the applicable Disclosure Document and/or Covered Rating Agency Information,
in light of the circumstances under which they were made, not misleading and (y) after a
Securitization, any indemnity obligations incurred by Lender or Servicer in connection with any
Rating Agency Confirmation.

        (c)     If requested by Lender, Borrower shall provide in connection with each of (i) a
preliminary and a final private placement memorandum or (ii) a preliminary and final prospectus
or prospectus supplement, as applicable, an agreement (A) certifying that Borrower has
examined such Disclosure Documents specified by Lender and that each such Disclosure
Document, as it relates to Borrower, Borrower Affiliates, the Property, Manager, Guarantor and
all other aspects of the Loan, does not contain any untrue statement of a material fact or omit to
state a material fact necessary in order to make the statements made, in the light of the
circumstances under which they were made, not misleading, (B) indemnifying Lender, the
Lender Group and the Underwriter Group for any Liabilities to which Lender, the Lender Group
or the Underwriter Group may become subject insofar as the Liabilities arise out of or are based
upon any untrue statement or alleged untrue statement of any material fact contained in such
sections or arise out of or are based upon the omission or alleged omission to state therein a
material fact required to be stated in such sections or necessary in order to make the statements
in such sections, in light of the circumstances under which they were made, not misleading and
(C) agreeing to reimburse Lender, the Lender Group and/or the Underwriter Group for any legal
or other expenses reasonably incurred by Lender, the Lender Group and the Underwriter Group
in connection with investigating or defending the Liabilities; provided, however, that Borrower
will be liable in any such case under clauses (B) or (C) above only to the extent that any such
loss claim, damage or liability arises out of or is based upon any such untrue statement or
omission made therein in reliance upon and in conformity with information furnished to Lender
by or on behalf of Borrower in connection with the preparation of the Disclosure Document or in
connection with the underwriting or closing of the Loan, including, without limitation, financial
statements of Borrower, operating statements and rent rolls with respect to the Property. The
indemnification provided for in clauses (B) and (C) above shall be effective whether or not the
indemnification agreement described above is provided. The aforesaid indemnity will be in
addition to any liability which Borrower may otherwise have.

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        (d)     In connection with filings under Exchange Act and/or the Securities Act,
Borrower shall (i) indemnify Lender, the Lender Group and the Underwriter Group for
Liabilities to which Lender, the Lender Group or the Underwriter Group may become subject
insofar as the Liabilities arise out of or are based upon the omission or alleged omission to state
in the Disclosure Document a material fact required to be stated in the Disclosure Document in
order to make the statements in the Disclosure Document, in light of the circumstances under
which they were made, not misleading and (ii) reimburse Lender, the Lender Group or the
Underwriter Group for any legal or other expenses reasonably incurred by Lender, the Lender
Group or the Underwriter Group in connection with defending or investigating the Liabilities.

        (e)      Promptly after receipt by an indemnified party under this Section 9.2 of notice of
the commencement of any action, such indemnified party will, if a claim in respect thereof is to
be made against the indemnifying party under this Section 9.2, notify the indemnifying party in
writing of the commencement thereof (but the omission to so notify the indemnifying party will
not relieve the indemnifying party from any liability which the indemnifying party may have to
any indemnified party hereunder except to the extent that failure to notify causes prejudice to the
indemnifying party). In the event that any action is brought against any indemnified party, and it
notifies the indemnifying party of the commencement thereof, the indemnifying party will be
entitled, jointly with any other indemnifying party, to participate therein and, to the extent that it
(or they) may elect by written notice delivered to the indemnified party promptly after receiving
the aforesaid notice from such indemnified party, to assume the defense thereof with counsel
satisfactory to such indemnified party. After notice from the indemnifying party to such
indemnified party under this Section 9.2, such indemnifying party shall pay for any legal or other
expenses subsequently incurred by such indemnifying party in connection with the defense
thereof; provided, however, if the defendants in any such action include both the indemnified
party and the indemnifying party and the indemnified party shall have reasonably concluded that
there are any legal defenses available to it and/or other indemnified parties that are different from
or additional to those available to the indemnifying party, the indemnified party or parties shall
have the right to select separate counsel to assert such legal defenses and to otherwise participate
in the defense of such action on behalf of such indemnified party at the cost of the indemnifying
party.

        (f)    The liabilities and obligations of both Borrower and Lender under this Section 9.2
shall survive the termination of this Agreement and the satisfaction and discharge of the Debt.
Failure by Borrower and/or any Borrower Party to comply with the provisions of Section 9.1
and/or Section 9.2 within the timeframes specified therein and/or as otherwise required by
Lender shall, at Lender’s option, constitute a breach of the terms thereof and/or an Event of
Default. Borrower (on its own behalf and on behalf of each Borrower Party) hereby expressly
authorizes and appoints Lender its attorney-in-fact to take any actions required of any Borrower
Party under Sections 9.1, 9.2 and/or 9.5 in the event any Borrower Party fails to do the same,
which power of attorney shall be irrevocable and shall be deemed to be coupled with an interest.
Notwithstanding anything to the contrary contained herein, (i) except as otherwise expressly
provided to the contrary in this Article 9, each Borrower Party shall bear its own cost of
compliance with this Article (including, without limitation, the costs of any ongoing financial
reporting or similar provisions contained herein) and (ii) to the extent that the timeframes for
compliance with such ongoing financial reporting and similar provisions are shorter than the


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timeframes allowed for comparable reporting obligations under Section 4.12 hereof (if any), the
timeframes under this Article 9 shall control.

         Section 9.3 Reserves/Escrows. In the event that Securities are issued in connection
with the Loan, all funds held by Lender in escrow or pursuant to reserves in accordance with this
Agreement and the other Loan Documents shall be deposited in “eligible accounts” at “eligible
institutions” and, to the extent applicable, invested in “permitted investments” as then defined
and required by the Rating Agencies.

        Section 9.4   Servicer.

        (a)     At the option of Lender, the Loan may be serviced by a master servicer, primary
servicer, special servicer and/or trustee (any such master servicer, primary servicer, special
servicer and trustee, together with its agents, designees or nominees, collectively, “Servicer”)
selected by Lender and Lender may delegate all or any portion of its responsibilities under the
Loan Documents to the Servicer pursuant to a pooling and servicing agreement, servicing
agreement, special servicing agreement and/or other agreement providing for the servicing of
one or more mortgage loans (collectively, the “Servicing Agreement”) between Lender and
Servicer. Borrower shall be responsible for set-up fees of $1,500.00 and Borrower shall not be
responsible for payment of scheduled monthly servicing fees due to Servicer under the Servicing
Agreement. In addition, Borrower shall pay (i) any fees and expenses of Servicer (including,
without limitation, attorneys’ fees and disbursements) in connection with any release of the
Property or a portion thereof, any prepayment, defeasance, transfer, assumption, amendment or
modification of the Loan, any documents or other matters requested by Borrower or any
Guarantor, any special servicing or workout of the Loan or enforcement of the Loan Documents,
including, without limitation, any advances made by Servicer and interest on such advances, any
liquidation fees in connection with the exercise of any or all remedies permitted under this
Agreement and (ii) the costs of all property inspections and/or appraisals of the Property (or any
updates to any existing inspection or appraisal) that a Servicer may be required to obtain (other
than the cost of regular annual inspections required to be borne by Servicer under the Servicing
Agreement); provided, however, that Borrower shall not be responsible for payment of any fees
or expenses required to be borne by, and not reimbursable to, Servicer. Without limiting the
generality of the foregoing, Servicer shall be entitled to reimbursement of costs and expenses as
and to the same extent (but without duplication) as Lender is entitled thereto pursuant to the
terms of the Loan Documents.

        (b)   Upon notice thereof from Lender, Servicer shall have the right to exercise all
rights of Lender and enforce all obligations of Borrower and any Guarantor under the Loan
Documents.

       (c)     Provided Borrower shall have received notice from Lender of Servicer’s address,
Borrower shall deliver, and cause to be delivered, to Servicer duplicate originals of all notices
and other documents and instruments which Borrower and/or any Guarantor deliver to Lender
pursuant to the Loan Documents. No delivery of any such notices or other documents shall be of
any force or effect unless delivered to Lender and Servicer as provided in this Section 9.4(c).

        Section 9.5   Intentionally Omitted.


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        Section 9.6 REMIC Savings Clause. Notwithstanding anything herein to the
contrary, if the Loan is included in a REMIC Trust and, immediately following a release of any
portion of the real property relating to the Property, the ratio of the unpaid principal balance of
the Loan to the value of the remaining real property relating to the Property is greater than 125%
(such value to be determined, in Lender’s sole discretion, by any commercially reasonable
method permitted to a REMIC Trust and it being agreed and acknowledged that such loan-to-
value determination shall be based on the value of only real property and shall exclude any
personal property or going-concern value, if any), the principal balance of the Loan must be paid
down by Borrower by an amount sufficient to satisfy REMIC Requirements, unless the Lender
receives an opinion of counsel acceptable to Lender that the Loan will not fail to maintain its
status as a “qualified mortgage” within the meaning of Section 860G(a)(3)(A) of the IRS Code
as a result of the related release of lien.

        Section 9.7    Syndication; Registered Form.

         (a)    Borrower acknowledges that Lender and any Co-Lender may, at their option and
without the consent of Borrower, sell with novation all or any part of their right, title and interest
in and to the Loan (the “Syndication”) to one or more additional lenders (each a “Co-Lender”).
In connection therewith, Borrower will take all actions as Lender and any such Co-Lender may
request to assist Lender and /or such Co-Lender in consummating any such Syndication
including, without limitation: (i) facilitating the review of the Loan and the Property by any
prospective Co-Lender; (ii) assisting and cooperating with Lender in the preparation of
information offering materials in connection with any such Syndication (which assistance may
include reviewing and commenting on drafts of such materials and drafting portions thereof);
(iii) delivering updated financial information, operating statements and other information with
respect to Borrower and the Property (including, without limitation, appraisals); (iv) making
representatives of Borrower available at reasonable times and upon reasonable notice to meet
with prospective Co-Lenders (for tours of the Property or otherwise); (v) facilitating direct
contact between the senior management and advisors of Borrower and any prospective Co-
Lender; (vi) providing Lender with all information reasonably deemed necessary by Lender to
complete any such Syndication; and (vii) executing such modifications to the Loan Documents
as may be required by Lender or any Co- Lender in connection with any such Syndication
(provided that such modifications will not, change in the aggregate any economic terms or other
material terms of the Loan Documents, or otherwise materially increase the obligations or
materially decrease the rights of Borrower from those contemplated in the Loan Documents.
The liabilities of Lender and each of the Co-Lenders shall be several and not joint, and neither
Lender nor any Co-Lender shall be responsible for the obligations of any other Co-Lender.
Lender and each Co-Lender shall be liable to Borrower only for their respective proportionate
shares of the Loan. Borrower acknowledges and agrees, with respect to any co-lending
agreement (or similar agreement) among the Co-Lenders, that (A) any such agreement shall be
solely for the benefit of the Co-Lenders, and that Borrower shall not be a third-party beneficiary
(intended or otherwise) of any of the provisions therein, shall not have any rights thereunder, and
shall not be entitled to rely on any of the provisions contained therein, (B) Borrower’s
obligations under the Loan Documents are and will be independent of any such agreement and
shall remain unmodified by the terms and provisions thereof, (C) any such agreement may
contain provisions which require that amendments, waivers, extensions, modifications, and other
decisions with respect to the Loan Documents shall require the approval of all or a number of the

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Co-Lenders holding in the aggregate a specified percentage of the Loan or any one or more Co-
Lenders that are specifically affected by such amendment, waiver, extension, modification or
other decision, and (D) the Co-Lenders shall have no obligation to disclose to Borrower the
contents of any such agreement. All costs incurred in connection with any Syndication shall be
paid by Borrower.

        (b)    At the request of Lender, Borrower shall appoint, as its agent, a registrar and
transfer agent (the “Registrar”) acceptable to Lender which shall maintain, subject to such
reasonable regulations as it shall provide, a register (the “Register”) for the recordation of the
names and addresses of Lender and any other lender or Co-Lender, and the principal amounts
(and stated interest) under the Loan Documents owing to Lender and each other lender or Co-
Lender pursuant to the terms of the Loan Documents from time to time, in a manner that shall
cause the Loan to be considered to be in registered form for purposes of Sections 163(f),
871(h)(2) and 881(c)(2) of the IRS Code. The entries in the Register shall be conclusive absent
manifest error, and Borrower, Lender and other lenders and Co-Lenders shall treat each person
whose name is recorded in the Register pursuant to the terms hereof as a lender hereunder for all
purposes of this Agreement. The Register shall be available for inspection by Borrower, Lender
and any other lender of Co-Lender, at any reasonable time and from time to time upon
reasonable prior notice. Any agreement setting out the rights and obligation of the Registrar
shall be subject to the reasonable approval of Lender. Borrower may revoke the appointment of
any particular person as Registrar, effective upon the effectiveness of the appointment of a
replacement Registrar. The Registrar shall not be entitled to any fee from Borrower or Lender or
any other lender in respect of transfers of the Note and other Loan Documents. If the Registrar
has not been appointed to maintain the Register, the transfer of the Note may be effected only by
surrender of the Note and the reissuance by Borrower of the Note to the transferee.

        (c)     All costs and expenses incurred by Borrower, Guarantor, Manager and their
respective Affiliates in connection with this Section 9.7 (including, without limitation, the fees
and expenses of the Rating Agencies) shall be paid by Borrower; provided that such costs and
expenses shall not exceed $10,000 (and Lender shall reimburse Borrower for all reasonable third
party costs and expenses incurred by Borrower, Guarantor, Manager and their respective
Affiliates in connection with Borrower’s compliance with this Section 9.7 (including, without
limitation, the fees and expenses of the Rating Agencies) in excess of $10,000).

                                         ARTICLE 10

                            EVENTS OF DEFAULT; REMEDIES

        Section 10.1 Event of Default.

      The occurrence of any one or more of the following events shall constitute an “Event of
Default”:

        (a)   if (i) any monthly Debt Service payment or the payment due on the Maturity Date
is not paid when due, (ii) any deposit to any of the Accounts required hereunder or under the
other Loan Documents is not paid when due or (iii) any other portion of the Debt is not paid



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when due and (in the case of this clause (iii)) such non-payment continues for five (5) days
following notice to Borrower that the same is due and payable;

       (b)      if any of the Taxes or Other Charges are not paid prior to delinquency, except to
the extent (i) sums sufficient to pay the Taxes or Other Charges in question had been reserved
hereunder prior to the applicable due date for the Taxes or Other Charges in question for the
express purpose of paying the Taxes or Other Charges in question and Lender failed to pay the
Taxes or Other Charges in question when required hereunder, (ii) Lender’s access to such sums
was not restricted or constrained in any manner and (iii) no Event of Default was continuing;

        (c)    if (i) the Policies are not kept in full force and effect, except to the extent (A) the
failure to maintain such Policies resulted solely from failure to pay the applicable Insurance
Premiums therefor, (B) sums sufficient to pay such Insurance Premiums had been reserved
hereunder prior to the applicable due date for the express purpose of paying such Insurance
Premiums and Lender failed to pay the same when required hereunder, (C) Lender’s access to
such sums was not restricted or constrained in any manner and (D) no Event of Default was
continuing, or (ii) evidence of the Policies being in full force and effect is not delivered to
Lender as and when required in Section 5.1 hereof and either (A) such failure continues for two
(2) Business Days following written notice thereof to Borrower or (B) such failure continues
beyond the date that is two (2) Business Days prior to the scheduled expiration date of such
Policies;

        (d)    if (i) any of the representations or covenants contained in Sections 3.24 or 4.23
hereof are breached or violated (provided, however, that, with respect to breaches or violations
of any such covenants, as distinguished from representations or warranties, under the Loan
Documents, such breach or violation shall not result in an Event of Default hereunder if (A) such
breach or violation was inadvertent, non-recurring and immaterial and (B) within twenty (20)
days of the earlier to occur of notice from Lender or Borrower’s knowledge of such breach or
violation thereof, Borrower (x) cures such breach or violation, (y) provides Lender with written
evidence of such cure and (z) if requested by Lender, delivers to Lender a New Non-
Consolidation Opinion relating to such breach or violation), or (ii) any of the representations or
covenants contained in Sections 3.32, 4.25 or Article 6 hereof or in the Property Document
Provisions are breached or violated;

       (e)     if any representation or warranty made herein, in the Guaranty or in the
Environmental Indemnity or in any other guaranty, or in any certificate, report, financial
statement or other instrument or document furnished to Lender in connection with the Loan shall
have been false or misleading in any material adverse respect when made;

       (f)    if (i) Borrower, any SPE Component Entity, any Affiliated Manager or Guarantor
shall commence any case, proceeding or other action (A) under any Creditors Rights Laws
seeking to have an order for relief entered with respect to it, or seeking to adjudicate it a
bankrupt or insolvent, or seeking reorganization, liquidation or dissolution, or (B) seeking
appointment of a receiver, trustee, custodian, conservator or other similar official for it or for all
or any substantial part of its assets, or Borrower or any managing member or general partner of
Borrower, any SPE Component Entity, any Affiliated Manager or Guarantor shall make a
general assignment for the benefit of its creditors; (ii) there shall be commenced against

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Borrower or any managing member or general partner of Borrower, any SPE Component Entity,
any Affiliated Manager or Guarantor any case, proceeding or other action of a nature referred to
in clause (i) above (other than any case, action or proceeding already constituting an Event of
Default by operation of the other provisions of this subsection) which (A) results in the entry of
an order for relief or any such adjudication or appointment or (B) remains undismissed,
undischarged or unbonded for a period of ninety (90) days; (iii) there shall be commenced
against Borrower, any SPE Component Entity, any Affiliated Manager or Guarantor any case,
proceeding or other action seeking issuance of a warrant of attachment, execution, distraint or
similar process against all or any substantial part of its assets (other than any case, action or
proceeding already constituting an Event of Default by operation of the other provisions of this
subsection) which results in the entry of any order for any such relief which shall not have been
vacated, discharged, or stayed or bonded pending appeal within sixty (60) days from the entry
thereof; (iv) Borrower, any SPE Component Entity, any Affiliated Manager or Guarantor shall
take any action in furtherance of, in collusion with respect to, or indicating its consent to,
approval of, or acquiescence in, any of the acts set forth in clause (i), (ii), or (iii) above; (v)
Borrower, any SPE Component Entity, any Affiliated Manager or Guarantor shall generally not,
or shall be unable to, or shall admit in writing its inability to, pay its debts as they become due;
(vi) any of Borrower, any SPE Component Entity, any Affiliated Manager or Guarantor is
substantively consolidated with any other entity in connection with any proceeding under the
Bankruptcy Code or any other Creditors Rights Laws involving Guarantor or its subsidiaries; or
(vii) a Bankruptcy Event occurs;

        (g)     if Borrower shall be in default beyond applicable notice and grace periods under
any other mortgage, deed of trust, deed to secure debt or other security agreement covering any
part of the Property whether it be superior or junior in lien to the Security Instrument;

        (h)     if the Property becomes subject to any mechanic’s, materialman’s or other lien
other than a lien for any Taxes not then due and payable and the lien shall remain undischarged
of record (by payment, bonding or otherwise) for a period of forty-five (45) days;

       (i)     if any federal tax lien is filed against Borrower, any SPE Component Entity,
Guarantor or the Property and same is not discharged of record (by payment, bonding or
otherwise) within forty-five (45) days after same is filed;

        (j)     if Borrower shall fail to deliver to Lender any financial reporting item required by
this Agreement (including without limitation any of the items required by Section 4.12 hereof),
on the date the same is due, and such failure continues for ten (10) Business Days after written
notice thereof from Lender;

       (k)    if Borrower shall fail to comply with any of its obligations under Section 4.15
hereof and such failure continues for ten (10) days after written notice thereof from Lender;

       (l)     if any default occurs under any guaranty or indemnity executed in connection
herewith (including, without limitation, the Environmental Indemnity and/or the Guaranty) and
such default continues after the expiration of applicable grace periods, if any;




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        (m)     if any of the assumptions contained in any Non-Consolidation Opinion, or in any
New Non-Consolidation Opinion (including, without limitation, in any schedules thereto and/or
certificates delivered in connection therewith) are untrue or shall become untrue in any material
respect;

        (n)     if Borrower defaults under the Management Agreement beyond the expiration of
applicable notice and grace periods, if any, thereunder or if the Management Agreement is
canceled, terminated or surrendered, expires pursuant to its terms or otherwise ceased to be in
full force and effect, unless, in each such case, Borrower, contemporaneously with such
cancellation, termination, surrender, expiration or cessation, enters into a Qualified Management
Agreement with a Qualified Manager in accordance with the applicable terms and provisions
hereof;

       (o)      if Borrower fails to appoint a replacement Manager upon the request of Lender
and/or fails to comply with any limitations on instructing the Manager, each as required by and
in accordance with, as applicable, the terms and provisions of, this Agreement, the Assignment
of Management Agreement and the Security Instrument;

       (p)       if any representation and/or covenant herein relating to ERISA matters is
breached;

        (q)    if (i) any Interest Rate Cap Agreement is terminated for any reason by Borrower
or Counterparty or (ii) Borrower shall fail to observe, perform or discharge any of Borrower’s
obligations, covenants, conditions or agreements under the Interest Rate Cap Agreement and
otherwise comply with the covenants set forth in Section 2.8 hereof;

        (r)      intentionally omitted;

        (s)      if the Operating Condition is not satisfied on or prior to the Completion Date;

        (t)    if (A) Borrower shall fail (beyond any applicable notice or grace period) to pay
any rent, additional rent or other charges payable under any Property Document as and when
payable thereunder, (B) Borrower defaults under the Property Documents beyond the expiration
of applicable notice and grace periods, if any, thereunder, (C) any of the Property Documents are
amended, supplemented, replaced, restated or otherwise modified without Lender’s prior written
consent or if Borrower consents to a transfer of any party’s interest thereunder without Lender’s
prior written consent, (D) any Property Document and/or the estate created thereunder is
canceled, rejected, terminated, surrendered or expires pursuant to its terms, unless in such case
Borrower enters into a replacement thereof in accordance with the applicable terms and
provisions hereof or (E) a Property Document Event occurs;

        (u)     with respect to any default or breach of any term, covenant or condition of this
Agreement not specified in subsections (a) through (t) above or not otherwise expressly specified
as an Event of Default in this Agreement, if the same is not cured (i) within fifteen (15) days
after notice from Lender (in the case of any default which can be cured by the payment of a sum
of money) or (ii) for thirty (30) days after notice from Lender (in the case of any other default or
breach); provided, that, with respect to any default or breach specified in subsection (ii), if the
same cannot reasonably be cured within such thirty (30) day period and Borrower shall have

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commenced to cure the same within such thirty (30) day period and thereafter diligently and
expeditiously proceeds to cure the same, such thirty (30) day period shall be extended for so long
as it shall require Borrower in the exercise of due diligence to cure the same, it being agreed that
no such extension shall be for a period in excess of ninety (90) days; or

       (v)     if any default shall exist under any of the other Loan Documents beyond any
applicable cure periods contained in such Loan Documents or if any other such event shall occur
or condition shall exist, if the effect of such event or condition is to accelerate the maturity of
any portion of the Debt or to permit Lender to accelerate the maturity of all or any portion of the
Debt.

        Section 10.2 Remedies.

       (a)     Upon the occurrence and during the continuance of an Event of Default (other
than an Event of Default described in Section 10.1(f) above with respect to Borrower or any SPE
Component Entity) and at any time thereafter Lender may, in addition to any other rights or
remedies available to it pursuant to this Agreement, the Security Instrument, the Note and the
other Loan Documents or at law or in equity, take such action, without notice or demand, that
Lender deems advisable to protect and enforce its rights against Borrower and in the Property,
including, without limitation, declaring the Debt to be immediately due and payable, and Lender
may enforce or avail itself of any or all rights or remedies provided in this Agreement, the
Security Instrument, the Note and the other Loan Documents against Borrower and the Property,
including, without limitation, all rights or remedies available at law or in equity. Upon any
Event of Default described in Section 10.1(f) above with respect to Borrower or any SPE
Component Entity, the Debt and all other obligations of Borrower under this Agreement, the
Security Instrument, the Note and the other Loan Documents shall immediately and
automatically become due and payable, without notice or demand, and Borrower hereby
expressly waives any such notice or demand, anything contained herein or in the Security
Instrument, the Note and the other Loan Documents to the contrary notwithstanding.

        (b)    Upon the occurrence and during the continuance of an Event of Default, all or any
one or more of the rights, powers, privileges and other remedies available to Lender against
Borrower under this Agreement, the Security Instrument, the Note or the other Loan Documents
executed and delivered by, or applicable to, Borrower or at law or in equity may be exercised by
Lender at any time and from time to time, whether or not all or any of the Debt shall be declared
due and payable, and whether or not Lender shall have commenced any foreclosure proceeding
or other action for the enforcement of its rights and remedies under this Agreement, the Security
Instrument, the Note or the other Loan Documents with respect to the Property. Any such
actions taken by Lender shall be cumulative and concurrent and may be pursued independently,
singularly, successively, together or otherwise, at such time and in such order as Lender may
determine in its sole discretion, to the fullest extent permitted by applicable law, without
impairing or otherwise affecting the other rights and remedies of Lender permitted by applicable
law, equity or contract or as set forth herein or in the Security Instrument, the Note or the other
Loan Documents. No delay or omission to exercise any remedy, right or power accruing upon
an Event of Default shall impair any such remedy, right or power or shall be construed as a
waiver thereof, but any such remedy, right or power may be exercised from time to time and as
often as may be deemed expedient. A waiver of one Default or Event of Default with respect to

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Borrower shall not be construed to be a waiver of any subsequent Default or Event of Default by
Borrower or to impair any remedy, right or power consequent thereon.

        (c)    Upon the occurrence and during the continuance of an Event of Default, Lender
shall have the right from time to time to partially foreclose the Security Instrument in any
manner and for any amounts secured by the Security Instrument then due and payable as
determined by Lender in its sole discretion including, without limitation, the following
circumstances: (i) in the event Borrower defaults beyond any applicable grace period in the
payment of one or more scheduled payments of principal and interest, Lender may foreclose the
Security Instrument to recover such delinquent payments, or (ii) in the event Lender elects to
accelerate less than the entire outstanding principal balance of the Loan, Lender may foreclose
the Security Instrument to recover so much of the principal balance of the Loan as Lender may
accelerate and such other sums secured by the Security Instrument as Lender may elect.
Notwithstanding one or more partial foreclosures, the Property shall remain subject to the
Security Instrument to secure payment of sums secured by the Security Instrument and not
previously recovered. Notwithstanding anything to the contrary contained herein, if the
indebtedness evidenced by the Note and secured by the Security Instrument has been split or
severed into multiple notes or components after the date hereof, Lender will not partially
foreclose the Security Instrument with respect to any single indebtedness evidenced by any
individual note or component separate and apart from the entire indebtedness secured by this
Security Instrument (for the avoidance of doubt, except as expressly set forth in this clause, in no
event shall the foregoing be construed to limit Lender’s rights and remedies under applicable
law to conduct one or more sales or to institute proceedings in order to realize on any collateral
for the Loan).

        (d)     Upon the occurrence and during the continuance of an Event of Default, Lender
shall have the right from time to time to sever the Note and the other Loan Documents into one
or more separate notes, security instruments and other security documents (the “Severed Loan
Documents”) in such denominations as Lender shall determine in its sole discretion for purposes
of evidencing and enforcing its rights and remedies provided hereunder. Borrower shall execute
and deliver to Lender from time to time, promptly after the request of Lender, a severance
agreement and such other documents as Lender shall request in order to effect the severance
described in the preceding sentence, all in form and substance reasonably satisfactory to Lender.
Borrower hereby absolutely and irrevocably appoints Lender as its true and lawful attorney,
coupled with an interest, in its name and stead to make and execute all documents necessary or
desirable to effect the aforesaid severance, Borrower ratifying all that its said attorney shall do by
virtue thereof; provided, however, Lender shall not make or execute any such documents under
such power until ten (10) days after notice has been given to Borrower by Lender of Lender’s
intent to exercise its rights under such power. Borrower shall not be obligated to pay any costs
or expenses incurred in connection with the preparation, execution, recording or filing of the
Severed Loan Documents and the Severed Loan Documents shall not contain any
representations, warranties or covenants not contained in the Loan Documents and any such
representations and warranties contained in the Severed Loan Documents will be given by
Borrower only as of the Closing Date.

     (e)     Notwithstanding anything to the contrary contained herein or in any other Loan
Document, any amounts recovered from the Property or any other collateral for the Loan and/or

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paid to or received by Lender may, after an Event of Default, be applied by Lender toward the
Debt in such order, priority and proportions as Lender in its sole discretion shall determine.

        (f)    Lender may, but without any obligation to do so and without notice to or demand
on Borrower and without releasing Borrower from any obligation hereunder or being deemed to
have cured any Event of Default hereunder, make, do or perform any obligation of Borrower
hereunder in such manner and to such extent as Lender may deem necessary. Lender is
authorized to enter upon the Property for such purposes, or appear in, defend, or bring any action
or proceeding to protect its interest in the Property for such purposes, and the cost and expense
thereof (including reasonable attorneys’ fees to the extent permitted by applicable law), with
interest as provided in this Section, shall constitute a portion of the Debt and shall be due and
payable to Lender upon demand. All such costs and expenses incurred by Lender in remedying
such Event of Default or such failed payment or act or in appearing in, defending, or bringing
any action or proceeding shall bear interest at the Default Rate, for the period after such cost or
expense was incurred until the date of payment to Lender. All such costs and expenses incurred
by Lender together with interest thereon calculated at the Default Rate shall be deemed to
constitute a portion of the Debt and be secured by the liens, claims and security interests
provided to Lender under the Loan Documents and shall be immediately due and payable upon
demand by Lender therefore.

                                          ARTICLE 11

                                     INDEMNIFICATIONS

        Section 11.1 General Indemnification. Borrower shall, at its sole cost and expense,
protect, defend, indemnify, release and hold harmless the Indemnified Parties from and against
any and all Losses imposed upon or incurred by or asserted against any Indemnified Parties and
directly or indirectly arising out of or in any way relating to any one or more of the following:
(a) any accident, injury to or death of persons or loss of or damage to property occurring in, on or
about the Property or any part thereof or on the adjoining sidewalks, curbs, adjacent property or
adjacent parking areas, streets or ways; (b) any use, nonuse or condition in, on or about the
Property or any part thereof or on the adjoining sidewalks, curbs, adjacent property or adjacent
parking areas, streets or ways; (c) performance of any labor or services or the furnishing of any
materials or other property in respect of the Property or any part thereof; (d) any failure of the
Property to be in compliance with any applicable Legal Requirements; (e) any and all claims and
demands whatsoever which may be asserted against Lender by reason of any alleged obligations
or undertakings on its part to perform or discharge any of the terms, covenants, or agreements
contained in any Lease, management agreement or any Property Document; (f) the payment of
any commission, charge or brokerage fee to anyone (other than a broker or other agent retained
by Lender) which may be payable in connection with the funding of the Loan evidenced by the
Note and secured by the Security Instrument; and/or (g) the holding or investing of the funds on
deposit in the Accounts or the performance of any work or the disbursement of funds in each
case in connection with the Accounts. Any amounts payable to Lender by reason of the
application of this Section 11.1 shall become immediately due and payable and shall bear interest
at the Default Rate from the date loss or damage is sustained by Lender until paid.



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        Section 11.2 Mortgage and Intangible Tax Indemnification. Borrower shall, at its
sole cost and expense, protect, defend, indemnify, release and hold harmless the Indemnified
Parties from and against any and all Losses imposed upon or incurred by or asserted against any
Indemnified Parties and directly or indirectly arising out of or in any way relating to any tax on
the making and/or recording of the Security Instrument, the Note or any of the other Loan
Documents.

        Section 11.3 ERISA Indemnification. Borrower shall, at its sole cost and expense,
protect, defend, indemnify, release and hold harmless the Indemnified Parties from and against
any and all Losses (including, without limitation, reasonable attorneys’ fees and costs incurred in
the investigation, defense, and settlement of Losses incurred in correcting any prohibited
transaction or in the sale of a prohibited loan, and in obtaining any individual prohibited
transaction exemption under ERISA that may be required, in Lender’s sole discretion) that
Lender may incur, directly or indirectly, as a result of a default under Sections 3.15 or 4.22 of
this Agreement.

        Section 11.4 Duty to Defend, Legal Fees and Other Fees and Expenses. Upon
written request by any Indemnified Party, Borrower shall defend such Indemnified Party (if
requested by any Indemnified Party, in the name of the Indemnified Party) by attorneys and other
professionals approved by the Indemnified Parties. Notwithstanding the foregoing, any
Indemnified Parties may, in their sole discretion, engage their own attorneys and other
professionals to defend or assist them, and, at the option of Indemnified Parties, their attorneys
shall control the resolution of any claim or proceeding. Upon demand, Borrower shall pay or, in
the sole discretion of the Indemnified Parties, reimburse, the Indemnified Parties for the payment
of reasonable fees and disbursements of attorneys, engineers, environmental consultants,
laboratories and other professionals in connection therewith.

        Section 11.5 Survival. The obligations and liabilities of Borrower under this Article 11
shall fully survive indefinitely notwithstanding any termination, satisfaction, assignment, entry
of a judgment of foreclosure, exercise of any power of sale, or delivery of a deed in lieu of
foreclosure of the Security Instrument.

                                          ARTICLE 12

                                        EXCULPATION

        Section 12.1 Exculpation.

        (a)    Subject to the qualifications below, Lender shall not enforce the liability and
obligation of Borrower to perform and observe the obligations contained in the Note, this
Agreement, the Security Instrument or the other Loan Documents by any action or proceeding
wherein a money judgment shall be sought against Borrower or any principal, director, officer,
employee, beneficiary, shareholder, partner, member, trustee, agent, or Affiliate of Borrower or
any legal representatives, successors or assigns of any of the foregoing (collectively, the
“Exculpated Parties”), except that Lender may bring a foreclosure action, an action for specific
performance or any other appropriate action or proceeding to enable Lender to enforce and
realize upon its interest under the Note, this Agreement, the Security Instrument and the other


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Loan Documents, or in the Property, the Rents, or any other collateral given to Lender pursuant
to the Loan Documents; provided, however, that, except as specifically provided herein, any
judgment in any such action or proceeding shall be enforceable against Borrower only to the
extent of Borrower’s interest in the Property, in the Rents and in any other collateral given to
Lender, and Lender, by accepting the Note, this Agreement, the Security Instrument and the
other Loan Documents, agrees that it shall not sue for, seek or demand any deficiency judgment
against Borrower or any of the Exculpated Parties in any such action or proceeding under or by
reason of or under or in connection with the Note, this Agreement, the Security Instrument or the
other Loan Documents. The provisions of this Section shall not, however, (1) constitute a
waiver, release or impairment of any obligation evidenced or secured by any of the Loan
Documents; (2) impair the right of Lender to name Borrower as a party defendant in any action
or suit for foreclosure and sale under the Security Instrument; (3) affect the validity or
enforceability of any guaranty or indemnity made in connection with the Loan (including,
without limitation, indemnities set forth in Article 11 hereof, Section 9.2 hereof, in the Guaranty
and in the Environmental Indemnity) or any of the rights and remedies of Lender thereunder; (4)
impair the right of Lender to obtain the appointment of a receiver or to enforce its rights and
remedies provided in Articles 7 and 8 hereof; (5) impair the enforcement of any assignment of
leases contained in the Security Instrument; (6) constitute a prohibition against Lender to seek a
deficiency judgment against Borrower in order to fully realize the security granted by the
Security Instrument or to commence any other appropriate action or proceeding in order for
Lender to exercise its remedies against the Property; or (7) constitute a waiver of the right of
Lender to enforce the liability and obligation of Borrower, by money judgment or otherwise, to
the extent of any Loss incurred by Lender (including attorneys’ fees and expenses reasonably
incurred) arising out of or in connection with the following:

               (i)     fraud or material misrepresentation by any Borrower Party in connection
        with the Loan;

                 (ii)   the gross negligence or willful misconduct of any Borrower Party;

               (iii) any litigation or other legal proceeding related to the Debt filed by any
        Borrower Party or any other action of any Borrower Party that delays, opposes, impedes,
        obstructs, hinders, enjoins or otherwise interferes with or frustrates the efforts of Lender
        to exercise any rights and remedies available to Lender as provided herein and in the
        other Loan Documents that is found by a court of competent jurisdiction to be frivolous,
        brought in bad faith, wholly without merit or wholly without basis in fact or law;

               (iv)    physical waste to the Property caused by the intentional acts or intentional
        omissions of any Borrower Party and/or the removal or disposal of any portion of the
        Property after an Event of Default;

               (v)    the misapplication, misappropriation or conversion by any Borrower Party
        of (A) any insurance proceeds paid by reason of any loss, damage or destruction to the
        Property (or any portion thereof), (B) any Awards or other amounts received in
        connection with the Condemnation of all or a portion of the Property, (C) any Rents, (D)
        any Tenant security deposits or Rents collected in advance, or (E) any other monetary



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        collateral for the Loan (including, without limitation, any Reserve Funds and/or any
        portion thereof disbursed to (or at the direction of) Borrower);

                (vi)    failure to pay Taxes, charges for labor or materials or other charges that
        can create liens on any portion of the Property (except, in the case of Taxes, to the extent
        that (x) the revenue from the Property is insufficient to pay such amounts or (y) amounts
        sufficient to pay such Taxes have been deposited with Lender hereunder in the Tax
        Account and Lender does not apply the same in payment thereof in violation of the terms
        and conditions of the Loan Documents);

               (vii) failure to pay Insurance Premiums (except to the extent that (x) the
        revenue from the Property is insufficient to pay such amounts or (y) amounts sufficient to
        pay such Insurance Premiums have been deposited with Lender hereunder in the
        Insurance Account and Lender does not apply the same in payment thereof in violation of
        the terms and conditions of the Loan Documents), to maintain the Policies in full force
        and effect and/or to provide Lender evidence of the same, in each case, as expressly
        provided herein;

                (viii) any security deposits, advance deposits or any other deposits collected
        with respect to the Property which are not delivered to Lender upon a foreclosure of the
        Property or action in lieu thereof, except to the extent any such security deposits were
        applied in accordance with the terms and conditions of any of the Leases prior to the
        occurrence of the Event of Default that gave rise to such foreclosure or action in lieu
        thereof;

               (ix)   any tax on the making and/or recording of the Security Instrument, the
        Note or any of the other Loan Documents or any transfer or similar taxes (whether due
        upon the making of the same or upon Lender’s exercise of its remedies under the Loan
        Documents), but excluding any income, franchise or other similar taxes;

                (x)     any forfeiture or seizure of the Property (or any portion thereof and/or
        interest therein) resulting from a violation or breach of any applicable law;

               (xi)    any violation or breach of any representation, warranty or covenant
        contained in Sections 3.24 or 4.23 hereof or Exhibit C attached hereto;

              (xii) any violation or breach of any exclusivity (or similar) provision in any
        Major Lease that permits or could permit the Tenant thereunder the right to terminate
        such Major Lease or abate rent thereunder;

              (xiii) the failure to purchase or replace (as applicable) any Interest Rate Cap
        Agreement or Replacement Interest Rate Cap Agreement (as applicable), in each case, as
        and when required by the terms hereof;

               (xiv) any violation or breach of the Property Document Provisions and/or any
        Property Document Event;

                 (xv)   Borrower’s violation or breach of Section 4.32 hereof; and/or

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                (xvi) if any temporary certificate of occupancy issued for the Property shall
        lapse or become invalid or be revoked.

       (b)   Notwithstanding anything to the contrary in this Agreement, the Note or any of
the Loan Documents:

               (i)     Lender shall not be deemed to have waived any right which Lender may
        have under Section 506(a), 506(b), 1111(b) or any other provisions of the Bankruptcy
        Code to file a claim for the full amount of the Debt or to require that all collateral shall
        continue to secure all of the Debt owing to Lender in accordance with the Loan
        Documents;

                (ii)   the Debt shall be fully recourse to Borrower in the event that: (1) the first
        Monthly Debt Service Payment is not paid when due, (2) any representation, warranty or
        covenant contained in Sections 3.24 or 4.23 hereof or Exhibit C attached hereto is
        violated or breached, and (A) a court of competent jurisdiction orders a substantive
        consolidation of Borrower based, in whole or in part, on such violation or breach or (B)
        the Property or any portion thereof or interest therein becomes an asset in a bankruptcy or
        insolvency proceeding as a result of (in whole or in part) or due to (in whole or in part)
        such violation or breach, (3) any representation, warranty or covenant contained in
        Article 6 hereof is violated or breached, or (4) a Bankruptcy Event occurs;

               (iii) Borrower shall pay, and shall be personally liable to Lender for the
        payment of, the Interest Reserve Deficiency Amount in accordance with Section 7.9 of
        this Agreement; and

              (iv)    Borrower shall pay, and shall be personally liable to Lender for the
        payment of, any Operating Deficiency.

                                          ARTICLE 13

                                   FURTHER ASSURANCES

       Section 13.1 Replacement Documents. Upon receipt of an affidavit of an officer of
Lender as to the loss, theft, destruction or mutilation of the Note, this Agreement or any of the
other Loan Documents which is not of public record, and, in the case of any such mutilation,
upon surrender and cancellation of the Note, this Agreement or such other Loan Document,
Borrower will issue, in lieu thereof, a replacement thereof, dated the date of the Note, this
Agreement or such other Loan Document, as applicable, in the same principal amount thereof
and otherwise of like tenor.

         Section 13.2 Recording of Security Instrument, etc. Borrower forthwith upon the
execution and delivery of the Security Instrument and thereafter, from time to time, will cause
the Security Instrument and any of the other Loan Documents creating a lien or security interest
or evidencing the lien hereof upon the Property and each instrument of further assurance to be
filed, registered or recorded in such manner and in such places as may be required by any present
or future law in order to publish notice of and fully to protect and perfect the lien or security
interest hereof upon, and the interest of Lender in, the Property. Borrower will pay all taxes,

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filing, registration or recording fees, and all expenses incident to the preparation, execution,
acknowledgment and/or recording of the Note, the Security Instrument, this Agreement, the
other Loan Documents, any note, deed of trust or mortgage supplemental hereto, any security
instrument with respect to the Property and any instrument of further assurance, and any
modification or amendment of the foregoing documents, and all federal, state, county and
municipal taxes, duties, imposts, assessments and charges arising out of or in connection with the
execution and delivery of the Security Instrument, any deed of trust or mortgage supplemental
hereto, any security instrument with respect to the Property or any instrument of further
assurance, and any modification or amendment of the foregoing documents, except where
prohibited by applicable law so to do.

         Section 13.3 Further Acts, etc. Borrower will, at the cost of Borrower, and without
expense to Lender, do, execute, acknowledge and deliver all and every further acts, deeds,
conveyances, deeds of trust, mortgages, assignments, notices of assignments, transfers and
assurances as Lender shall, from time to time, reasonably require, for the better assuring,
conveying, assigning, transferring, and confirming unto Lender the property and rights hereby
mortgaged, deeded, granted, bargained, sold, conveyed, confirmed, pledged, assigned, warranted
and transferred or intended now or hereafter so to be, or which Borrower may be or may
hereafter become bound to convey or assign to Lender, or for carrying out the intention or
facilitating the performance of the terms of this Agreement or for filing, registering or recording
the Security Instrument, or for complying with all Legal Requirements including, without
limitation, the execution and delivery of all such writings necessary to transfer any licenses with
respect to the Property into the name of Lender or its designee after the occurrence of an Event
of Default. Borrower, on demand, will execute and deliver, and in the event it shall fail to so
execute and deliver, hereby authorizes Lender to execute in the name of Borrower or without the
signature of Borrower to the extent Lender may lawfully do so, one or more financing statements
to evidence more effectively the security interest of Lender in the Property. Borrower grants to
Lender an irrevocable power of attorney coupled with an interest for the purpose of exercising
and perfecting any and all rights and remedies available to Lender at law and in equity, including
without limitation, such rights and remedies available to Lender pursuant to this Section 13.3.

        Section 13.4 Changes in Tax, Debt, Credit and Documentary Stamp Laws.

       (a)    If any law is enacted or adopted or amended after the date of this Agreement
which deducts the Debt from the value of the Property for the purpose of taxation and which
imposes a tax, either directly or indirectly, on the Debt or Lender’s interest in the Property,
Borrower will pay the tax, with interest and penalties thereon, if any. If Lender is advised by
counsel chosen by it that the payment of tax by Borrower would be unlawful or taxable to
Lender or unenforceable or provide the basis for a defense of usury then Lender shall have the
option by written notice of not less than ninety (90) days to declare the Debt immediately due
and payable without prepayment premium or penalty.

       (b)     Borrower will not claim or demand or be entitled to any credit or credits on
account of the Debt for any part of the Taxes or Other Charges assessed against the Property, or
any part thereof, and no deduction shall otherwise be made or claimed from the assessed value of
the Property, or any part thereof, for real estate tax purposes by reason of the Security Instrument
or the Debt. If such claim, credit or deduction shall be required by applicable law, Lender shall

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have the option, by written notice of not less than ninety (90) days, to declare the Debt
immediately due and payable without prepayment premium or penalty.

       (c)     If at any time the United States of America, any State thereof or any subdivision
of any such State shall require revenue or other stamps to be affixed to the Note, the Security
Instrument, or any of the other Loan Documents or impose any other tax or charge on the same,
Borrower will pay for the same, with interest and penalties thereon, if any.

                                         ARTICLE 14

                                          WAIVERS

        Section 14.1 Remedies Cumulative; Waivers. The rights, powers and remedies of
Lender under this Agreement shall be cumulative and not exclusive of any other right, power or
remedy which Lender may have against Borrower pursuant to this Agreement, the Security
Instrument, the Note or the other Loan Documents, or existing at law or in equity or otherwise.
Lender’s rights, powers and remedies may be pursued singularly, concurrently or otherwise, at
such time and in such order as Lender may determine in Lender’s sole discretion. No delay or
omission to exercise any remedy, right or power accruing upon an Event of Default shall impair
any such remedy, right or power or shall be construed as a waiver thereof, but any such remedy,
right or power may be exercised from time to time and as often as may be deemed expedient. A
waiver of one Default or Event of Default with respect to Borrower shall not be construed to be a
waiver of any subsequent Default or Event of Default by Borrower or to impair any remedy,
right or power consequent thereon.

        Section 14.2 Modification, Waiver in Writing. No modification, amendment,
extension, discharge, termination or waiver of any provision of this Agreement, the Security
Instrument, the Note and the other Loan Documents, nor consent to any departure by Borrower
therefrom, shall in any event be effective unless the same shall be in a writing signed by the
party against whom enforcement is sought, and then such waiver or consent shall be effective
only in the specific instance, and for the purpose, for which given. Except as otherwise
expressly provided herein, no notice to, or demand on Borrower, shall entitle Borrower to any
other or future notice or demand in the same, similar or other circumstances.

        Section 14.3 Delay Not a Waiver. Neither any failure nor any delay on the part of
Lender in insisting upon strict performance of any term, condition, covenant or agreement, or
exercising any right, power, remedy or privilege under this Agreement, the Security Instrument,
the Note or the other Loan Documents, or any other instrument given as security therefor, shall
operate as or constitute a waiver thereof, nor shall a single or partial exercise thereof preclude
any other future exercise, or the exercise of any other right, power, remedy or privilege. In
particular, and not by way of limitation, by accepting payment after the due date of any amount
payable under this Agreement, the Security Instrument, the Note or the other Loan Documents,
Lender shall not be deemed to have waived any right either to require prompt payment when due
of all other amounts due under this Agreement, the Security Instrument, the Note and the other
Loan Documents, or to declare a default for failure to effect prompt payment of any such other
amount.



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     Section 14.4 Waiver of Trial by Jury. BORROWER AND LENDER, BY
ACCEPTANCE OF THIS AGREEMENT, HEREBY WAIVE, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, THE RIGHT TO TRIAL BY JURY IN ANY ACTION,
PROCEEDING OR COUNTERCLAIM, WHETHER IN CONTRACT, TORT OR
OTHERWISE, RELATING DIRECTLY OR INDIRECTLY TO THE LOAN, THE
APPLICATION FOR THE LOAN, THIS AGREEMENT, THE NOTE, THE SECURITY
INSTRUMENT OR THE OTHER LOAN DOCUMENTS OR ANY ACTS OR OMISSIONS
OF LENDER OR BORROWER.

        Section 14.5 Waiver of Notice. Borrower shall not be entitled to any notices of any
nature whatsoever from Lender except (a) with respect to matters for which this Agreement
specifically and expressly provides for the giving of notice by Lender to Borrower and (b) with
respect to matters for which Lender is required by applicable law to give notice, and Borrower
hereby expressly waives the right to receive any notice from Lender with respect to any matter
for which this Agreement does not specifically and expressly provide for the giving of notice by
Lender to Borrower.

        Section 14.6 Remedies of Borrower. In the event that a claim or adjudication is made
that Lender or its agents have acted unreasonably or unreasonably delayed acting in any case
where by applicable law or under this Agreement, the Security Instrument, the Note and the
other Loan Documents, Lender or such agent, as the case may be, has an obligation to act
reasonably or promptly, Borrower agrees that neither Lender nor its agents shall be liable for any
monetary damages, and Borrower’s sole remedies shall be limited to commencing an action
seeking injunctive relief or declaratory judgment. The parties hereto agree that any action or
proceeding to determine whether Lender has acted reasonably shall be determined by an action
seeking declaratory judgment. Lender agrees that, in such event, it shall cooperate in expediting
any action seeking injunctive relief or declaratory judgment.

        Section 14.7 Marshalling and Other Matters. Borrower hereby waives, to the extent
permitted by applicable Legal Requirements, the benefit of all appraisement, valuation, stay,
extension, reinstatement and redemption laws now or hereafter in force and all rights of
marshalling in the event of any sale under the Security Instrument of the Property or any part
thereof or any interest therein. Further, Borrower hereby expressly waives any and all rights of
redemption from sale under any order or decree of foreclosure of the Security Instrument on
behalf of Borrower, and on behalf of each and every person acquiring any interest in or title to
the Property subsequent to the date of the Security Instrument and on behalf of all persons to the
extent permitted by applicable Legal Requirements.

       Section 14.8 Waiver of Statute of Limitations. To the extent permitted by applicable
Legal Requirements, Borrower hereby expressly waives and releases to the fullest extent
permitted by applicable Legal Requirements, the pleading of any statute of limitations as a
defense to payment of the Debt or performance of its obligations hereunder, under the Note,
Security Instrument or other Loan Documents.

        Section 14.9 Waiver of Counterclaim. Borrower hereby waives the right to assert a
counterclaim, other than a compulsory counterclaim, in any action or proceeding brought against
it by Lender or its agents.

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        Section 14.10 Sole Discretion of Lender. Wherever pursuant to this Agreement (a)
Lender exercises any right given to it to approve or disapprove, (b) any arrangement or term is to
be satisfactory to Lender, or (c) any other decision or determination is to be made by Lender, the
decision to approve or disapprove all decisions that arrangements or terms are satisfactory or not
satisfactory, and all other decisions and determinations made by Lender, shall be in the sole
discretion of Lender, except as may be otherwise expressly and specifically provided herein.

                                          ARTICLE 15

                                      MISCELLANEOUS

       Section 15.1 Survival. This Agreement and all covenants, agreements, representations
and warranties made herein and in the certificates delivered pursuant hereto shall survive the
making by Lender of the Loan and the execution and delivery to Lender of the Note, and shall
continue in full force and effect so long as all or any of the Debt is outstanding and unpaid unless
a longer period is expressly set forth in this Agreement, the Security Instrument, the Note or the
other Loan Documents. Whenever in this Agreement any of the parties hereto is referred to,
such reference shall be deemed to include the legal representatives, successors and assigns of
such party. All covenants, promises and agreements in this Agreement, by or on behalf of
Borrower, shall inure to the benefit of the legal representatives, successors and assigns of
Lender.

        Section 15.2 Expenses; Indemnity.

        (a)    Borrower shall pay or, if Borrower fails to pay, reimburse Lender upon receipt of
notice from Lender, for all reasonable costs and expenses (including reasonable attorneys’ fees
and disbursements) incurred by Lender in connection with (i) except to the extent otherwise
expressly set forth in this Agreement or any of the other Loan Documents, the negotiation,
preparation, execution, delivery and administration of any consents, amendments, waivers or
other modifications to the Loan Documents and any other documents or matters requested by
Borrower or any Guarantor; (ii) the filing and recording fees and expenses, title insurance and
reasonable fees and expenses of counsel for providing to Lender all required legal opinions, and
other similar expenses incurred, in creating and perfecting the liens in favor of Lender pursuant
to the Loan Documents; (iii) enforcing or preserving any rights, in response to third party claims
or the prosecuting or defending of any action or proceeding or other litigation, in each case
against, under or affecting Borrower, the Loan Documents, the Property or any other security
given for the Loan; (iv) enforcing any Obligations of, or collecting any payments due from,
Borrower or any Guarantor under the Loan Documents or with respect to the Property; (v) any
refinancing or restructuring of the credit arrangements provided under this Agreement in the
nature of a “work out” or of any proceeding under the Bankruptcy Code or any other Creditors
Rights Laws; (vi) protecting Lender’s interest in the Property or any other security given for the
Loan; and (vii) Lender’s participation (including, without limitation, responding to any service of
process, subpoena, or other request) in any litigation or other proceeding involving or related to
any Borrower Party, the Loan or the Loan Documents and/or Lender’s response to any other
service of process, subpoena, or other request from any Governmental Authority involving or
related to any Borrower Party, the Loan or the Loan Documents (including, without limitation, in
each case, any legal fees incurred in connection therewith); provided, however, that Borrower

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shall not be liable for the payment of any such costs and expenses to the extent the same arise by
reason of the gross negligence, illegal acts, fraud or willful misconduct of Lender, as determined
by a final non appealable judgment of a court of competent jurisdiction. Any costs due and
payable to Lender may be paid, at Lender’s election in its sole discretion, from any amounts in
the Cash Management Account.

        (b)     Borrower shall indemnify, defend and hold harmless the Indemnified Parties from
and against any and all liabilities, obligations, losses, damages, penalties, actions, judgments,
suits, claims, costs, expenses and disbursements of any kind or nature whatsoever (including,
without limitation, the reasonable fees and disbursements of counsel for any Indemnified Party in
connection with any investigative, administrative or judicial proceeding commenced or
threatened, whether or not such Indemnified Party shall be designated a party thereto), that may
be imposed on, incurred by, or asserted against any Indemnified Party in any manner relating to
or arising out of (i) any default or breach by Borrower of its Obligations under, or any material
misrepresentation by Borrower contained in, the Loan Documents; (ii) the use or intended use of
the proceeds of the Loan; (iii) any materials or information provided by or on behalf of
Borrower, or contained in any documentation approved by Borrower; (iv) ownership of the
Security Instrument, the Property or any interest therein, or receipt of any Rents; (v) any claim
by brokers, finders or similar persons claiming to be entitled to a commission in connection with
any Lease or other transaction involving the Property or any part thereof, or any liability asserted
against such Indemnified Party with respect thereto; and (vi) the claims of any lessee of any
portion of the Property or any Person acting through or under any lessee or otherwise arising
under or as a consequence of any Lease (collectively, the “Indemnified Liabilities”); provided,
however, that Borrower shall not have any obligation to the Indemnified Parties hereunder to the
extent that such Indemnified Liabilities arise from the gross negligence, illegal acts, fraud or
willful misconduct of the Indemnified Parties, as determined by a final non appealable judgment
of a court of competent jurisdiction. To the extent that the undertaking to indemnify, defend and
hold harmless set forth in the preceding sentence may be unenforceable because it violates any
law or public policy, Borrower shall pay the maximum portion that it is permitted to pay and
satisfy under applicable law to the payment and satisfaction of all Indemnified Liabilities
incurred by the Indemnified Parties. The provisions of Section 15.2(a) and this Section 15.2(b)
shall (A) survive any payment or prepayment of the Loan and any foreclosure or satisfaction of
the Security Instrument and (B) apply equally in favor of the then-current Lender hereunder and
any prior Lender hereunder (regardless of whether any such prior Lender has retained any
obligations hereunder following the applicable assignment of the Loan, this Agreement and the
other Loan Documents).

       (c)    Borrower hereby agrees to pay for or, if Borrower fails to pay, to reimburse
Lender for, any fees imposed, and costs and expenses incurred, by any Rating Agency in
connection with any Rating Agency review of the Loan or any consent, approval, waiver or
confirmation obtained from such Rating Agency pursuant to the terms and conditions of the
Loan Documents, and Lender shall be entitled to require payment of such fees, costs and
expenses as a condition precedent to obtaining any such consent, approval, waiver or
confirmation.

       Section 15.3 Brokers. Borrower agrees (i) to pay any and all fees imposed or charged
by all brokers, mortgage bankers and advisors (each a “Broker”) hired or contracted by any

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Borrower Party or their Affiliates in connection with the transactions contemplated by this
Agreement and (ii) to indemnify and hold Lender harmless from and against any and all claims,
demands and liabilities for brokerage commissions, assignment fees, finder’s fees or other
compensation whatsoever arising from this Agreement or the making of the Loan which may be
asserted against Lender by any Person. The foregoing indemnity shall survive the termination of
this Agreement and the payment of the Debt. Borrower hereby represents and warrants that no
Broker has been engaged by any Borrower Party in connection with the transactions
contemplated by this Agreement. Lender hereby agrees to pay any and all fees imposed or
charged by any Broker hired solely by Lender. Borrower acknowledges and agrees that (a) any
Broker is not an agent of Lender and has no power or authority to bind Lender, (b) Lender is not
responsible for any recommendations or advice given to any Borrower Party by any Broker, (c)
Lender and the Borrower Parties have dealt at arms-length with each other in connection with the
Loan, (d) no fiduciary or other special relationship exists or shall be deemed or construed to exist
among Lender and the Borrower Parties and (e) none of the Borrower Parties shall be entitled to
rely on any assurances or waivers given, or statements made or actions taken, by any Broker
which purport to bind Lender or modify or otherwise affect this Agreement or the Loan, unless
Lender has, in its sole discretion, agreed in writing with any such Borrower Party to such
assurances, waivers, statements, actions or modifications. Borrower acknowledges and agrees
that Lender may, in its sole discretion, pay fees or compensation to any Broker in connection
with or arising out of the closing and funding of the Loan. Such fees and compensation, if any,
(i) shall be in addition to any fees which may be paid by any Borrower Party to such Broker and
(ii) create a potential conflict of interest for Broker in its relationship with the Borrower Parties.
Such fees and compensation, if applicable, may include a direct, one-time payment, servicing
fees and/or incentive payments based on volume and size of financings involving Lender and
such Broker.

        Section 15.4 Governing Law.

     THIS AGREEMENT WAS NEGOTIATED IN THE STATE OF NEW YORK,
AND DELIVERED TO LENDER BY BORROWER IN THE STATE OF NEW YORK,
AND THE PROCEEDS OF THE NOTE DELIVERED PURSUANT HERETO WERE
DISBURSED FROM THE STATE OF NEW YORK, WHICH STATE THE PARTIES
AGREE HAS A SUBSTANTIAL RELATIONSHIP TO THE PARTIES AND TO THE
UNDERLYING TRANSACTION EMBODIED HEREBY, AND IN ALL RESPECTS,
INCLUDING, WITHOUT LIMITING THE GENERALITY OF THE FOREGOING,
MATTERS OF CONSTRUCTION, VALIDITY AND PERFORMANCE, THIS
AGREEMENT, THE NOTE AND THE OTHER LOAN DOCUMENTS AND THE
OBLIGATIONS ARISING HEREUNDER AND THEREUNDER SHALL BE
GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE
STATE OF NEW YORK APPLICABLE TO CONTRACTS MADE AND PERFORMED
IN SUCH STATE (WITHOUT REGARD TO PRINCIPLES OF CONFLICT OF LAWS)
AND ANY APPLICABLE LAW OF THE UNITED STATES OF AMERICA, EXCEPT
THAT AT ALL TIMES THE PROVISIONS FOR THE CREATION, PERFECTION AND
ENFORCEMENT OF THE LIEN AND SECURITY INTEREST CREATED PURSUANT
TO THE LOAN DOCUMENTS SHALL BE GOVERNED BY AND CONSTRUED
ACCORDING TO THE LAW OF THE STATE, COMMONWEALTH OR DISTRICT,
AS APPLICABLE, IN WHICH THE PROPERTY IS LOCATED, IT BEING

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UNDERSTOOD THAT, TO THE FULLEST EXTENT PERMITTED BY THE LAW OF
SUCH STATE, COMMONWEALTH OR DISTRICT, AS APPLICABLE, THE LAW OF
THE STATE OF NEW YORK SHALL GOVERN THE CONSTRUCTION, VALIDITY
AND ENFORCEABILITY OF ALL LOAN DOCUMENTS AND ALL OF THE
OBLIGATIONS ARISING HEREUNDER OR THEREUNDER. TO THE FULLEST
EXTENT PERMITTED BY LAW, BORROWER HEREBY UNCONDITIONALLY AND
IRREVOCABLY WAIVES ANY CLAIM TO ASSERT THAT THE LAW OF ANY
OTHER JURISDICTION GOVERNS THIS AGREEMENT, THE NOTE AND THE
OTHER LOAN DOCUMENTS, AND THIS AGREEMENT, THE NOTE AND THE
OTHER LOAN DOCUMENTS SHALL BE GOVERNED BY AND CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK PURSUANT TO
SECTION 5 1401 OF THE NEW YORK GENERAL OBLIGATIONS LAW. ANY
LEGAL SUIT, ACTION OR PROCEEDING AGAINST LENDER OR BORROWER
ARISING OUT OF OR RELATING TO THIS AGREEMENT, THE NOTE OR THE
OTHER LOAN DOCUMENTS MAY AT LENDER’S OPTION BE INSTITUTED IN
ANY FEDERAL OR STATE COURT IN THE CITY OF NEW YORK, COUNTY OF
NEW YORK, PURSUANT TO SECTION 5 1402 OF THE NEW YORK GENERAL
OBLIGATIONS LAW AND BORROWER WAIVES ANY OBJECTIONS WHICH IT
MAY NOW OR HEREAFTER HAVE BASED ON VENUE AND/OR FORUM NON
CONVENIENS OF ANY SUCH SUIT, ACTION OR PROCEEDING, AND BORROWER
HEREBY IRREVOCABLY SUBMITS TO THE EXCLUSIVE JURISDICTION OF ANY
SUCH COURT IN ANY SUIT, ACTION OR PROCEEDING.

        Section 15.5 Notices. All notices or other written communications hereunder shall be
deemed to have been properly given (a) upon delivery, if delivered in person, (b) one (1)
Business Day after having been deposited for overnight delivery with any reputable overnight
courier service, or (c) three (3) Business Days after having been deposited in any post office or
mail depository regularly maintained by the U.S. Postal Service and sent by registered or
certified mail, postage prepaid, return receipt requested, addressed as follows:

If to Borrower:               96 Wythe Acquisition LLC
                              1274 49th Street, Suite 184
                              Brooklyn, New York 11219
                              Attention: Toby Moskovits

With a copy to:               Cohen & Gresser LLP
                              800 Third Avenue
                              New York, New York 10022
                              Attention: Nicholas J. Kaiser, Esq.

If to Lender:                 Benefit Street Partners Realty Operating Partnership, L.P.
                              142 West 57th Street, Suite 1201
                              New York, New York 10019
                              Attention: Micah Goodman, General Counsel

With a copy to:               Stroock & Stroock & Lavan LLP
                              200 Biscayne Boulevard, Suite 3100

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                               Miami, Florida 33131
                               Attention: Eugene Balshem, Esq.

or addressed as such party may from time to time designate by written notice to the other parties.

       Either party by notice to the other may designate additional or different addresses for
subsequent notices or communications.

       Section 15.6 Headings. The Article and/or Section headings in this Agreement are
included herein for convenience of reference only and shall not constitute a part of this
Agreement for any other purpose.

        Section 15.7 Severability. Wherever possible, each provision of this Agreement shall
be interpreted in such manner as to be effective and valid under applicable Legal Requirements,
but if any provision of this Agreement shall be prohibited by or invalid under applicable Legal
Requirements, such provision shall be ineffective to the extent of such prohibition or invalidity,
without invalidating the remainder of such provision or the remaining provisions of this
Agreement.

       Section 15.8 Preferences. Lender shall have the continuing and exclusive right to
apply or reverse and reapply any and all payments by Borrower to any portion of the obligations
of Borrower hereunder. To the extent Borrower makes a payment or payments to Lender, which
payment or proceeds or any part thereof are subsequently invalidated, declared to be fraudulent
or preferential, set aside or required to be repaid to a trustee, receiver or any other party under
any Creditors Rights Laws, state or federal law, common law or equitable cause, then, to the
extent of such payment or proceeds received, the obligations hereunder or part thereof intended
to be satisfied shall be revived and continue in full force and effect, as if such payment or
proceeds had not been received by Lender.

       Section 15.9 Cost of Enforcement. In the event (a) that the Security Instrument is
foreclosed in whole or in part, (b) of the bankruptcy, insolvency, rehabilitation or other similar
proceeding in respect of Borrower or any of its constituent Persons or an assignment by
Borrower or any of its constituent Persons for the benefit of its creditors, or (c) Lender exercises
any of its other remedies under this Agreement, the Security Instrument, the Note and the other
Loan Documents, Borrower shall be chargeable with and agrees to pay all costs of collection and
defense, including reasonable attorneys’ fees and costs, incurred by Lender or Borrower in
connection therewith and in connection with any appellate proceeding or post judgment action
involved therein, together with all required service or use taxes.

        Section 15.10 Exhibits Incorporated. The Exhibits annexed hereto are hereby
incorporated herein as a part of this Agreement with the same effect as if set forth in the body
hereof.

        Section 15.11 Offsets, Counterclaims and Defenses. Any assignee of Lender’s interest
in and to this Agreement, the Security Instrument, the Note and the other Loan Documents shall
take the same free and clear of all offsets, counterclaims or defenses which are unrelated to such
documents which Borrower may otherwise have against any assignor of such documents, and no


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such unrelated counterclaim or defense shall be interposed or asserted by Borrower in any action
or proceeding brought by any such assignee upon such documents and any such right to
interpose or assert any such unrelated offset, counterclaim or defense in any such action or
proceeding is hereby expressly waived by Borrower.

        Section 15.12 No Joint Venture or Partnership; No Third Party Beneficiaries.

        (a)      Borrower and Lender intend that the relationships created under this Agreement,
the Security Instrument, the Note and the other Loan Documents be solely that of borrower and
lender. Nothing herein or therein is intended to create a joint venture, partnership, tenancy-in-
common, or joint tenancy relationship between Borrower and Lender nor to grant Lender any
interest in the Property other than that of mortgagee, beneficiary or lender.

        (b)     This Agreement, the Security Instrument, the Note and the other Loan Documents
are solely for the benefit of Lender and Borrower and nothing contained in this Agreement, the
Security Instrument, the Note or the other Loan Documents shall be deemed to confer upon
anyone other than Lender and Borrower any right to insist upon or to enforce the performance or
observance of any of the obligations contained herein or therein. All conditions to the
obligations of Lender to make the Loan hereunder are imposed solely and exclusively for the
benefit of Lender and no other Person shall have standing to require satisfaction of such
conditions in accordance with their terms or be entitled to assume that Lender will refuse to
make the Loan in the absence of strict compliance with any or all thereof and no other Person
shall under any circumstances be deemed to be a beneficiary of such conditions, any or all of
which may be freely waived in whole or in part by Lender if, in Lender’s sole discretion, Lender
deems it advisable or desirable to do so.

        (c)     The general partners, members, principals and (if Borrower is a trust) beneficial
owners of Borrower are experienced in the ownership and operation of properties similar to the
Property, and Borrower and Lender are relying solely upon such expertise and business plan in
connection with the ownership and operation of the Property. Borrower is not relying on
Lender’s expertise, business acumen or advice in connection with the Property. Furthermore,
each Borrower Party has obtained advice of counsel, accountants, and other professionals
sufficient, in the judgment of such Borrower Party, to approve the Loan, the Loan Documents,
and any transaction related to the closing of the Loan (including, without limitation, allocations
of funds and the organizational structure of Borrower as each of the same relate to tax matters
affecting such Borrower Party and the constituent direct and indirect owners of Borrower), and
no Borrower Party is relying on Lender or any counsel or other professionals engaged by Lender
with respect thereto.

        (d)      Notwithstanding anything to the contrary contained herein, Lender is not
undertaking the performance of (i) any obligations related to the Property (including, without
limitation, under the Leases); or (ii) any obligations with respect to any agreements, contracts,
certificates, instruments, franchises, permits, trademarks, licenses and other documents to which
any Borrower Party and/or the Property is subject.

         (e)    By accepting or approving anything required to be observed, performed or
fulfilled or to be given to Lender pursuant to this Agreement, the Security Instrument, the Note


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or the other Loan Documents, including, without limitation, any officer’s certificate, balance
sheet, statement of profit and loss or other financial statement, survey, appraisal, or insurance
policy, Lender shall not be deemed to have warranted, consented to, or affirmed the sufficiency,
the legality or effectiveness of same, and such acceptance or approval thereof shall not constitute
any warranty or affirmation with respect thereto by Lender.

        (f)    Borrower recognizes and acknowledges that in accepting this Agreement, the
Note, the Security Instrument and the other Loan Documents, Lender is expressly and primarily
relying on the truth and accuracy of the representations and warranties set forth in Article 3 of
this Agreement without any obligation to investigate the Property and notwithstanding any
investigation of the Property by Lender; that such reliance existed on the part of Lender prior to
the date hereof, that the warranties and representations are a material inducement to Lender in
making the Loan; and that Lender would not be willing to make the Loan and accept this
Agreement, the Note, the Security Instrument and the other Loan Documents in the absence of
the warranties and representations as set forth in Article 3 of this Agreement.

        Section 15.13 Publicity. All news releases, publicity or advertising by Borrower or its
Affiliates through any media intended to reach the general public which refers to this Agreement,
the Note, the Security Instrument or the other Loan Documents or the financing evidenced by
this Agreement, the Note, the Security Instrument or the other Loan Documents, to Lender or
any of its Affiliates shall be subject to the prior written approval of Lender, not to be
unreasonably withheld.

        Section 15.14 Limitation of Liability. No claim may be made by Borrower, or any
other Person against Lender or its Affiliates, directors, officers, employees, attorneys or agents of
any of such Persons for any special, indirect, consequential or punitive damages in respect of any
claim for breach of contract or any other theory of liability arising out of or related to the
transactions contemplated by this Agreement or any act, omission or event occurring in
connection therewith; and Borrower hereby waives, releases and agrees not to sue upon any
claim for any such damages, whether or not accrued and whether or not known or suspected to
exist in its favor.

        Section 15.15 Conflict; Construction of Documents; Reliance. In the event of any
conflict between the provisions of this Agreement and the Security Instrument, the Note or any
of the other Loan Documents, the provisions of this Agreement shall control. The parties hereto
acknowledge that they were represented by competent counsel in connection with the
negotiation, drafting and execution of this Agreement, the Note, the Security Instrument and the
other Loan Documents and this Agreement, the Note, the Security Instrument and the other Loan
Documents shall not be subject to the principle of construing their meaning against the party
which drafted same. Borrower acknowledges that, with respect to the Loan, Borrower shall rely
solely on its own judgment and advisors in entering into the Loan without relying in any manner
on any statements, representations or recommendations of Lender or any parent, subsidiary or
Affiliate of Lender. Lender shall not be subject to any limitation whatsoever in the exercise of
any rights or remedies available to it under this Agreement, the Note, the Security Instrument
and the other Loan Documents or any other agreements or instruments which govern the Loan by
virtue of the ownership by it or any parent, subsidiary or Affiliate of Lender of any equity
interest any of them may acquire in Borrower, and Borrower hereby irrevocably waives the right

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to raise any defense or take any action on the basis of the foregoing with respect to Lender’s
exercise of any such rights or remedies. Borrower acknowledges that Lender engages in the
business of real estate financings and other real estate transactions and investments which may
be viewed as adverse-to or competitive with the business of Borrower or its Affiliates.

        Section 15.16 Entire Agreement. This Agreement, the Note, the Security Instrument
and the other Loan Documents contain the entire agreement of the parties hereto and thereto in
respect of the transactions contemplated hereby and thereby, and all prior agreements among or
between such parties, whether oral or written between Borrower and Lender are superseded by
the terms of this Agreement, the Note, the Security Instrument and the other Loan Documents.

        Section 15.17 Liability. If Borrower consists of more than one Person, the obligations
and liabilities of each such Person hereunder shall be joint and several. This Agreement shall be
binding upon and inure to the benefit of Borrower and Lender and their respective successors
and assigns forever.

        Section 15.18 Duplicate Originals; Counterparts. This Agreement may be executed in
any number of duplicate originals and each duplicate original shall be deemed to be an original.
The failure of any party hereto to execute this Agreement, or any counterpart hereof, shall not
relieve the other signatories from their obligations hereunder.

        Section 15.19 Set-Off. In addition to any rights and remedies of Lender provided by this
Agreement and by law, Lender shall have the right in its sole discretion, without prior notice to
Borrower, any such notice being expressly waived by Borrower to the extent permitted by
applicable law, upon any amount becoming due and payable by Borrower hereunder (whether at
the stated maturity, by acceleration or otherwise), to set-off and appropriate and apply against
such amount any and all deposits (general or special, time or demand, provisional or final), in
any currency, and any other credits, indebtedness or claims, in any currency, in each case
whether direct or indirect, absolute or contingent, matured or unmatured, at any time held or
owing by Lender or any Affiliate thereof to or for the credit or the account of Borrower;
provided, however, Lender may only exercise such right during the continuance of an Event of
Default. Lender agrees promptly to notify Borrower after any such set-off and application made
by Lender; provided, that, the failure to give such notice shall not affect the validity of such set-
off and application.

        Section 15.20 Certain Additional Rights of Lender (VCOC).

       (a)    For good and valuable consideration the receipt and sufficiency of which are
hereby acknowledged, Borrower agrees that, in addition to the rights set forth in the Loan
Documents and otherwise provided by applicable law, Lender shall have the following
supplemental management rights:

             (i)       the right to receive the information and reports described in the Loan
        Documents;

               (ii)   the right to receive written notice of and attend as an observer meetings of
        the Borrower;


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                (iii) upon a reasonable request and at reasonable times during normal business
        hours, inspect the books and records of the Borrower;

                (iv)   upon reasonable request and at reasonable times during normal business
        hours, the right to visit and inspect any physical properties owned by the Borrower and
        pledged as collateral for the Loan; and

                (v)    upon a reasonable request and at reasonable times during normal business
        hours, to meet and consult with management of the Borrower with respect to the
        significant business of the Borrower.

        (b)     Borrower represents to Lender, as of the date hereof, that (i) at least 50% of
Borrower’s assets, valued at cost (other than short-term investments pending long-term
commitment or distribution to investors), are invested in real estate, and (ii) Borrower has the
right to, and actually does on a continuous basis, regularly and substantially participate directly
in management and/or development activities with respect to such real estate. If any part of the
foregoing sentence ceases to be true and correct in any respect after the date hereof, Borrower
will promptly notify Lender of such change.

        (c)     The aforementioned rights are intended to satisfy the requirement of
“management rights” for purposes of qualifying the Loan as a “venture capital investment” for
purposes of the DOL “plan assets” regulation, 29 C.F.R. § 2510.3-101., and in the event such
rights are not satisfactory for such purpose, Borrower and Lender shall reasonably cooperate in
good faith to agree upon mutually satisfactory management rights which satisfy such regulations.

        (d)     The rights described herein shall apply and continue for so long as Lender
continues to own any interest in the Loan, which shall be deemed to be so owned and to remain
outstanding notwithstanding any conversion, exercise or exchange of such Loan for securities
(“Derivative Securities”). The rights described herein shall terminate and be of no further force
or effect as of the date upon which the Lender and their respective affiliates cease to maintain
any interest in the Loan or any Derivative Securities.

                                          ARTICLE 16

                                INTENTIONALLY OMITTED

                                          ARTICLE 17

                                     MEZZANINE LOAN.

        Section 17.1 Mezzanine Loan Notice.

       (a)    Promptly after receipt (but no more than ten (10) Business Days after receipt),
Borrower will deliver (or cause Mezzanine Borrower to deliver) to Lender a true, correct and
complete copy of all material notices (including, without limitation, any notice of a Mezzanine
Loan Event of Default or any other default under the Mezzanine Loan Documents), demands,
requests or material correspondence (including electronically transmitted items) received from


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Mezzanine Lender by Mezzanine Borrower or any guarantor under the Mezzanine Loan
Documents.

       (b)     Unless otherwise delivered to Lender pursuant to the provisions of Section 4.12
hereof, Borrower will deliver (or cause Mezzanine Borrower to deliver) to Lender all of the
financial statements and material reports, certificates and related items delivered or required to
be delivered by Mezzanine Borrower to Mezzanine Lender under the Mezzanine Loan
Documents as and when due under the Mezzanine Loan Documents.

        Section 17.2 Mezzanine Loan Estoppels. After written request by Lender made no
more than one time in any calendar year, Borrower shall (or shall cause Mezzanine Borrower to)
from time to time, use reasonable efforts to obtain from Mezzanine Lender such estoppel
certificates with respect to the status of the Mezzanine Loan and compliance by Mezzanine
Borrower with the terms of the Mezzanine Loan Documents as may reasonably be requested by
Lender. In the event or to the extent that Mezzanine Lender is not legally obligated to deliver
such estoppel certificates and is unwilling to deliver the same, or is legally obligated to deliver
such estoppel certificates but breaches such obligation, then Borrower shall not be in breach of
this provision so long as such Borrower furnishes to Lender estoppels executed by Mezzanine
Borrower, each expressly representing to Lender the information requested by Lender regarding
the status of the Mezzanine Loan and the compliance by Mezzanine Borrower with the terms of
the Mezzanine Loan Documents. Borrower hereby indemnifies Lender from and against all
Losses which may be imposed on, incurred by, or asserted against Lender based in whole or in
part upon any fact, event, condition, or circumstances relating to the Mezzanine Loan which was
misrepresented in any material respect by Borrower in, or which warrants disclosure and was
omitted from, such estoppel executed by Mezzanine Borrower.

        Section 17.3 Mezzanine Intercreditor. Borrower hereby acknowledges and agrees
that the Mezzanine Intercreditor is solely for the benefit of Lender and Mezzanine Lender, and
that neither Borrower nor Mezzanine Borrower shall be third-party beneficiaries (intended or
otherwise) of any of the provisions therein, have any rights thereunder, or be entitled to rely on
any of the provisions contained therein. Lender and Mezzanine Lender have no obligation to
disclose to Borrower or Mezzanine Borrower the contents of the Mezzanine Intercreditor.
Borrower’s obligations under the Loan Documents are and will be independent of the Mezzanine
Intercreditor and shall remain unmodified by the terms and provisions thereof.

         Section 17.4 Direction of Mezzanine Borrower. Borrower and Lender hereby
acknowledge and agree that, as to any clauses or provisions contained in this Agreement or any
other Loan Documents to the effect that (a) Borrower shall cause, direct, permit or allow
Mezzanine Borrower to act or to refrain from acting in any manner or (b) Borrower shall cause
to occur or not to occur, or otherwise be obligated in any manner with respect to, any matters
pertaining to Mezzanine Borrower, or (c) other similar effect, such clause or provision, in each
case, is intended to mean, and shall be construed as meaning, with respect to Borrower, and to
the fullest extent permitted by applicable law, the power (whether direct or indirect) of Borrower
to direct Mezzanine Borrower (through ownership of voting securities or partnership or limited
liability company or other ownership interests), to bring about or effect a desired result. Lender
hereby specifically acknowledges that Borrower does not, directly or indirectly, hold or own any
voting securities or partnership or limited liability company or other ownership interest in

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Mezzanine Borrower, or have any other contractual relationship or agreement with Mezzanine
Borrower, and therefore Borrower, cannot, through ownership of voting securities or partnership
or limited liability company or other ownership interests, or other contract or agreement, direct
Mezzanine Borrower to bring about or effect a desired result.

       Section 17.5 Notices from Mezzanine Lender. Borrower and Lender hereby
acknowledge and agree that Lender may conclusively rely on any notice delivered by Mezzanine
Lender without any inquiry into the validity thereof, including, without limitation, a notice from
Mezzanine Lender that a Mezzanine Loan Event of Default has occurred or is continuing.

        Section 17.6 Mezzanine Loan Prepayment. Mezzanine Loan may not be prepaid in
whole or in part unless the Loan shall have been (or shall simultaneously be) paid in full in
accordance with the terms of this Agreement (including any Minimum Interest, Additional
Interest and other amounts due and payable to Lender under the Loan Documents).

                          [NO FURTHER TEXT ON THIS PAGE]




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                                     EXHIBIT A

                            ORGANIZATIONAL CHART

                                   (attached hereto)




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                                           ORGANIZATION CHART1
                                                    (as of December 13, 2017)


                                                                     The Toby Moskovits
                                                                      Family 2012 GST                Toby Moskovits
                                                                        Exempt Trust
                                                       45% of the Membership                                 55% of the Membership
                                                       Interests                                             Interests
                             Toby Moskovits as
                                nominee for                              Northside Partners          Michael          OES-Williamsburg
       Toby Moskovits                               Toby Moskovits
                                  Michael                                   LLC (NY)               Lichtenstein          Hotel LLC
                               Lichtenstein
                                                      30%                    20%                          50%                  100%
                                                      Common                 Common                       Common               Class A
                50% shares            50% shares      Interests              Interests                    Interests            Interests



                                                                                  96 Wythe Holdings LLC (NY)
               96 Wythe Ave. Inc. (NY)
                                                                                           Managers
                                                                                        Toby Moskovits
                 S CORPORATION
                                                                                      Michael Lichtenstein


    100% of the Class A Units                                                                    100% of the Common Units
    $7,000,000 Preference


                                                   96 W DEVELOPMENT LLC (NY)

                                                                  Manager

                                                        96 Wythe Holdings LLC

                                                                      100% of the Membership Interests

                                                     96 Wythe Mezz DE LLC (DE)
                                                                                                             100% of the
                                                          Member-Managed
                                                                                                             Membership Interests
                                                                      99.5% of the Membership Interests               96 Wythe Borrower
                                                                                                                        DE LLC (DE)
                                                                                                                       Member-Managed
                                                    96 Wythe Acquisition LLC (NY)
                                                                                                             .5% of the
                                                           Managing Member                                   Membership Interests
                                                      96 Wythe Borrower DE LLC

                                                                      100% of the Property

                                                               PROPERTY



1
  Except as shown on this chart, no person or entity, individually or together with affiliates, owns directly or indirectly 20% or more
interests in 96 Wythe Acquisition LLC or controls 96 Wythe Acquisition LLC.
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                                     EXHIBIT B

                                  PARKING WORK

                                   (attached hereto)




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                                            EXHIBIT C

                       SPECIAL PURPOSE ENTITY REQUIREMENTS

        Borrower covenants and agrees that:

        (a)      Borrower has not and will not:

               (i)    engage in any business or activity other than the ownership, operation and
        maintenance of the Property, and activities incidental thereto;

               (ii)    acquire or own any assets other than (A) the Property, and (B) such
        incidental Personal Property as may be necessary for the ownership, leasing, maintenance
        and operation of the Property;

                (iii) incur any Indebtedness, secured or unsecured, direct or contingent
        (including guaranteeing any obligation), other than (A) the Debt, (B) unsecured trade
        payables and operational debt not evidenced by a note and incurred in the ordinary course
        of business with trade creditors, provided any indebtedness incurred pursuant to
        subclause (B) shall be not more than ninety (90) days past due, and/or (C) Permitted
        Equipment Leases; provided, however, the aggregate amount of the indebtedness
        described in (B) and (C) shall not exceed at any time (in the aggregate among all
        Borrowers, if more than one exist) three percent (3.0%) of the outstanding principal
        amount of the Debt. No Indebtedness other than the Debt may be secured (subordinate or
        pari passu) by the Property;

                (iv)    commingle its funds or assets with the funds or assets of any other Person,
        or maintain its assets in such a manner that it will be costly or difficult to segregate,
        ascertain or identify its individual assets from those of any other Person;

                (v)     use the stationery, invoices or checks of any other Person as its own or fail
        to allocate shared expenses (including, without limitation, shared office space);

                (vi)    fail to maintain a sufficient number of employees in light of its
        contemplated business operations or fail to pay its own liabilities (including, without
        limitation, salaries of its own employees) from its own funds (in each case to the extent
        there exists sufficient cash flow from the Property to do so, and provided that the
        foregoing shall not require any direct or indirect member, partner or shareholder of
        Borrower to make any additional capital contributions to Borrower);

                (vii) fail to (A) hold itself out to the public and identify itself, in each case, as a
        legal entity separate and distinct from any other Person and not as a division or part of
        any other Person, (B) correct any known misunderstanding regarding its separate identity
        or (C) hold its assets and conduct its business solely in its own name;

               (viii) fail to observe all organizational formalities, or fail to preserve its
        existence as an entity duly organized, validly existing and in good standing (if applicable)
        under the applicable Legal Requirements of the jurisdiction of its organization or
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        formation, or amend, modify, terminate or fail to comply with the provisions of its
        organizational documents (provided, that, such organizational documents may be
        amended or modified to the extent that, in addition to the satisfaction of the requirements
        related thereto set forth therein, Lender’s prior written consent and, if required by Lender,
        a Rating Agency Confirmation are first obtained);

                (ix)   merge into or consolidate with any Person, or dissolve, terminate,
        liquidate in whole or in part, transfer or otherwise dispose of all or substantially all of its
        assets or change its legal structure;

               (x)     have any obligation to indemnify any of its officers, directors, managers,
        members, shareholders or partners, as the case may be, unless such obligation is fully
        subordinated to the Debt and will not constitute a claim against Borrower if cash flow in
        excess of the amount required to pay the Debt is insufficient to pay such obligation;

                (xi)   own any subsidiary, or make any investment in, any Person (other than,
        with respect to any SPE Component Entity, in Borrower);

                (xii) fail to file its own tax returns (to the extent Borrower is required to file
        any such tax returns pursuant to applicable Legal Requirements) or file a consolidated
        federal income tax return with any other Person;

                (xiii) fail to maintain all of its books, records, financial statements and bank
        accounts separate from those of any other Person (including, without limitation, any
        Affiliates). Borrower’s assets have not and will not be listed as assets on the financial
        statement of any other Person; provided, however, that Borrower’s assets may be
        included in a consolidated financial statement of its Affiliates provided that (i)
        appropriate notation shall be made on such consolidated financial statements to indicate
        the separateness of Borrower and such Affiliates and to indicate that Borrower’s assets
        and credit are not available to satisfy the debts and other obligations of such Affiliates or
        any other Person and (ii) such assets shall be listed on Borrower’s own separate balance
        sheet. Borrower has maintained and will maintain its books, records, resolutions and
        agreements as official records;

                (xiv) enter into any contract or agreement with any partner, member,
        shareholder, principal or Affiliate, except, in each case, upon terms and conditions that
        are intrinsically fair and substantially similar to those that would be available on an
        arm’s-length basis with unaffiliated third parties;

               (xv) assume or guaranty or otherwise become obligated for the debts of any
        other Person, hold itself out to be responsible for, or have its credit available to satisfy the
        debts or obligations of, any other Person, or otherwise pledge its assets for the benefit of
        any other Person;

               (xvi) except as provided in the Loan Documents, have any of its obligations
        guaranteed by any Affiliate;

                 (xvii) make any loans or advances to any Person;
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               (xviii) fail to maintain adequate capital for the normal obligations reasonably
        foreseeable in a business of its size and character and in light of its contemplated business
        operations (to the extent there exists sufficient cash flow from the Property to do so, and
        provided that the foregoing shall not require any direct or indirect member, partner or
        shareholder of Borrower to make any additional capital contributions to Borrower);

              (xix) fail to consider the interests of Borrower’s creditors in connection with all
        company actions;

                (xx) without the prior unanimous written consent of all of its partners,
        shareholders or members, as applicable, and the prior unanimous written consent of its
        board of directors or managers, as applicable, and the prior written consent of each
        Independent Director (as defined below), regardless of whether such Independent
        Director is engaged at the Borrower or SPE Component Entity level, (A) file or consent
        to the filing of any petition, either voluntary or involuntary, to take advantage of any
        Creditors Rights Laws, (B) seek or consent to the appointment of a receiver, liquidator or
        any similar official, (C) take any action that might cause such entity to become insolvent,
        (D) make an assignment for the benefit of creditors or (E) take any Material Action with
        respect to Borrower or any SPE Component Entity (provided, that, none of any member,
        shareholder or partner (as applicable) of Borrower or any SPE Component Entity or any
        board of directors or managers (as applicable) of Borrower or any SPE Component Entity
        may vote on or otherwise authorize the taking of any of the foregoing actions unless, in
        each case, at least two (2) Independent Directors are then serving in such capacity in
        accordance with the terms of the applicable organizational documents and each of such
        Independent Directors has consented to such foregoing action);

               (xxi) acquire obligations or securities of its partners, members, shareholders or
        other Affiliates, as applicable;

               (xxii) permit any Affiliate or constituent party independent access to its bank
        accounts;

               (xxiii) identify its partners, members, shareholders or other Affiliates, as
        applicable, as a division or part of it; or

              (xxiv) conduct its business and activities in such a way as to cause any of the
        assumptions made with respect to Borrower and its principals in any Non-Consolidation
        Opinion or in any New Non-Consolidation Opinion to be violated.

       (b)     If Borrower is a partnership or limited liability company (other than a Springing
Member LLC), each general partner (in the case of a partnership) and managing member (in the
case of a limited liability company) of Borrower, as applicable, shall be a corporation or a
Springing Member LLC (each an “SPE Component Entity”) whose sole asset is its interest in
Borrower. Each SPE Component Entity (i) will at all times comply with each of the covenants,
terms and provisions contained in clauses (a)(iv) - (xxiv) of this Exhibit C and, if such SPE
Component Entity is a Springing Member LLC, clauses (c) and (d) of this Exhibit C, as if such
representation, warranty or covenant was made directly by such SPE Component Entity; (ii) will

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not engage in any business or activity other than owning an interest in Borrower; (iii) will not
acquire or own any assets other than its partnership, membership, or other equity interest in
Borrower; (iv) will at all times continue to own no less than a 0.5% direct equity ownership
interest in Borrower; (v) will not incur any debt, secured or unsecured, direct or contingent
(including guaranteeing any obligation); and (vi) will cause Borrower to comply with the
provisions of this Exhibit C.

        (c)     In the event Borrower or the SPE Component Entity is a Springing Member LLC,
the limited liability company agreement of Borrower or the SPE Component Entity (as
applicable) (the “LLC Agreement”) shall provide that (i) upon the occurrence of any event that
causes the last remaining member of Borrower or the SPE Component Entity (as applicable)
(“Member”) to cease to be the member of Borrower or the SPE Component Entity (as
applicable) (other than (A) upon an assignment by Member of all of its limited liability company
interest in Borrower or the SPE Component Entity (as applicable) and the admission of the
transferee in accordance with the Loan Documents and the LLC Agreement, or (B) the
resignation of Member and the admission of an additional member of Borrower or the SPE
Component Entity (as applicable) in accordance with the terms of the Loan Documents and the
LLC Agreement), any person acting as Independent Director of Borrower or the SPE Component
Entity (as applicable) shall, without any action of any other Person and simultaneously with the
Member ceasing to be the member of Borrower or the SPE Component Entity (as applicable)
automatically be admitted to Borrower or the SPE Component Entity (as applicable) as a
member with a 0% economic interest (“Special Member”) and shall continue Borrower or the
SPE Component Entity (as applicable) without dissolution and (ii) Special Member may not
resign from Borrower or the SPE Component Entity (as applicable) or transfer its rights as
Special Member unless (A) a successor Special Member has been admitted to Borrower or the
SPE Component Entity (as applicable) as a Special Member in accordance with requirements of
Delaware law and (B) after giving effect to such resignation or transfer, there remains at least
two (2) Independent Directors of the SPE Component Entity or Borrower (as applicable) in
accordance with clauses (e) and (f) below. The LLC Agreement shall further provide that (i)
Special Member shall automatically cease to be a member of Borrower or the SPE Component
Entity (as applicable) upon the admission to Borrower or the SPE Component Entity (as
applicable) of the first substitute member, (ii) Special Member shall be a member of Borrower or
the SPE Component Entity (as applicable) that has no interest in the profits, losses and capital of
Borrower or the SPE Component Entity (as applicable) and has no right to receive any
distributions of the assets of Borrower or the SPE Component Entity (as applicable), (iii)
pursuant to the applicable provisions of the limited liability company act of the State of
Delaware (the “Act”), Special Member shall not be required to make any capital contributions to
Borrower or the SPE Component Entity (as applicable) and shall not receive a limited liability
company interest in Borrower or the SPE Component Entity (as applicable), (iv) Special
Member, in its capacity as Special Member, may not bind Borrower or the SPE Component
Entity (as applicable) and (v) except as required by any mandatory provision of the Act, Special
Member, in its capacity as Special Member, shall have no right to vote on, approve or otherwise
consent to any action by, or matter relating to, Borrower or the SPE Component Entity (as
applicable) including, without limitation, the merger, consolidation or conversion of Borrower or
the SPE Component Entity (as applicable); provided, however, such prohibition shall not limit
the obligations of Special Member, in its capacity as Independent Director, to vote on such
matters required by the Loan Documents or the LLC Agreement. In order to implement the
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admission to Borrower or the SPE Component Entity (as applicable) of Special Member, Special
Member shall execute a counterpart to the LLC Agreement. Prior to its admission to Borrower
or the SPE Component Entity (as applicable) as Special Member, Special Member shall not be a
member of Borrower or the SPE Component Entity (as applicable), but Special Member may
serve as an Independent Director of Borrower or the SPE Component Entity (as applicable).

        (d)     The LLC Agreement shall further provide that (i) upon the occurrence of any
event that causes the Member to cease to be a member of Borrower or the SPE Component
Entity (as applicable) to the fullest extent permitted by law, the personal representative of
Member shall, within ninety (90) days after the occurrence of the event that terminated the
continued membership of Member in Borrower or the SPE Component Entity (as applicable)
agree in writing (A) to continue Borrower or the SPE Component Entity (as applicable) and (B)
to the admission of the personal representative or its nominee or designee, as the case may be, as
a substitute member of Borrower or the SPE Component Entity (as applicable) effective as of the
occurrence of the event that terminated the continued membership of Member in Borrower or the
SPE Component Entity (as applicable), (ii) any action initiated by or brought against Member or
Special Member under any Creditors Rights Laws shall not cause Member or Special Member to
cease to be a member of Borrower or the SPE Component Entity (as applicable) and upon the
occurrence of such an event, the business of Borrower or the SPE Component Entity (as
applicable) shall continue without dissolution and (iii) each of Member and Special Member
waives any right it might have to agree in writing to dissolve Borrower or the SPE Component
Entity (as applicable) upon the occurrence of any action initiated by or brought against Member
or Special Member under any Creditors Rights Laws, or the occurrence of an event that causes
Member or Special Member to cease to be a member of Borrower or the SPE Component Entity
(as applicable).

        (e)     The organizational documents of Borrower (to the extent Borrower is a
corporation or a Springing Member LLC) or the SPE Component Entity, as applicable, shall
provide that at all times there shall be at least two duly appointed independent directors or
managers of such entity (each, an “Independent Director”) who each shall (I) not have been at
the time of each such individual’s initial appointment, and shall not have been at any time during
the preceding five years, and shall not be at any time while serving as Independent Director,
either (i) a shareholder (or other equity owner) of, or an officer, director (other than in its
capacity as Independent Director), partner, member or employee of, Borrower or any of its
respective shareholders, partners, members, subsidiaries or Affiliates, (ii) a customer of, or
supplier to, or other Person who derives any of its purchases or revenues from its activities with,
Borrower or any of its respective shareholders, partners, members, subsidiaries or Affiliates, (iii)
a Person who Controls or is under common Control with any such shareholder, officer, director,
partner, member, employee supplier, customer or other Person, or (iv) a member of the
immediate family of any such shareholder, officer, director, partner, member, employee,
supplier, customer or other Person, (II) shall have, at the time of their appointment, had at least
three (3) years’ experience in serving as an independent director and (III) be employed by, in
good standing with and engaged by Borrower in connection with, in each case, an Acceptable ID
Provider (defined below).

        (f)    The organizational documents of each Borrower and the SPE Component Entity
shall further provide that (I) the board of directors or managers of Borrower and the SPE
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Component Entity and the constituent equity owners of such entities (constituent equity owners,
the “Constituent Members”) shall not take any action set forth in clause (a)(xx) of this Exhibit
C or any other action which, under the terms of any organizational documents of Borrower or the
SPE Component Entity, requires the vote of the Independent Directors unless, in each case, at the
time of such action there shall be at least two Independent Directors engaged as provided by the
terms hereof and each such Independent Director votes in favor of or otherwise consent to such
action; (II) any resignation, removal or replacement of any Independent Director shall not be
effective without (1) prior written notice to Lender and the Rating Agencies (which such prior
written notice must be given on the earlier of five (5) days or three (3) Business Days prior to the
applicable resignation, removal or replacement) and (2) evidence that the replacement
Independent Director satisfies the applicable terms and conditions hereof and of the applicable
organizational documents (which such evidence must accompany the aforementioned notice);
(III) to the fullest extent permitted by applicable law, including Section 18-1101(c) of the Act
and notwithstanding any duty otherwise existing at law or in equity, the Independent Directors
shall consider only the interests of the Constituent Members and Borrower and any SPE
Component Entity (including Borrower’s and any SPE Component Entity’s respective creditors)
in acting or otherwise voting on the matters provided for herein and in Borrower’s and SPE
Component Entity’s organizational documents (which such fiduciary duties to the Constituent
Members and Borrower and any SPE Component Entity (including Borrower’s and any SPE
Component Entity’s respective creditors), in each case, shall be deemed to apply solely to the
extent of their respective economic interests in Borrower or SPE Component Entity (as
applicable) exclusive of (x) all other interests (including, without limitation, all other interests of
the Constituent Members), (y) the interests of other Affiliates of the Constituent Members,
Borrower and SPE Component Entity and (z) the interests of any group of Affiliates of which the
Constituent Members, Borrower or SPE Component Entity is a part)); (IV) other than as
provided in subsection (III) above, the Independent Directors shall not have any fiduciary duties
to any Constituent Members, any directors of Borrower or SPE Component Entity or any other
Person; (V) the foregoing shall not eliminate the implied contractual covenant of good faith and
fair dealing under applicable law; and (VI) to the fullest extent permitted by applicable law,
including Section 18 1101(e) of the Act, an Independent Director shall not be liable to Borrower,
SPE Component Entity, any Constituent Member or any other Person for breach of contract or
breach of duties (including fiduciary duties), unless the Independent Director acted in bad faith
or engaged in willful misconduct.

        (g)    Notwithstanding the foregoing, no Independent Director of Borrower or any SPE
Component Entity may also serve as an independent director of Mezzanine Borrower or any
special purpose component entity of Mezzanine Borrower.

         “Acceptable ID Provider” shall mean (i) any of the following unless any of the same are
ever disapproved by the Rating Agencies: CT Corporation, Corporation Service Company,
National Registered Agents, Inc., Wilmington Trust Company, Stewart Management Company
and Lord Securities Corporation and (ii) any other national provider of Independent Directors
that is approved in writing by Lender and the Rating Agencies.




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                                     EXHIBIT D

                                        REA

NONE




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                                             EXHIBIT E

                 SECONDARY MARKET TRANSACTION INFORMATION

        (A)      Any proposed program for the renovation, improvement or development of the
                 Property, or any part thereof, including the estimated cost thereof and the method
                 of financing to be used.

        (B)      The general competitive conditions to which the Property is or may be subject.

        (C)      Management of the Property.

        (D)      Occupancy rate expressed as a percentage for each of the last five years.

        (E)      Principal business, occupations and professions carried on in, or from the
                 Property.

        (F)      Number of Tenants occupying 10% or more of the total rentable square footage of
                 the Property and principal nature of business of such Tenant, and the principal
                 provisions of the leases with those Tenants including, but not limited to: rental per
                 annum, expiration date, and renewal options.

        (G)      The average effective annual rental per square foot or unit for each of the last
                 three years prior to the date of filing.

        (H)      Schedule of the lease expirations for each of the ten years starting with the year in
                 which the registration statement is filed (or the year in which the prospectus
                 supplement is dated, as applicable), stating:

                 (1)    The number of Tenants whose leases will expire.

                 (2)    The total area in square feet covered by such leases.

                 (3)    The annual rental represented by such leases.

                 (4)    The percentage of gross annual rental represented by such leases.




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                                     EXHIBIT F

                                      PERMITS

NONE




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                                     EXHIBIT G

                                    FINANCINGS


NONE




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                                       EXHIBIT H

                                      LITIGATION

    1. Case no. 170702398 (Pennsylvania) filed July 24, 2017 by the City of Philadelphia
       against York Street Property Development, Michael Lichtenstein and Nahman
       Lichtenstein;

    2. Case no. 504396/2017 (New York) filed March 6, 2017 by Grand Living II LLC, Toby
       Moskovits, My 2011 Grand LLC, S&B Monsey, LLC and Moshe Dov Schweidl against
       Yoel Goldman and All Year Management;

    3. Case no. 161004907 (Pennsylvania) filed November 4, 2016 by Reed Smith LLP against
       1718-41 York Street LP, YML Realty, Inc., York Street Property Development, 1718
       York Street, LLC, Michael Lichtenstein, and Nahman Lichtenstein;

    4. Case no. 090800820 (Pennsylvania) filed August 7, 2009 by Republic Bank against
       Michael Lichtenstein;

    5. Case no. 5145900/2017 (New York) filed July 27, 2017 by Juan L. Ramirez and Carmen
       Nina Ramirez against Borrower and Manager;

    6. Case No. 514248/2017 (New York) filed July 24, 2017 by Madwell, LLC against
       Borrower;

    7. Case No. 513214/2016 (New York) filed August 1, 2016 by Gerson Mencia against
       Borrower and Dimyon Development Corp.;

    8. Case No. 508700/2016 (New York) filed by Arones Milrod against Borrower, Dimyon
       Development Corp., Heritage Equity Holdings LLC and Heritage Equity Partners;

    9. Case No. 507323/2014 (New York) filed August 11, 2014 by Grandfield Realty Corp.
       against Borrower, Toby Moskovits, 96 W Development LLC, 96 Wythe Holdings LLC,
       et al; and

    10. Case No. 14609/2013 (New York) filed August 12, 2013 by Loeffler Realty LLC against
        Borrower, 96 W Development LLC, Economy Contracting Corp., et al.




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                                     EXHIBIT I

                                MAJOR CONTRACTS

NONE




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                                     EXHIBIT J

            CONTINGENT LIABILITIES AND LONG-TERM COMMITMENTS

NONE




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                                     EXHIBIT K

                                    VIOLATIONS

                                    (See attached)




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  November 7, 2017

  The Williamsburg Hotel
  96 Wythe Avenue
  Site Number 53668

  Per search of the City of NYC Fire Department records, there is an open fire code
  violation notice on file for this property under Notice of Violation numbers:




  The City of NYC Fire Department considers these violations open and active. The Fire
  Department does not consider the Notice of Violation to be closed, based on subsequent
  annual inspections that do not list or note the prior notice of violations items on the
  subsequent inspections and requires a follow up inspection to be requested and re-
  inspection fees to be paid to address the items listed in the notice of violation and close
  out the notice.

  Contact providing this information:

  Richie Mann
  Municipal Data Services
  Staten Island, NY
  718-815-0707

  Respectfully;
  Ashlee D. Williams
  Research Analyst




  3555 N.W. 58th Street
  Suite 400
  Oklahoma City, OK 73112

  Phone:         405.525.2998 ext 129
  Fax:           405.528.4878
  Email:         awatters@zoning-info.com
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                                     EXHIBIT L

                                EQUIPMENT LEASES

NONE




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                            EXHIBIT B
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                                                                             Execution Copy




                     96 WYTHE ACQUISITION LLC, as mortgagor

                                       (Borrower)

                                              to

     BENEFIT STREET PARTNERS REALTY OPERATING PARTNERSHIP, L.P.,
                             as mortgagee

                                        (Lender)


                  CONSOLIDATION, MODIFICATION, SPREADER
                       AND EXTENSION AGREEMENT



                                     Dated:        As of December 13, 2017

                                  Location:        96 Wythe Avenue
                                                   Brooklyn, New York
                                    Block:         2295
                                      Lot:         21
                                   County:         Kings County


                             PREPARED BY AND UPON
                            RECORDATION RETURN TO:

                            Stroock & Stroock & Lavan LLP
                          200 S. Biscayne Boulevard, Suite 3100
                                  Miami, Florida 33131
                            Attention: Eugene Balshem, Esq.




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        THIS CONSOLIDATION, MODIFICATION, SPREADER AND EXTENSION
AGREEMENT (this “Security Instrument”) is made as of this 13th day of December, 2017,
by 96 WYTHE ACQUISITION LLC, a New York limited liability company having its
principal place of business at 1274 49th Street, Suite 184, Brooklyn, New York 11219, as
mortgagor (together with its permitted successors and assigns, “Borrower”) for the benefit of
BENEFIT STREET PARTNERS REALTY OPERATING PARTNERSHIP, L.P., a
Delaware limited partnership, having an address at 142 West 57th Street, Suite 1201, New York,
New York 10019 (together with its successors and assigns, “Lender”), as mortgagee. All
capitalized terms not defined herein shall have the respective meanings set forth in the Loan
Agreement (defined below).

                                         RECITALS:

       A.      Borrower is the owner of the Land (defined in Section 1.4) as more particularly
described in Exhibit A hereto.

       B.     Lender has acquired by assignment those certain mortgages listed on Exhibit B
hereto (the “Assigned Mortgage”) and the notes or bonds secured thereby (the “Assigned
Note”), on which Assigned Mortgage and Assigned Note there is currently outstanding an
aggregate principal amount of Sixty-Seven Million Nine Hundred Eighty-Six Thousand and
No/100 Dollars ($67,986,000.00).

      C.     The existing building loan mortgages are no longer building loans and all the
money as consolidated is part of fixed finance and all funds have been advanced.

       D.     Lender is also the holder of that certain Gap Mortgage made by Borrower of even
date herewith in favor of Lender (the “Gap Mortgage”) affecting the Property (defined in
Section 1.4) and securing Borrower’s obligations under that certain Gap Note of even date
herewith made by Borrower in favor of Lender in the principal amount of Fourteen Thousand
and No/100 Dollars ($14,000.00) (the “Gap Note”).

        E.      Lender and Borrower have entered into that certain Consolidation, Extension and
Restatement of Notes Agreement of even date herewith (the “Note Consolidation”) whereby the
Assigned Note and the Gap Note have been consolidated, extended and restated into a single
note in the principal amount of up to Sixty-Eight Million and No/100 Dollars ($68,000,000.00)
(such notes, as modified, extended and restated pursuant to the Note Consolidation, together with
all extensions, renewals, replacements, restatements or other modifications thereof, whether one
or more being hereinafter collectively referred to as the “Note”).

       F.     Lender and Borrower have agreed to consolidate, coordinate and spread the liens
of the Assigned Mortgage and the Gap Mortgage and to modify and restate the terms thereof in
the manner hereinafter appearing.

       G.    This Security Instrument is given to Lender to secure a certain loan in the
maximum principal amount of up to $68,000,000.00 (the “Loan”) advanced pursuant to a certain
loan agreement between Borrower and Lender (as the same may have been or may be amended,



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restated, replaced, supplemented or otherwise modified from time to time, the “Loan
Agreement”), which such Loan is evidenced by, among other things, the Note.

        H.      Borrower desires to secure the payment of the outstanding principal amount set
forth in, and evidenced by, the Loan Agreement and the Note together with all interest accrued
and unpaid thereon and all other sums due to Lender in respect of the Loan under the Note, the
Loan Agreement, this Security Instrument or any of the other Loan Documents (defined below)
(collectively, the “Debt”) and the performance of all of the obligations due under the Note, the
Loan Agreement and all other documents, agreements and certificates executed and/or delivered
in connection with the Loan (as the same may be amended, restated, replaced, supplemented or
otherwise modified from time to time, collectively, the “Loan Documents”).

        I.     This Security Instrument is given pursuant to the Loan Agreement, and payment,
fulfillment, and performance of the obligations due thereunder and under the other Loan
Documents are secured hereby in accordance with the terms hereof.

      NOW THEREFORE, in consideration of the making of the Loan by Lender and the
covenants, agreements, representations and warranties set forth in this Security Instrument:

   Article 1 - CONSOLIDATION AND RESTATEMENT OF MORTGAGES; GRANTS OF SECURITY

       Section 1.1 SINGLE LIEN. The liens of the Assigned Mortgage and the Gap Mortgage
are hereby consolidated and coordinated so that together they shall constitute in law but one
mortgage, a single first priority lien on the Property, securing the Obligations (hereinafter
defined) of the Borrower under the Note and under any other Loan Document.

        Section 1.2 RESTATEMENT OF MORTGAGE. The above mentioned mortgages, as
consolidated and coordinated, are hereby restated in their entirety to contain the terms hereinafter
set forth.

        Section 1.3 SECURITY INSTRUMENT. The above mentioned mortgages as consolidated,
modified, extended, and restated by this Security Instrument are hereinafter collectively referred
to and described as this “Security Instrument” and, except as modified hereby, shall remain in
full force and effect and, as modified hereby, are ratified and confirmed in all respects. In the
event of any conflict in the Assigned Mortgage as heretofore in effect and this Security
Instrument, the terms of this Security Instrument shall govern and control.

        Section 1.4 PROPERTY MORTGAGED. Borrower does hereby irrevocably mortgage,
grant, bargain, sell, pledge, assign, warrant, transfer, convey and grant a security interest to
Lender and its successors and assigns in and to the following property, rights, interests and
estates now owned, or hereafter acquired by Borrower (collectively, the “Property”):

                (a)     Land. The real property described in Exhibit A attached hereto and made
        a part hereof (collectively, the “Land”);

                (b)    Additional Land. All additional lands, estates and development rights
        hereafter acquired by Borrower for use in connection with the Land and the development
        of the Land and all additional lands and estates therein which may, from time to time, by

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        supplemental mortgage or otherwise be expressly made subject to the lien of this Security
        Instrument;

               (c)     Improvements.       The buildings, fixtures, additions, enlargements,
        extensions, modifications, repairs, replacements and improvements now or hereafter
        erected or located on the Land (collectively, the “Improvements”);

                (d)     Easements. All easements, rights-of-way or use, rights, strips and gores of
        land, streets, ways, alleys, passages, sewer rights, water, water courses, water rights and
        powers, air rights and development rights, and all estates, rights, titles, interests,
        privileges, liberties, servitudes, tenements, hereditaments and appurtenances of any
        nature whatsoever, in any way now or hereafter belonging, relating or pertaining to the
        Land and the Improvements, and the reversions and remainders, and all land lying in the
        bed of any street, road or avenue, opened or proposed, in front of or adjoining the Land,
        to the center line thereof and all the estates, rights, titles, interests, rights of dower, rights
        of curtesy, property, possession, claim and demand whatsoever, both at law and in equity,
        of Borrower of, in and to the Land and the Improvements, and every part and parcel
        thereof, with the appurtenances thereto;

                (e)     Equipment, Fixtures and Personal Property. All machinery, equipment,
        fixtures (including, but not limited to, all heating, air conditioning, plumbing, lighting,
        communications, elevator fixtures, inventory and goods), furniture, software used in or to
        operate any of the foregoing, inventory and articles of personal property and accessions
        thereof and renewals, replacements thereof and substitutions therefor (including, but not
        limited to, beds, bureaus, chiffonniers, chests, chairs, desks, lamps, mirrors, bookcases,
        tables, rugs, carpeting, drapes, draperies, curtains, shades, venetian blinds, screens,
        paintings, hangings, pictures, divans, couches, luggage carts, luggage racks, stools, sofas,
        chinaware, linens, pillows, blankets, glassware, silverware, foodcarts, cookware, dry
        cleaning facilities, dining room wagons, keys or other entry systems, bars, bar fixtures,
        liquor and other drink dispensers, icemakers, radios, television sets, intercom and paging
        equipment, electric and electronic equipment, dictating equipment, private telephone
        systems, medical equipment, potted plants, heating, lighting and plumbing fixtures, fire
        prevention and extinguishing apparatus, cooling and air-conditioning systems, elevators,
        escalators, fittings, plants, apparatus, stoves, ranges, refrigerators, laundry machines,
        tools, machinery, engines, dynamos, motors, boilers, incinerators, switchboards, conduits,
        compressors, vacuum cleaning systems, floor cleaning, waxing and polishing equipment,
        call systems, brackets, electrical signs, bulbs, bells, ash and fuel, conveyors, cabinets,
        lockers, shelving, spotlighting equipment, dishwashers, garbage disposals, washers and
        dryers), other customary hotel equipment and other property of every kind and nature
        whatsoever owned by Borrower, or in which Borrower has or shall have an interest, now
        or hereafter located upon the Land and the Improvements, or appurtenant thereto, and
        usable in connection with the present or future operation and occupancy of the Land and
        the Improvements and all building equipment, materials and supplies of any nature
        whatsoever owned by Borrower, or in which Borrower has or shall have an interest, now
        or hereafter located upon the Land and the Improvements, or appurtenant thereto, or
        usable in connection with the present or future operation and occupancy of the Land and
        the Improvements (those portions of the foregoing constituting equipment under

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        applicable Legal Requirements, the “Equipment”, those portions of the foregoing
        constituting personal property under applicable Legal Requirements, the “Personal
        Property”, those portions of the foregoing constituting fixtures under applicable Legal
        Requirements, the “Fixtures” and all of the foregoing, collectively, the “Equipment,
        Fixtures and Personal Property”), and the right, title and interest of Borrower in and to
        any of the foregoing which may be subject to any security interests, as defined in the
        Uniform Commercial Code, as adopted and enacted by the state or states where any of
        the Property is located (the “Uniform Commercial Code”), and all proceeds and
        products of the above;

                (f)     Leases and Rents. All leases, subleases, subsubleases, lettings, licenses,
        rental agreements, registration cards and agreements, concessions or other agreements
        (whether written or oral) pursuant to which any Person is granted a possessory interest in,
        or right to use or occupy all or any portion of the Land and the Improvements, and every
        modification, amendment or other agreement relating to such leases, subleases,
        subsubleases, or other agreements entered into in connection with such leases, subleases,
        subsubleases, or other agreements and every guarantee of the performance and
        observance of the covenants, conditions and agreements to be performed and observed by
        the other party thereto, heretofore or hereafter entered into, whether before or after the
        filing by or against Borrower of any petition for relief under any Creditors Rights Laws
        (collectively, the “Leases”) and all right, title and interest of Borrower, its successors and
        assigns therein and thereunder, including, without limitation, cash or securities deposited
        thereunder to secure the performance by the lessees of their obligations thereunder and all
        rents, additional rents, rent equivalents, moneys payable as damages or in lieu of rent or
        rent equivalents, royalties (including, without limitation, all oil and gas or other mineral
        royalties and bonuses), income, receivables, receipts, revenues, deposits (including,
        without limitation, security, utility and other deposits), accounts, cash, issues, profits,
        charges for services rendered, registration fees, and other consideration of whatever form
        or nature received by or paid to or for the account of or benefit of Borrower or its agents
        or employees from any and all sources arising from or attributable to the Property (or any
        portion thereof), including, all receivables, customer obligations, installment payment
        obligations and other obligations now existing or hereafter arising or created out of the
        sale, lease, sublease, license, concession or other grant of the right of the use and/or
        occupancy of the Property (or any portion thereof) or rendering of services by Borrower
        or Manager and proceeds, if any, from business interruption or other loss of income
        insurance whether paid or accruing before or after the filing by or against Borrower of
        any petition for relief under any Creditors Rights Laws including, without limitation, all
        hotel receipts, revenues and credit card receipts collected from guest rooms, restaurants,
        bars, mini-bars, meeting rooms, banquet rooms and recreational facilities and otherwise,
        all receivables, customer obligations, installment payment obligations and other
        obligations now existing or hereafter arising or created out of the sale, lease, sublease,
        license, concession or other grant of the right of possession, use and/or occupancy of the
        Property (or any portion thereof) and/or rendering of services by Borrower or any
        operator or manager of the hotel or the commercial space located in the Improvements or
        acquired from others (including, without limitation, from the rental of any office space,
        retail space, guest rooms or other space, halls, stores, and offices, and deposits securing
        reservations of such space), license, lease, sublease and concession fees and rentals,

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        health club membership fees, food and beverage wholesale and retail sales, service
        charges, vending machine sales (collectively, the “Rents”) and all proceeds from the sale
        or other disposition of the Leases and the right to receive and apply the Rents to the
        payment of the Debt;

                 (g)     Insurance Proceeds. All insurance proceeds in respect of the Property
        under any insurance policies covering the Property, including, without limitation, the
        right to receive and apply the proceeds of any insurance, judgments, or settlements made
        in lieu thereof, for damage to the Property (collectively, the “Insurance Proceeds”);

                (h)     Condemnation Awards. All condemnation awards, including interest
        thereon, which may heretofore and hereafter be made with respect to the Property by
        reason of any taking or condemnation, whether from the exercise of the right of eminent
        domain (including, but not limited to, any transfer made in lieu of or in anticipation of the
        exercise of the right), or for a change of grade, or for any other injury to or decrease in
        the value of the Property (collectively, the “Awards”);

                (i)     Tax Certiorari. All refunds, rebates or credits in connection with
        reduction in real estate taxes and assessments charged against the Property as a result of
        tax certiorari or any applications or proceedings for reduction;

                (j)    Rights. The right, in the name and on behalf of Borrower, to appear in and
        defend any action or proceeding brought with respect to the Property and to commence
        any action or proceeding to protect the interest of Lender in the Property;

                (k)     Agreements.       All agreements, contracts, certificates, instruments,
        franchises, permits, licenses, plans, specifications and other documents, now or hereafter
        entered into, and all rights therein and thereto, respecting or pertaining to the use,
        occupation, construction, management or operation of the Land and any part thereof and
        any Improvements or any business or activity conducted on the Land and any part thereof
        and all right, title and interest of Borrower therein and thereunder, including, without
        limitation, the right, upon the happening of any default hereunder, to receive and collect
        any sums payable to Borrower thereunder;

               (l)    Intangibles. All tradenames, trademarks, servicemarks, logos, copyrights,
        goodwill, books and records and all other general intangibles relating to or used in
        connection with the operation of the Property;

                (m)    Accounts. All (I) reserves, escrows and deposit accounts maintained by or
        on behalf of Borrower with respect to the Property, including, without limitation, any and
        all reserve accounts maintained in connection with the Equipment, Fixtures and Personal
        Property; together with all deposits or wire transfers made to such accounts and all cash,
        checks, drafts, certificates, securities, investment property, financial assets, instruments
        and other property held therein from time to time and all proceeds, products, distributions
        or dividends or substitutions thereon and thereof and (II) right, title and interest of
        Borrower arising from the operation of the Land and the Improvements in and to all
        payments for goods or property sold or leased or for services rendered, whether or not yet


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        earned by performance, and not evidenced by an instrument or chattel paper, (hereinafter
        referred to as “Accounts Receivable”) including, without limiting the generality of the
        foregoing, (A) all accounts, contract rights, book debts, and notes arising from the
        operation of a hotel on the Land and the Improvements or arising from the sale, lease or
        exchange of goods or other property and/or the performance of services, (B) Borrower’s
        rights to payment from any consumer credit/charge card organization or entities which
        sponsor and administer such cards as the American Express Card, the Visa Card and the
        Mastercard, (C) Borrower’s rights in, to and under all purchase orders for goods, services
        or other property, (D) Borrower’s rights to any goods, services or other property
        represented by any of the foregoing, (E) monies due to or to become due to Borrower
        under all contracts for the sale, lease or exchange of goods or other property and/or the
        performance of services including the right to payment of any interest or finance charges
        in respect thereto (whether or not yet earned by performance on the part of Borrower) and
        (F) all collateral security and guaranties of any kind given by any person or entity with
        respect to any of the foregoing. Accounts Receivable shall include those now existing or
        hereafter created, substitutions therefor, proceeds (whether cash or non-cash, movable or
        immovable, tangible or intangible) received upon the sale, exchange, transfer, collection
        or other disposition or substitution thereof and any and all of the foregoing and proceeds
        therefrom (collectively, the “Accounts”);

               (n)    Proceeds. All proceeds of any of the foregoing items set forth in
        subsections (a) through (m) including, without limitation, Insurance Proceeds and
        Awards, whether cash, liquidation claims (or other claims) or otherwise; and

                (o)    Other Rights. Any and all other rights of Borrower in and to the items set
        forth in subsections (a) through (n) above.

        Section 1.5 ASSIGNMENT OF RENTS. Borrower hereby absolutely and unconditionally
assigns to Lender all of Borrower’s right, title and interest in and to all current and future Leases
and Rents; it being intended by Borrower that this assignment constitutes a present, absolute
assignment and not an assignment for additional security only. Nevertheless, subject to the terms
of the Loan Agreement and Section 8.1(h) of this Security Instrument, Lender grants to Borrower
a revocable license to (i) collect, receive, use and enjoy the Rents and Borrower shall hold the
Rents, or a portion thereof sufficient to discharge all current sums due on the Debt, for use in the
payment of such sums, and (ii) enforce the terms of the Leases.

       Section 1.6 SECURITY AGREEMENT. This Security Instrument is both a real property
mortgage and a “security agreement” within the meaning of the Uniform Commercial Code. The
Property includes both real and personal property and all other rights and interests, whether
tangible or intangible in nature, of Borrower in the Property. By executing and delivering this
Security Instrument, Borrower hereby grants to Lender, as security for the Obligations
(hereinafter defined), a security interest in the Personal Property to the full extent that the
Personal Property may be subject to the Uniform Commercial Code.

        Section 1.7 FIXTURE FILING. Certain of the Property is or will become “fixtures” (as
that term is defined in the Uniform Commercial Code) on the Land, and this Security Instrument,
upon being filed for record in the real estate records of the city or county wherein such fixtures

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are situated, shall operate also as a financing statement filed as a fixture filing in accordance with
the applicable provisions of said Uniform Commercial Code upon such of the Property that is or
may become fixtures.

       Section 1.8 PLEDGE OF MONIES HELD. Borrower hereby pledges to Lender any and all
monies now or hereafter held by Lender or on behalf of Lender in connection with the Loan,
including, without limitation, any sums deposited in the Accounts and Net Proceeds, as
additional security for the Obligations until expended or applied as provided in the Loan
Documents.

        Section 1.9 CONDITIONS TO GRANT. TO HAVE AND TO HOLD the above granted
and described Property unto and to the use and benefit of Lender and its successors and assigns,
forever; PROVIDED, HOWEVER, these presents are upon the express condition that, if Lender
shall be well and truly paid the Debt at the time and in the manner provided in the Note, the Loan
Agreement and this Security Instrument, if Borrower shall well and truly perform the Other
Obligations as set forth in this Security Instrument and shall well and truly abide by and comply
with each and every covenant and condition set forth herein and in the Note, the Loan
Agreement and the other Loan Documents, these presents and the estate hereby granted shall
cease, terminate and be void.

                          Article 2 - DEBT AND OBLIGATIONS SECURED

       Section 2.1 DEBT. This Security Instrument and the grants, assignments and transfers
made in Article 1 are given for the purpose of securing the Debt.

        Section 2.2 OTHER OBLIGATIONS.           This Security Instrument and the grants,
assignments and transfers made in Article 1 are also given for the purpose of securing the
performance of the following (the “Other Obligations”): (a) all other obligations of Borrower
contained herein; (b) each obligation of Borrower contained in the Loan Agreement and any
other Loan Document; and (c) each obligation of Borrower contained in any renewal, extension,
amendment, modification, consolidation, change of, or substitution or replacement for, all or any
part of the Note, the Loan Agreement or any other Loan Document.

        Section 2.3 DEBT AND OTHER OBLIGATIONS. Borrower’s obligations for the payment
of the Debt and the performance of the Other Obligations shall be referred to collectively herein
as the “Obligations.”

      Section 2.4 PAYMENT OF DEBT. Borrower will pay the Debt at the time and in the
manner provided in the Loan Agreement, the Note and this Security Instrument.

       Section 2.5 INCORPORATION BY REFERENCE. All the covenants, conditions and
agreements contained in (a) the Loan Agreement, (b) the Note and (c) all and any of the other
Loan Documents, are hereby made a part of this Security Instrument to the same extent and with
the same force as if fully set forth herein.

                                Article 3 - PROPERTY COVENANTS

        Borrower covenants and agrees that:

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       Section 3.1 INSURANCE. Borrower shall obtain and maintain, or cause to be obtained
and maintained, in full force and effect at all times insurance with respect to Borrower and the
Property as required pursuant to the Loan Agreement.

        Section 3.2 TAXES AND OTHER CHARGES. Borrower shall pay all real estate and
personal property taxes, assessments, water rates or sewer rents (collectively “Taxes”), ground
rents, maintenance charges, impositions (other than Taxes), and any other charges, including,
without limitation, vault charges and license fees for the use of vaults, chutes and similar areas
adjoining the Property (collectively, “Other Charges”), now or hereafter levied or assessed or
imposed against the Property or any part thereof in accordance with the Loan Agreement.

       Section 3.3 LEASES. Borrower shall not (and shall not permit any other applicable
Person to) enter in any Leases for all or any portion of the Property unless in accordance with the
provisions of the Loan Agreement.

         Section 3.4 WARRANTY OF TITLE. Borrower has good, indefeasible, marketable and
insurable title to the Property and has the right to mortgage, grant, bargain, sell, pledge, assign,
warrant, transfer and convey the same. Borrower possesses an unencumbered fee simple
absolute estate in the Land and the Improvements except for the Permitted Encumbrances, such
other liens as are permitted pursuant to the Loan Documents and the liens created by the Loan
Documents. This Security Instrument, when properly recorded in the appropriate records,
together with any Uniform Commercial Code financing statements required to be filed in
connection therewith, will create (a) a valid, perfected first priority lien on the Property, subject
only to Permitted Encumbrances and the liens created by the Loan Documents and (b) perfected
security interests in and to, and perfected collateral assignments of, all personalty (including the
Leases), all in accordance with the terms thereof, in each case subject only to any applicable
Permitted Encumbrances, such other liens as are permitted pursuant to the Loan Documents and
the liens created by the Loan Documents. Borrower shall forever warrant, defend and preserve
the title and the validity and priority of the lien of this Security Instrument and shall forever
warrant and defend the same to Lender against the claims of all Persons whomsoever.

                                Article 4 - FURTHER ASSURANCES

        Section 4.1 COMPLIANCE WITH LOAN AGREEMENT. Borrower shall comply with all
covenants set forth in the Loan Agreement relating to acts or other further assurances to be made
on the part of Borrower in order to protect and perfect the lien or security interest hereof upon,
and in the interest of Lender in, the Property.

         Section 4.2 AUTHORIZATION TO FILE FINANCING STATEMENTS; POWER OF ATTORNEY.
Borrower hereby authorizes Lender at any time and from time to time to file any initial financing
statements, amendments thereto and continuation statements as authorized by applicable law, as
applicable to all or part of the Personal Property and as necessary or required in connection
herewith, and Lender is hereby authorized to describe the collateral as “all assets” of Borrower
on such financing statements, amendments thereto and continuation statements.. For purposes of
such filings, Borrower agrees to furnish any information requested by Lender promptly upon
request by Lender. Borrower also ratifies its authorization for Lender to have filed any like
initial financing statements, amendments thereto or continuation statements, if filed prior to the


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date of this Security Instrument. Borrower hereby irrevocably constitutes and appoints Lender
and any officer or agent of Lender, with full power of substitution, as its true and lawful
attorneys-in-fact with full irrevocable power and authority in the place and stead of Borrower or
in Borrower’s own name to execute in Borrower’s name any such documents and otherwise to
carry out the purposes of this Section 4.2, to the extent that Borrower’s authorization above is not
sufficient and Borrower fails or refuses to promptly execute such documents. To the extent
permitted by law, Borrower hereby ratifies all acts said attorneys-in-fact have lawfully done in
the past or shall lawfully do or cause to be done in the future by virtue hereof. This power of
attorney is a power coupled with an interest and shall be irrevocable.

                                Article 5 - DUE ON SALE/ENCUMBRANCE

        Section 5.1 NO SALE/ENCUMBRANCE. Except in accordance with the express terms
and conditions contained in the Loan Agreement, Borrower shall not cause or permit a sale,
conveyance, mortgage, grant, bargain, encumbrance, pledge, assignment, or grant of any options
with respect to, or any other transfer or disposition (directly or indirectly, voluntarily or
involuntarily, by operation of law or otherwise, and whether or not for consideration or of
record) of a direct or indirect legal or beneficial interest in the Property or any part thereof,
Borrower, any constituent owner or other holder of a direct or indirect equity interest in
Borrower, any indemnitor or other guarantor of the Loan, any constituent owner or other holder
of a direct or indirect equity interest in such indemnitor or guarantor, any manager or operating
lessee of the Property that is affiliated with Borrower or any constituent owner or other holder of
a direct or indirect equity interest in such manager or such operating lessee.

                          Article 6 - PREPAYMENT; RELEASE OF PROPERTY

         Section 6.1 PREPAYMENT. The Debt may not be prepaid in whole or in part except in
strict accordance with the express terms and conditions of the Note and the Loan Agreement.

       Section 6.2 RELEASE OF PROPERTY. Borrower shall not be entitled to a release of any
portion of the Property from the lien of this Security Instrument except in accordance with terms
and conditions of the Loan Agreement.

                                         Article 7 - DEFAULT

       Section 7.1 EVENT OF DEFAULT. The term “Event of Default” as used in this Security
Instrument shall have the meaning assigned to such term in the Loan Agreement.

                          Article 8 - RIGHTS AND REMEDIES UPON DEFAULT

       Section 8.1 REMEDIES. Upon the occurrence and during the continuance of any Event
of Default, Borrower agrees that Lender may take such action, without notice or demand, as it
deems advisable to protect and enforce its rights against Borrower and in and to the Property,
including, but not limited to, the following actions, each of which may be pursued concurrently
or otherwise, at such time and in such order as Lender may determine, in its sole discretion,
without impairing or otherwise affecting the other rights and remedies of Lender:

                 (a)      declare the entire unpaid Debt to be immediately due and payable;

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                (b)     institute proceedings, judicial or otherwise, for the complete foreclosure of
        this Security Instrument under any applicable provision of law, in which case the
        Property or any interest therein may be sold for cash or upon credit in one or more
        parcels or in several interests or portions and in any order or manner;

                (c)     with or without entry, to the extent permitted and pursuant to the
        procedures provided by applicable law, institute proceedings for the partial foreclosure of
        this Security Instrument for the portion of the Debt then due and payable, subject to the
        continuing lien and security interest of this Security Instrument for the balance of the
        Debt not then due, unimpaired and without loss of priority. Notwithstanding anything to
        the contrary contained herein, if the indebtedness evidenced by the Note and secured by
        this Security Instrument has been split or severed into multiple notes or components after
        the date hereof, Lender will not partially foreclose this Security Instrument with respect
        to any single indebtedness evidenced by any individual note or component separate and
        apart from the entire indebtedness secured by this Security Instrument (for the avoidance
        of doubt, except as expressly set forth in this clause, in no event shall the foregoing be
        construed to limit Lender’s rights and remedies under applicable law to conduct one or
        more sales or to institute proceedings in order to realize on any collateral for the Loan);

                (d)     sell for cash or upon credit the Property or any part thereof and all estate,
        claim, demand, right, title and interest of Borrower therein and rights of redemption
        thereof, pursuant to power of sale or otherwise, at one or more sales, as an entirety or in
        parcels, at such time and place, upon such terms and after such notice thereof as may be
        required or permitted by law;

               (e)   institute an action, suit or proceeding in equity for the specific
        performance of any covenant, condition or agreement contained herein, in the Note, the
        Loan Agreement or in the other Loan Documents;

               (f)   recover judgment on the Note either before, during or after any
        proceedings for the enforcement of this Security Instrument or the other Loan
        Documents;

                (g)     seek and obtain the appointment of a receiver, trustee, liquidator or
        conservator of the Property, without notice and without regard for the adequacy of the
        security for the Debt and without regard for the solvency of Borrower, any guarantor or
        indemnitor under the Loan or any other Person liable for the payment of the Debt;

               (h)     the license granted to Borrower under Section 1.5 hereof shall
        automatically be revoked and Lender may enter into or upon the Property, either
        personally or by its agents, nominees or attorneys and dispossess Borrower and its agents
        and servants therefrom, without liability for trespass, damages or otherwise and exclude
        Borrower and its agents or servants wholly therefrom, and take possession of all books,
        records and accounts relating thereto and Borrower agrees to surrender possession of the
        Property and of such books, records and accounts to Lender upon demand, and thereupon
        Lender may (i) use, operate, manage, control, insure, maintain, repair, restore and
        otherwise deal with all and every part of the Property and conduct the business thereat;


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        (ii) complete any construction on the Property in such manner and form as Lender
        reasonably deems advisable; (iii) make alterations, additions, renewals, replacements and
        improvements to or on the Property; (iv) exercise all rights and powers of Borrower with
        respect to the Property, whether in the name of Borrower or otherwise, including, without
        limitation, the right to make, cancel, enforce or modify Leases, obtain and evict tenants,
        and demand, sue for, collect and receive all Rents of the Property and every part thereof;
        (v) require Borrower to pay monthly in advance to Lender, or any receiver appointed to
        collect the Rents, the fair and reasonable rental value for the use and occupation of such
        part of the Property as may be occupied by Borrower; (vi) require Borrower to vacate and
        surrender possession of the Property to Lender or to such receiver and, in default thereof,
        Borrower may be evicted by summary proceedings or otherwise; and (vii) apply the
        receipts from the Property to the payment of the Debt, in such order, priority and
        proportions as Lender shall deem appropriate in its sole discretion after deducting
        therefrom all expenses (including reasonable attorneys’ fees) incurred in connection with
        the aforesaid operations and all amounts necessary to pay the Taxes, Other Charges,
        insurance and other expenses in connection with the Property, as well as just and
        reasonable compensation for the services of Lender, its counsel, agents and employees;

                 (i)    apply any sums then deposited or held in escrow or otherwise by or on
        behalf of Lender in accordance with the terms of the Loan Agreement, this Security
        Instrument or any other Loan Document and/or the Accounts to the payment of the
        following items in any order in its sole discretion: (i) Taxes and Other Charges;
        (ii) insurance premiums; (iii) interest on the unpaid principal balance of the Debt;
        (iv) amortization of the unpaid principal balance of the Debt; (v) all other sums payable
        pursuant to the Note, the Loan Agreement, this Security Instrument and the other Loan
        Documents, including without limitation advances made by Lender pursuant to the terms
        of this Security Instrument;

                (j)    surrender the insurance policies maintained pursuant to the Loan
        Agreement, collect the unearned insurance premiums for such insurance policies and
        apply such sums as a credit on the Debt in such priority and proportion as Lender in its
        discretion shall deem proper, and in connection therewith, Borrower hereby appoints
        Lender as agent and attorney-in-fact (which is coupled with an interest and is therefore
        irrevocable) for Borrower to collect such insurance premiums;

                (k)     apply the undisbursed balance of any deposit made by Borrower with
        Lender in connection with the restoration of the Property after a casualty thereto or
        condemnation thereof, together with interest thereon, to the payment of the Debt in such
        order, priority and proportions as Lender shall deem to be appropriate in its discretion;
        and/or

                 (l)      pursue such other remedies as Lender may have under applicable law.

In the event of a sale, by foreclosure, power of sale or otherwise, of less than all of the Property,
this Security Instrument shall continue as a lien and security interest on the remaining portion of
the Property unimpaired and without loss of priority. Notwithstanding the provisions of this
Section to the contrary, if any Event of Default as described in Section 10.1(f) of the Loan

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Agreement shall occur with respect to Borrower or any SPE Component Entity, the entire unpaid
Debt shall be automatically due and payable, without any further notice, demand or other action
by Lender.

        Section 8.2 APPLICATION OF PROCEEDS. Upon the occurrence and during the
continuance of any Event of Default, the purchase money, proceeds and avails of any disposition
of the Property (or any part thereof) and any other sums collected by Lender pursuant to the
Note, this Security Instrument or the other Loan Documents may, in each case, be applied by
Lender to the payment of the Debt in such order, priority and proportions as Lender in its sole
discretion shall determine.

        Section 8.3 RIGHT TO CURE DEFAULTS. Upon the occurrence and during the
continuance of any Event of Default, Lender may, but without any obligation to do so and
without notice to or demand on Borrower and without releasing Borrower from any obligation
hereunder, make any payment or do any act required of Borrower hereunder in such manner and
to such extent as Lender may deem necessary to protect the security hereof. Lender is authorized
to enter upon the Property for such purposes, or appear in, defend, or bring any action or
proceeding to protect its interest in the Property or to foreclose this Security Instrument or collect
the Debt, and the cost and expense thereof (including reasonable attorneys’ fees to the extent
permitted by law), with interest as provided in this Section 8.3, shall constitute a portion of the
Debt and shall be due and payable to Lender upon demand. All such costs and expenses incurred
by Lender in remedying such Event of Default or such failed payment or act or in appearing in,
defending, or bringing any such action or proceeding shall bear interest at any default rate
specified in the Loan Agreement, if any (the “Default Rate”), for the period after notice from
Lender that such cost or expense was incurred to the date of payment to Lender. All such costs
and expenses incurred by Lender together with interest thereon calculated at the Default Rate
shall be deemed to constitute a portion of the Debt and be secured by this Security Instrument
and the other Loan Documents and shall be immediately due and payable upon demand by
Lender therefor.

       Section 8.4 ACTIONS AND PROCEEDINGS. Lender has the right to appear in and defend
any action or proceeding brought with respect to the Property and to bring any action or
proceeding, in the name and on behalf of Borrower, which Lender, in its discretion, decides
should be brought to protect its interest in the Property.

        Section 8.5 RECOVERY OF SUMS REQUIRED TO BE PAID. Lender shall have the right
from time to time to take action to recover any sum or sums which constitute a part of the Debt
as the same become due, without regard to whether or not the balance of the Debt shall be due,
and without prejudice to the right of Lender thereafter to bring an action of foreclosure, or any
other action, for a default or defaults by Borrower existing at the time such earlier action was
commenced.

        Section 8.6 OTHER RIGHTS, ETC. (a) The failure of Lender to insist upon strict
performance of any term hereof shall not be deemed to be a waiver of any term of this Security
Instrument. Borrower shall not be relieved of Borrower’s obligations hereunder by reason of (i)
the failure of Lender to comply with any request of Borrower or any guarantor or indemnitor
with respect to the Loan to take any action to foreclose this Security Instrument or otherwise

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enforce any of the provisions hereof or of the Note or the other Loan Documents, (ii) the release,
regardless of consideration, of the whole or any part of the Property, or of any Person liable for
the Debt or any portion thereof, or (iii) any agreement or stipulation by Lender extending the
time of payment or otherwise modifying or supplementing the terms of the Note, this Security
Instrument or the other Loan Documents.

                 (b)    It is agreed that the risk of loss or damage to the Property is on Borrower,
        and Lender shall have no liability whatsoever for decline in the value of the Property, for
        failure to maintain the insurance policies required to be maintained pursuant to the Loan
        Agreement, or for failure to determine whether insurance in force is adequate as to the
        amount of risks insured. Possession by Lender shall not be deemed an election of judicial
        relief if any such possession is requested or obtained with respect to any Property or
        collateral not in Lender’s possession.

                (c)     Lender may resort for the payment of the Debt to any other security held
        by Lender in such order and manner as Lender, in its discretion, may elect. Lender may
        take action to recover the Debt, or any portion thereof, or to enforce any covenant hereof
        without prejudice to the right of Lender thereafter to foreclose this Security Instrument.
        The rights of Lender under this Security Instrument shall be separate, distinct and
        cumulative and none shall be given effect to the exclusion of the others. No act of
        Lender shall be construed as an election to proceed under any one provision herein to the
        exclusion of any other provision. Lender shall not be limited exclusively to the rights and
        remedies herein stated but shall be entitled to every right and remedy now or hereafter
        afforded at law or in equity.

        Section 8.7 RIGHT TO RELEASE ANY PORTION OF THE PROPERTY. Lender may release
any portion of the Property for such consideration as Lender may require without, as to the
remainder of the Property, in any way impairing or affecting the lien or priority of this Security
Instrument, or improving the position of any subordinate lienholder with respect thereto, except
to the extent that the obligations hereunder shall have been reduced by the actual monetary
consideration, if any, received by Lender for such release, and may accept by assignment, pledge
or otherwise any other property in place thereof as Lender may require without being
accountable for so doing to any other lienholder. This Security Instrument shall continue as a
lien and security interest in the remaining portion of the Property.

       Section 8.8 RIGHT OF ENTRY. Upon reasonable notice to Borrower, Lender and its
agents shall have the right to enter and inspect the Property at all reasonable times.

        Section 8.9 BANKRUPTCY. (a) Upon the occurrence and during the continuance of an
Event of Default, Lender shall have the right to proceed in its own name or in the name of
Borrower in respect of any claim, suit, action or proceeding relating to the rejection of any
Lease, including, without limitation, the right to file and prosecute, to the exclusion of Borrower,
any proofs of claim, complaints, motions, applications, notices and other documents, in any case
in respect of the lessee under such Lease under the Bankruptcy Code.

              (b)    If there shall be filed by or against Borrower a petition under the
        Bankruptcy Code and Borrower, as lessor under any Lease, shall determine to reject such


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        Lease pursuant to Section 365(a) of the Bankruptcy Code, then Borrower shall give
        Lender not less than ten (10) days’ prior notice of the date on which Borrower shall apply
        to the bankruptcy court for authority to reject the Lease. Lender shall have the right, but
        not the obligation, to serve upon Borrower within such ten-day period a notice stating
        that (i) Lender demands that Borrower assume and assign the Lease to Lender pursuant to
        Section 365 of the Bankruptcy Code and (ii) Lender covenants to cure or provide
        adequate assurance of future performance under the Lease. If Lender serves upon
        Borrower the notice described in the preceding sentence, Borrower shall not seek to reject
        the Lease and shall comply with the demand provided for in clause (i) of the preceding
        sentence within thirty (30) days after the notice shall have been given, subject to the
        performance by Lender of the covenant provided for in clause (ii) of the preceding
        sentence.

         Section 8.10 SUBROGATION. If any or all of the proceeds of the Note have been used to
extinguish, extend or renew any indebtedness heretofore existing against the Property, then, to
the extent of the funds so used, Lender shall be subrogated to all of the rights, claims, liens,
titles, and interests existing against the Property heretofore held by, or in favor of, the holder of
such indebtedness and such former rights, claims, liens, titles, and interests, if any, are not
waived but rather are continued in full force and effect in favor of Lender and are merged with
the lien and security interest created herein as cumulative security for the repayment of the Debt,
the performance and discharge of the Other Obligations.

                             Article 9 - ENVIRONMENTAL HAZARDS

       Section 9.1 ENVIRONMENTAL COVENANTS. Borrower has provided representations,
warranties and covenants regarding environmental matters set forth in the Environmental
Indemnity and Borrower shall comply with the aforesaid covenants regarding environmental
matters.

                                      Article 10 - WAIVERS

        Section 10.1 MARSHALLING AND OTHER MATTERS. Borrower hereby waives, to the
extent permitted by law, the benefit of all Legal Requirements now or hereafter in force
regarding appraisement, valuation, stay, extension, reinstatement and redemption and all rights
of marshalling in the event of any sale hereunder of the Property or any part thereof or any
interest therein. Further, Borrower hereby expressly waives any and all rights of redemption
from sale under any order or decree of foreclosure of this Security Instrument on behalf of
Borrower, and on behalf of each and every Person acquiring any interest in or title to the
Property subsequent to the date of this Security Instrument and on behalf of all Persons to the
extent permitted by Legal Requirements.

        Section 10.2 WAIVER OF NOTICE. Borrower shall not be entitled to any notices of any
nature whatsoever from Lender except with respect to matters for which this Security Instrument
or the Loan Agreement specifically and expressly provides for the giving of notice by Lender to
Borrower and except with respect to matters for which Borrower is not permitted by Legal
Requirements to waive its right to receive notice, and Borrower hereby expressly waives the
right to receive any notice from Lender with respect to any matter for which this Security


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Instrument does not specifically and expressly provide for the giving of notice by Lender to
Borrower.

        Section 10.3 WAIVER OF STATUTE OF LIMITATIONS. To the fullest extent permitted by
applicable law, Borrower hereby expressly waives and releases its right to plead any statute of
limitations as a defense to the payment of the Debt or performance of its Other Obligations.

       Section 10.4 WAIVER OF COUNTERCLAIM. To the extent permitted by applicable law,
Borrower hereby waives the right to assert a counterclaim, other than a mandatory or compulsory
counterclaim, in any action or proceeding brought against it by Lender arising out of or in any
way connected with this Security Instrument, the Loan Agreement, the Note, any of the other
Loan Documents, or the Obligations.

     Section 10.5 WAIVER OF TRIAL BY JURY. BORROWER AND LENDER EACH
HEREBY AGREES NOT TO ELECT A TRIAL BY JURY OF ANY ISSUE TRIABLE OF
RIGHT BY JURY, AND WAIVES ANY RIGHT TO TRIAL BY JURY FULLY TO THE
EXTENT THAT ANY SUCH RIGHT SHALL NOW OR HEREAFTER EXIST WITH
REGARD TO THE LOAN DOCUMENTS, OR ANY CLAIM, COUNTERCLAIM OR
OTHER ACTION ARISING IN CONNECTION THEREWITH. THIS WAIVER OF
RIGHT TO TRIAL BY JURY IS GIVEN KNOWINGLY AND VOLUNTARILY BY
BORROWER AND LENDER, AND IS INTENDED TO ENCOMPASS INDIVIDUALLY
EACH INSTANCE AND EACH ISSUE AS TO WHICH THE RIGHT TO A TRIAL BY
JURY WOULD OTHERWISE ACCRUE. EACH OF LENDER AND BORROWER IS
HEREBY AUTHORIZED TO FILE A COPY OF THIS PARAGRAPH IN ANY
PROCEEDING AS CONCLUSIVE EVIDENCE OF THIS WAIVER BY BORROWER
AND LENDER.

       Section 10.6 WAIVER OF FORECLOSURE DEFENSE. Borrower hereby waives any defense
Borrower might assert or have by reason of Lender’s failure to make any tenant or lessee of the
Property a party defendant in any foreclosure proceeding or action instituted by Lender.

                                  Article 11 - EXCULPATION

       Section 11.1 EXCULPATION. The provisions of Article 12 of the Loan Agreement are
hereby incorporated by reference into this Security Instrument to the same extent and with the
same force as if fully set forth herein.

                                    Article 12 - NOTICES

       Section 12.1 NOTICES. All notices or other written communications hereunder shall be
delivered in accordance with the applicable terms and conditions of the Loan Agreement.

                                Article 13 - APPLICABLE LAW

        Section 13.1 GOVERNING LAW. The governing law and related provisions contained in
Section 15.4 of the Loan Agreement are hereby incorporated by reference as if fully set forth
herein.


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        Section 13.2 PROVISIONS SUBJECT TO APPLICABLE LAW. All rights, powers and
remedies provided in this Security Instrument may be exercised only to the extent that the
exercise thereof does not violate any applicable provisions of law and are intended to be limited
to the extent necessary so that they will not render this Security Instrument invalid,
unenforceable or not entitled to be recorded, registered or filed under the provisions of any
applicable law. If any term of this Security Instrument or any application thereof shall be invalid
or unenforceable, the remainder of this Security Instrument and any other application of the term
shall not be affected thereby.

                                    Article 14 - DEFINITIONS

        Section 14.1 GENERAL DEFINITIONS. Unless the context clearly indicates a contrary
intent or unless otherwise specifically provided herein, words used in this Security Instrument
may be used interchangeably in singular or plural form and the word “Borrower” shall mean
“each Borrower and any subsequent owner or owners of the Property or any part thereof or any
interest therein,” the word “Lender” shall mean “Lender and any of Lender’s successors and
assigns,” the word “Note” shall mean “the Note and any other evidence of indebtedness secured
by this Security Instrument,” the word “Property” shall include any portion of the Property and
any interest therein, and the phrases “attorneys’ fees”, “legal fees” and “counsel fees” shall
include any and all attorneys’, paralegal and law clerk fees and disbursements, including, but not
limited to, fees and disbursements at the pre-trial, trial and appellate levels incurred or paid by
Lender in protecting its interest in the Property, the Leases and the Rents and enforcing its rights
hereunder.

                           Article 15 - MISCELLANEOUS PROVISIONS

       Section 15.1 NO VERBAL CHANGE. This Security Instrument, and any provisions
hereof, may not be modified, amended, waived, extended, changed, discharged or terminated
verbally or by any act or failure to act on the part of Borrower or Lender, but only by an
agreement in writing signed by the party against whom enforcement of any modification,
amendment, waiver, extension, change, discharge or termination is sought.

       Section 15.2 SUCCESSORS AND ASSIGNS. This Security Instrument shall be binding
upon and inure to the benefit of Borrower and Lender and their respective successors and assigns
forever.

       Section 15.3 INAPPLICABLE PROVISIONS. If any term, covenant or condition of the Loan
Agreement, the Note or this Security Instrument is held to be invalid, illegal or unenforceable in
any respect, the Loan Agreement, the Note and this Security Instrument shall be construed
without such provision.

        Section 15.4 HEADINGS, ETC. The headings and captions of various Sections of this
Security Instrument are for convenience of reference only and are not to be construed as defining
or limiting, in any way, the scope or intent of the provisions hereof.

       Section 15.5 NUMBER AND GENDER. Whenever the context may require, any pronouns
used herein shall include the corresponding masculine, feminine or neuter forms, and the
singular form of nouns and pronouns shall include the plural and vice versa.

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        Section 15.6 ENTIRE AGREEMENT. This Security Instrument and the other Loan
Documents contain the entire agreement of the parties hereto and thereto in respect of the
transactions contemplated hereby and thereby, and all prior agreements among or between such
parties, whether oral or written, are superseded by the terms of this Security Instrument and the
other Loan Documents.

        Section 15.7 LIMITATION ON LENDER’S RESPONSIBILITY. No provision of this Security
Instrument shall operate to place any obligation or liability for the control, care, management or
repair of the Property upon Lender, nor shall it operate to make Lender responsible or liable for
any waste committed on the Property by the tenants or any other Person, or for any dangerous or
defective condition of the Property, or for any negligence in the management, upkeep, repair or
control of the Property resulting in loss or injury or death to any tenant, licensee, employee or
stranger. Nothing herein contained shall be construed as constituting Lender a “mortgagee in
possession.”

       Section 15.8 JOINT AND SEVERAL LIABILITY. If Borrower consists of more than one
Person, the obligations and liabilities of each such Person hereunder shall be joint and several.

        Section 15.9 SOLE DISCRETION OF LENDER. Whenever pursuant to this Security
Instrument, Lender exercises any right given to it to approve or disapprove, or any arrangement
or term is to be satisfactory to Lender, the decision of Lender to approve or disapprove or to
decide whether arrangements or terms are satisfactory or not satisfactory shall (except as is
otherwise specifically herein provided) be in the sole (but reasonable) discretion of Lender and
shall be final and conclusive.

         Section 15.10 SUBROGATION. If any or all of the proceeds of the Note have been used to
extinguish, extend or renew any indebtedness heretofore existing against the Property, then, to
the extent of the funds so used, Lender shall be subrogated to all of the rights, claims, liens,
titles, and interests existing against the Property heretofore held by, or in favor of, the holder of
such indebtedness and such former rights, claims, liens, titles, and interests, if any, are not
waived but rather are continued in full force and effect in favor of Lender and are merged with
the lien and security interest created herein as cumulative security for the payment, performance
and discharge of the Obligations (including, but not limited to, the payment of the Debt).

        Section 15.11 VARIABLE INTEREST RATE. The Loan secured by this Security Instrument
is a variable interest rate loan, as more particularly set forth in the Loan Agreement.

                             Article 16 - INTENTIONALLY OMITTED

                            Article 17 - STATE-SPECIFIC PROVISIONS

       Section 17.1 PRINCIPLES OF CONSTRUCTION. In the event of any inconsistencies
between the terms and conditions of this Article 17 and the terms and conditions of this Security
Instrument, the terms and conditions of this Article 17 shall control and be binding.

      Section 17.2 TRUST FUND. Pursuant to Section 13 of the New York Lien Law,
Borrower shall receive the advances secured hereby and shall hold the right to receive the
advances as a trust fund to be applied first for the purpose of paying the cost of any improvement

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and shall apply the advances first to the payment of the cost of any such improvement on the
Property before using any part of the total of the same for any other purpose.

       Section 17.3 COMMERCIAL PROPERTY.          Borrower represents that this Security
Instrument does not encumber real property principally improved or to be improved by one or
more structures containing in the aggregate not more than six residential dwelling units, each
having its own separate cooking facilities.

        Section 17.4 INSURANCE. The provisions of subsection 4 of Section 254 of the New
York Real Property Law covering the insurance of buildings against loss by fire shall not apply
to this Security Instrument. In the event of any conflict, inconsistency or ambiguity between the
provisions of Article V of the Loan Agreement and the provisions of subsection 4 of Section 254
of the New York Real Property Law covering the insurance of buildings against loss by fire, the
provisions of Article V of the Loan Agreement shall control. In addition, Borrower shall comply
with the provisions of Section 291-g of the Real Property Law of New York, to the extent
applicable.

        Section 17.5 LEASES. Lender shall have all of the rights against lessees of the Property
set forth in Section 291-f of the Real Property Law of New York. Attached hereto as Exhibit C
and made a part hereof is a true and complete copy of Section 4.16 of the Loan Agreement. The
provisions of this Section 17.5 and Section 4.16 of the Loan Agreement as set forth on Exhibit C
are made with reference to Section 291-f of the New York Real Property Law.

        Section 17.6 STATUTORY CONSTRUCTION. The clauses and covenants contained in this
Security Instrument that are construed by Section 254 of the New York Real Property Law shall
be construed as provided in those sections (except as provided in Section 15.4). The additional
clauses and covenants contained in this Security Instrument shall afford rights supplemental to
and not exclusive of the rights conferred by the clauses and covenants construed by Section 254
and shall not impair, modify, alter or defeat such rights (except as provided in Section 15.4),
notwithstanding that such additional clauses and covenants may relate to the same subject matter
or provide for different or additional rights in the same or similar contingencies as the clauses
and covenants construed by Section 254. The rights of Lender arising under the clauses and
covenants contained in this Security Instrument shall be separate, distinct and cumulative and
none of them shall be in exclusion of the others. No act of Lender shall be construed as an
election to proceed under any one provision herein to the exclusion of any other provision,
anything herein or otherwise to the contrary notwithstanding. In the event of any inconsistencies
between the provisions of Section 254 and the provisions of this Security Instrument, the
provisions of this Security Instrument shall prevail.

        Section 17.7 MAXIMUM PRINCIPAL AMOUNT SECURED. Notwithstanding anything to
the contrary contained in this Security Instrument, the maximum amount of principal
indebtedness secured by this Security Instrument or which under any contingency may be
secured by this Security Instrument is the amount of $68,000,000.00 plus amounts that Lender
expends after a default under this Security Instrument to the extent that any such amounts shall
constitute payment of (a) taxes, charges or assessments which may be imposed by law upon the
Property; (b) premiums on insurance policies covering the Property; and (c) expenses incurred in
upholding the lien of this Security Instrument, including, but not limited to (i) the expenses of

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any litigation to prosecute or defend the rights and lien created by this Security Instrument, (ii)
any amount, cost or charges to which the Security Instrument becomes subrogated, upon
payment, whether under recognized principles of law or equity, or under express statutory
authority and (iii) interest at the default rate (or regular interest rate).

                           [NO FURTHER TEXT ON THIS PAGE]




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                                         EXHIBIT A

                                  LEGAL DESCRIPTION


ALL that certain plot, piece or parcel of land situated, lying and being in the Borough of
Brooklyn, County of Kings, City and State of New York bounded and described as follows:

BEGINNING at a point on the westerly side of Wythe Avenue distant 25 feet northerly from the
corner formed by the intersection of the westerly side of Wythe Avenue with the northerly side
of North 10th Street;

RUNNING THENCE Northerly along the westerly side of Wythe Avenue, 100 feet 3 inches;

THENCE Westerly parallel with North 10th Street, 75 feet;

THENCE Southerly parallel with Wythe Avenue, 25 feet 3 inches;

THENCE Westerly parallel with North 10th Street, 150 feet;

THENCE Southerly parallel with Wythe Avenue, 100 feet to the northerly side of North 10th
Street;

THENCE Easterly along the northerly side of North 10th Street, 125 feet;

THENCE Northerly parallel with Wythe Avenue, 25 feet;

THENCE Easterly parallel with North 10th Street, 100 feet to the westerly side of Wythe
Avenue, the point or place of BEGINNING.




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                                         EXHIBIT B

                                 ASSIGNED MORTGAGE


1. MORTGAGE, ASSIGNMENT OF LEASES AND RENTS AND SECURITY AGREEMENT
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: DCP Wythe Lender, LLC
Amount: $5,000,000.00
Dated: June 27, 2012
Recorded: July 16, 2012
CRFN: 2012000276595
Tax Paid: $140,000.00

2. MORTGAGE
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: The Backer Group LLC
Amount: $5,000,000.00
Dated: April 29, 2013
Recorded: May 20, 2013
CRFN: 2013000202921
Tax Paid: $140,000.00

2a. ASSIGNMENT OF MORTGAGE
Assignor: The Backer Group LLC
Assignee: DCP Wythe Lender, LLC
Dated: March 26, 2014
Recorded: May 1, 2014
CRFN: 2014000146499

3. GAP MORTGAGE
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: DCP Wythe Lender, LLC
Amount: $9,000,000.00
Dated: March 26, 2014
Recorded: May 1, 2014
CRFN: 2014000146500
Tax Paid: $252,000.00

3a. CONSOLIDATION, EXTENSION, AND MODIFICATION AGREEMENT
From: 96 Wythe Acquisition LLC
To: DCP Wythe Lender, LLC
Dated: March 26, 2014
Recorded: May 1, 2014
CRFN: 2014000146501
Notes: This Agreement consolidates mortgages 1-3 above to form a single lien in the amount of



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$19,000,000.00.

3b. ASSIGNMENT
Mortgagor: DCP Wythe Lender, LLC
Mortgagee: G4 18141, LLC
Dated: December 9, 2014
Recorded: December 23, 2014
CRFN: 2014000421394

4. GAP MORTGAGE
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18141, LLC
Amount: $5,250,000.00
Dated: December 9, 2014
Recorded: December 23, 2014
CRFN: 2014000421395
Tax Paid: $147,000.00

4a. CONSOLIDATED, AMENDED AND RESTATED MORTGAGE, ASSIGNMENT OF
LEASES AND RENTS AND SECURITY AGREEMENT
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18141, LLC
Dated: December 9, 2014
Recorded: December 23, 2014
CRFN: 2014000421396
Notes: This Agreement consolidates mortgages 1-4 above to form a single lien in the amount of
$24,250,000.00.

4b. FIRST AMENDMENT TO CONSOLIDATED, AMENDED AND RESTATED
MORTGAGE, ASSIGNMENT OF LEASES AND RENTS AND SECURITY AGREEMENT
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18141, LLC
Dated: March 31, 2016
Recorded: April 13, 2016
CRFN: 2016000128960
Notes: This Agreement amends the terms of Mortgage Nos. 1-4 above as consolidated.

4c. SECOND AMENDMENT TO CONSOLIDATED, AMENDED AND RESTATED
MORTGAGE, ASSIGNMENT OF LEASES AND RENTS AND SECURITY AGREEMENT
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18141, LLC
Dated: November 14, 2016
Recorded: November 23, 2016
CRFN: 2016000415472
Notes: This Agreement amends the terms of Mortgage Nos. 1-4 above as consolidated.




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4d. THIRD AMENDMENT TO CONSOLIDATED, AMENDED AND RESTATED
MORTGAGE, ASSIGNMENT OF LEASES AND RENTS AND SECURITY AGREEMENT
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18141, LLC
Dated: July 19, 2017
Recorded: July 26, 2017
CRFN: 2017000273789
Notes: This Agreement amends the terms of Mortgage Nos. 1-4 above as consolidated.

4e. ASSIGNMENT
Assignor: G4 18141, LLC
Assignee: Benefit Street Partners Realty Operating Partnership, L.P.
Dated: December 13, 2017
To be duly recorded.
Note: Assigns Mortgages 1-4 above.

5. BUILDING LOAN MORTGAGE, ASSIGNMENT OF LEASES AND RENTS AND
SECURITY AGREEMENT (SECOND)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Amount: $13,670,555.00
Dated: December 9, 2014
Recorded: December 30, 2014
CRFN: 2014000430375
Tax Paid: $382,776.80

5a. FIRST AMENDMENT TO BUILDING LOAN MORTGAGE, ASSIGNMENT OF LEASES
AND RENTS AND SECURITY AGREEMENT (SECOND)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: October 2, 2015
Recorded: October 14, 2015
CRFN: 2015000366470
Notes: This Agreement amends the terms of mortgage above.

5b. SECOND AMENDMENT TO BUILDING LOAN MORTGAGE, ASSIGNMENT OF
LEASES AND RENTS AND SECURITY AGREEMENT (SECOND)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: March 31, 2016
Recorded: April 13, 2016
CRFN: 2016000128961
Notes: This Agreement further amends the terms of Mortgage above.

5c. THIRD AMENDMENT TO BUILDING LOAN MORTGAGE, ASSIGNMENT OF
LEASES AND RENTS AND SECURITY AGREEMENT (SECOND)



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Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: November 14, 2016
CRFN: 2016000415473

5d. FOURTH AMENDMENT TO BUILDING LOAN MORTGAGE, ASSIGNMENT OF
LEASES AND RENTS AND SECURITY AGREEMENT (SECOND)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: July 19, 2017
Recorded: July 26, 2017
CRFN: 2017000273790

6. PROJECT LOAN MORTGAGE, ASSIGNMENT OF LEASES AND RENTS AND
SECURITY AGREEMENT (THIRD)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Amount: $2,329,445.00
Dated: December 9, 2014
Recorded: December 30, 2014
CRFN: 2014000430378
Tax Paid: $65,223.20

6a. FIRST AMENDMENT TO PROJECT LOAN MORTGAGE, ASSIGNMENT OF LEASES
AND RENTS AND SECURITY AGREEMENT (THIRD)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: October 2, 2015
Recorded: October 14, 2015
CRFN: 2015000366471
Notes: This Agreement amends the terms of mortgage above.

6b. SECOND AMENDMENT TO PROJECT LOAN MORTGAGE, ASSIGNMENT OF
LEASES AND RENTS AND SECURITY AGREEMENT (THIRD)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: March 31, 2016
Recorded: April 13, 2016
CRFN: 2016000128962
Notes: This Agreement further amends the terms of mortgage above.

6c. THIRD AMENDMENT TO PROJECT LOAN MORTGAGE, ASSIGNMENT OF LEASES
AND RENTS AND SECURITY AGREEMENT (THIRD)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: November 14, 2016



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Recorded: November 23, 2016
CRFN: 2016000415474
Notes: This Agreement further amends the terms of mortgage above.

6d. FOURTH AMENDMENT TO PROJECT LOAN MORTGAGE, ASSIGNMENT OF
LEASES AND RENTS AND SECURITY AGREEMENT (THIRD)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: July 19, 2017
Recorded: July 26, 2017
CRFN: 2017000273791
Notes: This Agreement further amends the terms of mortgage above.

7. SECOND BUILDING LOAN MORTGAGE, ASSIGNMENT OF LEASES AND RENTS
AND SECURITY AGREEMENT (FOURTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Amount: $4,425,000.00
Dated: October 2, 2015
Recorded: October 14, 2015
CRFN: 2015000366472
Tax Paid: $123,900.00

7a. FIRST AMENDMENT TO SECOND BUILDING LOAN MORTGAGE, ASSIGNMENT
OF LEASES AND RENTS (FOURTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: March 31, 2016
Recorded: April 13, 2016
CRFN: 2016000128963
Notes: This Agreement amends the terms of mortgage above.

7b. SECOND AMENDMENT TO SECOND BUILDING LOAN MORTGAGE,
ASSIGNMENT OF LEASES AND RENTS AND SECURITY AGREEMENT (FOURTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: November 14, 2016
Recorded: November 23, 2016
CRFN: 2016000415475
Notes: This Agreement amends the terms of mortgage above.

7c. THIRD AMENDMENT TO SECOND BUILDING LOAN MORTGAGE, ASSIGNMENT
OF LEASES AND RENTS AND SECURITY AGREEMENT (FOURTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: July 19, 2017



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Recorded: July 26, 2017
CRFN: 2017000273792
Notes: This Agreement amends the terms of mortgage above.

8. SECOND PROJECT LOAN MORTGAGE, ASSIGNMENT OF LEASES AND RENTS
AND SECURITY AGREEMENT (FIFTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Amount: $1,575,000.00
Dated: October 2, 2015
Recorded: October 14, 2015
CRFN: 2015000366475
Tax Paid: $44,100.00

8a. FIRST AMENDMENT TO SECOND PROJECT LOAN MORTGAGE, ASSIGNMENT OF
LEASES AND RENTS AND SECURITY AGREEMENT (FIFTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: March 31, 2016
Recorded: April 13, 2016
CRFN: 2016000128964
Notes: This Agreement amends the terms of mortgage above.

8b. SECOND AMENDMENT TO SECOND PROJECT LOAN MORTGAGE, ASSIGNMENT
OF LEASES AND RENTS AND SECURITY AGREEMENT (FIFTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: November 14, 2016
Recorded: November 23, 2016
CRFN: 2016000415476
Notes: This Agreement amends the terms of mortgage above.

8c. THIRD AMENDMENT TO SECOND PROJECT LOAN MORTGAGE, ASSIGNMENT OF
LEASES AND RENTS AND SECURITY AGREEMENT (FIFTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: July 19, 2017
Recorded: July 26, 2017
CRFN: 2017000273793
Notes: This Agreement amends the terms of mortgage above.

9. THIRD PROJECT LOAN MORTGAGE, ASSIGNMENT OF LEASES AND RENTS AND
SECURITY AGREEMENT (SIXTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Amount: $4,636,000.00



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Dated: March 31, 2016
Recorded: April 13, 2016
CRFN: 2016000128958
Tax Paid: $129,808.00

9a. FIRST AMENDMENT TO THIRD PROJECT LOAN MORTGAGE, ASSIGNMENT OF
LEASES AND RENTS AND SECURITY AGREEMENT (SIXTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: November 14, 2016
Recorded: November 23, 2016
CRFN: 2016000415477
Notes: This Agreement amends the terms of mortgage above.

9b. SECOND AMENDMENT TO THIRD PROJECT LOAN MORTGAGE, ASSIGNMENT
OF LEASES AND RENTS AND SECURITY AGREEMENT (SIXTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: July 19, 2017
Recorded: July 26, 2017
CRFN: 2017000273794
Notes: This Agreement amends the terms of mortgage above.

10. THIRD BUILDING LOAN MORTGAGE,ASSIGNMENT OF LEASES AND RENTS AND
SECURITY AGREEMENT (SEVENTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Amount: $1,500,000.00
Dated: November 14, 2016
Recorded: November 23, 2016
CRFN: 2016000415478
Tax Paid: $42,000.00

10a. FIRST AMENDMENT TO THIRD BUILDING LOAN MORTGAGE, ASSIGNMENT OF
LEASES AND RENTS AND SECURITY AGREEMENT (SEVENTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Dated: July 19, 2017
Recorded: July 26, 2017
CRFN: 2017000273795
Notes: This Agreement amends the terms of mortgage above.




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11. FOURTH PROJECT LOAN MORTGAGE,ASSIGNMENT OF LEASES AND RENTS
AND SECURITY AGREEMENT (EIGHTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Amount: $5,600,000.00
Dated: November 14, 2016
Recorded: November 23, 2016
CRFN: 2015000415481
Tax Paid: $156,800.00

11a. FIRST AMENDMENT TO FOURTH PROJECT LOAN MORTGAGE, ASSIGNMENT
OF LEASES AND RENTS AND SECURITY AGREEMENT (EIGHTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G418142, LLC
Dated: July 19, 2017
Recorded: July 26, 2017
CRFN: 2017000273796
Notes: This Agreement amends the terms of mortgage above.

12. FIFTH PROJECT LOAN MORTGAGE, ASSIGNMENT OF LEASES AND RENTS AND
SECURITY AGREEMENT (NINTH)
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: G4 18142, LLC
Amount: $700,000.00
Dated: July 19, 2017
Recorded: July 26, 2017
CRFN: 2017000273797
Tax Paid: $19,600.00

12a. ASSIGNMENT
Assignor: G4 18142,LLC
Assignee: Benefit Street Partners Realty Operating Partnership, L.P.
Dated: December 13, 2017
To be duly recorded.
Note: Assigns Mortgages 5-12 above.

13. BUILDING LOAN MORTGAGE, ASSIGNMENT OF LEASES AND RENTS AND
SECURITY AGREEMENT
Mortgagor: 96 Wythe Acquisition LLC
Mortgagee: Hutton Ventures LLC
Amount: $9,300,000.00
Dated: March 10, 2016
Recorded: March 21, 2016
CRFN: 2016000098907
Tax Paid: $260,400.00


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This Mortgage was made subordinate to Mortgages 1-12 above by Subordination Agreement
recorded 11/23/2016 in CRFN 2016000415484, as amended by agreement recorded 7/26/17 at
CRFN 2017000273800.

13a. ASSIGNMENT
Assignor: Hutton Ventures LLC
Assignee: Benefit Street Partners Realty Operating Partnership, L.P.
Dated: December 13, 2017
To be duly recorded.




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                                          EXHIBIT C

                        SECTION 4.16 OF THE LOAN AGREEMENT

Section 4.16     Leases and Rents.

(a)     All Leases and all renewals of Leases executed after the date hereof shall (i) provide for
rental rates comparable to existing local market rates for similar properties, (ii) be on
commercially reasonable terms with unaffiliated, third parties (unless otherwise consented to by
Lender), (iii) provide that such Lease is subordinate to the Security Instrument and (iv) not
contain any terms which would have a Material Adverse Effect. Notwithstanding anything to the
contrary contained herein, Borrower shall not, without the prior written approval of Lender
(which approval shall not be unreasonably withheld or delayed), enter into, renew, extend,
amend, modify, permit any assignment of or subletting under, waive any provisions of, release
any party to, terminate, reduce rents under, accept a surrender of space under, or shorten the term
of, in each case, any Major Lease.

(b)     Without limitation of subsection (a) above, Borrower (i) shall observe and perform the
obligations imposed upon the lessor under the Leases in a commercially reasonable manner; (ii)
shall enforce the material terms, covenants and conditions contained in the Leases upon the part
of the lessee thereunder to be observed or performed in a commercially reasonable manner; (iii)
shall not collect any of the Rents more than one (1) month in advance (other than security
deposits); (iv) shall not execute any assignment of lessor’s interest in the Leases or the Rents
(except as contemplated by the Loan Documents); (v) shall not, without Lender’s prior written
consent, alter, modify or change any Lease to the extent the same would, individually or in the
aggregate, (A) cause any such Lease to violate 4.16(a)(i) through (iii) above or (B) have a
Material Adverse Effect; and (vi) shall hold all security deposits under all Leases in accordance
with Legal Requirements. Upon request, Borrower shall furnish Lender with executed copies of
all Leases.

(c)     Notwithstanding anything contained herein to the contrary, Borrower shall not willfully
withhold from Lender any information regarding renewal, extension, amendment, modification,
waiver of provisions of, termination, rental reduction of, surrender of space of, or shortening of
the term of, any Lease during the term of the Loan. Borrower further agrees to provide Lender
with written notice of any commercial Tenant (if any exist at the Property) “going dark” under
such Tenant’s Lease within five (5) Business Days after Borrower becomes aware of such
Tenant “going dark” and Borrower’s failure to provide such notice shall constitute an Event of
Default.

(d)     Borrower shall notify Lender in writing, within two (2) Business Days following receipt
thereof, of Borrower’s receipt of any early termination fee or payment or other termination fee or
payment paid by any Tenant under any commercial Lease or any Major Lease, and Borrower
further covenants and agrees that Borrower shall hold any such termination fee or payment in
trust for the benefit of Lender and that any use of such termination fee or payment shall be
subject in all respects to Lender’s prior written consent in Lender’s sole discretion (which
consent may include, without limitation, a requirement by Lender that such termination fee or
payment be placed in reserve with Lender to be disbursed by Lender for tenant improvement and


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leasing commission costs with respect to the Property and/or for payment of the Debt or
otherwise in connection with the Loan evidenced by the Note and/or the Property, as so
determined by Lender). The foregoing consent right of Lender (including, without limitation,
any reserve requirement) shall not be subject to any “cap” or similar limit on the amount of
Reserve Funds held by Lender.

(e)    To the extent that the Deemed Approval Requirements are fully satisfied in connection
with any Borrower request for Lender consent under this Section 4.16 and Lender thereafter fails
to respond, Lender’s approval shall be deemed given with respect to the matter for which
approval was requested.




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                                      Williamsburg Hotel
                                    Total Amount Due As of
                                          April 9, 2021
     Unpaid Principal                                                     $68,000,000
     Contract Interest on Principal Balance (5/15/19 to 4/14/21)       $10,186,192.22
     Protective Advances (Legal Fees Paid)                              $1,807,399.32
     Contract Interest on Protective Advances (As of 4/9/21)              $120,211.43
     Default Interest (5%) on Principal Balance, Protective Advances
     and Other Amounts Due (through 4/9/21)                             $8,127,908.70
     Additional Interest (Exit Fee = 0.50% of the Note)                   $340,000.00
     Late Fees                                                            $245,556.60
     Estimated Legal Fees Outstanding/Accrued                             $898,928.19
     Misc. Expenses (STR Report)                                              $550.00
     Credit from Applied Reserves                                        ($303,684.94)
     TOTAL AMOUNT DUE AS OF APRIL 9, 2021                              $89,423,061.52
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                            EXHIBIT D
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                                                                             Execution Copy




                      96 WYTHE ACQUISITION LLC, as assignor

                                       (Borrower)

                                              to

     BENEFIT STREET PARTNERS REALTY OPERATING PARTNERSHIP, L.P.,
                              as assignee

                                        (Lender)


                                 ASSIGNMENT OF
                                LEASES AND RENTS



                                     Dated:        As of December 13, 2017

                                  Location:        96 Wythe Avenue
                                                   Brooklyn, New York
                                    Block:         2295
                                      Lot:         21
                                   County:         Kings County


                             PREPARED BY AND UPON
                            RECORDATION RETURN TO:

                            Stroock & Stroock & Lavan LLP
                          200 S. Biscayne Boulevard, Suite 3100
                                  Miami, Florida 33131
                            Attention: Eugene Balshem, Esq.




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                          ASSIGNMENT OF LEASES AND RENTS

         THIS ASSIGNMENT OF LEASES AND RENTS (as amended, restated, replaced,
supplemented or otherwise modified from time to time, this “Assignment”) is made as of this
13th day of December, 2017, by 96 WYTHE ACQUISITION LLC, a New York limited
liability company, having an address at 1274 49th Street, Suite 184, Brooklyn, New York 11219,
as assignor (together with its successors and permitted assigns, “Borrower”), for the benefit of
BENEFIT STREET PARTNERS REALTY OPERATING PARTNERSHIP, L.P., a
Delaware limited partnership, having an address at 142 West 57th Street, Suite 1201, New York,
New York 10019, as assignee (together with its successors and assigns, “Lender”).

                                      W I T N E S S E T H:

        A.      This Assignment is given to secure a loan (the “Loan”) made by Lender to
Borrower pursuant to that certain Loan Agreement, dated as of the date hereof, between
Borrower and Lender (as the same may be amended, restated, replaced, supplemented or
otherwise modified from time to time, the “Loan Agreement”) and evidenced by that certain
Promissory Note dated the date hereof, made by Borrower to Lender (together with all
extensions, renewals, replacements, restatements or modifications thereof being hereinafter
referred to as the “Note”).

       B.     The Note is secured by that certain Consolidation, Modification, Spreader and
Extension Agreement, dated as of the date hereof (as the same may be amended, restated,
replaced, supplemented or otherwise modified from time to time, the “Security Instrument”),
made by Borrower for the benefit of Lender.

        C.      Borrower desires to further secure the payment of the Debt and performance of all
of its obligations under the Note, the Loan Agreement and the other Loan Documents.

      NOW THEREFORE, in consideration of the making of the Loan by Lender and the
covenants, agreements, representations and warranties set forth in this Assignment:

                                          ARTICLE 1
                                         ASSIGNMENT

       Section 1.1 Property Assigned. Borrower hereby absolutely and unconditionally
assigns and grants to Lender the following property, rights, interests and estates, now owned, or
hereafter acquired by Borrower:

                (a)     Leases. All leases, subleases, subsubleases, lettings, licenses, concessions
        or other agreements (whether written or oral and whether now or hereafter in effect)
        pursuant to which any Person is granted a possessory interest in, or right to use, enjoy or
        occupy all or any portion of any space in that certain lot or piece of land, more
        particularly described in Exhibit A annexed hereto and made a part hereof, or all or any
        part of the buildings, structures, fixtures, additions, enlargements, extensions,
        modifications, repairs, replacements and improvements now or hereafter located thereon
        (collectively, the “Property”), and every modification, amendment or other agreement
        relating to such leases, subleases, subsubleases, or other agreements entered into in


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        connection with such leases, subleases, subsubleases or other agreements and every
        guarantee of the performance and observance of the covenants, conditions and
        agreements to be performed and observed by the other party thereto (collectively, the
        “Leases”), and all right, title and interest of Borrower, its successors and assigns, therein
        and thereunder. The term “Leases” shall include all agreements, whether or not in
        writing, affecting the use, enjoyment or occupancy of the Property or any portion thereof
        now or hereafter made, whether made before or after the filing by or against Borrower of
        any petition for relief under the Bankruptcy Code, together with any extension, renewal
        or replacement of the same; this Assignment of existing and future Leases and other
        agreements being effective without any further or supplemental assignment.

                (b)    Rents. All rents, additional rents, rent equivalents, moneys payable as
        damages (including payments by reason of the rejection of a Lease in the event a
        Bankruptcy Event occurs) or in lieu of rent or rent equivalents, royalties (including,
        without limitation, all oil and gas or other mineral royalties and bonuses), income, fees,
        receivables, receipts, revenues, deposits (including, without limitation, security, utility
        and other deposits (including, without limitation, cash, letters of credit or securities
        deposited under Leases to secure the performance by the lessees of their obligations
        thereunder)), accounts, cash, issues, profits, charges for services rendered, and other
        payment and consideration of whatever form or nature received by or paid to or for the
        account of or benefit of Borrower, Manager or any of their respective agents or
        employees from any and all sources arising from or attributable to the Property,
        including, without limitation, all receivables, customer obligations, installment payment
        obligations and other obligations now existing or hereafter arising or created out of the
        sale, lease, sublease, license, concession or other grant of the right of the use and
        occupancy of property or rendering of services by Borrower, Manager or any of their
        respective agents or employees and proceeds, if any, from business interruption or other
        loss of income insurance, whether paid or accruing before or after the filing by or against
        Borrower of any petition for relief under the Bankruptcy Code in each case (collectively,
        the “Rents”)

               (c)    Bankruptcy Claims.      All of Borrower’s claims and rights (the
        “Bankruptcy Claims”) to the payment of damages arising from any rejection by a lessee
        of any Lease under the Bankruptcy Code.

                (d)     Lease Guaranties. All of Borrower’s right, title and interest in, and claims
        under, any and all lease guaranties, letters of credit and any other credit support
        (individually, a “Lease Guaranty”, and collectively, the “Lease Guaranties”) given by
        any guarantor in connection with any of the Leases or leasing commissions (individually,
        a “Lease Guarantor”, and collectively, the “Lease Guarantors”) to Borrower.

               (e)     Proceeds. All proceeds from the sale or other disposition of the Leases,
        the Rents, the Lease Guaranties and/or the Bankruptcy Claims.

              (f)     Other. All rights, powers, privileges, options and other benefits of
        Borrower as lessor under any of the Leases and beneficiary under any of the Lease
        Guaranties, including, without limitation, the immediate and continuing right to make

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        claim for, receive, collect and receipt for all Rents payable or receivable under the Leases
        and all sums payable under the Lease Guaranties or pursuant thereto (and to apply the
        same to the payment of the Debt), and to do all other things which Borrower or any lessor
        is or may become entitled to do under any of the Leases or Lease Guaranties.

               (g)      Entry. The right, at Lender’s option, upon revocation of the license
        granted herein, to enter upon the Property in person, by agent or by court appointed
        receiver, to collect the Rents.

               (h)     Power Of Attorney. Borrower’s irrevocable power of attorney, coupled
        with an interest, to take any and all of the actions set forth in Section 3.1 of this
        Assignment and any or all other actions designated by Lender for the proper management
        and preservation of the Property.

               (i)     Other Rights And Agreements. Any and all other rights of Borrower in
        and to the items set forth in subsections (a) through (h) above, and all amendments,
        modifications, replacements, renewals and substitutions thereof.

                                       ARTICLE 2
                                  TERMS OF ASSIGNMENT

        Section 2.1 Present Assignment and License Back. It is intended by Borrower that
this Assignment constitute a present, absolute assignment of the Leases, Rents, Lease Guaranties
and Bankruptcy Claims, and not an assignment for additional security only. Nevertheless,
subject to the terms of this Section 2.1, the Loan Agreement, the Security Instrument and the
Clearing Account Agreement, Lender grants to Borrower a revocable license to collect, receive,
use and enjoy the Rents, as well as other sums due under the Lease Guaranties. Borrower shall
hold the Rents, as well as all sums received pursuant to any Lease Guaranty, or a portion thereof
sufficient to discharge all current sums due on the Debt, in trust for the benefit of Lender for use
in the payment of such sums.

        Section 2.2 Notice to Lessees. Borrower hereby authorizes and directs the lessees
named in the Leases or any other future lessees or occupants of the Property and all Lease
Guarantors to pay over to Lender, or to such other party as Lender directs, all Rents and all sums
due under any Lease Guaranties, upon receipt from Lender of written notice to the effect that
Lender is then the holder of this Assignment and that an Event of Default exists, and to continue
so to do until otherwise notified by Lender.

        Section 2.3 Incorporation by Reference. All representations, warranties, covenants,
conditions and agreements contained in the Loan Agreement and the other Loan Documents, as
the same may be modified, renewed, substituted or extended from time to time, are hereby made
a part of this Assignment to the same extent and with the same force as if fully set forth herein.

                                           ARTICLE 3
                                           REMEDIES

      Section 3.1 Remedies of Lender. Upon the occurrence and during the continuance of
an Event of Default, the license granted to Borrower in Section 2.1 of this Assignment shall

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automatically be revoked, and Lender shall immediately be entitled to possession of all Rents
and all sums due under any Lease Guaranties, whether or not Lender enters upon or takes control
of the Property. In addition, Lender may, at its option, without waiving such Event of Default,
without regard to the adequacy of the security for the Obligations, either in person or by agent,
nominee or attorney, with or without bringing any action or proceeding, or by a receiver
appointed by a court, dispossess Borrower and its agents and servants from the Property, without
liability for trespass, damages or otherwise and exclude Borrower and its agents or servants
wholly therefrom, and take possession of the Property and all books, records and accounts
relating thereto and have, hold, manage, lease and operate the Property on such terms and for
such period of time as Lender may deem proper and either with or without taking possession of
the Property in its own name, demand, sue for or otherwise collect and receive all Rents and all
sums due under all Lease Guaranties, including, without limitation, those past due and unpaid
with full power to make from time to time all alterations, renovations, repairs or replacements
thereto or thereof as Lender may deem proper, and may apply the Rents and sums received
pursuant to any Lease Guaranties to the payment of the following in such order and proportion as
Lender in its sole discretion may determine, any law, custom or use to the contrary
notwithstanding: (a) all expenses of managing and securing the Property, including, without
being limited thereto, the salaries, fees and wages of a managing agent and such other employees
or agents as Lender may deem necessary or desirable and all expenses of operating and
maintaining the Property, including, without being limited thereto, all taxes, charges, claims,
assessments, water charges, sewer rents and any other liens, and premiums for all insurance
which Lender may deem necessary or desirable, and the cost of all alterations, renovations,
repairs or replacements, and all expenses incident to taking and retaining possession of the
Property; and (b) the Obligations, together with all costs and reasonable attorneys’ fees. In
addition, upon the occurrence of an Event of Default, Lender, at its option, may (1) at
Borrower’s expense complete any construction on the Property in such manner and form as
Lender reasonably deems advisable, (2) exercise all rights and powers of Borrower, including,
without limitation, the right to negotiate, execute, cancel, enforce or modify Leases, obtain and
evict tenants, and demand, sue for, collect and receive all Rents from the Property and all sums
due under any Lease Guaranties, (3) either require Borrower to pay monthly in advance to
Lender, or any receiver appointed to collect the Rents, the fair and reasonable rental value for the
use and occupancy of such part of the Property as may be in the possession of Borrower, or (4)
require Borrower to vacate and surrender possession of the Property to Lender or to such
receiver and, in default thereof, Borrower may be evicted by summary proceedings or otherwise.

        Section 3.2 Other Remedies. Nothing contained in this Assignment and no act done
or omitted by Lender pursuant to the power and rights granted to Lender hereunder shall be
deemed to be a waiver by Lender of its rights and remedies under the Loan Agreement, the Note,
or the other Loan Documents and this Assignment is made and accepted without prejudice to any
of the rights and remedies possessed by Lender under the terms thereof. The right of Lender to
collect the Debt and to enforce any other security therefor held by it may be exercised by Lender
either prior to, simultaneously with, or subsequent to any action taken by it hereunder. Borrower
hereby absolutely, unconditionally and irrevocably waives any and all rights to assert any setoff,
counterclaim or crossclaim of any nature whatsoever with respect to the Obligations of Borrower
under this Assignment, the Loan Agreement, the Note, the other Loan Documents or otherwise
with respect to the Loan in any action or proceeding brought by Lender to collect same, or any
portion thereof, or to enforce and realize upon the lien and security interest created by this

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Assignment, the Loan Agreement, the Note, the Security Instrument, or any of the other Loan
Documents (provided, however, that the foregoing shall not be deemed a waiver of Borrower’s
right to assert any compulsory counterclaim if such counterclaim is compelled under local law or
rule of procedure).

        Section 3.3 Other Security. Lender may take or release other security for the payment
of the Debt, may release any party primarily or secondarily liable therefor and may apply any
other security held by it to the payment of the Debt without prejudice to any of its rights under
this Assignment.

        Section 3.4 Non-Waiver. The exercise by Lender of the option granted it in
Section 3.1 of this Assignment and the collection of the Rents and sums due under the Lease
Guaranties and the application thereof as herein provided shall not be considered a waiver of any
Default or Event of Default by Borrower under the Note, the Loan Agreement, the Security
Instrument, the Leases, this Assignment or the other Loan Documents. The failure of Lender to
insist upon strict performance of any term hereof shall not be deemed to be a waiver of any term
of this Assignment. Borrower shall not be relieved of Borrower’s obligations hereunder by
reason of (a) the failure of Lender to comply with any request of Borrower or any other party to
take any action to enforce any of the provisions hereof or of the Loan Agreement, the Note or the
other Loan Documents, (b) the release regardless of consideration, of the whole or any part of the
Property, or (c) any agreement or stipulation by Lender extending the time of payment or
otherwise modifying or supplementing the terms of this Assignment, the Loan Agreement, the
Security Instrument, the Note or the other Loan Documents. Lender may resort for the payment
of the Debt to any other security held by Lender in such order and manner as Lender, in its sole
discretion, may elect. Lender may take any action to recover the Debt, or any portion thereof,
without prejudice to the right of Lender thereafter to enforce its rights under this Assignment.
The rights of Lender under this Assignment shall be separate, distinct and cumulative and none
shall be given effect to the exclusion of the others. No act of Lender shall be construed as an
election to proceed under any one provision herein to the exclusion of any other provision.

        Section 3.5 Bankruptcy. (a) Upon or at any time after the occurrence of an Event of
Default, Lender shall have the right to proceed in its own name or in the name of Borrower in
respect of any claim, suit, action or proceeding relating to the rejection of any Lease, including,
without limitation, the right to file and prosecute, to the exclusion of Borrower, any proofs of
claim, complaints, motions, applications, notices and other documents, in any case in respect of
the lessee under such Lease under the Bankruptcy Code.

                (b)     If there shall be filed by or against Borrower a petition under the
        Bankruptcy Code, and Borrower, as lessor under any Lease, shall determine to reject such
        Lease pursuant to Section 365(a) of the Bankruptcy Code, then Borrower shall give
        Lender not less than ten (10) days’ prior notice of the date on which Borrower shall apply
        to the bankruptcy court for authority to reject such Lease. Lender shall have the right, but
        not the obligation, to serve upon Borrower within such ten (10) day period a notice
        stating that (i) Lender demands that Borrower assume and assign the Lease to Lender
        pursuant to Section 365 of the Bankruptcy Code and (ii) Lender covenants to cure or
        provide adequate assurance of future performance under the Lease. If Lender serves
        upon Borrower the notice described in the preceding sentence, Borrower shall not seek to

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        reject the Lease and shall comply with the demand provided for in clause (i) of the
        preceding sentence within thirty (30) days after Lender’s notice shall have been given,
        subject to the performance by Lender of the covenant provided for in clause (ii) of the
        preceding sentence.

                                    ARTICLE 4
                        NO LIABILITY, FURTHER ASSURANCES

        Section 4.1 No Liability of Lender. This Assignment shall not be construed to bind
Lender to the performance of any of the covenants, conditions or provisions contained in any
Lease or Lease Guaranty or otherwise impose any obligation upon Lender. Lender shall not be
liable for any loss sustained by Borrower resulting from Lender’s failure to let the Property after
an Event of Default or from any other act or omission of Lender in managing the Property after
an Event of Default unless such loss is caused by the willful misconduct or bad faith of Lender.
Lender shall not be obligated to perform or discharge any obligation, duty or liability under the
Leases or any Lease Guaranties or under or by reason of this Assignment and Borrower shall
indemnify the Indemnified Parties for, and hold the Indemnified Parties harmless from, any and
all liability, loss or damage which may or might be incurred under the Leases, any Lease
Guaranties or under or by reason of this Assignment and from any and all claims and demands
whatsoever, including the defense of any such claims or demands which may be asserted against
any the Indemnified Parties by reason of any alleged obligations and undertakings on its part to
perform or discharge any of the terms, covenants or agreements contained in the Leases or any
Lease Guaranties. Should the Indemnified Parties incur any such liability, the amount thereof,
including costs, expenses and reasonable attorneys’ fees, shall be secured by this Assignment
and by the Security Instrument and the other Loan Documents and Borrower shall reimburse
such Indemnified Parties therefor immediately upon demand and upon the failure of Borrower so
to do Lender may, at its option, declare all sums secured by this Assignment and by the Security
Instrument and the other Loan Documents immediately due and payable. This Assignment shall
not operate to place any obligation or liability for the control, care, management or repair of the
Property upon Lender, nor for the carrying out of any of the terms and conditions of the Leases
or any Lease Guaranties; nor shall it operate to make Lender responsible or liable for any waste
committed on the Property by the tenants or any other parties, or for any dangerous or defective
condition of the Property including, without limitation, the presence of any Hazardous
Substances (as defined in the Environmental Indemnity), or for any negligence in the
management, upkeep, repair or control of the Property resulting in loss or injury or death to any
tenant, licensee, employee or stranger. The provisions of this Section 4.1 shall survive any
payment or prepayment of the Loan and any foreclosure or satisfaction of the Security
Instrument

         Section 4.2 No Mortgagee In Possession. Nothing herein contained shall be construed
as constituting Lender a “mortgagee in possession” in the absence of the taking of actual
possession of the Property by Lender. In the exercise of the powers herein granted Lender, no
liability shall be asserted or enforced against Lender, all such liability being expressly waived
and released by Borrower.

      Section 4.3 Further Assurances. Borrower will, at the cost of Borrower, and without
expense to Lender, do, execute, acknowledge and deliver all and every such further acts,

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conveyances, assignments, notices of assignments, transfers and assurances as Lender shall, from
time to time, reasonably require for the better assuring, conveying, assigning, transferring and
confirming unto Lender the property and rights hereby assigned or intended now or hereafter so
to be, or which Borrower may be or may hereafter become bound to convey or assign to Lender,
or for carrying out the intention or facilitating the performance of the terms of this Assignment or
for filing, registering or recording this Assignment and, on demand, will execute and deliver and
hereby authorizes Lender to execute in the name of Borrower to the extent Lender may lawfully
do so, one or more financing statements, chattel mortgages or comparable security instruments,
to evidence more effectively the lien and security interest hereof in and upon the Leases.

                                     ARTICLE 5
                              MISCELLANEOUS PROVISIONS

        Section 5.1 Conflict of Terms. In case of any conflict between the terms of this
Assignment and the terms of the Loan Agreement, the terms of the Loan Agreement shall
prevail.

        Section 5.2 No Oral Change. This Assignment and any provisions hereof may not be
modified, amended, waived, extended, changed, discharged or terminated orally, or by any act or
failure to act on the part of Borrower or Lender, but only by an agreement in writing signed by
the party against whom the enforcement of any modification, amendment, waiver, extension,
change, discharge or termination is sought.

        Section 5.3 General Definitions. All capitalized terms not defined herein shall have
the respective meanings set forth in the Loan Agreement. Unless the context clearly indicates a
contrary intent or unless otherwise specifically provided herein, words used in this Assignment
may be used interchangeably in singular or plural form and the word “Borrower” shall mean
“each Borrower and any subsequent owner or owners of the Property or any part thereof or
interest therein,” the word “Lender” shall mean “Lender and any subsequent holder of the Note,
the word “Note” shall mean “the Note and any other evidence of indebtedness secured by the
Loan Agreement,” the word “Property” shall include any portion of the Property and any interest
therein, the phrases “attorneys’ fees”, “legal fees” and “counsel fees” shall include any and all
reasonable attorneys’, paralegal and law clerk fees and disbursements, including, but not limited
to, fees and disbursements at the pre trial, trial and appellate levels incurred or paid by Lender in
protecting its interest in the Property, the Leases and the Rents and enforcing its rights
hereunder; whenever the context may require, any pronouns used herein shall include the
corresponding masculine, feminine or neuter forms, and the singular form of nouns and pronouns
shall include the plural and vice versa.

         Section 5.4 Inapplicable Provisions. If any provision of this Assignment is held to be
illegal, invalid, or unenforceable under present or future laws effective during the terms of this
Assignment, such provision shall be fully severable and this Assignment shall be construed and
enforced as if such illegal, invalid or unenforceable provision had never comprised a part of this
Assignment, and the remaining provisions of this Assignment shall remain in full force and
effect and shall not be affected by the illegal, invalid or unenforceable provision or by its
severance from this Assignment, unless such continued effectiveness of this Assignment, as



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modified, would be contrary to the basic understandings and intentions of the parties as
expressed herein.

        Section 5.5 Governing Law. The governing law and related provisions contained in
Section 15.4 of the Loan Agreement are hereby incorporated by reference as if fully set forth
herein.

       Section 5.6 Termination of Assignment. Upon payment in full of the Obligations, this
Assignment shall become and be void and of no effect. Lender shall promptly, upon request,
execute and deliver to Borrower any instrument reasonably requested by Borrower to evidence
such termination, provided that no such documentation shall be required to effectuate any such
termination and Lender shall have no liability for failure to comply with such request.

       Section 5.7 Notices. All notices or other written communications hereunder shall be
delivered in accordance with Section 15.5 of the Loan Agreement.

     Section 5.8 Waiver of Trial by Jury. BORROWER HEREBY, AND LENDER BY
ACCEPTANCE HEREOF, EACH AGREES NOT TO ELECT A TRIAL BY JURY OF
ANY ISSUE TRIABLE OF RIGHT BY JURY, AND FOREVER WAIVES ANY RIGHT
TO TRIAL BY JURY FULLY TO THE EXTENT THAT ANY SUCH RIGHT SHALL
NOW OR HEREAFTER EXIST WITH REGARD TO THIS ASSIGNMENT OR ANY
OTHER LOAN DOCUMENT, OR ANY CLAIM, COUNTERCLAIM OR OTHER
ACTION ARISING IN CONNECTION THEREWITH. THIS WAIVER OF RIGHT TO
TRIAL BY JURY IS GIVEN KNOWINGLY AND VOLUNTARILY BY BORROWER
AND LENDER, AND IS INTENDED TO ENCOMPASS INDIVIDUALLY EACH
INSTANCE AND EACH ISSUE AS TO WHICH THE RIGHT TO A TRIAL BY JURY
WOULD OTHERWISE ACCRUE. EACH OF BORROWER AND LENDER IS HEREBY
AUTHORIZED TO FILE A COPY OF THIS PARAGRAPH IN ANY PROCEEDING AS
CONCLUSIVE EVIDENCE OF THIS WAIVER BY THE OTHER PARTY.

        Section 5.9 Exculpation. The provisions of Article 12 of the Loan Agreement are
hereby incorporated by reference into this Assignment to the same extent and with the same
force as if fully set forth herein.

        Section 5.10 Successors and Assigns. This Assignment shall be binding upon and shall
inure to the benefit of Borrower and Lender and their respective successors and permitted assigns
forever. Lender shall have the right to sell, assign, pledge, participate, transfer or delegate, as
applicable, to one or more Persons, all or any portion of its rights and obligations under this
Assignment and the other Loan Documents in connection with any assignment of the Loan and
the Loan Documents to any Person. Any assignee or transferee of Lender shall be entitled to all
the benefits afforded to Lender under this Assignment. Borrower shall not have the right to
assign, delegate or transfer its rights or obligations under this Assignment without the prior
written consent of Lender, as provided in the Loan Agreement, and any attempted assignment,
delegation or transfer without such consent shall be null and void.




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        Section 5.11 Headings, Etc. The headings and captions of the various paragraphs of
this Assignment are for convenience of reference only and are not to be construed as defining or
limiting, in any way, the scope or intent of the provisions hereof.

       Section 5.12 Joint and Several. If more than one Person has executed this Assignment
as “Borrower,” the representations, covenants, warranties and obligations of all such Persons
hereunder shall be joint and several.

                          [NO FURTHER TEXT ON THIS PAGE]




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                                         EXHIBIT A

                                  LEGAL DESCRIPTION

                                       (Attached hereto)

ALL that certain plot, piece or parcel of land situated, lying and being in the Borough of
Brooklyn, County of Kings, City and State of New York bounded and described as follows:

BEGINNING at a point on the westerly side of Wythe Avenue distant 25 feet northerly from the
corner formed by the intersection of the westerly side of Wythe Avenue with the northerly side
of North 10th Street;

RUNNING THENCE Northerly along the westerly side of Wythe Avenue, 100 feet 3 inches;

THENCE Westerly parallel with North 10th Street, 75 feet;

THENCE Southerly parallel with Wythe Avenue, 25 feet 3 inches;

THENCE Westerly parallel with North 10th Street, 150 feet;

THENCE Southerly parallel with Wythe Avenue, 100 feet to the northerly side of North 10th
Street;

THENCE Easterly along the northerly side of North 10th Street, 125 feet;

THENCE Northerly parallel with Wythe Avenue, 25 feet;

THENCE Easterly parallel with North 10th Street, 100 feet to the westerly side of Wythe
Avenue, the point or place of BEGINNING.




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